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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                  (Baltimore Division)

In re
                                                         Case No. 25-10308 (DER)
Diamond Comic Distributors, Inc., et al.,
                                                         Chapter 11
                                    1
                         Debtors.
                                                         (Jointly Administered)


                  GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
                   METHODOLOGY, AND DISCLAIMER REGARDING
                     DEBTORS’ SCHEDULES AND STATEMENTS

        The Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial
Affairs (the “Statements”) filed by Diamond Comic Distributors, Inc., and its affiliated debtors
and debtors in possession (collectively, the “Debtors”) in the United States Bankruptcy Court for
the District of Maryland (the “Bankruptcy Court”) were prepared pursuant to section 521 of title
11 of the United States Code, 11 U.S.C. 101–1532 (the “Bankruptcy Code”) and Federal Rule of
Bankruptcy Procedure 1007 by the Debtors’ management, under the supervision of the Debtors’
chief restructuring officers (the “Co-CROs”), and are unaudited. While the members of
management responsible for the preparation of the Schedules and Statements have made a
reasonable effort to ensure that the Schedules and Statements are accurate and complete based on
information known to them at the time of preparation and after reasonable inquiries, inadvertent
errors may exist and/or the subsequent receipt of information may result in material changes to
financial and other data contained in the Schedules and Statements that may warrant amendment
of the same. Moreover, because the Schedules and Statements contain unaudited information
that is subject to further review and potential adjustment, there can be no assurance that these
Schedules and Statements are complete or accurate.

       These Global Notes and Statement of Limitations, Methodology, and Disclaimer
Regarding Debtors’ Schedules and Statements (the “Global Notes”) pertain to, are incorporated
by reference in, and comprise an integral part of, the Debtors’ Schedules and Statements. In the
event of any inconsistency between the Global Notes and the Schedules and Statements, the
Global Notes shall control and govern.

        The Schedules and Statements have been signed by an authorized representative of the
Debtors. In reviewing and signing the Schedules and Statements, this representative relied upon
the efforts, statements and representations of the Debtors’ other personnel and professionals.
The representative has not (and could not have) personally verified the accuracy of each such

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    The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax identification
    numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters, Inc.
    (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
    Road, Suite 300, Hunt Valley, Maryland 21030.
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statement and representation, including, for example, statements and representations concerning
amounts owed to creditors and their addresses.

        1.      Case. On January 14, 2025 (the “Petition Date”), the Debtors filed voluntary
petitions for relief under chapter 11 of the Bankruptcy Code. Unless otherwise indicated, the
information provided is as of the close of business on January 13, 2025.

        2.     Amendments. The Debtors reserve the right to amend the Schedules and
Statements in all respects at any time as may be necessary or appropriate, including, without
limitation, the right to dispute or to assert offsets or defenses to any claim reflected on the
Schedules and Statements as to amount, liability, or classification, or to otherwise subsequently
designate any claim as “disputed,” “contingent,” or “unliquidated.” Any failure to designate a
claim as “contingent,” “unliquidated,” or “disputed” does not constitute an admission by the
Debtors that such claim is not “contingent,” “unliquidated,” or “disputed.”

        3.     Estimates and Assumptions. The preparation of the Schedules and Statements
requires the Debtors to make estimates and assumptions that affect the reported amounts of
assets and liabilities, the disclosures of contingent assets and liabilities on the date of the
Schedules and Statements, and the reported amounts of revenues and expenses during the
reporting period. Actual results could differ from those estimates.

       4.      Unknown Amounts. Some of the scheduled liabilities are unknown and
unliquidated at this time. In such cases, the amounts are listed as “Unknown” or “Unliquidated.”
Because certain scheduled liabilities are unknown and unliquidated, the Schedules and the
Statements do not accurately reflect the aggregate amount of the Debtors’ liabilities.

         5.     Pre-Petition vs. Post-Petition. The Debtors have sought to allocate liabilities
between the pre-petition and post-petition periods based on the information derived from
research and investigation conducted during the preparation of these Schedules and Statements.
As additional information becomes available and further research is conducted, the allocation of
liabilities between pre-petition and post-petition periods may change. The liabilities listed on the
Schedules do not reflect any analysis of claims under section 503(b)(9) of the Bankruptcy Code.
Accordingly, the Debtors reserve all rights to dispute or challenge the validity of any asserted
claims under section 503(b)(9) of the Bankruptcy Code or the characterization of the structure of
any such transaction or any document or instrument related to any creditor’s claim.

        6.      GAAP. Given the difference between the information requested in the Schedules
and Statements, and the financial information utilized under generally accepted accounting
principles in the United States (“GAAP”), the aggregate asset values and claim amounts set forth
in the Schedules and Statements do not necessarily reflect the amounts that would be set forth in
a balance sheet prepared in accordance with GAAP.

        7.      Asset Values. It would be prohibitively expensive, unduly burdensome,
inefficient, and time-consuming to obtain additional market valuations of the Debtors’ property
interests. Accordingly, to the extent any asset value is listed herein, and unless otherwise noted
therein, net book values rather than current market values of the Debtors’ property interests are
reflected in the applicable Schedule. As applicable, assets that have been fully depreciated or

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were expensed for accounting purposes have no net book value. Unless otherwise indicated, all
asset amounts and claim amounts are listed as of January 13, 2025. The Debtors reserve the
right to amend or adjust the value of each asset or liability as set forth herein.

        8.     Setoff or Recoupment Rights. The Debtors have not included on Schedule D
parties that may believe their claims are secured through setoff rights, deposits posted by or on
behalf of the Debtors, or inchoate statutory lien rights. The Debtors routinely incur setoffs and
net payments in the ordinary course of business. Due to the nature of setoffs and nettings, it
would be burdensome and costly for the Debtors to list each such transaction. Therefore,
although such setoffs and other similar rights may have been accounted for when scheduling
certain amounts, these ordinary course setoffs are not independently accounted for and, as such,
are or may be excluded from the Schedules and Statements. In addition, some amounts listed in
the Schedules and Statements may have been affected by setoffs or nettings by third parties of
which the Debtors are not yet aware. The Debtors reserve all rights to challenge any setoff or
recoupment rights that may be asserted.

        9.     Co-Obligors. No claim set forth on the Schedules and Statements of the Debtors
is intended to acknowledge claims of creditors that are otherwise satisfied or discharged by
another party.

        10.     Collectibles with Disputed Ownership. As reflected on Schedule A/B question
42, Debtor Diamond Comic Distributors, Inc., has certain collectibles subject to an ownership
dispute between Diamond Comic Distributors Inc., and Stephen Geppi. The Debtors reserve all
rights with respect to title of these collectibles.

        11.    Causes of Action. The Debtors reserve all of their causes of action. Neither
these Global Notes nor the Schedules and Statements shall be deemed a waiver of any such cause
of action. Likewise, the failure to list a cause of action in question 74 of Schedule A/B or SOFA
question 7 shall not be deemed a waiver of any such cause of action. Furthermore, nothing
contained in the Schedules and Statements shall constitute a waiver of rights with respect to
these chapter 11 cases, equitable subordination, and/or causes of action arising under the
provisions of chapter 5 of the Bankruptcy Code and other relevant nonbankruptcy laws to
recover assets or avoid transfers.

         12.    Other Contingent and Unliquidated Claims or Causes of Action. The failure
to list any such claims or causes of action in the Schedules and Statements, including in response
to Schedule A/B question 75, is not an admission that such cause of action, claim, or right does
not exist, and should not be construed as a waiver of such cause of action, claim, or right.

       13.     Insiders. The listing of a party as an insider is not intended to be, nor should it be,
construed as a legal characterization of such party as an insider and does not act as an admission
of any fact, claim, right, or defense, and all such rights, claims, and defenses are hereby
expressly reserved. Further, employees have been included in this disclosure for informational
purposes only and should not be deemed to be “insiders” in terms of control of the Debtors,
management responsibilities or functions, decision-making or corporate authority and/or as
otherwise defined by applicable law, including, without limitation, the federal securities laws, or


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with respect to any theories of liability or for any other purpose.

        14.    Intercompany Claims. As described more fully in the Debtors’ Motion for
Entry of Interim and Final Orders (I) Authorizing Continued Use of Existing Cash Management
System, Bank Accounts, and Business Forms and Payment of Related Prepetition Obligations,
(II) Authorizing Continuation of Ordinary Course Intercompany Transactions, (III) Extending
Time to Comply with the Requirements of 11 U.S.C. § 345(b), and (IV) Granting Related Relief
[D.I. 14] (the “Cash Management Motion”), the Debtors regularly engage in a range of
intercompany transactions in the ordinary course of business. The Bankruptcy Court authorized
the Debtors to continue such intercompany transactions in the ordinary course of business
pursuant to the order granting the Cash Management Motion [D.I. 130]. Intercompany
transactions are included in the Schedules as reflected on the Debtors’ books and records. The
Debtors reserve all rights as to how the intercompany transactions are characterized.

        15.     Receivable from Stephen Geppi. The Debtors have listed a receivable from the
Debtors’ Chief Executive Officer and ultimate principal, Stephen Geppi, in response to Schedule
A/B question 77 for Debtor Diamond Comic Distributors, Inc. The amount listed is an estimate
and remains subject to the Debtors’ ongoing review and analysis. The Debtors reserve all rights
with respect to any receivables owed to the Debtors by Mr. Geppi.

        16.     Intellectual Property. The exclusion of any intellectual property shall not be
construed as an admission that such intellectual property rights have been abandoned,
terminated, assigned, expired by their terms, or otherwise transferred. Conversely, inclusion of
certain intellectual property shall not be construed to be an admission that such intellectual
property rights have not been abandoned, terminated, assigned, expired by their terms, or
otherwise transferred. The Debtors reserve all rights with respect to the legal status of any and
all such intellectual property rights.

             17.        Fiscal Year. The Debtors’ fiscal year ends on December 31.

             18.        Currency. All amounts are reflected in U.S. dollars.

      19.    Summary of Significant Reporting Policies and Practices. The following
conventions were adopted by the Debtors in preparation of the Schedules and Statements:

                        (a)    Fair Market Value; Book Value. Unless otherwise noted therein, the
                               Schedules and Statements reflect the carrying value of the liabilities as
                               listed in the Debtors’ books and records. Where the current market value
                               of assets is unknown, the Debtors have based their valuation on book
                               values net of depreciation. The Debtors reserve the right to amend or
                               adjust the value of each asset or liability set forth herein.

                        (b)    Leased Real and Personal Property. In the ordinary course of business,
                               certain of the Debtors may enter into agreements titled as leases for
                               property, other real property interests, and equipment from third party
                               lessors for use in the daily operation of their business. The Debtors believe


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                              that all such leases are set forth in the Schedules and Statements. Any
                              known prepetition obligations of the Debtors for equipment or similar
                              leases have been listed on Schedule E/F, the underlying lease agreements
                              are listed on Schedule G, or, if the leases are in the nature of real property
                              interests under applicable state laws, such interests are reflected on
                              Schedule A/B. The Schedules and Statements do not reflect any right-of-
                              use assets. Nothing in the Schedules or Statements is or shall be construed
                              as an admission or determination as to legal status of any lease (including
                              whether to assume and assign or reject such lease or whether it is a true
                              lease or a financing arrangement), and the Debtors reserve all rights with
                              respect to all such issues.

                        (c)   Disputed, Contingent and/or Unliquidated Claims. Schedules D, E, and F
                              permit the Debtors to designate a claim as disputed, contingent, and/or
                              unliquidated. A failure to designate a claim on any of these Schedules and
                              Statements as disputed, contingent, and/or unliquidated does not constitute
                              an admission that such claim is not subject to objection. The Debtors
                              reserve the right to dispute, or assert offsets or defenses to, any claim
                              reflected on these Schedules and Statements as to amount, liability, or
                              status.

                        (d)   Payments Made within 90 Days prior to the Petition Date and Payments to
                              Insiders within One Year of Petition Date.         Payments made in the
                              ordinary course of the Debtors’ business to employees for salaries, wages,
                              bonuses, commissions, and employee benefits, payroll taxes and sales
                              taxes were omitted from the SOFA question 3. Payments to insiders within
                              one year of the Petition Date, including transfers within 90 days of the
                              Petition Date, are listed in response to SOFA question 4 and are not
                              separately set forth in response to SOFA question 3. In preparing their
                              responses to SOFA question 4, and in the interest of full disclosure, the
                              Debtors used an expansive interpretation of the term “insider.” Inclusion
                              or omission of a creditor as an “insider” on the Debtors’ response to
                              SOFA question 4 is not determinative as to whether a creditor is actually
                              an “insider,” as such term is defined in the Bankruptcy Code and the
                              Debtors reserve all of their rights with respect to such characterization.
                              Moreover, payments are listed in response to SOFA questions 3 and 4
                              without regard as to whether such payments were made on account of
                              antecedent debt, and the Debtors reserve all of their rights with respect to
                              such issue.

                        (e)   Statement of Financial Affairs – Payments to Professionals. The Debtor’s
                              response to SOFA question 3 does not include transfers to bankruptcy
                              professionals, which transfers appear in response to SOFA question 11.

                        (f)   Statement of Financial Affairs – Payments to Insiders. Both questions 4
                              and 30 in the SOFAs request information regarding payments to insiders,


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                              and all such information is provided in response to question 4. The
                              Debtors reserve all rights with respect to the characterization of payments
                              listed in response to questions 4 and 30.

                        (g)   Statement of Financial Affairs – Suits and Administration Proceedings.
                              Although the Debtors have attempted to list in question 7 all known
                              claimants with pending suits or administrative proceedings, certain actions
                              may have been inadvertently omitted. The Debtors reserve all of their
                              rights with respect to any such claims or causes of action they may have
                              and neither these Global Notes nor the Schedules and Statements shall be
                              deemed a waiver of any such causes of action.

                        (h)   Statement of Financial Affairs - Inventory. Inventories are valued in the
                              Schedules and Statements at the values indicated on the Debtors’ books
                              and records. In answering SOFA question 27, the Debtors have not
                              performed a formal physical inventory within two years of the Petition
                              Date. However, the operations managers at each Debtor facility perform
                              cycle counts daily and these counts are reflected in the Debtors’
                              warehouse management system.

        20.      Schedule D. Although the Debtors may have scheduled claims of various
creditors as secured claims, the Debtors reserve all rights to dispute or challenge the secured
nature of any such creditor’s claim or the recharacterization of the structure of any such
transaction or any document or instrument related to such creditor’s claim except as otherwise
agreed to pursuant to a stipulation or an agreed order or any other order entered by the
Bankruptcy Court. No claim set forth on Schedule D is intended to acknowledge claims of
creditors that are otherwise satisfied or discharged by other entities. The descriptions provided
in Schedule D are intended only as a summary. Reference to the applicable loan agreements and
related documents is necessary for a complete description of the collateral and the nature, extent
and priority of any liens. Nothing in the Global Notes or the Schedules and Statements shall be
deemed a modification or interpretation of the terms of such agreements. The Debtors reserve all
rights to amend Schedule D to the extent that the Debtors determine that any claims associated
with such agreements should be reported on Schedule D. Nothing herein shall be construed as
an admission by the Debtors of the legal rights of a claimant or a waiver of the Debtors’ rights to
recharacterize or reclassify a claim or contract.

       21.       Schedule E/F. The Debtors’ analysis of potential priority claims is ongoing, and
any amounts listed as priority claims on Schedule E/F remain subject to such analysis.
Amendments will be made to Schedule E/F as necessary. Although reasonable efforts have been
made to identify the date of incurrence of each claim, determining the date upon which each
claim on Schedule E/F was incurred or arose would be unduly burdensome and cost prohibitive,
and therefore, the Debtors either do not list a date or list “various” for the date for each claim on
Schedule E/F.

       Schedule E/F may contain potential claims on account of pending litigation involving the
Debtors. Any potential claim associated with any such pending litigation is marked as


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contingent, unliquidated and disputed in the Schedules and Statements. Some of the potential
litigation listed on Schedule E/F may be subject to subordination pursuant to section 510 of the
Bankruptcy Code. In addition, workers’ compensation claims that are covered in full under the
Debtors’ insurance policies are not included on Schedule E/F. Any information contained in
Schedule E/F with respect to pending or potential litigation is not a binding representation of the
Debtors’ liabilities with respect to any of the potential suits and proceedings included therein.

       Schedule E/F reflects prepetition amounts owing to counterparties to executory contracts
and unexpired leases. Such prepetition amounts, however, may be paid in connection with the
assumption, or assumption and assignment, of executory contracts and unexpired leases.
Schedule E/F does not include potential rejection damage claims, if any, of the counterparties to
executory contracts and unexpired leases that may be rejected in the future.

        Pursuant to the Order (I) Authorizing the Debtors to (A) Pay Prepetition Employee
Wages, Benefits, and Other Compensation Obligations and (B) Maintain the Compensation and
Benefits Programs, and (II) Granting Related Relief [D.I. 50] (the “Wages Order”), the Debtors
were authorized to pay, and did pay, certain pre-petition claims for employee wages and other
related obligations. To the extent parties were paid pre-petition amounts owed to such parties
pursuant to the authority granted in the Wages Order, such parties are not listed in the Schedules.

       Likewise, pursuant to the Final Order Authorizing the Debtors to (I) Pay Certain
Prepetition Taxes and Fees, and (II) Granting Related Relief [D.I. 129] (the “Tax Order”), the
Debtors were authorized to pay, and did pay, certain pre-petition claims for outstanding taxes
and fees. To the extent parties were paid prepetition amounts pursuant to the authority granted in
the Tax Order, such parties are not listed in the Schedules.

         19. Schedule G. Although reasonable efforts have been made to ensure the accuracy
of Schedule G, inadvertent errors may have occurred. Certain information, such as the contact
information of the counterparty, may not be included where such information could not be
obtained using reasonable efforts. Listing a contract or agreement on Schedule G does not
constitute an admission that such contract or agreement was an executory contract or unexpired
lease as of the Petition Date, or that it is valid or enforceable. The Debtors hereby reserve all
rights to dispute or challenge the validity, status or enforceability of any contracts, agreements or
leases set forth on Schedule G, including contracts, agreements or leases that may have expired
or may have been modified, amended, and supplemented from time to time by various
amendments, restatements, waivers, estoppel certificates, letters and other documents that may
not be listed on Schedule G, and to amend or supplement Schedule G as necessary. Certain of
the leases and contracts listed on Schedule G may contain certain renewal options, guarantees of
payment, indemnifications, options to purchase, rights of first refusal and other miscellaneous
rights. Such rights, powers, duties and obligations are not set forth separately on Schedule G.
The Debtors reserve all rights with respect to such agreements.

        Certain of the contracts and agreements listed on Schedule G may consist of several
parts, including but not limited to, purchase orders, amendments, restatements, waivers, letters
and other documents that may not be listed on Schedule G or that may be listed as a single entry.
In some cases, the same vendor or provider may appear multiple times on Schedule G. This
multiple listing is intended to reflect distinct agreements between the applicable Debtor and such

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supplier or provider. The Debtors expressly reserve their rights to challenge whether such
related materials constitute an executory contract, a single contract, or multiple, severable or
separate contracts. Certain of the executory agreements may not have been memorialized in
writing and could be subject to dispute. In addition, the Debtors may have entered into various
other types of agreements in the ordinary course of their business, such as subordination
agreements, supplemental agreements, settlement agreements, amendments/letter agreements,
and confidentiality agreements. Such documents may not be set forth on Schedule G. The
Debtors also reserve all rights to dispute or challenge the characterization of the structure of any
transaction, or any document or instrument related to a creditor’s claim. Further, the Debtors
reserve all rights to later amend the Schedules and Statements to the extent that additional
information regarding the Debtor obligor to an executory contract becomes available.

        Omission of a contract or agreement from Schedule G does not constitute an admission
that such omitted contract or agreement is not an executory contract or unexpired lease. The
Debtors’ rights under the Bankruptcy Code with respect to any such omitted contracts or
agreements are not impaired by the omission. Any and all of the Debtors’ rights, claims, and
causes of action regarding the contracts and agreements listed on Schedule G are reserved and
preserved. Schedule G may be amended at any time to add any omitted contract, agreement or
lease.

        20. Schedule H. For ease of review and user-friendliness, Schedule H for each Debtor
contains a list of co-obligors for all of the Debtors and a description of the relevant obligations,
and is not limited to specific debts of the Debtor. The Debtors have not listed any litigation-
related co-defendants on Schedule H. The Debtors also may not have identified certain
guarantees associated with the Debtors’ executory contracts, unexpired leases, secured
financings, debt instruments and other such agreements. The Debtors reserve all rights to amend
the Schedules to the extent that additional guarantees are identified or such guarantees are
discovered to have expired or be unenforceable.

        Neither the Debtors, their agents, nor their attorneys guarantee or warrant the accuracy,
the completeness, or correctness of the data that is provided herein or in the Schedules and
Statements, and neither are they liable for any loss or injury arising out of, or caused in whole or
in part by, the acts, errors or omissions, whether negligent or otherwise, in procuring, compiling,
collecting, interpreting, reporting, communicating or delivering the information herein. While
every effort has been made to provide accurate and complete information herein, inadvertent
errors or omissions may exist. The Debtors and their agents, attorneys and advisors expressly do
not undertake any obligation to update, modify, revise or re-categorize the information provided
herein, or to notify any third party should the information be updated, modified, revised or re-
categorized. In no event shall the Debtors or their agents, attorneys and advisors be liable to any
third party for any direct, indirect, incidental, consequential or special damages (including, but
not limited to, damages arising from the disallowance of a potential claim against the Debtors or
damages to business reputation, lost business or lost profits), whether foreseeable or not, and
however caused, even if the Debtors or their agents, attorneys and advisors are advised of the
possibility of such damages.




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 Fill in this information to identify the case:

Debtor name: Diamond Comic Distributors, Inc.
United States Bankruptcy Court for the Baltimore Division, District of Maryland                                   Check if this is an amended filing
Case number (If known): 25-10308

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                             12/15

Part 1:        Summary of Assets

1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:                                                                                                                 $ 217,329.50
         Copy line 88 from Schedule A/B
     1b. Total personal property:                                                                                                   $ 78,134,271.93
         Copy line 91A from Schedule A/B
     1c. Total of all property:                                                                                                     $ 78,351,601.43
         Copy line 92 from Schedule A/B

Part 2:        Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property: (Official Form 206D)                                                   $ 31,019,347.89
   Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D
3. Schedule E/F: Creditors Who Have Unsecured Claims: (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:                                                                              $ 851,191.70
         Copy the total claims from Part 1 from line 5a of Schedule E/F

     3b. Total amount of claims of nonpriority amount of unsecured claims:                                               +           $ 43,828,678.25
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F
4. Total liabilities:                                                                                                                $ 75,699,217.84
   Lines 2 + 3a + 3b




Official Form 206Sum                                      Summary of Assets and Liabilities for Non-Individuals                page 1
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    Fill in this information to identify the case:

   Debtor name: Diamond Comic Distributors, Inc.

   United States Bankruptcy Court for the Baltimore Division, District of Maryland
                                                                                                                                            Check if this is an amended filing
   Case number (If known): 25-10308


  Official Form 206A/B
  Schedule A/B: Assets Real and Personal Property                                                                                                                                12/15


   Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the
   debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated assets or
   assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases
   (Official Form 206G).

   Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor's name and case
   number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts from the
   attachment in the total for the pertinent part.

   For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation schedule,
   that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor's interest, do not deduct the value of secured claims. See the
   instructions to understand the terms used in this form.


   Part 1:         Cash and cash equivalents

    1. Does the debtor have any cash or cash equivalents?

             No. Go to Part 2.

        ✔ Yes. Fill in the information below.

         All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of debtor's interest

    2. Cash on hand                                                                                                                                                       $5,394.42

    3. Checking, savings, money market, or financial brokerage accounts

              Name of institution (bank or
                                                      Type of account                          Last 4 digits of account number
              brokerage firm)

      3.1.    See Attached Exhibit AB 3                                                                                                $                            476,284.40

    4. Other cash equivalents (Identify all)

    5. Total of Part 1


    Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.                                                                    $ 481,678.82



   Part 2:         Deposits and prepayments

    6. Does the debtor have any deposits or prepayments?

             No. Go to Part 3.

        ✔ Yes. Fill in the information below.

                                                                                                                                                  Current value of debtor's interest

    7. Deposits, including security deposits and utility deposits



      7.1.    See Attached Exhibit AB 7                                                        $                                                                    145,553.27


Official Form 206A/B                                                           Schedule A/B: Property                                                                            page 1
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    8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
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     8.1.     See Attached Exhibit AB 8                                                     $                                                                   4,039,903.96

    9. Total of Part 2.


    Add lines 7 through 8. Copy the total to line 81.                                                                                                              $ 4,185,457.23



   Part 3:         Accounts receivable

    10. Does the debtor have any accounts receivable?

             No. Go to Part 4.

        ✔ Yes. Fill in the information below.

                                                                                                                                               Current value of debtor's interest

    11. Accounts receivable

       11 a. 90 days old or less:            $ 22,135,830.00                           -        $ 965,880.00                             =→         $ 21,169,950.00

                                             face amount                                        doubtful or uncollectible accounts

       11 b. Over 90 days old:               $ 10,987,118.00                           -        $ 6,114,630.00                           =→         $ 4,872,488.00

                                             face amount                                        doubtful or uncollectible accounts

    12. Total of Part 3


    Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                                                                       $ 26,042,438.00



   Part 4:         Investments

    13. Does the debtor own any investments?

             No. Go to Part 5.

        ✔ Yes. Fill in the information below.

                                                                  Valuation method used for current value                  Current value of debtor's interest

    14. Mutual funds or publicly traded stocks not included in Part 1

    15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC, partnership, or joint venture

              Name of entity:                                      % of ownership:

     15.1.    Comic Exporters, Inc.                                100                                                 $                                        Undetermined



     15.2.    Comic Holdings, Inc.                                 100                                                 $                                        Undetermined



     15.3.    Diamond International Galleries, Inc.                5                                                   $                                        Undetermined

    16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1

    17. Total of Part 4


    Add lines 14 through 16. Copy the total to line 83.                                                                                                                    $ 0.00

Official Form 206A/B                                                         Schedule A/B: Property                                                                            page 2
                                           Case 25-10308                 Doc 155            Filed 02/18/25              Page 12 of 250
   Part 5:           Inventory, excluding agriculture assets

    18. Does the debtor own any inventory (excluding agriculture assets)?

              No. Go to Part 6.

        ✔ Yes. Fill in the information below.

                                             Date of the last physical          Net book value of debtor's         Valuation method used for       Current value of debtor's
          General description
                                             inventory                          interest (where available)         current value                   interest

    19. Raw materials

    20. Work in progress

    21. Finished goods, including goods held for resale



     21.1.     See Attached Exhibit AB 21                                      $                26,258,317.76 Net Book Value                   $              26,258,317.76
                                                MM/DD/YYYY

    22. Other inventory or supplies

    23. Total of Part 5


    Add lines 19 through 22. Copy the total to line 84.                                                                                                          $ 26,258,317.76


    24. Is any of the property listed in Part 5 perishable?

        ✔ No.
              Yes.

    25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

             No.

      ✔      Yes.


      Book value                $7,262,965.43          Valuation method        Net Book Value           Current value          $7,262,965.43


    26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

        ✔ No.
              Yes.


   Part 6:           Farming and fishing-related assets (other than titled motor vehicles and land)

    27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        ✔ No. Go to Part 7.
              Yes. Fill in the information below.


                                                      Net book value of debtor's interest             Valuation method used for current
          General description                                                                                                             Current value of debtor's interest
                                                      (where available)                                            value

    28. Crops-either planted or harvested

    29. Farm animals Examples: Livestock, poultry, farm-raised fish

    30. Farm machinery and equipment (Other than titled motor vehicles)

    31. Farm and fishing supplies, chemicals, and feed



Official Form 206A/B                                                            Schedule A/B: Property                                                                         page 3
                                          Case 25-10308                 Doc 155
    32. Other farming and fishing-related property not already listed in Part 6
                                                                                            Filed 02/18/25           Page 13 of 250

    33. Total of Part 6.


    Add lines 28 through 32. Copy the total to line 85.                                                                                                                      $ 0.00


    34. Is the debtor a member of an agricultural cooperative?

             No.

             Yes. Is any of the debtor's property stored at the cooperative?

    35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

             No.

             Yes. Is any of the debtor's property stored at the cooperative?

    36. Is a depreciation schedule available for any of the property listed in Part 6?

             No.

             Yes.

    37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

             No.

             Yes.


   Part 7:          Office furniture, fixtures, and equipment; and collectibles

    38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

             No. Go to Part 8.

        ✔ Yes. Fill in the information below.

                                                     Net book value of debtor's interest            Valuation method used for current
         General description                                                                                                                Current value of debtor's interest
                                                     (where available)                                           value

    39. Office furniture



     39.1.    See Attached Exhibit AB 39               $                                 1,582.23    Straight Line Depreciation         $                             1,582.23

    40. Office fixtures



     40.1.    See Attached Exhibit AB 40               $                                  798.80     Straight Line Depreciation         $                               798.80

    41. Office equipment, including all computer equipment and communication systems equipment and software



     41.1.    See Attached Exhibit AB 41               $                            399,071.02       Straight Line Depreciation         $                          399,071.02

    42. Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
        collections; other collections, memorabilia, or collectibles



     42.1.    See Attached Exhibit AB 42               $                            214,579.16       Lower of Cost or Market            $                       Undetermined

    43. Total of Part 7.


    Add lines 39 through 42. Copy the total to line 86.                                                                                                               $ 401,452.05




Official Form 206A/B                                                              Schedule A/B: Property                                                                         page 4
                                         Case 25-10308                 Doc 155
    44. Is a depreciation schedule available for any of the property listed in Part 7?
                                                                                           Filed 02/18/25            Page 14 of 250
             No.

        ✔ Yes.
    45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

        ✔ No.
             Yes.


   Part 8:          Machinery, equipment, and vehicles

    46. Does the debtor own or lease any machinery, equipment, or vehicles?

             No. Go to Part 9.

        ✔ Yes. Fill in the information below.

         General description Include year,
                                                     Net book value of debtor's interest         Valuation method used for current
         make, mode, and identification                                                                                                   Current value of debtor's interest
                                                     (where available)                           value
         numbers (i.e VIN, HIN)

    47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles



              2012 Penske 4300 - VIN
     47.1.
              1HTMMAAL6CH624950                        $                                   0.00 Straight Line Depreciation            $                                 0.00

    48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, floating homes, personal watercraft, and fishing vessels

    49. Aircraft and accessories

    50. Other machinery, fixtures, and equipment (excluding farm machinery and equipment)



     50.1.    See Attached Exhibit AB 50               $                         2,654,130.61 Straight Line Depreciation              $                        2,654,130.61

    51. Total of Part 8.


    Add lines 47 through 50. Copy the total to line 87.                                                                                                           $ 2,654,130.61


    52. Is a depreciation schedule available for any of the property listed in Part 8?

             No.

        ✔ Yes.
    53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

        ✔ No.
             Yes.


   Part 9:          Real property

    54. Does the debtor own or lease any real property?

             No. Go to Part 10.

        ✔ Yes. Fill in the information below.

         Description and location of         Nature and extent of debtor's     Net book value of debtor's          Valuation method used for       Current value of debtor's
         property                                interest in property          interest (where available)                current value             interest




Official Form 206A/B                                                           Schedule A/B: Property                                                                          page 5
                                           Case 25-10308                Doc 155             Filed 02/18/25         Page 15 of 250
    55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest



     55.1.     See Attached Exhibit AB 55         Leasehold Improvements       $                  217,329.50 Straight Line Depreciation      $                   217,329.50

    56. Total of Part 9.


    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.                                             $ 217,329.50


    57. Is a depreciation schedule available for any of the property listed in Part 9?

              No.

        ✔ Yes.
    58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

        ✔ No.
              Yes.


   Part 10:          Intangibles and intellectual property

    59. Does the debtor have any interests in intangibles or intellectual property?

              No. Go to Part 11.

        ✔ Yes. Fill in the information below.

                                                      Net book value of debtor's interest       Valuation method used for current
         General description                                                                                                              Current value of debtor's interest
                                                      (where available)                         value

    60. Patents, copyrights, trademarks, and trade secrets



               Trademarked Brands/Services - See
     60.1.
               Attached Exhibit AB 60                   $                       Undetermined N/A                                    $                         Undetermined

    61. Internet domain names and websites



     61.1.     See Attached Exhibit AB 61               $                       Undetermined N/A                                    $                         Undetermined

    62. Licenses, franchises, and royalties

    63. Customer lists, mailing lists, or other compilations

    64. Other intangibles, or intellectual property

    65. Goodwill



     65.1.     Goodwill - CGA Acquisition               $                          5,003,822.42 Net Book Value                      $                          5,003,822.42



    66. Total of Part 10.


    Add lines 60 through 65. Copy the total to line 89.                                                                                                           $ 5,003,822.42


    67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

              No.

        ✔ Yes.


Official Form 206A/B                                                           Schedule A/B: Property                                                                          page 6
                                          Case 25-10308                Doc 155             Filed 02/18/25
    68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                                                                                                                    Page 16 of 250
              No.

        ✔ Yes.
    69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

        ✔ No.
              Yes.


   Part 11:          All other assets

    70. Does the debtor own any other assets that have not yet been reported on this form?

              No. Go to Part 12.

        ✔ Yes. Fill in the information below.
    71. Notes receivable

       Note Receivable - Dynamic Forces                $ 418,922.74                            -       $ 0.00                              =→         $ 418,922.74

                                                                                                       doubtful or uncollectible
                                                       Total face amount
                                                                                                       accounts

       Loan Receivable - Stephen Geppi                 $ 155,925.13                            -       $ 0.00                              =→         $ 155,925.13

                                                                                                       doubtful or uncollectible
                                                       Total face amount
                                                                                                       accounts

    72. Tax refunds and unused net operating losses (NOLs)

    73. Interests in insurance policies or annuities

    74. Causes of action against third parties (whether or not a lawsuit has been filed)



         74.1.      Payment Card Interchange Fee Settlement Class Action Lawsuit                                                                                 Undetermined

                    Nature of claim        Improperly charged credit card interchange fees

                    Amount requested       Undetermined

    75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set off claims

    76. Trusts, equitable or future interests in property

    77. Other property of any kind not already listed Examples: Season tickets, country club membership



     77.1.     Estimated Quarterly Prescription Drug Rebate                                    $                                                               100,000.00



     77.2.     Freight Rebate                                                                  $                                                               222,143.61



     77.3.     Intercompany Receivable - Due from Renegade Game Studios, LLC                   $                                                                40,476.28



     77.4.     Intercompany Receivable - Due from Diamond International Gallery                $                                                             3,666,572.84



     77.5.     Intercompany Receivable - Due from Gemstone Publishing                          $                                                               466,165.92




Official Form 206A/B                                                           Schedule A/B: Property                                                                       page 7
     77.6.
                                        Case 25-10308                 Doc 155
              Intercompany Receivable - Due from Rosebud Entertainment, LLC
                                                                                        Filed
                                                                                            $
                                                                                              02/18/25     Page 17 of 250   1,612,772.10



     77.7.    Intercompany Receivable - Due from Diamond Comic Distributors UK                $                                 4,269.47



              Intercompany Receivable - Due from Diamond Select Toys & Collectibles,
     77.8.
              LLC                                                                             $                             6,419,726.95

    78. Total of Part 11.


    Add lines 71 through 77. Copy the total to line 90.                                                                      $ 13,106,975.04


    79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

        ✔ No.
             Yes.




Official Form 206A/B                                                          Schedule A/B: Property                                       page 8
   Part 12:        Summary                  Case 25-10308                  Doc 155       Filed 02/18/25             Page 18 of 250
   In Part 12 copy all of the totals from the earlier parts of the form.

                                                                                                     Current value of              Current value of real
    Type of property
                                                                                                     personal property             property

    80 . Cash, cash equivalents, and financial assets. Copy line 5, Part 1.
                                                                                                             $ 481,678.82


    81 . Deposits and prepayments. Copy line 9, Part 2.
                                                                                                           $ 4,185,457.23


    82 . Accounts receivable. Copy line 12, Part 3.
                                                                                                          $ 26,042,438.00


    83 . Investments. Copy line 17, Part 4.
                                                                                                                   $ 0.00


    84 . Inventory. Copy line 23, Part 5.
                                                                                                          $ 26,258,317.76


    85 . Farming and fishing-related assets.Copy line 33, Part 6.
                                                                                                                   $ 0.00


    86 . Office furniture, fixtures, and equipment; and collectibles. Copy line 43, Part 7.
                                                                                                             $ 401,452.05


    87 . Machinery, equipment, and vehicles. Copy line 51, Part 8.
                                                                                                           $ 2,654,130.61


    88 . Real property. Copy line 56, Part 9.
                                                                                                                                          $ 217,329.50


    89 . Intangibles and intellectual property.Copy line 66, Part 10.
                                                                                                           $ 5,003,822.42


    90 . All other assets. Copy line 78, Part 11.
                                                                                                          $ 13,106,975.04


    91 . Total. Add lines 80 through 90 for each column.                                                                    +
                                                                                              91a.      $ 78,134,271.93                   $ 217,329.50
                                                                                                                            91b.



    92 . Total of all property on Schedule A/B. Lines 91a + 91b = 92
                                                                                                                                                           78,351,601.43




Official Form 206A/B                                                           Schedule A/B: Property                                                                page 9
     Case 25-10308    Doc 155   Filed 02/18/25   Page 19 of 250




   SCHEDULES OF ASSETS AND LIABILITIES


             EXHIBIT FOR SCHEDULE AB

                     PART 1, QUESTION 3

CHECKING, SAVINGS, MONEY MARKET, OR FINANCIAL
            BROKERAGE ACCOUNTS
                     Case 25-10308    Doc 155     Filed 02/18/25     Page 20 of 250

Diamond Comic Distributors, Inc.
Case No. 25-10308
Schedule AB 3. Checking, savings, money market, or financial brokerage accounts.

        Name of Institution                                        Account Number     Current Value of
                                       Type of Account
     (Bank or Brokerage Firm)                                       (Last 4 Digits)    Debtor's Interest
   Bank Of Montreal              Canadian Operating Account              0859         $         3,636.94
   Bank Of Montreal              Canadian Operating Account              5025         $       57,496.77
   JPMorgan Chase Bank, N.A.     Canadian Operating Account             9564          $       17,049.58
   JPMorgan Chase Bank, N.A.     Canadian Operating Account             9566          $         8,996.11
   JPMorgan Chase Bank, N.A.       CGA Operating Account                0020          $       53,193.30
   JPMorgan Chase Bank, N.A.         Collections Account                0555          $      120,861.97
   JPMorgan Chase Bank, N.A.         Collections Account                0569          $       15,791.56
   JPMorgan Chase Bank, N.A.    Controlled Distribution Account         0871          $              -
   JPMorgan Chase Bank, N.A.    Controlled Distribution Account         3719          $              -
   JPMorgan Chase Bank, N.A.    Controlled Distribution Account         6266          $              -
   JPMorgan Chase Bank, N.A.           Inactive Account                 8118          $              -
   JPMorgan Chase Bank, N.A.       U.S. Operating Account               3396          $         3,727.64
   JPMorgan Chase Bank, N.A.       U.S. Operating Account               5979          $      195,530.53
   Total:                                                                             $      476,284.40




                                               Page 1 of 1
  Case 25-10308    Doc 155   Filed 02/18/25   Page 21 of 250




 SCHEDULES OF ASSETS AND LIABILITIES


          EXHIBIT FOR SCHEDULE AB

                  PART 2, QUESTION 7

DEPOSITS, INCLUDING SECURITY DEPOSITS AND
             UTILITY DEPOSITS
                                   Case 25-10308             Doc 155          Filed 02/18/25            Page 22 of 250
Diamond Comic Distributors, Inc.
Case No. 25-10308
Schedule AB 7. Deposits, including security deposits and utility deposits

                                                                                                                                Current Value of
             Name of Holder of Deposit                                                    Description
                                                                                                                                Debtor's Interest
   ANSON LOGISTICS ASSETS, LLC                 LEASED PROPERTY SECURITY DEPOSIT                                                $       36,947.16
   BIG BOX PROPERTY OWNER E, LLC               LEASED PROPERTY SECURITY DEPOSIT - TX                                           $       35,197.44
   BNC STRATEGIC CAPITAL VENTURES, LLC         LEASED PROPERTY SECURITY DEPOSIT - IN                                           $         2,346.00
   CITY OF OLIVE BRANCH                        UTILITIES DEPOSIT - POLK LANE MISSISSIPPI                                       $         2,640.00
   COLUMBIA GAS                                UTILITIES DEPOSIT (PA)                                                          $           876.00
   MDH F2 BAL BELTWAY NORTH, LLC               LEASED PROPERTY SECURITY DEPOSIT (EXPIRED LEASE - AWAITING RETURN OF DEPOSIT)   $         8,403.96
   MET-ED 100130632878                         UTILITIES DEPOSIT (PA)                                                          $         4,664.00
   PW FUND B LP                                LEASED PROPERTY SECURITY DEPOSIT - CA                                           $         5,783.40
   REALBAT INC                                 LEASED PROPERTY SECURITY DEPOSIT (EXPIRED LEASE - AWAITING RETURN OF DEPOSIT)   $       48,695.31
   Grand Total                                                                                                                 $      145,553.27




                                                                            Page 1 of 1
     Case 25-10308    Doc 155   Filed 02/18/25   Page 23 of 250




   SCHEDULES OF ASSETS AND LIABILITIES


             EXHIBIT FOR SCHEDULE AB

                     PART 2, QUESTION 8

   PREPAYMENTS, INCLUDING PREPAYMENTS ON
EXECUTORY CONTRACTS, LEASES, INSURANCE, TAXES,
                  AND RENT
                                Case 25-10308              Doc 155         Filed 02/18/25             Page 24 of 250
Diamond Comic Distributors, Inc.
Case No. 25-10308
Schedule AB 8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent.

                                                                                                                                 Current Value of
                   Holder of Prepayment                                                 Description
                                                                                                                                 Debtor's Interest
   Accenture Llp                                           Prepaid Balance On Service/License Agreement 04-18-24 To 04-17-25   $           18,805.75
   Adobe Software                                          Prepaid Balance On Service/License Agreement - 4/2024 To 3/2025     $            1,208.58
   American Booksellers Association Trade Show             Prepayment - Feb 2025                                               $            5,950.00
   Archie Comic Publications                               Prepayment Related To Future Contract From Vendor 24C               $           80,000.00
   Archie Comics                                           Prepayment/Contract Advance                                         $           40,000.00
   Art For Free Comic Book Day 2025                        Prepayment (April 2025)                                             $            2,000.00
   Atlas Games Prepaid Po#358865                           Prepaid Merchandise 460                                             $              103.41
   Atlas Games Prepaid Po#358866                           Prepaid Merchandise 460                                             $              450.21
   Atlas Games Prepaid Po#360477                           Prepaid Merchandise 460                                             $               24.69
   Atlas Games Prepaid Po#360479                           Prepaid Merchandise 460                                             $              288.01
   Atlas Games Prepaid Po#360481                           Prepaid Merchandise 460                                             $              634.85
   Atlas Games Prepaid Po#360482                           Prepaid Merchandise 460                                             $              389.01
   Ax2 Limited                                             Prepaid Merchandise From Vendor 3623                                $            1,080.00
   Bandai Namco Toys & Collectibles America Inc. Po#
   354905, 354920, 358667                                  Prepaid Merchandise 120631                                          $            5,606.88
   Bandai Namco Toys & Collectibles America Inc. Po#
   355592, 356040                                          Prepaid Merchandise 120631                                          $             252.84
   Bandai Namco Toys & Collectibles America Inc. Prepay On
   Po# 353915                                              Prepaid Merchandise 120631                                          $          13,952.00
   Bandai Namco Toys & Collectibles America Inc. Prepay On
   Po# 354486, 354918, Etc                                 Prepaid Merchandise 120631                                          $            1,805.70
   Bandai Namco Toys & Collectibles America Inc. Prepay On
   Po# 354648, Etc                                         Prepaid Merchandise 120631                                          $            7,415.64
   Bandai Namco Toys & Collectibles America Inc. Prepay On
   Po# 354871, Etc                                         Prepaid Merchandise 120631                                          $            5,835.18
   Bandai Namco Toys & Collectibles America Inc. Prepay On
   Po# 356039                                              Prepaid Merchandise 120631                                          $            1,270.08
   Battlefront Miniatures Inc Prepay On Po#                Prepaid Merchandise 880                                             $           10,141.55
   Blueyonder, Inc.                                        Prepaid Balance On Service/License Agreement July 24 To June 25     $           13,666.37
   Blueyonder, Inc.                                        Prepaid Balance On Service/License Agreement Sept 24 To Aug 25      $            7,754.38
   Blueyonder, Inc.                                        Prepaid Balance On Service/License Agreement Sept 24 To Aug 25      $           76,687.60
   Boss Fight Studio Llc                                   Prepaid Merchandise From Vendor 3419                                $          328,422.04
   Canadian Goods And Services Tax Bond                    Canadian Goods And Services Tax Bond                                $            1,300.00
   Circana, Llc                                            Prepaid Balance On Service/License Agreement 11/24 To 4-25          $           19,890.06
   Cleo Communications                                     Prepaid Balance On Service/License Agreement 11/01/22-10/31/25      $           15,611.24
   Dematic Corp.                                           Prepaid Balance On Service/License Agreement August 24 To July 25   $           26,141.42
   Fanwraps Inc                                            Prepaid Merchandise From Vendor 3150                                $           68,900.00
   Fine Collectibles Corp (Ach)                            Prepaid Merchandise From Vendor 3551                                $           40,420.78
   Flat River Group, Llc Prepay On Po# 352868              Prepaid Merchandise 18265                                           $              478.80
   Flat River Group, Llc Prepay On Po# 358688              Prepaid Merchandise 18265                                           $              191.10
   Flat River Group, Llc Prepay On Po# 359562              Prepaid Merchandise 18265                                           $            6,965.30
   Flat River Group, Llc Prepay On Po# 359823              Prepaid Merchandise 18265                                           $              158.76
   Flat River Group, Llc Prepay On Po# 359886              Prepaid Merchandise 18265                                           $              997.92
   Flying Frog Productions, Llc Prepay On Po# 360165       Prepaid Merchandise 2820                                            $              143.88
   Funko Llc                                               Prepaid Merchandise From Vendor 4552                                $            1,299.60
   Gama Expo                                               Prepayment Related To Gama Expo, February 2025                      $              346.96
   Gama Expo                                               Prepayment Related To Gama Expo, February 2025                      $            1,205.69
   Gatheres' Tavern Pte Ltd Wire                           Prepaid Merchandise From Vendor 3702                                $           97,910.00
   Gencon Trade Show                                       Prepayment For July 2025                                            $            1,228.00
   Good Smile Company                                      Prepaid Merchandise From Vendor 6817                                $        1,013,105.48
   Gtm Magazine                                            Prepayment On Postage (To Be Used Later In January 2025)            $            5,270.79
   Guangdong Pinqi Culture & Tec                           Prepaid Merchandise From Vendor 3717                                $            6,649.50
   Hasbro Inc-Di                                           Prepaid Merchandise From Vendor 667Int                              $           51,019.20
   Insight Direct Usa, Inc.                                Prepaid Balance On Service/License Agreement April 24 To March 25   $            5,996.98
   Ion Game Design (Ionized Game Design Ab) Po# 348853     Prepaid Merchandise 120986                                          $               44.00
   January Previews                                        Prepayment (To Be Received By The End Of January)                   $           70,000.00
   Kaiyodo Co., Ltd                                        Prepaid Merchandise From Vendor 4673                                $          181,968.00
   Kieren Consulting (Dba Golden Goose) Po#                Prepaid Merchandise 122092                                          $           13,789.34
   Kieren Consulting (Dba Golden Goose) Prepay On Po#      Prepaid Merchandise 122092                                          $            6,472.42
   Konami Digital Ent Inc Prepay On Po# 357044             Prepaid Merchandise 4545                                            $            1,211.54
   Konami Digital Ent Inc Prepay On Po# 357046             Prepaid Merchandise 4545                                            $            1,294.54
   Konami Digital Ent Inc Prepay On Po# 357443             Prepaid Merchandise 4545                                            $           26,451.53
   Konami Digital Ent Inc Prepay On Po# 357444             Prepaid Merchandise 4545                                            $           19,237.48
   Konami Digital Ent Inc Prepay On Po# 358634             Prepaid Merchandise 4545                                            $           19,838.65

                                                                         Page 1 of 2
                                Case 25-10308           Doc 155          Filed 02/18/25              Page 25 of 250
Diamond Comic Distributors, Inc.
Case No. 25-10308
Schedule AB 8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent.

                                                                                                                                     Current Value of
                    Holder of Prepayment                                               Description
                                                                                                                                     Debtor's Interest
   Konami Digital Ent Inc Prepay On Po# 358635          Prepaid Merchandise 4545                                                   $           16,832.79
   Konami Digital Ent Inc Prepay On Po# 358636          Prepaid Merchandise 4545                                                   $           22,243.33
   Konami Digital Ent Inc Prepay On Po# 358637          Prepaid Merchandise 4545                                                   $           31,260.90
   Konami Digital Ent Inc Prepay On Po#3 357445         Prepaid Merchandise 4545                                                   $           22,243.33
   Kotobukiya Co., Ltd                                  Prepaid Merchandise From Vendor 4898                                       $           28,232.38
   Looney Labs Po#359913                                Prepaid Merchandise 4860                                                   $            1,362.00
   Mainline Information Systems                         Prepaid Balance On Service/License Agreement March 24 To Feb 25            $            1,865.75
   Mattel Brands                                        Prepaid Merchandise From Vendor 10034                                      $            3,300.00
   Medicom Toy Corporation                              Prepaid Merchandise From Vendor 4239                                       $            1,867.20
   Megahouse Corporation                                Prepaid Merchandise From Vendor 1903                                       $            7,742.40
   Mego Corporation                                     Prepaid Merchandise From Vendor 3547                                       $            7,250.00
   Mezco Toyz Llc                                       Prepaid Merchandise From Vendor 4830Op                                     $         216,467.50
   Multitech, Co                                        Prepaid Merchandise From Vendor 3220Op                                     $           16,869.12
   Newson International Ltd                             Prepaid Merchandise From Vendor 3595                                       $            6,969.60
   Oneadvanced Inc                                      Prepaid Balance On Service/License Agreement 3/2024 To 4/2025              $           12,923.96
   Pegasus Spiele North America Corporation Po#360189   Prepaid Merchandise 119731                                                 $              728.96
   Penguin Random House Llc                             Prepayment On Future Product Shipment From Vendor 235                      $         527,319.30
   Play Monster Llc Po#360667                           Prepaid Merchandise 50948                                                  $            1,608.00
   Play Monster Llc Po#360668                           Prepaid Merchandise 50948                                                  $              576.00
   Playmates Toys Inc.                                  Prepaid Merchandise From Vendor 222D                                       $           32,479.00
   R & R Games Po#360318                                Prepaid Merchandise 6260                                                   $                6.84
   R & R Games Prepaid Po#360613                        Prepaid Merchandise 6260                                                   $              948.24
   Second Sight Publishing                              Prepaid Merchandise From Vendor 3585                                       $            7,900.16
   Star Ace Toys Limited                                Prepaid Merchandise From Vendor 3220                                       $           96,816.79
   Super 7                                              Prepaid Merchandise From Vendor 5577A                                      $            6,876.00
   System Source                                        Prepaid Balance On Service/License Agreement Feb 2024 To Jan 2025          $              368.35
   Threezero (Hong Kong) Ltd                            Prepaid Merchandise From Vendor 11562                                      $         153,447.40
   Tohan Corporation                                    Prepaid Merchandise From Vendor 7819                                       $            8,181.48
   Toy Fair                                             Prepayment March 2025                                                      $              698.63
   Toy Fair                                             Prepayment March 2025                                                      $            9,375.00
   Toynami Inc                                          Prepaid Merchandise From Vendor 4522                                       $            1,536.00
   Unknown                                              Prepaid Business Insurance 4/1/2024 To 03/31/25 Policy Period              $            9,815.18
   Unknown                                              Prepaid Business Insurance 4/1/2024 To 03/31/25 Policy Period              $           66,053.81
                                                        Prepaid Business Insurance 4/1/2024 To 03/31/25 Policy Period , 77 Days (1-
   Unknown                                              14-25 To 3-31-25) Remaining                                                 $         117,035.77
   Ventures Trading (Shanghai) Co                       Prepaid Merchandise From Vendor 12601                                       $         208,700.00
   Xtuple Software                                      Prepaid Balance On Service/License Agreement - 7/2024 To 6/2025             $          62,719.06
   Grand Total                                                                                                                      $       4,039,903.96




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SCHEDULES OF ASSETS AND LIABILITIES

          EXHIBIT FOR SCHEDULE AB

              PART 5, QUESTION 21

FINISHED GOODS, INCLUDING GOODS HELD FOR
                  RESALE
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Diamond Comic Distributors, Inc.
Case No. 25-10308
Schedule AB 21. Finished goods, including goods held for resale

                                                               Date of the Last               Net Book Value of    Valuation Method Used   Current Value of
                  General Description
                                                              Physical Inventory               Debtor's Interest      for Current Value    Debtor's Interest
   Accessories - AGD                              Cycle Counts Are Used And Performed Daily   $         3,411.11       Net Book Value      $       3,411.11
   Accessories Mats Maps Markers - AGD            Cycle Counts Are Used And Performed Daily   $        32,582.99       Net Book Value      $      32,582.99
   Board Game Accessories - AGD                   Cycle Counts Are Used And Performed Daily   $        15,477.58       Net Book Value      $      15,477.58
   Board Games - AGD                              Cycle Counts Are Used And Performed Daily   $      616,645.21        Net Book Value      $     616,645.21
   Books - Graphic Novels - DCD                   Cycle Counts Are Used And Performed Daily   $     4,340,975.65       Net Book Value      $   4,340,975.65
   Books - Novels/SF/Horror - DCD                 Cycle Counts Are Used And Performed Daily   $      859,703.44        Net Book Value      $     859,703.44
   Card Product - DCD                             Cycle Counts Are Used And Performed Daily   $        58,848.76       Net Book Value      $      58,848.76
   Carded Figures (Cases) - UV Protected - CGA    N/A                                         $         5,130.00       Net Book Value      $       5,130.00
   Carded Figures (Cases) - Non UV - CGA          N/A                                         $         6,488.00       Net Book Value      $       6,488.00
   Clothing & Apparel - DCD                       Cycle Counts Are Used And Performed Daily   $         9,609.27       Net Book Value      $       9,609.27
   Collectible Card Game - AGD                    Cycle Counts Are Used And Performed Daily   $     3,901,491.56       Net Book Value      $   3,901,491.56
   Collectible Card Game Accessories - AGD        Cycle Counts Are Used And Performed Daily   $         4,183.32       Net Book Value      $       4,183.32
   Collectible Card Game Albums - AGD             Cycle Counts Are Used And Performed Daily   $        24,803.56       Net Book Value      $      24,803.56
   Collectible Card Game Deck Boxes - AGD         Cycle Counts Are Used And Performed Daily   $        65,354.69       Net Book Value      $      65,354.69
   Collectible Card Game Mats - AGD               Cycle Counts Are Used And Performed Daily   $        29,181.29       Net Book Value      $      29,181.29
   Collectible Card Game Sleeves - AGD            Cycle Counts Are Used And Performed Daily   $      743,822.00        Net Book Value      $     743,822.00
   Comic Accessories - AGD                        Cycle Counts Are Used And Performed Daily   $         9,801.99       Net Book Value      $       9,801.99
   Comics - DCD                                   Cycle Counts Are Used And Performed Daily   $     1,499,669.53       Net Book Value      $   1,499,669.53
   Deck Building Games - AGD                      Cycle Counts Are Used And Performed Daily   $        67,770.63       Net Book Value      $      67,770.63
   Diamond Publications - DCD                     Cycle Counts Are Used And Performed Daily   $        28,990.64       Net Book Value      $      28,990.64
   Dice - AGD                                     Cycle Counts Are Used And Performed Daily   $      392,457.25        Net Book Value      $     392,457.25
   Dice Accessories - AGD                         Cycle Counts Are Used And Performed Daily   $        39,195.97       Net Book Value      $      39,195.97
   Figures/Sets (No UV Protection) - CGA          N/A                                         $         9,416.00       Net Book Value      $       9,416.00
   Figures/Sets (UV Protection) - CGA             N/A                                         $         6,930.00       Net Book Value      $       6,930.00
   Games - DCD                                    Cycle Counts Are Used And Performed Daily   $      263,461.30        Net Book Value      $     263,461.30
   Hobby Painting Accessories - AGD               Cycle Counts Are Used And Performed Daily   $           725.10       Net Book Value      $         725.10
   Hobby Paints and Sprays - AGD                  Cycle Counts Are Used And Performed Daily   $      151,062.02        Net Book Value      $     151,062.02
   Hobby Tools Brushes Glues Basing - AGD         Cycle Counts Are Used And Performed Daily   $        22,084.67       Net Book Value      $      22,084.67
   Magazines - AGD                                Cycle Counts Are Used And Performed Daily   $           176.44       Net Book Value      $         176.44
   Magazines - DCD                                Cycle Counts Are Used And Performed Daily   $        48,338.53       Net Book Value      $      48,338.53
   Marketing - Services Provided - AGD            Cycle Counts Are Used And Performed Daily   $         5,471.93       Net Book Value      $       5,471.93
   Model Kits - AGD                               Cycle Counts Are Used And Performed Daily   $        84,734.78       Net Book Value      $      84,734.78
   Non-Collectible Card Games - AGD               Cycle Counts Are Used And Performed Daily   $      230,856.28        Net Book Value      $     230,856.28
   Novels - AGD                                   Cycle Counts Are Used And Performed Daily   $         4,304.84       Net Book Value      $       4,304.84
   Novelties - Comic - DCD                        Cycle Counts Are Used And Performed Daily   $        33,458.29       Net Book Value      $      33,458.29
   Novelties - Non Comic - DCD                    Cycle Counts Are Used And Performed Daily   $      325,931.48        Net Book Value      $     325,931.48
   Other - CGA                                    N/A                                         $         8,728.00       Net Book Value      $       8,728.00
   Other UV Protection - CGA                      N/A                                         $         5,190.00       Net Book Value      $       5,190.00
   Plush - AGD                                    Cycle Counts Are Used And Performed Daily   $        14,942.06       Net Book Value      $      14,942.06
   Posters Prints Portfolios - DCD                Cycle Counts Are Used And Performed Daily   $         5,264.34       Net Book Value      $       5,264.34
   Puzzles - AGD                                  Cycle Counts Are Used And Performed Daily   $         4,715.31       Net Book Value      $       4,715.31
   Retailers Sales Tools - DCD                    Cycle Counts Are Used And Performed Daily   $        53,650.64       Net Book Value      $      53,650.64
   Supplies - Cards - DCD                         Cycle Counts Are Used And Performed Daily   $      402,176.17        Net Book Value      $     402,176.17
   Supplies - Comic - DCD                         Cycle Counts Are Used And Performed Daily   $     1,537,217.84       Net Book Value      $   1,537,217.84
   Tabletop Miniature Accessories - AGD           Cycle Counts Are Used And Performed Daily   $         6,118.91       Net Book Value      $       6,118.91
   Tabletop Miniature Games - AGD                 Cycle Counts Are Used And Performed Daily   $     1,674,071.21       Net Book Value      $   1,674,071.21
   Tabletop Miniature Terrain - AGD               Cycle Counts Are Used And Performed Daily   $        72,048.27       Net Book Value      $      72,048.27
   Tabletop Role Playing Game Accessories - AGD   Cycle Counts Are Used And Performed Daily   $        41,502.39       Net Book Value      $      41,502.39
   Tabletop Role Playing Game Miniatures - AGD    Cycle Counts Are Used And Performed Daily   $      806,233.30        Net Book Value      $     806,233.30

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Diamond Comic Distributors, Inc.
Case No. 25-10308
Schedule AB 21. Finished goods, including goods held for resale

                                                         Date of the Last               Net Book Value of    Valuation Method Used   Current Value of
                 General Description
                                                        Physical Inventory               Debtor's Interest      for Current Value    Debtor's Interest
   Tabletop Role Playing Games - AGD        Cycle Counts Are Used And Performed Daily   $      622,048.03        Net Book Value      $     622,048.03
   Toys & Models - DCD                      Cycle Counts Are Used And Performed Daily   $     6,966,783.69       Net Book Value      $    6,966,783.69
   Toys and Collectible - AGD               Cycle Counts Are Used And Performed Daily   $        78,849.50       Net Book Value      $      78,849.50
   Video Game Protectors (Non UV) - CGA     N/A                                         $         6,872.00       Net Book Value      $        6,872.00
   Video Game Protectors (UV) - CGA         N/A                                         $         9,360.00       Net Book Value      $        9,360.00
   Grand Total                                                                          $    26,258,317.76                           $   26,258,317.76




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SCHEDULES OF ASSETS AND LIABILITIES


         EXHIBIT FOR SCHEDULE AB

             PART 7, QUESTION 39

                 OFFICE FURNITURE
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Diamond Comic Distributors, Inc.
Case No. 25-10308
Schedule AB 39. Office furniture

                                                 Net Book Value of     Valuation Method Used        Current Value of
               General Description
                                                  Debtor's Interest        for Current Value        Debtor's Interest
    Black Leather Sofa - MD                      $              -      Straight Line Depreciation   $             -
    Carpet & Base For Back Room - IN             $              -      Straight Line Depreciation   $             -
    Chris Powel Office Furniture - MD            $              -      Straight Line Depreciation   $             -
    Cubicles & Installation - Home Office - MD   $              -      Straight Line Depreciation   $             -
    Desk (LT Ped) - MD                           $              -      Straight Line Depreciation   $             -
    Desk (LT Ped) - MD                           $              -      Straight Line Depreciation   $             -
    Desk (LT Ped) - MD                           $              -      Straight Line Depreciation   $             -
    Desk (LT Ped) - MD                           $              -      Straight Line Depreciation   $             -
    Desk (LT Ped) - MD                           $              -      Straight Line Depreciation   $             -
    Desk (LT Ped) - MD                           $              -      Straight Line Depreciation   $             -
    Desk (LT Ped) - MD                           $              -      Straight Line Depreciation   $             -
    Desk (RT Ped) - MD                           $              -      Straight Line Depreciation   $             -
    Desk (RT Ped) - MD                           $              -      Straight Line Depreciation   $             -
    Desk (RT Ped) - MD                           $              -      Straight Line Depreciation   $             -
    Desk (RT Ped) - MD                           $              -      Straight Line Depreciation   $             -
    Desk (RT Ped) - MD                           $              -      Straight Line Depreciation   $             -
    Desk 36X72 - MD                              $              -      Straight Line Depreciation   $             -
    Double Pedestal Desk (No Retunr) - MD        $              -      Straight Line Depreciation   $             -
    Exec. VP Office Furniture - MD               $              -      Straight Line Depreciation   $             -
    Executive Conference Table - MD              $              -      Straight Line Depreciation   $             -
    Executive Conference Table - MD              $              -      Straight Line Depreciation   $             -
    Lobby Conference Room Furniture - MD         $              -      Straight Line Depreciation   $             -
    New Building - Materials - GA                $           992.40    Straight Line Depreciation   $         992.40
    New Desk - VP Of Marketing - MD              $           589.83    Straight Line Depreciation   $         589.83
    Office Furniture - IN                        $              -      Straight Line Depreciation   $             -
    Office Furniture - IN                        $              -      Straight Line Depreciation   $             -
    Office Furniture - V.P. Finance - MD         $              -      Straight Line Depreciation   $             -
    Office Furniture - V.P. Operations - MD      $              -      Straight Line Depreciation   $             -
    Office Furniture - V.P. Purchasing - MD      $              -      Straight Line Depreciation   $             -
    Office Furniture (Chris Powel) - MD          $              -      Straight Line Depreciation   $             -
    Shelves - IN                                 $              -      Straight Line Depreciation   $             -
    Shelving & Modern Storage Equipment - CA     $              -      Straight Line Depreciation   $             -
    Stair Chair Model 59-T - MD                  $              -      Straight Line Depreciation   $             -
     Grand Total                                 $         1,582.23   Straight Line Depreciation    $       1,582.23




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SCHEDULES OF ASSETS AND LIABILITIES


         EXHIBIT FOR SCHEDULE AB

             PART 7, QUESTION 40

                 OFFICE FIXTURE
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Diamond Comic Distributors, Inc.
Case No. 25-10308
Schedule AB 40. Office fixtures

                                                                    Net Book Value of     Valuation Method Used        Current Value of
                        General Description
                                                                     Debtor's Interest       for Current Value         Debtor's Interest
    Additions To New Booth For Trade Shows - MS                     $               -     Straight Line Depreciation   $             -
    APC Server Cabinet - MD                                         $              -      Straight Line Depreciation   $             -
    Cherry Book Cases- Purchasing - MD                              $              -      Straight Line Depreciation   $             -
    Cherry Book Cases- Purchasing - MD                              $              -      Straight Line Depreciation   $             -
    Display Case For Lobby (1 Of 2) - MD                            $              -      Straight Line Depreciation   $             -
    Display Case For Lobby (2 Of 2) - MD                            $              -      Straight Line Depreciation   $             -
    Equipment Case - Chris P - MD                                   $              -      Straight Line Depreciation   $             -
    Lateral Filing Cabinet - MD                                     $              -      Straight Line Depreciation   $             -
    Movable Shelving For Customer Service - MD                      $               -     Straight Line Depreciation   $             -
    Riveter Shelving Sections - MD                                  $               -     Straight Line Depreciation   $             -
    Riveter Shelving Sections - MD                                  $               -     Straight Line Depreciation   $             -
    Shelving For Sapphire Studios - MD                              $           798.80    Straight Line Depreciation   $         798.80
    Slatwall (Movable) - Belmont Conference Room) - MD              $               -     Straight Line Depreciation   $             -
    Trade Show Booth Addition - MD                                  $              -      Straight Line Depreciation   $             -
    Trade Show Booth Addition - MS                                  $              -      Straight Line Depreciation   $             -
    Used Tradeshow Booth - MD                                       $              -      Straight Line Depreciation   $             -
    Grand Total                                                     $           798.80   Straight Line Depreciation    $         798.80




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 SCHEDULES OF ASSETS AND LIABILITIES


          EXHIBIT FOR SCHEDULE AB

              PART 7, QUESTION 41

OFFICE EQUIPMENT, INCLUDING ALL COMPUTER
 EQUIPMENT AND COMMUNICATION SYSTEMS
         EQUIPMENT AND SOFTWARE
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Diamond Comic Distributors, Inc.
Case No. 25-10308
Schedule AB 41. Office equipment, including all computer equipment and communication systems equipment and software

                                                                                        Net Book Value of     Valuation Method Used        Current Value of
                                 General Description
                                                                                         Debtor's Interest       for Current Value         Debtor's Interest
   1 HP Printer P4515N Laserjet - MS                                                    $              -      Straight Line Depreciation   $             -
   1 Zebra ZT41043 T310000Z Printer Serial #18J44205538 - MD                            $              -      Straight Line Depreciation   $             -
   12 Security Cameras Plus Mounting Hardware And Installation - MD                     $              -      Straight Line Depreciation   $             -
   15 Tecton RF Handhelds - MS                                                          $              -      Straight Line Depreciation   $             -
   150Kw Diesel Generator & Installation - MD                                           $              -      Straight Line Depreciation   $             -
   2 8Gb QLogic Host Bus Adaptors For DCDTIMSQLSV2 - MD                                 $              -      Straight Line Depreciation   $             -
   2 Catalyst 3750 48 Port - MD                                                         $              -      Straight Line Depreciation   $             -
   2 Catalyst 6500 Supervisor 720 10GE - MD                                             $              -      Straight Line Depreciation   $             -
   2 Cisco Air CT5508 Up To 100 Access Point Wireless Controllers - MD                  $              -      Straight Line Depreciation   $             -
   2 Cisco Air-CT5508 Wireless Controllers (Up To 100 Access Points) - MS               $              -      Straight Line Depreciation   $             -
   2 Cisco Air-CT5508 Wireless Controllers (Up To 55 Access Points) - MS                $              -      Straight Line Depreciation   $             -
   2 Cisco Air-CT5508 Wireless Controllers (Up To 55 Access Points) - MS                $              -      Straight Line Depreciation   $             -
   2 Cisco WS-6708 - 10GE Modules - MD                                                  $              -      Straight Line Depreciation   $             -
   2 Large AC Units For Home Office Server Room (Movable) - MD                          $              -      Straight Line Depreciation   $             -
   2 Metal Doors - MS                                                                   $              -      Straight Line Depreciation   $             -
   2 Tecton RF Handhelds - MS                                                           $              -      Straight Line Depreciation   $             -
   2 Tecton RF Handhelds - MS                                                           $              -      Straight Line Depreciation   $             -
   20 Catalyst 3750 48 Port Switches - MD                                               $              -      Straight Line Depreciation   $             -
   20 Tecton Handheld Computers - MS                                                    $              -      Straight Line Depreciation   $             -
   20X40 Stationary Canopy - MS                                                         $              -      Straight Line Depreciation   $             -
   3 Networking Data Cabbinets - MS                                                     $              -      Straight Line Depreciation   $             -
   4 Cisco 3750G 48 Port - MD                                                           $              -      Straight Line Depreciation   $             -
   4 Tecton Handheld Computers - MS                                                     $              -      Straight Line Depreciation   $             -
   40 Fluorescent Lights And Installation. Installation Of Conduit And Wire. - MS       $              -      Straight Line Depreciation   $             -
   6 Pairs Of Folding Gates - MS                                                        $              -      Straight Line Depreciation   $             -
   72" Stack-On Veneer - MD                                                             $              -      Straight Line Depreciation   $             -
   8 Used APC Equipment Rack - MD                                                       $              -      Straight Line Depreciation   $             -
   Addition To Asset # 5451 - Travel Expense For Installation Of Security Cameras -
   MS                                                                                   $             -       Straight Line Depreciation   $            -
   Additional Memory For Server - East - PA                                             $             -       Straight Line Depreciation   $            -
   Airaya PTP GHZ Bridge Kit - MD                                                       $             -       Straight Line Depreciation   $            -
   Aircenter Sm 7.5 (Air Compressor) - MS                                               $             -       Straight Line Depreciation   $            -
   Alarm System Addition - Mezzanine #5 - MS                                            $             -       Straight Line Depreciation   $            -
   All Star Communications Fiber Optic Cabling - IN                                     $             -       Straight Line Depreciation   $            -
   APC Battery Backup System - MS                                                       $             -       Straight Line Depreciation   $            -
   APC Rack & Power Dist Strip For Server - East - PA                                   $             -       Straight Line Depreciation   $            -
   APC Smart Ups (From Gem) - MD                                                        $             -       Straight Line Depreciation   $            -
   APC Smart-Ups 4Kw-5000 VA & Transformer West - CA                                    $             -       Straight Line Depreciation   $            -
   APC Smart-Ups Srt 5000VA Rm - Ups - 4250 Watt - 5000VA For MW - IN                   $             -       Straight Line Depreciation   $            -
   Ark Security System - MD                                                             $             -       Straight Line Depreciation   $            -
   Ark Security System Software - MD                                                    $             -       Straight Line Depreciation   $            -
   Astra Voip Phone System - MD                                                         $             -       Straight Line Depreciation   $            -
   Axis 216MFD Network Camera - MS                                                      $             -       Straight Line Depreciation   $            -
   Axis 216MFD Network Camera - MS                                                      $             -       Straight Line Depreciation   $            -
   Barcode Scanner - Mark W (Panasonic FZ-NI) - MD                                      $           26.73     Straight Line Depreciation   $          26.73
   Battery Backup: APC Smart Ups S/N: Sas1528135391 And APC Transformer S/N:
   Ap9626 - MS                                                                          $              -      Straight Line Depreciation   $            -
   Battery Backup-APC Smart-Ups SW - TX                                                 $              -      Straight Line Depreciation   $            -
   Battery Backups - APC SUA5000RMT5U UPS, APC, Surt003 Step-Down - MW -
   IN                                                                                   $             -       Straight Line Depreciation   $            -
   Bectech Global Server - Home Office - MD                                             $             -       Straight Line Depreciation   $            -
   Becteck Global Server X1 HPE DL360R10 - MD                                           $             -       Straight Line Depreciation   $            -
   Becteck Global Server -X2 HPQ DL380R09 8SFF - MD                                     $             -       Straight Line Depreciation   $            -
   Becteck Global Server -X2 HPQ DL380R09 8SFF - MD                                     $             -       Straight Line Depreciation   $            -
   Becteck Global Server -X2 HPQ DL380R09 8SFF - MD                                     $             -       Straight Line Depreciation   $            -
   Becteck Global Server -X2 HPQ DL380R09 8SFF - MD                                     $             -       Straight Line Depreciation   $            -
   Bkueyonder 10 Voice Devices (TT-1010 A710X) - MS                                     $       21,623.50     Straight Line Depreciation   $      21,623.50
   Bkueyonder 10 Voice Devices (TT-1010 A710X) - MS                                     $       23,053.71     Straight Line Depreciation   $      23,053.71
   Bkueyonder Voice Device (A700 Series BT-91-4-100B) - MS                              $        2,553.10     Straight Line Depreciation   $       2,553.10
   Blackmagic Design Studio Camera (Comic Wow) - MD                                     $             -       Straight Line Depreciation   $            -
   Blackmagic Design Studio Camera (Comic Wow) - MD                                     $             -       Straight Line Depreciation   $            -

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Diamond Comic Distributors, Inc.
Case No. 25-10308
Schedule AB 41. Office equipment, including all computer equipment and communication systems equipment and software

                                                                                      Net Book Value of    Valuation Method Used        Current Value of
                                General Description
                                                                                       Debtor's Interest      for Current Value         Debtor's Interest
   Blackmagic Design Studio Camera (Comic Wow) - MD                                   $              -     Straight Line Depreciation   $             -
   Blueyonder Handheld Picking Equipment - MS                                         $        22,195.37   Straight Line Depreciation   $      22,195.37
   Cabinate For Server- APC Metered Rack, APC Netshelter Rack- MW - IN                $              -     Straight Line Depreciation   $             -
   Cabling For New Work Stations Visalia Ca - CA                                      $              -     Straight Line Depreciation   $             -
   Camera Equipment (Digital) - MD                                                    $         2,447.11   Straight Line Depreciation   $       2,447.11
   Catalyst 3750 48 Port 10/100/1000 Poe+Swith - IN                                   $              -     Straight Line Depreciation   $             -
   Catalyst 3750 48 Port Switch & Wiring - MS                                         $              -     Straight Line Depreciation   $             -
   Catalyst 6509E Switch (A&B-Ft. Wayne) - IN                                         $              -     Straight Line Depreciation   $             -
   Cisco 24 Port Ethernet Switch - MS                                                 $              -     Straight Line Depreciation   $             -
   Cisco 24 Port Ethernet Switch - MS                                                 $              -     Straight Line Depreciation   $             -
   Cisco 24 Port Ethernet Switch - MS                                                 $              -     Straight Line Depreciation   $             -
   Cisco 24 Port Ethernet Switch - MS                                                 $              -     Straight Line Depreciation   $             -
   Cisco 24 Port Ethernet Switch - MS                                                 $              -     Straight Line Depreciation   $             -
   Cisco 24 Port Ethernet Switch - MS                                                 $              -     Straight Line Depreciation   $             -
   Cisco 24 Port Ethernet Switch - MS                                                 $              -     Straight Line Depreciation   $             -
   Cisco 24 Port Ethernet Switch - MS                                                 $              -     Straight Line Depreciation   $             -
   Cisco 24 Port Ethernet Switch - MS                                                 $              -     Straight Line Depreciation   $             -
   Cisco 4507R-E 48 Port (Server Room) - MD                                           $              -     Straight Line Depreciation   $             -
   Cisco 4507R-E 48 Port (Server Room) - MD                                           $              -     Straight Line Depreciation   $             -
   Cisco 4507R-E 48 Port (Server Room) - MD                                           $              -     Straight Line Depreciation   $             -
   Cisco 4507R-E 48 Port (Server Room) - MD                                           $              -     Straight Line Depreciation   $             -
   Cisco 4507R-E Network Switch - MD                                                  $              -     Straight Line Depreciation   $             -
   Cisco 6509 Switch - MS                                                             $              -     Straight Line Depreciation   $             -
   Cisco Air CT5508 Controller - MD                                                   $              -     Straight Line Depreciation   $             -
   Cisco Air-CT5508-05-K9 5500 Series Wireless Controller - SW - TX                   $              -     Straight Line Depreciation   $             -
   Cisco Air-CT5508-50-K9 Wireless Cont West - CA                                     $              -     Straight Line Depreciation   $             -
   Cisco Air-CT5508-50-K9 Wireless Cont. MW Ft. Wayne - IN                            $              -     Straight Line Depreciation   $             -
   Cisco Asa 5540 - MD                                                                $              -     Straight Line Depreciation   $             -
   Cisco Ethernet Switches, Cisco Wireless Access Ponts, Fiber Points - MS            $              -     Straight Line Depreciation   $             -
   Cisco Ethernet Switches, Wireless Accress Points, Fiber Points - MS                $              -     Straight Line Depreciation   $             -
   Cisco Redundant Chassis, AC Pwr Supply, Supervisor V Module, Poe Card - West -
   CA                                                                                 $             -      Straight Line Depreciation   $            -
   Cisco Switch Chassis, Module, Power Supply, And Wireless Controllers - MS          $             -      Straight Line Depreciation   $            -
   Cisco Switch Chassis, Module, Power Supply, And Wireless Controllers - MS          $             -      Straight Line Depreciation   $            -
   Cisco W-S X6148A - MS                                                              $             -      Straight Line Depreciation   $            -
   Closed Condenza Veneer - MD                                                        $             -      Straight Line Depreciation   $            -
   Cobal Iron Backup/Storage System - MD                                              $      117,942.21    Straight Line Depreciation   $     117,942.21
   Comic Wow Live Stream Production Switcher (HD550 4K) - MD                          $             -      Straight Line Depreciation   $            -
   Computer Equipment For Office - GA                                                 $          571.32    Straight Line Depreciation   $         571.32
   Computer Hard Drive Destroyer (Physical Destroyer) - MD                            $             -      Straight Line Depreciation   $            -
   Copier - A4, Savin MP301SPF SW - TX                                                $             -      Straight Line Depreciation   $            -
   Copier, Savin MP2555SP - East - PA                                                 $             -      Straight Line Depreciation   $            -
   Copier, Savin MP2555SP - West - CA                                                 $             -      Straight Line Depreciation   $            -
   CVN21Q Copier, Savin MP3054SP 3054P - IN                                           $             -      Straight Line Depreciation   $            -

   CVNa A4 Savin MP301SPF Printer, Network And Fax Protection, And Toner - MD         $             -      Straight Line Depreciation   $            -
   Data Cables - (Cat 5) Movable - MS                                                 $             -      Straight Line Depreciation   $            -
   DB-Intergrate Product Server License (Transoft) - MD                               $             -      Straight Line Depreciation   $            -
   Dematic Picking System (Software) - MS                                             $       72,298.52    Straight Line Depreciation   $      72,298.52
   Executive Lunch Room Refrigerator - MD                                             $             -      Straight Line Depreciation   $            -
   Fence 742' Of Wire 12' Ware(House Fence), 12 Gates - MS                            $             -      Straight Line Depreciation   $            -
   Fence And Gates - MS                                                               $             -      Straight Line Depreciation   $            -
   Fire Alarm Additions (Polk Mezzanie) - MS                                          $             -      Straight Line Depreciation   $            -
   Fire Alarm New Mezzanine - MS                                                      $             -      Straight Line Depreciation   $            -
   Fire Alarm Panel Addition - MS                                                     $             -      Straight Line Depreciation   $            -
   Gearbox & Motor For OB Fan - MS                                                    $             -      Straight Line Depreciation   $            -
   Handheld Computer, Battery, And Protective Case - MS                               $             -      Straight Line Depreciation   $            -
   Handheld Computer, Battery, And Protective Case - MS                               $             -      Straight Line Depreciation   $            -
   Handheld Computer, Battery, And Protective Case - MS                               $             -      Straight Line Depreciation   $            -
   Handheld Computer, Battery, And Protective Case - MS                               $             -      Straight Line Depreciation   $            -
   Handheld Computer, Battery, And Protective Case - MS                               $             -      Straight Line Depreciation   $            -

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                             General Description
                                                                                 Debtor's Interest      for Current Value         Debtor's Interest
   Handheld Computer, Battery, And Protective Case - MS                         $              -     Straight Line Depreciation   $             -
   Handheld Computer, Battery, And Protective Case - MS                         $              -     Straight Line Depreciation   $             -
   Handheld Computer, Battery, And Protective Case - MS                         $              -     Straight Line Depreciation   $             -
   Handheld Computer, Battery, And Protective Case - MS                         $              -     Straight Line Depreciation   $             -
   Handheld Computer, Battery, And Protective Case - MS                         $              -     Straight Line Depreciation   $             -
   Handheld Computer, Battery, And Protective Case - MS                         $              -     Straight Line Depreciation   $             -
   Handheld Computer, Battery, And Protective Case - MS                         $              -     Straight Line Depreciation   $             -
   Handheld Computer, Battery, And Protective Case - MS                         $              -     Straight Line Depreciation   $             -
   Handheld Computer, Battery, And Protective Case - MS                         $              -     Straight Line Depreciation   $             -
   Handheld Computer, Battery, And Protective Case - MS                         $              -     Straight Line Depreciation   $             -
   Handheld Computer, Battery, And Protective Case - MS                         $              -     Straight Line Depreciation   $             -
   Handheld Computer, Battery, And Protective Case - MS                         $              -     Straight Line Depreciation   $             -
   Handheld Computer, Battery, And Protective Case - MS                         $              -     Straight Line Depreciation   $             -
   Handheld Computer, Battery, And Protective Case - MS                         $              -     Straight Line Depreciation   $             -
   Handheld Computer, Battery, And Protective Case - MS                         $              -     Straight Line Depreciation   $             -
   Handheld Computer, Battery, And Protective Case - MS                         $              -     Straight Line Depreciation   $             -
   Handheld Computer, Battery, And Protective Case - MS                         $              -     Straight Line Depreciation   $             -
   Home OFC 3Rd Floor Security - MD                                             $         3,665.40   Straight Line Depreciation   $       3,665.40
   Home Office Ice Maker - MD                                                   $              -     Straight Line Depreciation   $             -
   HP Color Laserjet 3700N - MD                                                 $              -     Straight Line Depreciation   $             -
   HP Color Laserjet M750Dn Printer (Serial # Cndchd60Z9) - MD                  $              -     Straight Line Depreciation   $             -
   HP Color Lasterjet M750 Printer - MD                                         $              -     Straight Line Depreciation   $             -
   HP DL - 360 GP Server - MD                                                   $              -     Straight Line Depreciation   $             -
   HP DL - 360 GP Server - MD                                                   $              -     Straight Line Depreciation   $             -
   HP DL - 360 GP Server - MD                                                   $              -     Straight Line Depreciation   $             -
   HP DL 360 G9 Server - MD                                                     $              -     Straight Line Depreciation   $             -
   HP DL 360 G9 Server - MD                                                     $              -     Straight Line Depreciation   $             -
   HP DL 360 G9 Server - MD                                                     $              -     Straight Line Depreciation   $             -
   HP DL 360 G9 Server - MD                                                     $              -     Straight Line Depreciation   $             -
   HP DL 360 G9 Server - MD                                                     $              -     Straight Line Depreciation   $             -
   HP DL360 Gen 8 Server - MD                                                   $              -     Straight Line Depreciation   $             -
   HP DL360 Gen 8 Server (From Gem) - MD                                        $              -     Straight Line Depreciation   $             -
   HP DL360R 8 Core Server - MD                                                 $              -     Straight Line Depreciation   $             -
   HP Elitebook I7 Laptop - MS                                                  $              -     Straight Line Depreciation   $             -
   HP Elitebook Iy Quad Core Laptop - MD                                        $              -     Straight Line Depreciation   $             -
   HP Laserjet Ent 600 M60 Printer (OB Line Printer) - MD                       $              -     Straight Line Depreciation   $             -
   HP LJ 602DN Printer - MS                                                     $              -     Straight Line Depreciation   $             -
   HP P3015N Laserjet Printer (HR Dept) - MD                                    $              -     Straight Line Depreciation   $             -
   HP P4515N Lazerjet Printer - MS                                              $              -     Straight Line Depreciation   $             -
   HP Pos Customer Demo Machine - Eric B - MD                                   $              -     Straight Line Depreciation   $             -
   HP Proliant DL 360 Sever - MD                                                $           988.80   Straight Line Depreciation   $         988.80
   HP Proliant DL 360 Sever - MD                                                $           988.80   Straight Line Depreciation   $         988.80
   HP Proliant DL380 Gen 7 Server Dual X 5690 Processors - MD                   $              -     Straight Line Depreciation   $             -
   HP Proliant DL380 Gen 7 Server Dual X 5690 Processors - MD                   $              -     Straight Line Depreciation   $             -
   HP Proliant Server, Processor, And Accessories - MS                          $              -     Straight Line Depreciation   $             -
   HP Remote Access Kit, HP KVM Console Switch, KVM Console LCD8500, 2
   Keyboards - MS                                                            $                -      Straight Line Depreciation   $            -
   HP Scanjet N8460 Printer - MS                                             $                -      Straight Line Depreciation   $            -
   HP Server, Processor, And Hard Drives - MS                                $                -      Straight Line Depreciation   $            -
   HP Server, Processor, And Hard Drives - MS                                $                -      Straight Line Depreciation   $            -
   HP Z6200 42' Banner Printer - MD                                          $                -      Straight Line Depreciation   $            -
   HPE DL360Ron Server (Bectech) - MD                                        $                -      Straight Line Depreciation   $            -
   HPE LCD8500-KVM Console - Keyboard, Video, Mouse System For Server - MW -
   IN                                                                        $                 -     Straight Line Depreciation   $            -
   HPE Proliant DL380 Server - MD                                            $            1,802.00   Straight Line Depreciation   $       1,802.00
   HPE Proliant DL380 Server - MD                                            $            1,802.00   Straight Line Depreciation   $       1,802.00
   HPE Proliant Microserver Gen 10 - MD                                      $              354.89   Straight Line Depreciation   $         354.89
   HPE Server - MD                                                           $                 -     Straight Line Depreciation   $            -
   HPE Server With Battery Backup System - MS                                $                 -     Straight Line Depreciation   $            -
   Hyper V Server -Hardware Expansion - MD                                   $                 -     Straight Line Depreciation   $            -
   Hyper V Server -Software Expansion - MD                                   $                 -     Straight Line Depreciation   $            -

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   I7 6800K High End PC Build - MD                                                   $              -     Straight Line Depreciation   $             -
   IBM AIX Standard 7.1 Software - MD                                                $              -     Straight Line Depreciation   $             -
   IBM Flash System 5200 - MD                                                        $        11,392.32   Straight Line Depreciation   $      11,392.32
   IBM Flashsystem 5200 - MD                                                         $         3,690.96   Straight Line Depreciation   $       3,690.96
   IBM Flashsystem 7300 - MD                                                         $        49,327.31   Straight Line Depreciation   $      49,327.31
   IBM Hyper V Host Server 1 - MD                                                    $              -     Straight Line Depreciation   $             -
   IBM Hyper V Host Server 2 - MD                                                    $              -     Straight Line Depreciation   $             -
   IBM Hyper V Host Server 3 - MD                                                    $              -     Straight Line Depreciation   $             -
   IBM Hyper V Host Server 4 - MD                                                    $              -     Straight Line Depreciation   $             -
   IBM Mainline (Hos) Server - MD                                                    $              -     Straight Line Depreciation   $             -
   IBM Mainline Server (Hos) Software - MD                                           $              -     Straight Line Depreciation   $             -
   IBM San Expansion/Upgrade - MS                                                    $              -     Straight Line Depreciation   $             -
   IBM San248-5 - MD                                                                 $         1,007.24   Straight Line Depreciation   $       1,007.24
   IBM Storewise Expansion - MD                                                      $           761.84   Straight Line Depreciation   $         761.84
   IBM Storewize Hardware Expansion - MS                                             $              -     Straight Line Depreciation   $             -
   IBM Storewize Software Expansion - MS                                             $              -     Straight Line Depreciation   $             -
   IBM V7000 Server Expansion (Dematic Related) - MS                                 $              -     Straight Line Depreciation   $             -
   IBM V7000 Software Expansion (Dematic Related) - MS                               $              -     Straight Line Depreciation   $             -
   Installation Of Networking/Server Equipment - York Rd Home Office - MD            $              -     Straight Line Depreciation   $             -
   Intel Xeon Server (HPE) - MS                                                      $         4,290.92   Straight Line Depreciation   $       4,290.92
   Intel Xeon Server (HPE) - MS                                                      $         4,290.92   Straight Line Depreciation   $       4,290.92
   Intel Xeon Server (HPE) - MS                                                      $         5,276.34   Straight Line Depreciation   $       5,276.34
   Intel Xeon Server (HPE) - MS                                                      $         5,276.34   Straight Line Depreciation   $       5,276.34
   Kyocera Taskalfa 7002 Printer/Copier - MS                                         $              -     Straight Line Depreciation   $             -
   Label Printer - Zebra ZT400 Monochorome - IN                                      $              -     Straight Line Depreciation   $             -
   Label Printer - Zebra ZT400 Series410 - South - TX                                $              -     Straight Line Depreciation   $             -
   Label Printers/Paper/Equipment - Invoice #332902 - GA                             $         3,866.37   Straight Line Depreciation   $       3,866.37
   Laptop OB It Support Department - MS                                              $              -     Straight Line Depreciation   $             -
   Letter Opener (Geppi Mail Room) - MD                                              $              -     Straight Line Depreciation   $             -
   Mainline 9009 Model 41G Server - MD                                               $        12,152.91   Straight Line Depreciation   $      12,152.91
   Mainline Lenovo X3550 Server - MS                                                 $              -     Straight Line Depreciation   $             -
   Mainline Server Enclosure - MS                                                    $              -     Straight Line Depreciation   $             -
   Mainline TSM Server Medium - X 3650 M5 - MD                                       $              -     Straight Line Depreciation   $             -
   Mainline TSM Server Medium - X 3650 M5 - MS                                       $              -     Straight Line Depreciation   $             -
   Memory And CPU Upgrade To Server - MD                                             $              -     Straight Line Depreciation   $             -
   Metal Detector (820 Crosspiece) - MS                                              $              -     Straight Line Depreciation   $             -
   Metal Detector (PMD - 2/PTZ - Used Demo) - MS                                     $              -     Straight Line Depreciation   $             -
   Microsoft Surface Book I7 Laptop - Mark Winsor - MD                               $              -     Straight Line Depreciation   $             -
   Microsoft Surface Pro 4 - MD                                                      $              -     Straight Line Depreciation   $             -
   Microsoft Surface Pro 4 - MD                                                      $              -     Straight Line Depreciation   $             -
   Microsoft Surface Pro 4 13.5 Inch I7 6600U - (Dave L) - MD                        $              -     Straight Line Depreciation   $             -
   Microsoft Surface Pro 4 13.5 Inch I7 6600U - MD                                   $              -     Straight Line Depreciation   $             -
   Microsoft Surface Pro 4 13.5 Inch I7 6600U - MD                                   $              -     Straight Line Depreciation   $             -
   Movable File System - MD                                                          $              -     Straight Line Depreciation   $             -
   Movable File System - MD                                                          $              -     Straight Line Depreciation   $             -
   Movable Sign - Polk - MS                                                          $              -     Straight Line Depreciation   $             -
   MS Surface Book 2 I7 15" Screen Laptop - MD                                       $              -     Straight Line Depreciation   $             -
   MS Surface Book Core I7 Laptop - MD                                               $              -     Straight Line Depreciation   $             -
   MW New Circuit - Cisco 4507R - IN                                                 $              -     Straight Line Depreciation   $             -
   MXM904N Printer/Copier - MS                                                       $              -     Straight Line Depreciation   $             -
   Network Adapter - West - CA                                                       $              -     Straight Line Depreciation   $             -
   Network Adapter And Transceiver Module (10Gb Ethernet) - MD                       $              -     Straight Line Depreciation   $             -
   Network Card Added To ALGWESHYPPR1 - Server - West - CA                           $              -     Straight Line Depreciation   $             -
   Network Surveillance Recorder And Security Cameras - MS                           $              -     Straight Line Depreciation   $             -
   Network Surveillance Recorder, Dome Cam - West - CA                               $              -     Straight Line Depreciation   $             -
   New Location Computer Monitors/Equipment - GA                                     $         1,019.60   Straight Line Depreciation   $       1,019.60
   New Location Printers - GA                                                        $         2,170.26   Straight Line Depreciation   $       2,170.26
   Office Equipment-S.G. - MD                                                        $             1.65   Straight Line Depreciation   $            1.65
   Omation Envelope Opener - MD                                                      $              -     Straight Line Depreciation   $             -
   Optislot Slotting Software - OB - MS                                              $              -     Straight Line Depreciation   $             -


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   Pan Toughpad FZ-X1 - Tablet - Android 4.2.2 Jelly Bean & Accessory Kit East -
   PA                                                                                   $             -      Straight Line Depreciation   $            -

   Pan Toughpad FZ-X1 - Tablet -Android 4.2.2 Jelle Bean & Accessory Kit MW - IN        $             -      Straight Line Depreciation   $            -
   Pan Toughpad FZ-X1 Tablet Android(Jellybean) MW - IN                                 $             -      Straight Line Depreciation   $            -
   Panasonic Toughpad FZ-X1 (Jelly Bean) West - CA                                      $           54.61    Straight Line Depreciation   $          54.61
   PC Parts & Equipments To Build Computers - IN                                        $             -      Straight Line Depreciation   $            -
   Polycom Sounstation Ip 7000 Voip - MS                                                $             -      Straight Line Depreciation   $            -
   Printer - HP P4015X Monochrome Laser Jet - IN                                        $             -      Straight Line Depreciation   $            -
   Projector System (Sapphire) - MD                                                     $          557.56    Straight Line Depreciation   $         557.56
   Raise 3D Printer - MD                                                                $             -      Straight Line Depreciation   $            -
   Raritan DKX3-116 KVM Switch - MD                                                     $             -      Straight Line Depreciation   $            -
   Raritan DKX3-116 KVM Switch - MD                                                     $             -      Straight Line Depreciation   $            -
   Raymond Order Picker - Model 540-OPC30TT Serial #540-14-A21337 - MS                  $             -      Straight Line Depreciation   $            -
   Raymond Order Picker - Model 540-OPC30TT Serial #540-14-A21338 - MS                  $             -      Straight Line Depreciation   $            -
   RDIF System & Hardware From Red Prairie - MS                                         $             -      Straight Line Depreciation   $            -
   Recon HPE Proliant DL380 Gen 9 Server - MD                                           $        1,462.80    Straight Line Depreciation   $       1,462.80
   Savin MP301SPF Copier MW - IN                                                        $             -      Straight Line Depreciation   $            -
   Security System - Card Access Final Instalation - MD                                 $             -      Straight Line Depreciation   $            -
   Security System Addition (Ark & Home Office Building Interface) - MD                 $             -      Straight Line Depreciation   $            -
   Server - East - PA                                                                   $             -      Straight Line Depreciation   $            -
   Server - MD                                                                          $             -      Straight Line Depreciation   $            -
   Server & Component - East - PA                                                       $             -      Straight Line Depreciation   $            -
   Server Cabinets And Accessories - MD                                                 $             -      Straight Line Depreciation   $            -
   Server CTO HP Proliant DL260P G8 - MW - IN                                           $             -      Straight Line Depreciation   $            -
   Server DL360P Gen8 8-SFF CTO MW - IN                                                 $             -      Straight Line Depreciation   $            -
   Server For East -2 - PA                                                              $             -      Straight Line Depreciation   $            -
   Server Net Work System - Battery Backup SW - TX                                      $             -      Straight Line Depreciation   $            -
   Server Network Installation Expenses- SW - TX                                        $             -      Straight Line Depreciation   $            -
   Server Network System -Battery Backup & Cabinet - SW - TX                            $             -      Straight Line Depreciation   $            -
   Sharp Mx M905 High SP Printer - MS                                                   $             -      Straight Line Depreciation   $            -
   Signs - Home Office - MD                                                             $             -      Straight Line Depreciation   $            -
   Single Pedestal Dest With Right Return - MD                                          $             -      Straight Line Depreciation   $            -
   Solar Screen Shades - MS                                                             $             -      Straight Line Depreciation   $            -
   Spanish Language Addition - Dematic - MS                                             $             -      Straight Line Depreciation   $            -
   Spanish Language Addition To Dematic Software - MS                                   $        5,022.97    Straight Line Depreciation   $       5,022.97
   SW New Server - HP - TX                                                              $             -      Straight Line Depreciation   $            -
   Talkman @ A500 Wearable Computer, Battery And Headsets - MS                          $             -      Straight Line Depreciation   $            -
   Talkman @ A500 Wearable Computer, Battery And Headsets - MS                          $             -      Straight Line Depreciation   $            -
   Talkman @ A500 Wearable Computer, Battery And Headsets - MS                          $             -      Straight Line Depreciation   $            -
   Talkman @ A500 Wearable Computer, Battery And Headsets - MS                          $             -      Straight Line Depreciation   $            -
   Talkman @ A500 Wearable Computer, Battery And Headsets - MS                          $             -      Straight Line Depreciation   $            -
   Talkman @ A500 Wearable Computer, Battery And Headsets - MS                          $             -      Straight Line Depreciation   $            -
   Talkman @ A500 Wearable Computer, Battery And Headsets - MS                          $             -      Straight Line Depreciation   $            -
   Talkman @ A500 Wearable Computer, Battery And Headsets - MS                          $             -      Straight Line Depreciation   $            -
   Talkman @ A500 Wearable Computer, Battery And Headsets - MS                          $             -      Straight Line Depreciation   $            -
   Talkman @ A500 Wearable Computer, Battery And Headsets - MS                          $             -      Straight Line Depreciation   $            -
   Talkman Wearable TT-801 A500 Device, Battery, And Replacement Elastomer
   Cover - MS                                                                           $             -      Straight Line Depreciation   $            -
   Talkman Wearable TT-801 A500 Device, Battery, And Replacement Elastomer
   Cover - MS                                                                           $             -      Straight Line Depreciation   $            -
   Talkman Wearable TT-801 A500 Device, Battery, And Replacement Elastomer
   Cover - MS                                                                           $             -      Straight Line Depreciation   $            -
   Talkman Wearable TT-801 A500 Device, Battery, And Replacement Elastomer
   Cover - MS                                                                           $             -      Straight Line Depreciation   $            -
   Talkman Wearable TT-801 A500 Device, Battery, And Replacement Elastomer
   Cover - MS                                                                           $             -      Straight Line Depreciation   $            -
   Talkman Wearable TT-801 A500 Device, Battery, And Replacement Elastomer
   Cover - MS                                                                           $             -      Straight Line Depreciation   $            -
   Talkman Wearable TT-801 A500 Device, Battery, And Replacement Elastomer
   Cover - MS                                                                           $             -      Straight Line Depreciation   $            -

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                                                                                      Debtor's Interest      for Current Value          Debtor's Interest
   Talkman Wearable TT-801 A500 Device, Battery, And Replacement Elastomer
   Cover - MS                                                                         $             -      Straight Line Depreciation   $            -
   Talkman Wearable TT-801 A500 Device, Battery, And Replacement Elastomer
   Cover - MS                                                                         $             -      Straight Line Depreciation   $            -
   Talkman Wearable TT-801 A500 Device, Battery, And Replacement Elastomer
   Cover - MS                                                                         $             -      Straight Line Depreciation   $            -
   TC-300 Trash Compactor - MS                                                        $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Battery And Protective Cover - MS                       $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Battery And Protective Cover - MS                       $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Battery And Protective Cover - MS                       $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Battery And Protective Cover - MS                       $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Battery And Protective Cover - MS                       $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Battery And Protective Cover - MS                       $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Battery And Protective Cover - MS                       $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Battery And Protective Cover - MS                       $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Battery And Protective Cover - MS                       $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Battery And Protective Cover - MS                       $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Litium Ion Battery, And Charger - MS                    $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Litium Ion Battery, And Charger - MS                    $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Litium Ion Battery, And Charger - MS                    $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Litium Ion Battery, And Charger - MS                    $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Litium Ion Battery, And Charger - MS                    $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Litium Ion Battery, And Charger - MS                    $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Litium Ion Battery, And Charger - MS                    $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Litium Ion Battery, And Charger - MS                    $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Litium Ion Battery, And Charger - MS                    $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Litium Ion Battery, And Charger - MS                    $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Litium Ion Battery, And Charger - MS                    $             -      Straight Line Depreciation   $            -
   Tecton Hand Held Computer, Litium Ion Battery, And Charger - MS                    $             -      Straight Line Depreciation   $            -
   Tecton Handheld Computer, Battery, And Protective Boot Mx7T2B1B1Bous4D -
   MS                                                                                 $             -      Straight Line Depreciation   $            -
   Tecton Handheld Computer, Battery, And Protective Boot Mx7T2B1B1Bous4D -
   MS                                                                                 $             -      Straight Line Depreciation   $            -
   Tecton Handheld Computer, Battery, And Protective Boot Mx7T2B1B1Bous4D -
   MS                                                                                 $             -      Straight Line Depreciation   $            -
   Tecton Handheld Computer, Battery, And Protective Boot Mx7T2B1B1Bous4D -
   MS                                                                                 $             -      Straight Line Depreciation   $            -
   Tecton Handheld Computer, Battery, And Protective Boot Mx7T2B1B1Bous4D -
   MS                                                                                 $             -      Straight Line Depreciation   $            -
   Tecton Handheld Computer, Battery, And Protective Boot Mx7T2B1B1Bous4D -
   MS                                                                                 $             -      Straight Line Depreciation   $            -
   Tecton Handheld Computer, Battery, And Protective Boot Mx7T2B1B1Bous4D -
   MS                                                                                 $             -      Straight Line Depreciation   $            -
   Tecton Handheld Computer, Battery, And Protective Boot Mx7T2B1B1Bous4D -
   MS                                                                                 $             -      Straight Line Depreciation   $            -
   Tecton Handheld Computer, Battery, And Protective Boot Mx7T2B1B1Bous4D -
   MS                                                                                 $             -      Straight Line Depreciation   $            -
   Tecton Handheld Computer, Battery, And Protective Boot Mx7T2B1B1Bous4D -
   MS                                                                                 $             -      Straight Line Depreciation   $            -
   Two Drawer Lateral File For Office Of Purchasing V.P. - MD                         $             -      Straight Line Depreciation   $            -
   Used Pallet Racking For HigHPoint - MS                                             $        1,401.70    Straight Line Depreciation   $       1,401.70
   Vestil Low-Profile Pallet Truck With Scale - PA                                    $             -      Straight Line Depreciation   $            -
   Video System For Server - West - CA                                                $             -      Straight Line Depreciation   $            -
   Voice Unit Software Voiceconsole V4.1 Voicecatalyst A500 V1.1 Voicedirect V3.1
   - MS                                                                               $             -      Straight Line Depreciation   $            -
   Voice Unit Software Voiceconsole V4.1 Voicecatalyst A500 V1.1 Voicedirect V3.1
   - MS                                                                               $             -      Straight Line Depreciation   $            -
   Voice Unit Software Voiceconsole V4.1 Voicecatalyst A500 V1.1 Voicedirect V3.1
   - MS                                                                               $             -      Straight Line Depreciation   $            -
   Voice Unit Software Voiceconsole V4.1 Voicecatalyst A500 V1.1 Voicedirect V3.1
   - MS                                                                               $             -      Straight Line Depreciation   $            -

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Diamond Comic Distributors, Inc.
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Schedule AB 41. Office equipment, including all computer equipment and communication systems equipment and software

                                                                                      Net Book Value of    Valuation Method Used        Current Value of
                                General Description
                                                                                      Debtor's Interest      for Current Value          Debtor's Interest
   Voice Unit Software Voiceconsole V4.1 Voicecatalyst A500 V1.1 Voicedirect V3.1
   - MS                                                                               $             -      Straight Line Depreciation   $            -
   Voice Unit Software Voiceconsole V4.1 Voicecatalyst A500 V1.1 Voicedirect V3.1
   - MS                                                                               $             -      Straight Line Depreciation   $            -
   Voice Unit Software Voiceconsole V4.1 Voicecatalyst A500 V1.1 Voicedirect V3.1
   - MS                                                                               $             -      Straight Line Depreciation   $            -
   Voice Unit Software Voiceconsole V4.1 Voicecatalyst A500 V1.1 Voicedirect V3.1
   - MS                                                                               $             -      Straight Line Depreciation   $            -
   Voice Unit Software Voiceconsole V4.1 Voicecatalyst A500 V1.1 Voicedirect V3.1
   - MS                                                                               $             -      Straight Line Depreciation   $            -
   Voice Unit Software Voiceconsole V4.1 Voicecatalyst A500 V1.1 Voicedirect V3.1
   - MS                                                                               $             -      Straight Line Depreciation   $            -
   Wedge Lock Rivitier Shelving For HigHPoint - MS                                    $          973.43    Straight Line Depreciation   $         973.43
   Whoson InstalLabel Enterprise Edi-Software - Product Key Downloaded - IN           $             -      Straight Line Depreciation   $            -
   Wms Software Implamentation - MS                                                   $             -      Straight Line Depreciation   $            -
   Wms Software Implementation - MS                                                   $             -      Straight Line Depreciation   $            -
   Wms Software License & Maintenance - MS                                            $             -      Straight Line Depreciation   $            -
   Xtuple - Software For Alliance - MD                                                $             -      Straight Line Depreciation   $            -
   Xtuple Software- Perpetual License - MD                                            $             -      Straight Line Depreciation   $            -
   Xtuple Srver - Hardware - MD                                                       $             -      Straight Line Depreciation   $            -
   Zebra 20 Slot Barcode Scanner - MS                                                 $          552.41    Straight Line Depreciation   $         552.41
   Zebra Printer - OB - MS                                                            $             -      Straight Line Depreciation   $            -
   Zebra T010000Z Label Printer S/N: 18J152403708 - MS                                $             -      Straight Line Depreciation   $            -
   Zebra T010000Z Label Printer S/N: 18J52602167 - MS                                 $             -      Straight Line Depreciation   $            -
   Zebra T310000Z Label Printer S/N: 18C143401047 - MS                                $             -      Straight Line Depreciation   $            -
   Zebra T310000Z Label Printer S/N: 18C143401054 - MS                                $             -      Straight Line Depreciation   $            -
   Zebra T310000Z Label Printer S/N: 18C143401368 - MS                                $             -      Straight Line Depreciation   $            -
   Zebra T310000Z Label Printer S/N: 18C143401374 - MS                                $             -      Straight Line Depreciation   $            -
   Zebra ZM400 Label Printer - MS                                                     $             -      Straight Line Depreciation   $            -
   Zebra ZM400 Label Printer - MS                                                     $             -      Straight Line Depreciation   $            -
   Zebra ZM400 Label Printer - MS                                                     $             -      Straight Line Depreciation   $            -
   Zebra ZT400 Label Printer - MS                                                     $             -      Straight Line Depreciation   $            -
   Zebra ZT400 Label Printer - MS                                                     $          692.58    Straight Line Depreciation   $         692.58
   Zebra ZT400 Label Printer - MS                                                     $          692.59    Straight Line Depreciation   $         692.59
   Zebra ZT400 Label Printer - MS                                                     $             -      Straight Line Depreciation   $            -
   Zebra ZT400 Label Printer - MS                                                     $             -      Straight Line Depreciation   $            -
   Zebra ZT400 Label Printer - MS                                                     $             -      Straight Line Depreciation   $            -
   Zebra ZT400 Label Printer - MS                                                     $             -      Straight Line Depreciation   $            -
   Zebra ZT400 Printer - MS                                                           $             -      Straight Line Depreciation   $            -
   Zebra ZT400 Series Label Printer - IN                                              $        1,322.05    Straight Line Depreciation   $       1,322.05
   Zebra ZT400 Series ZT410 - Label Printer MW - IN                                   $             -      Straight Line Depreciation   $            -
   Zebra ZT400 Series ZT411-Label Printer Direct Thermal/Transfer - West - CA         $          245.39    Straight Line Depreciation   $         245.39
   Zebra ZT41043-T010000Z Label Printer S/N: 18J150700211 - MS                        $             -      Straight Line Depreciation   $            -
   Zebra ZT41043-T010000Z Label Printer S/N: 18J150700224 - MS                        $             -      Straight Line Depreciation   $            -
   Zebra ZT41043-T010000Z Label Printer S/N: 18J150700242 - MS                        $             -      Straight Line Depreciation   $            -
   Zebra ZT41043-T010000Z Label Printer S/N: 18J150700245 - MS                        $             -      Straight Line Depreciation   $            -
   Zebra ZT41043-T010000Z Label Printer S/N: 18J150700249 - MS                        $             -      Straight Line Depreciation   $            -
   Zebra ZT41043-T010000Z Label Printer S/N: 18J150700251 - MS                        $             -      Straight Line Depreciation   $            -
   Zebra ZT41043-T010000Z Label Printer S/N: 18J150700255 - MS                        $             -      Straight Line Depreciation   $            -
   Zebra ZT41043-T010000Z Label Printer S/N: 18T150700246 - MS                        $             -      Straight Line Depreciation   $            -
   Zebra ZT41043-T010000Z Label Printer S/N:18J150700230 - MS                         $             -      Straight Line Depreciation   $            -
   Zebra ZT41043-T010000Z Label Printer S/N:18J150700244 - MS                         $             -      Straight Line Depreciation   $            -
   Zebra ZT41043-T010000Z Label Printer S/N:18J150700248 - MS                         $             -      Straight Line Depreciation   $            -
   Zebra ZT41043-T310000Z Label Printer S/N: 18J144400308 - MS                        $             -      Straight Line Depreciation   $            -
   Zebra ZT41043-T310000Z Printer S/N: 18J142000650 - MS                              $             -      Straight Line Depreciation   $            -
   Zebra ZT41043-T310000Z Printer S/N: 18J144803435 - MS                              $             -      Straight Line Depreciation   $            -
   Zebra ZT41043-T310000Z Printer S/N: 18J144803720 - MS                              $             -      Straight Line Depreciation   $            -
   Zebra ZT41043-T310000Z Printer S/N: 18J144803794 - MD                              $             -      Straight Line Depreciation   $            -
   Zebra ZT41043-T310000Z Printer S/N: 18J144803796 - MS                              $             -      Straight Line Depreciation   $            -
   Zebra ZT41043-T310000Z Printer S/N:18J144803713 - MS                               $             -      Straight Line Depreciation   $            -
   ZM400-3001 300 DPI Zebra Printer - MS                                              $             -      Straight Line Depreciation   $            -

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Schedule AB 41. Office equipment, including all computer equipment and communication systems equipment and software

                                                                            Net Book Value of     Valuation Method Used        Current Value of
                              General Description
                                                                             Debtor's Interest       for Current Value         Debtor's Interest
   ZM400-3001 300 DPI Zebra Printer - MS                                    $              -      Straight Line Depreciation   $             -
   ZM400-3001 300 DPI Zebra Printer - MS                                    $              -      Straight Line Depreciation   $             -
   Zoo Zariable Speed Fan - MS                                              $              -      Straight Line Depreciation   $             -
   ZT400 Zebra Label Printer ZT411 - IN                                     $         1,322.07    Straight Line Depreciation   $       1,322.07
   ZT400 Zebra Label Printer ZT411 - IN                                     $         1,322.07    Straight Line Depreciation   $       1,322.07
   ZT400 Zebra Label Printer ZT411 - IN                                     $         1,322.07    Straight Line Depreciation   $       1,322.07
   ZT400 Zebra Label Printer ZT411 - IN                                     $         1,322.07    Straight Line Depreciation   $       1,322.07
   ZT400 Zebra Label Printer ZT411 - IN                                     $         1,322.07    Straight Line Depreciation   $       1,322.07
   ZT400 Zebra Label Printer ZT411 - IN                                     $         1,322.07    Straight Line Depreciation   $       1,322.07
   ZT400 Zebra Label Printer ZT411 - IN                                     $         1,322.07    Straight Line Depreciation   $       1,322.07
   Grand Total                                                              $      399,071.02    Straight Line Depreciation    $    399,071.02




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SCHEDULES OF ASSETS AND LIABILITIES

         EXHIBIT FOR SCHEDULE AB

             PART 7, QUESTION 42

                  COLLECTIBLES
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Schedule AB 42. Collectibles


                                                                              Net Book Value of                                                Current Value of
                            General Description                                                      Valuation Method Used for Current Value
                                                                               Debtor's Interest                                               Debtor's Interest

   Gilliard Collection Bulk Collection Purchase (Mainly Comics)           $               7,411.42           Lower of Cost or Market             Undetermined
   Guzzo Collection Bulk Collection Purchase (Mainly Comics)              $              89,556.03           Lower of Cost or Market             Undetermined
   Nerone Collection - Ii Bulk Collection Purchase (Mainly Comics)        $              30,000.00           Lower of Cost or Market             Undetermined
   Nerone Collection Bulk Collection Purchase (Mainly Comics)             $              59,492.26           Lower of Cost or Market             Undetermined
   Souren -Bound Volumes Bulk Collection Purchase (Mainly Comics)         $              20,750.00           Lower of Cost or Market             Undetermined
   Tim Parks Collection Bulk Collection Purchase (Mainly Comics)          $               7,369.45           Lower of Cost or Market             Undetermined
   Disputed Interest in Collectible Assets (located at Gilroy, Olive
   Branch, and otherwise)                                                           Undetermined             Lower of Cost or Market             Undetermined
   Grand Total                                                            $             214,579.16           Lower of Cost or Market           $ Undetermined




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 SCHEDULES OF ASSETS AND LIABILITIES


           EXHIBIT FOR SCHEDULE AB

               PART 8, QUESTION 50

 OTHER MACHINERY, FIXTURES, AND EQUIPMENT
(EXCLUDING FARM MACHINERY AND EQUIPMENT)
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                                                                                       Net Book Value of    Valuation Method Used        Current Value of
                                 General Description
                                                                                        Debtor's Interest      for Current Value         Debtor's Interest
     1 Raymond Order Picker S/N: 540-08-A07631 - MS                                    $              -     Straight Line Depreciation   $             -
     128 Channel Power Supply - MS                                                     $              -     Straight Line Depreciation   $             -
     150 Ft Guard Rail - MS                                                            $              -     Straight Line Depreciation   $             -
     2011 Toyota 6B[U15 Order Picker - MS                                              $              -     Straight Line Depreciation   $             -
     2020 Cat 50000Lb Forklift (AT9047524) - MS                                        $        16,965.74   Straight Line Depreciation   $      16,965.74
     24" X 24" Delta 200Lb Bench Scale Station - MS                                    $              -     Straight Line Depreciation   $             -
     3 Maintenance Carts - MS                                                          $              -     Straight Line Depreciation   $             -
     3M-Matic Case Sealer (Serial #2132) Type 29600 - MS                               $              -     Straight Line Depreciation   $             -
     4 Deep Drive In Pallet Racking - MS                                               $              -     Straight Line Depreciation   $             -
     42" X 16' Ridg-U-Rak Uprights, Beams MW - IN                                      $              -     Straight Line Depreciation   $             -
     48X27 Uline Pallet Truck Scale - TX                                               $         1,251.51   Straight Line Depreciation   $       1,251.51
     4Th Level Of Module 3 - Parts, Freight, And Installation - MS                     $        13,476.53   Straight Line Depreciation   $      13,476.53
     60' Best Flex Converoy Truck Loader - MS                                          $              -     Straight Line Depreciation   $             -
     60' Best Flex Converoy Truck Loader - MS                                          $              -     Straight Line Depreciation   $             -
     7307M Model-TX40N Forkleft - MW - IN                                              $              -     Straight Line Depreciation   $             -
     90" Beam For Pallet Racking - IN                                                  $              -     Straight Line Depreciation   $             -
     90" Beams & Ridg-U-Rak Uprights - IN                                              $              -     Straight Line Depreciation   $             -
     Addition To Asset 5751 (Box Maker Instalation) - MS                               $         5,826.73   Straight Line Depreciation   $       5,826.73
     Addition To Asset 630 (Exchange Credit) - IN                                      $        26,052.65   Straight Line Depreciation   $      26,052.65
     Addition To Asset 630 (Use Tax Owed) - IN                                         $         3,543.34   Straight Line Depreciation   $       3,543.34
     Additional Conveyor Equipment - MS                                                $              -     Straight Line Depreciation   $             -
     Additional Guardrailing - Dematic - MS                                            $              -     Straight Line Depreciation   $             -
     Additional Racking - MS                                                           $            71.67   Straight Line Depreciation   $          71.67
     Additional Racking - MS                                                           $            99.33   Straight Line Depreciation   $          99.33
     Additional Racking For TRU (Used Beems) - MS                                      $              -     Straight Line Depreciation   $             -
     Adgressor X2820C Floor Cleaner - MS                                               $           324.00   Straight Line Depreciation   $         324.00
     Air Compressor & Components - GA                                                  $         8,289.04   Straight Line Depreciation   $       8,289.04
     Air Hoses, Supplies, & Equipment - GA                                             $         5,891.00   Straight Line Depreciation   $       5,891.00
     Anti Fatique Matting (Dematic) - MS                                               $              -     Straight Line Depreciation   $             -
     Automatic Beam Saw 3" Depth Of Cut 220V, 3Ph, 60Hz - GA                           $        53,353.33   Federal Tax Depreciation     $      53,353.33
     Beams - IN                                                                        $              -     Straight Line Depreciation   $             -
     Boltless Shelving - East - PA                                                     $              -     Federal Tax Depreciation     $             -
     Box Maker - MS                                                                    $        58,460.62   Federal Tax Depreciation     $      58,460.62
     Box Maker - MS                                                                    $        56,285.62   Straight Line Depreciation   $      56,285.62
     C861N02495F Forklift Model NDR035EANL36TE119 MW - IN                              $              -     Straight Line Depreciation   $             -
     Cardboard Baler Ptr 2300 HD S/N: 003143 And Electrical Work - MS                  $              -     Straight Line Depreciation   $             -
     Case Flow Racking - East - PA                                                     $              -     Straight Line Depreciation   $             -
     Catwalk (Movable) -Between Mod 3 & Mod 2 - MS                                     $        23,689.80   Straight Line Depreciation   $      23,689.80
     Catwalk Mezzanine For Conveyor Access (Beams/Supports) - MS                       $         8,356.43   Straight Line Depreciation   $       8,356.43
     C-Oak Sealer Machine (Serial # 1202995) - MS                                      $              -     Straight Line Depreciation   $             -
     Conveyor Equipment (4 Gravity Gates For Pick Module) - MS                         $              -     Straight Line Depreciation   $             -
     Conveyor System - Dematic Proposal #108058 - MS                                   $              -     Straight Line Depreciation   $             -
     Cousins Packaging Stretch Wrap Machine - MS                                       $              -     Straight Line Depreciation   $             -
     Crown Stock Picker SP3020-30 160/360 TSU Mast - MS                                $              -     Straight Line Depreciation   $             -
     Crown Stockpicker - MS                                                            $              -     Straight Line Depreciation   $             -
     Crown Stockpicker - MS                                                            $              -     Straight Line Depreciation   $             -
     Crown Used Fork Lift (9A153318) - MS                                              $              -     Straight Line Depreciation   $             -
     Crown Wav60 Lift (Gilroy) - MD                                                    $           851.04   Straight Line Depreciation   $         851.04
     Cubiscan 100 - Integrated Cubing And Weighing System - IN                         $              -     Straight Line Depreciation   $             -
     Cubiscan 100 (Scale/Weighing Equipment) - MS                                      $         1,810.08   Straight Line Depreciation   $       1,810.08
     Curtis Rotary Screw Compressor - MS                                               $              -     Straight Line Depreciation   $             -
     Dematic Conveyor Equipment Addition - MS                                          $              -     Straight Line Depreciation   $             -
     Dematic Conveyor System - MS                                                      $        28,028.96   Straight Line Depreciation   $      28,028.96
     Dematic Conveyor System - MS                                                      $              -     Straight Line Depreciation   $             -
     Dematic Conveyor System Addition - MS                                             $              -     Straight Line Depreciation   $             -
     Dematic Picking System (Hardware) - MS                                            $     1,218,685.89   Straight Line Depreciation   $ 1,218,685.89
     Distribution Center Shelving Units - IN                                           $              -     Straight Line Depreciation   $             -
     Dock/Pallet Leveler - MS                                                          $        30,682.04   Straight Line Depreciation   $      30,682.04
     Electric Pallet Jack Model BW23S-7 - MS                                           $              -     Straight Line Depreciation   $             -
     Electric Pallet Jack Model BW23S-7 - MS                                           $              -     Straight Line Depreciation   $             -
     Electrical For New Conveyor Equipment (Attached To Personal Property) - MS        $              -     Straight Line Depreciation   $             -
     Electrical For New Pick Module (Attached To Personal Property) - MS               $              -     Straight Line Depreciation   $             -
     Emax Smart Dual Air Compressor - GA                                               $         6,692.99   Straight Line Depreciation   $       6,692.99
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                                                                                        Net Book Value of    Valuation Method Used        Current Value of
                                 General Description
                                                                                         Debtor's Interest      for Current Value         Debtor's Interest
     Erecta Steps - MS                                                                  $         1,591.62   Straight Line Depreciation   $       1,591.62
     Expansion To Mod 1 - MS                                                            $      244,077.58    Straight Line Depreciation   $    244,077.58
     Expediter Ser#EB36EP1000497 - MS                                                   $         5,976.43   Straight Line Depreciation   $       5,976.43
     Final Payment On Tape Case Former From 2014. Relates To FA#5340 - MS               $              -     Straight Line Depreciation   $             -
     FM56250 Complete Heating System ¼” And SS56 Material Support - GA                  $         2,573.51   Straight Line Depreciation   $       2,573.51
     For Yale Forklift - Model NRO45EANL36T MW FAS#619 - IN                             $              -     Straight Line Depreciation   $             -
     Freight For Racking, FAS#641 SW - TX                                               $           856.98   Straight Line Depreciation   $         856.98
     Fresno - Western Pacific Boltless Shelving - CA                                    $              -     Straight Line Depreciation   $             -
     Fresno Rack & Shelving - 60"Wx24"Dx96" Tall - West Warehouse - CA                  $              -     Straight Line Depreciation   $             -
     Fresno Rack & Shelving - CA                                                        $              -     Straight Line Depreciation   $             -
     Fresno Rack & Shelving - West - CA                                                 $        31,187.86   Straight Line Depreciation   $      31,187.86
     Fresno Rack & Shelving-Pallet Racking - CA                                         $              -     Straight Line Depreciation   $             -
     Fresno Racking & Shelving - CA                                                     $              -     Straight Line Depreciation   $             -
     GAme Table For Gtm Media Set - East - PA                                           $              -     Straight Line Depreciation   $             -
     Gilroy Alarm System - MD                                                           $         1,399.67   Straight Line Depreciation   $       1,399.67
     Gravity Roller Conveyor - IN                                                       $              -     Straight Line Depreciation   $             -
     Gravity Roller Conveyor - TX                                                       $              -     Straight Line Depreciation   $             -
     Gravity Roller Conveyor MW - IN                                                    $              -     Straight Line Depreciation   $             -
     Gravity Roller Conveyor-Sections - Pre Owned - IN                                  $              -     Straight Line Depreciation   $             -
     Heart Defibulator Equipment - 4th Floor - MD                                       $              -     Straight Line Depreciation   $             -
     Heart Defibulator Equipment - Lower Level - MD                                     $              -     Straight Line Depreciation   $             -
     Heart Defibulator Equipment - Third Floor - MD                                     $              -     Straight Line Depreciation   $             -
     High Dollar Product Cage - MS                                                      $              -     Straight Line Depreciation   $             -
     Highlight Stretch Wrap Machine W/ Simplified Stretch, Brecknel Pallet Scales MW -
     IN                                                                                $              -      Straight Line Depreciation   $            -
     Hobart Battery Charger Eclipse Ii Serial #414CS24992 - MS                         $              -      Straight Line Depreciation   $            -
     Hobart Battery Charger Eclipse Ii Serial #414CS24993 - MS                         $              -      Straight Line Depreciation   $            -
     Hyster Three Wheel Electric Forklift - TX                                         $              -      Straight Line Depreciation   $            -
     Hytrol E24 Conveyor System MW - IN                                                $        16,146.67    Straight Line Depreciation   $      16,146.67
     Inventory Storage Racks - MS                                                      $              -      Straight Line Depreciation   $            -
     Lantech Ql400 Shrinkwrap Machine (Qm055196) - MS                                  $        12,924.58    Straight Line Depreciation   $      12,924.58
     Lantech Stretch Wrap Machine - Q250 - MS                                          $              -      Straight Line Depreciation   $            -
     Lantech Stretch Wrap Machine - Q250 - MS                                          $              -      Straight Line Depreciation   $            -
     Laser Cutter Machine Payment - GA                                                 $         7,133.82    Federal Tax Depreciation     $       7,133.82
     Levels 3 & 4 Racking Project - MS                                                 $              -      Straight Line Depreciation   $            -
     Liebert Uninterrupted Power Supply (Sever Room) - MD                              $              -      Straight Line Depreciation   $            -
     LMT 67-205 Upshearroughing Bit - Saw - GA                                         $         1,545.12    Straight Line Depreciation   $       1,545.12
     Magazine Rack - Freestanding - IN                                                 $           511.68    Straight Line Depreciation   $         511.68
     Major Repair - OB Carton Erector - MS                                             $              -      Straight Line Depreciation   $            -
     Maksiwa International SKU: SC.1100.XI - GA                                        $           988.45    Straight Line Depreciation   $         988.45
     Microsoft Surface Book - Laptop For Ct - MD                                       $              -      Straight Line Depreciation   $            -
     Mod 4 Racking/Beams - MS                                                          $       193,100.96    Federal Tax Depreciation     $     193,100.96
     Model 750R45TT Forklift - MS                                                      $        17,082.55    Straight Line Depreciation   $      17,082.55
     Model 750R45TT Forklift - MS                                                      $        17,082.55    Straight Line Depreciation   $      17,082.55
     Model 840 Raymond Order Picker - MS                                               $         9,473.07    Straight Line Depreciation   $       9,473.07
     Movable Dock Door - MS                                                            $              -      Straight Line Depreciation   $            -
     MS Surface Book 3 Laptop - (Charlie Tyson) - MD                                   $         1,427.17    Straight Line Depreciation   $       1,427.17
     New Beams (To Span Tracks With Hangers) - MS                                      $              -      Straight Line Depreciation   $            -
     New Racking (Mod 1 - North Side Remodel) - MS                                     $              -      Straight Line Depreciation   $            -
     New Rivitier Shelving, 48 Sections - MS                                           $              -      Straight Line Depreciation   $            -
     New Tear Drop Beams For Racking - MS                                              $              -      Straight Line Depreciation   $            -
     Order Picker - 2009 Jun Id#8073E - Used - Fw MW - IN                              $              -      Straight Line Depreciation   $            -
     Order Picker Platform With Shelves - East - PA                                    $              -      Straight Line Depreciation   $            -
     Order Picker Platform With Shelves- MW - IN                                       $              -      Straight Line Depreciation   $            -
     Order Picker Platform With Shelves-West - CA                                      $              -      Straight Line Depreciation   $            -
     Order Picker, Battery, Charger - East - PA                                        $              -      Straight Line Depreciation   $            -
     Pallet Jack (PE3520-606A180936) - MS                                              $              -      Straight Line Depreciation   $            -
     Pallet Jack Model-ET3500 Serial#- ETB1400424 - IN                                 $              -      Straight Line Depreciation   $            -
     Pallet Positions Of Drive In Racking - MS                                         $              -      Straight Line Depreciation   $            -
     Pallet Rack For Offsite Loc MD - PA                                               $              -      Straight Line Depreciation   $            -
     Pallet Racking - East - PA                                                        $        14,625.03    Straight Line Depreciation   $      14,625.03
     Pallet Racking - IN                                                               $              -      Straight Line Depreciation   $            -
     Pallet Racking - MS                                                               $        23,636.30    Straight Line Depreciation   $      23,636.30
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                                                                                        Net Book Value of    Valuation Method Used        Current Value of
                                 General Description
                                                                                         Debtor's Interest      for Current Value         Debtor's Interest
     Pallet Racking SW - TX                                                             $        31,630.88   Straight Line Depreciation   $      31,630.88
     Pallet Racking System - CA                                                         $              -     Straight Line Depreciation   $             -
     Pallet Truck With Digital Scale - IN                                               $              -     Straight Line Depreciation   $             -
     Pallet Truck With Scale PM-2748-SCL-LP - IN                                        $              -     Straight Line Depreciation   $             -
     Pattet Racking Mw-Additional - IN                                                  $              -     Straight Line Depreciation   $             -
     Pattet Truck With Scale (Low Profile) - CA                                         $              -     Straight Line Depreciation   $             -
     Perforated Safety Angle Ladder - 11 Step 24"W - IN                                 $              -     Straight Line Depreciation   $             -
     Pick To Light System - MS                                                          $        34,772.69   Straight Line Depreciation   $      34,772.69
     Pick To Light System - MS                                                          $        34,432.42   Straight Line Depreciation   $      34,432.42
     Picking Cart - MS                                                                  $              -     Straight Line Depreciation   $             -
     Pneumatic Forklift Doo Model G25P-5 - MS                                           $        15,614.87   Straight Line Depreciation   $      15,614.87
     Premium Reconditioned Reach Truck S/N: 740-07-Cb08673 - MS                         $              -     Straight Line Depreciation   $             -
     Premium Reconditioned Reach Truck S/N: 740-07-Cb09447 - MS                         $              -     Straight Line Depreciation   $             -
     Premium Reconditioned Reach Truck S/N: 740-07-Cb09455 - MS                         $              -     Straight Line Depreciation   $             -
     Quantronix Cubiscan Cs125 Fw MW - IN                                               $              -     Straight Line Depreciation   $             -
     Rack For Terminals - West - CA                                                     $              -     Straight Line Depreciation   $             -
     Racking - 78 Sections, 5-Deep Against Wall - MS                                    $              -     Straight Line Depreciation   $             -
     Racking - Gilroy - MD                                                              $        13,598.36   Straight Line Depreciation   $      13,598.36
     Racking - Gnet Fw - MW - IN                                                        $              -     Straight Line Depreciation   $             -
     Racking - MS                                                                       $              -     Straight Line Depreciation   $             -
     Racking - MS                                                                       $              -     Straight Line Depreciation   $             -
     Racking - Used - TX                                                                $        28,866.67   Straight Line Depreciation   $      28,866.67
     Racking (Used Span Track) - MS                                                     $              -     Straight Line Depreciation   $             -
     Racking At Gilroy - MD                                                             $        31,449.80   Straight Line Depreciation   $      31,449.80
     Racking At Gilroy - MD                                                             $        11,616.71   Straight Line Depreciation   $      11,616.71
     Racking Permit- Gilroy - MD                                                        $         1,443.70   Straight Line Depreciation   $       1,443.70
     Radios, 2 Way, 900 Mhz 10Pk, 10-Battery, 10- Swiv East - PA                        $              -     Straight Line Depreciation   $             -
     Radios, 2 Way, 900 Mhz 10Pk, 10-Battery, 10- Swiv West - CA                        $              -     Straight Line Depreciation   $             -
     Radios, 2 Way, 900 Mhz 10Pr, 10-Battery 10- Swiv MW - IN                           $              -     Straight Line Depreciation   $             -
     Radios. 2 Way, 900 Mhz 10Pk, 10-Battery, 10-Swiv - IN                              $              -     Straight Line Depreciation   $             -
     Railroad Jack - MS                                                                 $              -     Straight Line Depreciation   $             -
     Raking - East - PA                                                                 $        19,284.74   Straight Line Depreciation   $      19,284.74
     Raymond Order Picker - MS                                                          $              -     Straight Line Depreciation   $             -
     Raymond Order Picker (Easi -01-AE29584) - MS                                       $              -     Straight Line Depreciation   $             -
     Raymond Order Picker (Easi -05-AE35802) - MS                                       $              -     Straight Line Depreciation   $             -
     Raymond Order Picker (EZ-A-00-18274) - MS                                          $              -     Straight Line Depreciation   $             -
     Raymond Order Picker S/N: 540-08-A07632 - MS                                       $              -     Straight Line Depreciation   $             -
     Raymond Order Picker S/N: 540-10-A09918 - MS                                       $              -     Straight Line Depreciation   $             -
     Raymond Orderpicker S# 540-14-A19279 - MS                                          $        11,366.07   Straight Line Depreciation   $      11,366.07
     Raymond Pallet Jack - MS                                                           $              -     Straight Line Depreciation   $             -
     Raymond Renewed 425-C40TT (S/N 425-15-44881) - TX                                  $        15,611.75   Straight Line Depreciation   $      15,611.75
     Rexp_0099 Forklift MW Used - IN                                                    $              -     Straight Line Depreciation   $             -
     Ridge-U-Rak Uprights & Step Beams MW - IN                                          $              -     Straight Line Depreciation   $             -
     Ridg-U-Rak Uprights & Beams - Fulfillment WHS 7 - IN                               $              -     Straight Line Depreciation   $             -
     Roller Conveyor - CA                                                               $              -     Straight Line Depreciation   $             -
     Roller Conveyor - IN                                                               $              -     Straight Line Depreciation   $             -
     Rolling Ladder - Standard Angle - 12 Step Easy Turn - IN                           $              -     Federal Tax Depreciation     $             -
     San Compression Card/Upgrade - MS                                                  $              -     Straight Line Depreciation   $             -
     Scale - Gnet Fw - MW - IN                                                          $              -     Straight Line Depreciation   $             -
     Sensor ASY, Packing And Handling - MS                                              $              -     Straight Line Depreciation   $             -

     Shelf-Lumber To Put Product On The Shelf - Ref: Asset #497-Storage Solution - PA   $             -      Straight Line Depreciation   $            -
     Shelving - Exp Conv, Grav Conv, Tear-Drop, Deckin, Ladders - South - TX            $        9,751.78    Straight Line Depreciation   $       9,751.78
     Shelving - IN                                                                      $             -      Straight Line Depreciation   $            -
     Shelving - South - TX                                                              $             -      Straight Line Depreciation   $            -
     Shelving - West - CA                                                               $             -      Straight Line Depreciation   $            -
     Shelving For Primary Picking Bins - East - PA                                      $             -      Straight Line Depreciation   $            -
     Shelving Pallet Racking - West - CA                                                $             -      Straight Line Depreciation   $            -
     Shelving System For Ridgeway - MS                                                  $             -      Straight Line Depreciation   $            -
     Shelving Units - East Warehourse - PA                                              $             -      Straight Line Depreciation   $            -
     Shelving-Uprights, Tear-Drop SR Beams, Floor Acchors MW - IN                       $       38,857.52    Straight Line Depreciation   $      38,857.52
     Shrinkmaster - IN                                                                  $             -      Straight Line Depreciation   $            -
     Skyjack (S/N 70009280) - MS                                                        $             -      Straight Line Depreciation   $            -
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                                                                                     Net Book Value of    Valuation Method Used        Current Value of
                                General Description
                                                                                      Debtor's Interest      for Current Value         Debtor's Interest
     Steel Dock Board With Steel Curbs - IN                                          $              -     Straight Line Depreciation   $             -
     Storage Solution - Shelving Units At East - PA                                  $              -     Straight Line Depreciation   $             -
     Storage Solution - Shelving Units At MW - IN                                    $              -     Straight Line Depreciation   $             -
     Storage Solutions - IN                                                          $              -     Straight Line Depreciation   $             -
     Storage Trailer - IN                                                            $              -     Federal Tax Depreciation     $             -
     Tear Drop Beams (For Racking) -New Beams - MS                                   $              -     Federal Tax Depreciation     $             -
     Tear Drop Beams And Wire Decking- South - TX                                    $              -     Straight Line Depreciation   $             -
     Tear-Drop Beams, Wire Decks, Conveyor Crossovers - MW - IN                      $              -     Straight Line Depreciation   $             -
     Teardrop Uprights, Beams, Wiredecks - East - PA                                 $              -     Straight Line Depreciation   $             -
     Teardrop Uprights, Beams, Wiredecks - MW - IN                                   $              -     Straight Line Depreciation   $             -
     Tow Motor & Order Picker - West - CA                                            $        10,240.71   Straight Line Depreciation   $      10,240.71
     Toyota 8HBW23-10755 Electric Pallet Truck - MS                                  $              -     Straight Line Depreciation   $             -
     Toyota BHBW23 Pallet Truck (21561) - MS                                         $              -     Straight Line Depreciation   $             -
     Toyota BHBW23 Pallet Truck (24794) - MS                                         $              -     Straight Line Depreciation   $             -
     Toyota Electrick Pallet Jack (7HBW23-55251) Unit N510 - MS                      $              -     Straight Line Depreciation   $             -
     Toyota Fork Lift 7FGCU18 - MS                                                   $              -     Straight Line Depreciation   $             -
     Toyota Fork Lift BFGCU18 - MS                                                   $              -     Straight Line Depreciation   $             -
     Toyota Internal Combustion Lift Truck (S/N 8FGCU25-24541) - MS                  $              -     Straight Line Depreciation   $             -
     Toyota Model 8FGCU25 Lift Truck (Serial # 8FGCU25-77670 - MS                    $         3,238.43   Straight Line Depreciation   $       3,238.43
     Trash Line Addition To Dematic - MS                                             $              -     Straight Line Depreciation   $             -
     TX35-Ac-36V 2013- Nissan 3Wheel Lift Truck - Used Rental Unit-Trade
     In/Fas#343 - IN                                                                 $             -      Straight Line Depreciation   $            -
     Ultegra Max Roller - Scale & Bench Stand - MS                                   $             -      Straight Line Depreciation   $            -
     Ultegra Max Roller - Scale & Bench Stand - MS                                   $             -      Straight Line Depreciation   $            -
     Ultegra Max Roller - Scale & Bench Stand - MS                                   $             -      Straight Line Depreciation   $            -
     Ultegra Scale - Roller With Stand - MS                                          $             -      Straight Line Depreciation   $            -
     Used 2011 Toyota Order Picker - MS                                              $             -      Straight Line Depreciation   $            -
     Used 2011 Toyota Order Picker - MS                                              $             -      Straight Line Depreciation   $            -
     Used American Baler Model 4250-730R - MS                                        $             -      Straight Line Depreciation   $            -
     Used Beams For Pallet Racking - MS                                              $             -      Federal Tax Depreciation     $            -
     Used Beams For Pallet Racking - MS                                              $             -      Federal Tax Depreciation     $            -
     Used Beams For Racking - MS                                                     $             -      Straight Line Depreciation   $            -
     Used Beams For Racking - MS                                                     $        3,206.79    Straight Line Depreciation   $       3,206.79
     Used Beams For Racking - MS                                                     $             -      Straight Line Depreciation   $            -
     Used Beams For Racking - MS                                                     $             -      Straight Line Depreciation   $            -
     Used Beams For Racking (OB) - MS                                                $             -      Straight Line Depreciation   $            -
     Used Beams/Racking - High Point - MS                                            $             -      Straight Line Depreciation   $            -
     Used Beams/Racking - MS                                                         $        7,306.51    Straight Line Depreciation   $       7,306.51
     Used Beams/Racking (Dematic) - MS                                               $       24,846.83    Straight Line Depreciation   $      24,846.83
     Used Box Making Machine - MS                                                    $        6,615.00    Straight Line Depreciation   $       6,615.00
     Used I.C Forklift (Cushion) Model 8FGCU25 Ser#25597 - MS                        $             -      Straight Line Depreciation   $            -
     Used I.C Forklift (Cushion) Model 8FGCU25 Ser#38553 - MS                        $             -      Straight Line Depreciation   $            -
     Used Lp/Hybrid Combo Sweeper Scrubber - MS                                      $       17,334.00    Straight Line Depreciation   $      17,334.00
     Used Movable Racking - MS                                                       $             -      Straight Line Depreciation   $            -
     Used Pallet Racking - MS                                                        $        4,974.79    Straight Line Depreciation   $       4,974.79
     Used Pallet Racking Beams - MS                                                  $             -      Straight Line Depreciation   $            -
     Used Racking - High Point (OB) - MS                                             $             -      Straight Line Depreciation   $            -
     Used Racking - MS                                                               $        1,078.92    Straight Line Depreciation   $       1,078.92
     Used Racking & Installation - MS                                                $             -      Straight Line Depreciation   $            -
     Used Racking And Instalation - MS                                               $             -      Straight Line Depreciation   $            -
     Used Racking: Uprights, Beams, Spring Clips, And Floor Anchors - MS             $        4,358.68    Straight Line Depreciation   $       4,358.68
     Used Ridg-U-Rack Uprights 44" X 14", Beams 93" X 4 1/2" - IN                    $             -      Straight Line Depreciation   $            -
     Used Span Tracks & Hangers For Racking - MS                                     $             -      Straight Line Depreciation   $            -
     Used Span Tracks With Hangers (For Racking) - MS                                $             -      Straight Line Depreciation   $            -
     Used Structural Beams (Racking) - MS                                            $             -      Straight Line Depreciation   $            -
     Used Toyota Lift Truck (Model 7FGCU25 - Ser#98798 - MS                          $             -      Straight Line Depreciation   $            -
     Used Wire Decking For Racking - MS                                              $             -      Straight Line Depreciation   $            -
     Used Wulftec Stretch Wrapper WLPA 200 - MS                                      $             -      Straight Line Depreciation   $            -
     Wap Cat 6 Cabling - West - CA                                                   $             -      Straight Line Depreciation   $            -
     Warehouse B Uprights, MW - IN                                                   $       68,213.43    Straight Line Depreciation   $      68,213.43
     Waste Compactor - MS                                                            $       13,845.50    Straight Line Depreciation   $      13,845.50
     WF20 Tape Cade Former - MS                                                      $             -      Straight Line Depreciation   $            -
     WFT 20T Automatic Tape Case Former - MS                                         $             -      Straight Line Depreciation   $            -
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                                                                                         Net Book Value of     Valuation Method Used        Current Value of
                                 General Description
                                                                                          Debtor's Interest       for Current Value         Debtor's Interest
     Wiese New Pallet Jack-ID#320E Model-ET4000 - IN                                     $              -      Straight Line Depreciation   $             -
     Wire Deck Addition - MS                                                             $              -      Straight Line Depreciation   $             -
     Wire Decking/Racking - MS                                                           $        18,543.12    Straight Line Depreciation   $      18,543.12
     Work Bench - MS                                                                     $              -      Straight Line Depreciation   $             -
     Wrapper-Gnet Fw - MW - IN                                                           $              -      Straight Line Depreciation   $             -
     Yale Model: NR045EA S/N: C861N01886E Forklift MW - IN                               $              -      Straight Line Depreciation   $             -
     Yealink SIPT46G Voice Terminal (Sip) - MD                                           $              -      Straight Line Depreciation   $             -
     Yealink Sipt46G Voice Terminal (Sip) MW - IN                                        $              -      Straight Line Depreciation   $             -
     Z-Nissan-Ainil 15V-3000# TX30 3 Wheel Electric Forklist - East - PA                 $              -      Straight Line Depreciation   $             -
     Grand Total                                                                         $     2,654,130.61   Straight Line Depreciation    $ 2,654,130.61




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  SCHEDULES OF ASSETS AND LIABILITIES


            EXHIBIT FOR SCHEDULE AB

                PART 9, QUESTION 55

ANY BUILDING, OTHER IMPROVED REAL ESTATE, OR
LAND WHICH THE DEBTOR OWNS OR IN WHICH THE
           DEBTOR HAS AN INTEREST
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                                                              Nature and Extent of Debtor's     Net Book Value of    Valuation Method Used         Current Value of
                 Description of Property
                                                                  Interest in Property           Debtor's Interest      for Current Value          Debtor's Interest
   10 HV Diffusers And 4 Dampers - IN                        Improvement To Leased Property    $                -    Straight Line Depreciation   $              -
   120 V Ceiling Drops - MW - IN                             Improvement To Leased Property    $                -    Straight Line Depreciation   $              -
   2-Ton LPG Mini Split - AC Unit For Server Rooom -
   TX                                                        Improvement To Leased Property    $          3,050.08   Straight Line Depreciation   $        3,050.08
   3 " Earthquake Gas Valve - MS                             Improvement To Leased Property    $               -     Straight Line Depreciation   $             -
   5 Ton Split System, Duct & Grilles, Upsizing
   Electrical Wiring & Refrigerant P. - IN                   Improvement To Leased Property    $               -     Straight Line Depreciation   $              -

   7 New 20Amp Circuits - Break Room (Electric) - CA         Improvement To Leased Property    $             49.06   Straight Line Depreciation   $           49.06

   Additional Power Receptacles And Data Drops - MS          Improvement To Leased Property    $          2,762.01   Straight Line Depreciation   $        2,762.01
   Base Alarm System - MS                                    Improvement To Leased Property    $               -     Straight Line Depreciation   $             -
   Builders Repair Wall And Install Truck Dock - IN          Improvement To Leased Property    $               -     Straight Line Depreciation   $             -
   Cable Runs - MW - IN                                      Improvement To Leased Property    $               -     Straight Line Depreciation   $             -
   Cabling Camera - West - CA                                Improvement To Leased Property    $               -     Straight Line Depreciation   $             -
   Cabling New Location - CA - CA                            Improvement To Leased Property    $               -     Straight Line Depreciation   $             -
   Cat6 Cabling Warehourse Remodel - MW - IN                 Improvement To Leased Property    $          2,023.85   Straight Line Depreciation   $        2,023.85
   Cat6, 10Gig, Cisco Points, Fiber Optics, Cabling, Etc -
   MW - IN                                                   Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Compressor Circuits (Dematic Area) - MS                   Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Conduit And Fire Alarm Instillation Mod 3 - MS            Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Convert 2 Offices Into 1 Large Office - MD                Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Custom Studio - Comic Wow - MD                            Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Data Modules - IN                                         Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Data Structured Cabling & Fiber Optic Re-
   Termination - IN                                          Improvement To Leased Property    $               -     Straight Line Depreciation   $             -
   Data, Camera A/P Cabling Sw - TX                          Improvement To Leased Property    $          8,806.72   Straight Line Depreciation   $        8,806.72
   Diakin 1 T MS Syst In Server Room- Electrical,
   Condensate, Crane, Refrigeration - CA                     Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Door Re-Working - MD                                      Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Electrical - Floodlights - East Wall - MS                 Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Electrical - Floodlights - East Wall - MS                 Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Electrical And Conduit - Full Case Line Area - MS         Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Electrical And Conduit - Full Case Line Area - MS         Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Electrical And Conduit - Mezz Fans - MS                   Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Electrical And Conduit - Rite Hite Fans - MS              Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Electrical And Conduit - Trash Line - Mod 4 - MS          Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Electrical Circuitry MaInt Area - Ob - MS                 Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Electrical -For Bailer - MS                               Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Electrical For Fan Circuits - MS                          Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Electrical For Pick Module Expansion - MS                 Improvement To Leased Property    $               -     Straight Line Depreciation   $              -

   Electrical Panels And Drops For Box Machine - MS          Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Electrical -Westwall 2 - MS                               Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Electrical Work - Box Machine - MS                        Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Electrical Work - Olive Branch - MS                       Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Electrical Work - Pick Mod - MS                           Improvement To Leased Property    $               -     Straight Line Depreciation   $              -

   Electrical Work (For Loc 3 Move To Loc 26) - MS           Improvement To Leased Property    $         11,382.60   Straight Line Depreciation   $       11,382.60
   Electrical Work Installation - MS                         Improvement To Leased Property    $               -     Straight Line Depreciation   $             -

   Electrical Work Needed For New Fans In Ob - MS            Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Electrical Work-Lamp, Cable, Sensor, New Sub-Panet
   Etc MW - IN                                               Improvement To Leased Property    $          4,962.49   Straight Line Depreciation   $        4,962.49
   Electrical Work-Wiring Etc, East - PA                     Improvement To Leased Property    $               -     Straight Line Depreciation   $             -
   Electrical, Intercom, Cameras, TVs, Data, Access
   Points - East - PA                                        Improvement To Leased Property    $               -     Straight Line Depreciation   $             -
   Electrical/Data Runs Pick Modles - MS                     Improvement To Leased Property    $          6,158.22   Straight Line Depreciation   $        6,158.22
   Elkay Water Fountain (Plumbing And Installation) -
   TX                                                        Improvement To Leased Property    $          2,404.72   Straight Line Depreciation   $        2,404.72
   Fiber From Old To New MDF - Addition To Fas#505
   - IN                                                      Improvement To Leased Property    $               -     Straight Line Depreciation   $              -
   Fiber From Old To New MDF -Addition To Fas#505 -
   IN                                                        Improvement To Leased Property    $              -      Straight Line Depreciation   $             -
   Fire Proofing Work Area - MD                              Improvement To Leased Property    $           520.56    Straight Line Depreciation   $          520.56
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                                                           Nature and Extent of Debtor's     Net Book Value of    Valuation Method Used        Current Value of
                 Description of Property
                                                               Interest in Property          Debtor's Interest      for Current Value          Debtor's Interest
   Fujitsu Ductless Split System For Server Room- MW -
   IN                                                  Improvement To Leased Property        $             -      Straight Line Depreciation   $             -

   Fujitsu Ductless Split System-Server Room A/C - IN      Improvement To Leased Property    $             -      Straight Line Depreciation   $             -
   Furnish & Install 2 Ductless Split Systems For Server
   Room - MS                                               Improvement To Leased Property    $             -      Straight Line Depreciation   $             -
   Gas Line/Roof Repairs - MS                              Improvement To Leased Property    $             -      Straight Line Depreciation   $             -
   Heating & Air In 1,200 BTU Mini Split HVAC Unit
   For West - CA                                           Improvement To Leased Property    $             -      Straight Line Depreciation   $             -
   Home Office Construction (See Also Asset 5342) -
   MD                                                      Improvement To Leased Property    $             -      Straight Line Depreciation   $             -
   INcrease Size Of IT Server Room - MD                    Improvement To Leased Property    $             -      Straight Line Depreciation   $             -
   Install Two Fans (Mounting And Wiring) - TX             Improvement To Leased Property    $        2,774.69    Straight Line Depreciation   $        2,774.69
   Insulation - Fiberglass Batts Over Ceiling Tile &
   Lights - IN                                             Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   Intrusion Detection System - East - PA                  Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   Labor And Installation - Celing Fans - MS               Improvement To Leased Property    $        4,874.85    Straight Line Depreciation   $       4,874.85
   Lighting And Electrical Above Shelving - TX             Improvement To Leased Property    $        2,207.27    Straight Line Depreciation   $       2,207.27
   Midwest Computer Room AC Unit - IN                      Improvement To Leased Property    $        7,607.50    Straight Line Depreciation   $       7,607.50
   Mnt Tenant Improvement Overage - GA                     Improvement To Leased Property    $       75,710.80    Straight Line Depreciation   $      75,710.80
   Modine Heater, Gas Piping, Flue And Wiring - IN         Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   New 120V Circuit - It To Fire Alarm Panel - MS          Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   New A/C Electrical Circuit - MS                         Improvement To Leased Property    $          882.52    Straight Line Depreciation   $         882.52
   New Circuits For Power Rolls - IN                       Improvement To Leased Property    $          970.64    Straight Line Depreciation   $         970.64
   New Data Room Ductless Split System - MW - IN           Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   New Electrical Circuit Ob - MaInt Area - MS             Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   New Flooring For Office Area - MS                       Improvement To Leased Property    $        1,811.05    Straight Line Depreciation   $       1,811.05
   New LED High Bay Fixture, Lift Chargers, Subpanel,
   Osc Fans-Installed-West - CA                            Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   New Mezzanine Construction - MS                         Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   New Mr Cool Fans Sw - TX                                Improvement To Leased Property    $        3,884.96    Straight Line Depreciation   $       3,884.96
   New Wall & Double Doors - Home Office - MD              Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   Office LED Retrofit MW - IN                             Improvement To Leased Property    $        1,412.90    Straight Line Depreciation   $       1,412.90
   Office Renovation - IN                                  Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   Olive Branch Leasehold Improvement - MS                 Improvement To Leased Property    $       13,657.89    Straight Line Depreciation   $      13,657.89
   Pagine System - MS                                      Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   Paging System - East - PA                               Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   Paging Systems - IN                                     Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   Phone Line From Lunch Room To Conveyor Control
   Stand - MS                                              Improvement To Leased Property    $             -      Straight Line Depreciation   $             -
   Polk Lane Sign (Affixed To Building) - MS               Improvement To Leased Property    $             -      Straight Line Depreciation   $             -
   Power Feeds For Converoy Panels - MS                    Improvement To Leased Property    $             -      Straight Line Depreciation   $             -
   Racking Storage System - IN                             Improvement To Leased Property    $             -      Straight Line Depreciation   $             -
   Regional TelecommuniCation Data Wiring - MD             Improvement To Leased Property    $             -      Straight Line Depreciation   $             -
   Roof Top Condensing Unit - IN                           Improvement To Leased Property    $             -      Straight Line Depreciation   $             -
   Security Dome Cam 4MD 2.8-12 WDR IP66 East -
   PA                                                      Improvement To Leased Property    $             -      Straight Line Depreciation   $             -
   Security System (Non Movable) - MS                      Improvement To Leased Property    $             -      Straight Line Depreciation   $             -
   Server Room Improvements - MD                           Improvement To Leased Property    $             -      Straight Line Depreciation   $             -
   Sprinkler Heads To Offices, Breakroom & Hallway -
   IN                                                      Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   Sprinkler System - Mod 3 & 4 - MS                       Improvement To Leased Property    $       38,204.28    Straight Line Depreciation   $      38,204.28
   Sprinkler System - MS                                   Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   Sprinkler System (Dematic) - MS                         Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   Sub Panel For Additional Breaker Space Sw - TX          Improvement To Leased Property    $       15,522.73    Straight Line Depreciation   $      15,522.73
   Upgrade To Coffee Area - MD                             Improvement To Leased Property    $        5,687.11    Straight Line Depreciation   $       5,687.11
   Voice Data Wiring - MS                                  Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   Wall Contruction - Sapphire - MD                        Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   Wallplanks For Comic Wow Studio - MD                    Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   Warehouse Awning - IN                                   Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   Wifi Access Points Throughout Warehouse - MW -
   IN                                                      Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   Window TInting - MS                                     Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   Wiring For Voice And Data System - IN                   Improvement To Leased Property    $             -      Straight Line Depreciation   $            -
   Grand Total                                                                               $      217,329.50   Straight Line Depreciation    $     217,329.50
                                                                               Page 2 of 2
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 SCHEDULES OF ASSETS AND LIABILITIES


           EXHIBIT FOR SCHEDULE AB

               PART 10, QUESTION 60

PATENTS, COPYRIGHTS, TRADEMARKS, OR TRADE
                 SECRETS
                         Case 25-10308        Doc 155       Filed 02/18/25   Page 54 of 250

Diamond Comic Distributors, Inc.
Case No. 25-10308
Schedule AB 60. Patents, copyrights, trademarks, or trade secrets.

                                                 Net Book Value of     Valuation Method Used   Current Value of
               General Description
                                                 Debtor's Interest       for Current Value     Debtor's Interest
   "COMIC SHOP LOCATOR SERVICE"                     Undetermined               N/A              Undetermined
   "COMIC SUITE"                                    Undetermined               N/A              Undetermined
   "COMICSHOPLOCATOR.COM"                           Undetermined               N/A              Undetermined
   "DIAMOND BOOK DISTRIBUTORS"                      Undetermined               N/A              Undetermined
   "DIAMOND COMIC DISTRIBUTORS"                     Undetermined               N/A              Undetermined
   "DIAMOND DAILY"                                  Undetermined               N/A              Undetermined
   "DIAMOND DIGITAL"                                Undetermined               N/A              Undetermined
   "DIAMOND RETAILER SUMMIT"                        Undetermined               N/A              Undetermined
   "GEM AWARDS"                                     Undetermined               N/A              Undetermined
   "KIDSCOMICS.COM"                                 Undetermined               N/A              Undetermined
   "TOY CHEST"                                      Undetermined               N/A              Undetermined
   Total:                                           Undetermined                                Undetermined




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SCHEDULES OF ASSETS AND LIABILITIES


         EXHIBIT FOR SCHEDULE AB

             PART 10, QUESTION 61

 INTERNET DOMAIN NAMES AND WEBSITES
                           Case 25-10308   Doc 155       Filed 02/18/25     Page 56 of 250

Diamond Comic Distributors, Inc.
Case No. 25-10308
Schedule AB 61. Internet domain names and websites.

                                           Net Book Value of        Valuation Method Used    Current Value of
                  Description
                                           Debtor's Interest          for Current Value      Debtor's Interest
     actionfigureauthority.com               Undetermined                   N/A                Undetermined
     alliance-games.com                      Undetermined                   N/A                Undetermined
     alliance-gamesnorth.com                 Undetermined                   N/A                Undetermined
     alliancegames.com                       Undetermined                   N/A                Undetermined
     alliancegamesnorth.com                  Undetermined                   N/A                Undetermined
     artasylum.com                           Undetermined                   N/A                Undetermined
     baltimore-tix.com                       Undetermined                   N/A                Undetermined
     baltimorecommunications.com             Undetermined                   N/A                Undetermined
     baltimorecreativestudio.com             Undetermined                   N/A                Undetermined
     baltimorecreativestudio.net             Undetermined                   N/A                Undetermined
     baltimoreexecutive.com                  Undetermined                   N/A                Undetermined
     baltimoreexecutive.net                  Undetermined                   N/A                Undetermined
     baltimoregamechangers.com               Undetermined                   N/A                Undetermined
     baltimoremag.com                        Undetermined                   N/A                Undetermined
     baltimoremagazine.net                   Undetermined                   N/A                Undetermined
     baltimoremagazine.online                Undetermined                   N/A                Undetermined
     baltimoremagazine.org                   Undetermined                   N/A                Undetermined
     baltimoremagazine360.com                Undetermined                   N/A                Undetermined
     baltimoremagazineplus.com               Undetermined                   N/A                Undetermined
     baltimoreticket.com                     Undetermined                   N/A                Undetermined
     baltimoretickets.com                    Undetermined                   N/A                Undetermined
     battlebeast.com                         Undetermined                   N/A                Undetermined
     bmagshop.com                            Undetermined                   N/A                Undetermined
     bmagstore.com                           Undetermined                   N/A                Undetermined
     bmagtix.com                             Undetermined                   N/A                Undetermined
     cardculture.com                         Undetermined                   N/A                Undetermined
     cardculturepx.com                       Undetermined                   N/A                Undetermined
     cgacases.com                            Undetermined                   N/A                Undetermined
     cgagrader.com                           Undetermined                   N/A                Undetermined
     cgagrading.com                          Undetermined                   N/A                Undetermined
     cgastore.com                            Undetermined                   N/A                Undetermined
     collectdst.com                          Undetermined                   N/A                Undetermined
     collectiblegradingauthority.com         Undetermined                   N/A                Undetermined
     comicbookgrader.com                     Undetermined                   N/A                Undetermined
     comicscomeback.com                      Undetermined                   N/A                Undetermined
     comicshoplocator.com                    Undetermined                   N/A                Undetermined
     comicsintheclassroom.com                Undetermined                   N/A                Undetermined
     comicsuite.com                          Undetermined                   N/A                Undetermined
     dcdfulfillment.com                      Undetermined                   N/A                Undetermined
     diamondbookdistributors.com             Undetermined                   N/A                Undetermined
     diamondbookshelf.com                    Undetermined                   N/A                Undetermined
     diamondcomics.com                       Undetermined                   N/A                Undetermined
     diamondcomics.net                       Undetermined                   N/A                Undetermined
     diamonddigital.com                      Undetermined                   N/A                Undetermined
                                                      Page 1 of 3
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Diamond Comic Distributors, Inc.
Case No. 25-10308
Schedule AB 61. Internet domain names and websites.

                                          Net Book Value of         Valuation Method Used    Current Value of
                 Description
                                          Debtor's Interest           for Current Value      Debtor's Interest
     diamondgalleries.com                    Undetermined                   N/A                Undetermined
     diamondselect.toys                      Undetermined                   N/A                Undetermined
     diamondselecttoys.com                   Undetermined                   N/A                Undetermined
     diecastgrader.com                       Undetermined                   N/A                Undetermined
     dollgrader.com                          Undetermined                   N/A                Undetermined
     eccrypt.com                             Undetermined                   N/A                Undetermined
     egerber.com                             Undetermined                   N/A                Undetermined
     fandomworld.com                         Undetermined                   N/A                Undetermined
     femmefatalesfigures.com                 Undetermined                   N/A                Undetermined
     freecomicbookday.com                    Undetermined                   N/A                Undetermined
     freecomicbooksummer.com                 Undetermined                   N/A                Undetermined
     freecomicday.com                        Undetermined                   N/A                Undetermined
     freecomicsday.com                       Undetermined                   N/A                Undetermined
     freemangaday.com                        Undetermined                   N/A                Undetermined
     freemangaday.info                       Undetermined                   N/A                Undetermined
     freemangaday.net                        Undetermined                   N/A                Undetermined
     freemangaday.org                        Undetermined                   N/A                Undetermined
     gameshoplocator.com                     Undetermined                   N/A                Undetermined
     gameshoplocator.net                     Undetermined                   N/A                Undetermined
     gametrademagazine.com                   Undetermined                   N/A                Undetermined
     gemstonecomics.com                      Undetermined                   N/A                Undetermined
     gemstonecomics.net                      Undetermined                   N/A                Undetermined
     gemstonepub.com                         Undetermined                   N/A                Undetermined
     gemstonepublishing.com                  Undetermined                   N/A                Undetermined
     gentlegiantltd.com                      Undetermined                   N/A                Undetermined
     gentlegiantltd.net                      Undetermined                   N/A                Undetermined
     gentlegianttoys.com                     Undetermined                   N/A                Undetermined
     geppicompanies.com                      Undetermined                   N/A                Undetermined
     geppientertainment.com                  Undetermined                   N/A                Undetermined
     geppientertainmentandmedia.com          Undetermined                   N/A                Undetermined
     geppifamilyenterprises.com              Undetermined                   N/A                Undetermined
     geppifulfillmentsolutions.com           Undetermined                   N/A                Undetermined
     geppis.com                              Undetermined                   N/A                Undetermined
     geppis.net                              Undetermined                   N/A                Undetermined
     geppisauctions.com                      Undetermined                   N/A                Undetermined
     geppisentertainment.com                 Undetermined                   N/A                Undetermined
     geppisentertainmentmuseum.com           Undetermined                   N/A                Undetermined
     geppisfamilyenterprises.com             Undetermined                   N/A                Undetermined
     geppismuseum.com                        Undetermined                   N/A                Undetermined
     gfefulfillment.com                      Undetermined                   N/A                Undetermined
     givebaltimore.net                       Undetermined                   N/A                Undetermined
     givebaltimore.org                       Undetermined                   N/A                Undetermined
     gtmgiveaway.com                         Undetermined                   N/A                Undetermined
     hakes.com                               Undetermined                   N/A                Undetermined
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Diamond Comic Distributors, Inc.
Case No. 25-10308
Schedule AB 61. Internet domain names and websites.

                                          Net Book Value of         Valuation Method Used    Current Value of
                  Description
                                          Debtor's Interest           for Current Value      Debtor's Interest
     halloweencomicfest.com                 Undetermined                    N/A                Undetermined
     homemediaauthority.com                 Undetermined                    N/A                Undetermined
     homemediagrader.com                    Undetermined                    N/A                Undetermined
     homemediagrading.com                   Undetermined                    N/A                Undetermined
     kidscomics.com                         Undetermined                    N/A                Undetermined
     lunchboxgrader.com                     Undetermined                    N/A                Undetermined
     mangashoplocator.com                   Undetermined                    N/A                Undetermined
     maximumzombies.com                     Undetermined                    N/A                Undetermined
     mediagradingauthority.com              Undetermined                    N/A                Undetermined
     minimates.com                          Undetermined                    N/A                Undetermined
     mobileactionextreme.com                Undetermined                    N/A                Undetermined
     mobileactionxtreme.com                 Undetermined                    N/A                Undetermined
     moviepostergrader.com                  Undetermined                    N/A                Undetermined
     nonsportscardgrader.com                Undetermined                    N/A                Undetermined
     nonsportsgrader.com                    Undetermined                    N/A                Undetermined
     pezgrader.com                          Undetermined                    N/A                Undetermined
     pinbackguide.com                       Undetermined                    N/A                Undetermined
     popfulfillment.com                     Undetermined                    N/A                Undetermined
     postergrader.com                       Undetermined                    N/A                Undetermined
     previewsadult.com                      Undetermined                    N/A                Undetermined
     previewsworld.com                      Undetermined                    N/A                Undetermined
     previewsworld.tv                       Undetermined                    N/A                Undetermined
     shopdst.com                            Undetermined                    N/A                Undetermined
     stevegeppi.com                         Undetermined                    N/A                Undetermined
     stevegeppi.net                         Undetermined                    N/A                Undetermined
     toychestnews.com                       Undetermined                    N/A                Undetermined
     toychestnews.net                       Undetermined                    N/A                Undetermined
     toygrader.com                          Undetermined                    N/A                Undetermined
     toygrader.net                          Undetermined                    N/A                Undetermined
     toygrader.org                          Undetermined                    N/A                Undetermined
     toygraders.com                         Undetermined                    N/A                Undetermined
     toygrading.com                         Undetermined                    N/A                Undetermined
     vgamegrader.com                        Undetermined                    N/A                Undetermined
     vggrader.com                           Undetermined                    N/A                Undetermined
     videogamegrader.com                    Undetermined                    N/A                Undetermined
     videogamegrader.info                   Undetermined                    N/A                Undetermined
     videogamegrader.net                    Undetermined                    N/A                Undetermined
     videogamegrader.org                    Undetermined                    N/A                Undetermined
     vinimates.com                          Undetermined                    N/A                Undetermined
     whatsatcomicshops.com                  Undetermined                    N/A                Undetermined
     Total:                                 Undetermined                    N/A                Undetermined




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                                                                        Case 25-10308
 Fi l l i n t h i s i n f o r m a t i o n t o i d e n t i f y t h e c a s e :                                               Doc 155                      Filed 02/18/25                                Page 59 of 250
 De b t o r n a m e : Diamond Comic Distributors, Inc.
 Un i t e d St a t e s Ba n k r u p t c y Co u r t f o r t h e Ba l t i m o r e Di v i s i o n , Di s t r i c t o f Ma r y l a n d
                                                                                                                                                                                                                                       Check if this is an amended filing
 Ca s e n u m b e r ( If k n o w n ) : 25-10308



Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                                                                                                                          12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
     No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
 ✔ Yes. Fill in all of the information below.


 Part 1:                      List Creditors Who Have Secured Claims
2. List in alphabetical order all creditors who have secured claims.If a creditor has more than one secured claim, list the                                                                                              Column A                      Column B
   creditor separately for each claim.                                                                                                                                                                                   Amount of claim               Value of collateral that supports
                                                                                                                                                                                                                         Do not deduct the value of    this claim
                                                                                                                                                                                                                         collateral
2.1 Creditor's name                                                                                                   Describe debtor's property that is subject to a lien                                               $31,019,347.89                Undetermined
      J P Mo r g a n Ch a s e Ba n k , N. A.                                                                          Su b s t a n t i a l l y a l l o f De b t o r ’s a s s e t s
      Creditor's mailing address                                                                                      Describe the lien
      P. O. Bo x 6 9 1 6 5                                                                                            Fi r s t Pr i o r i t y Li e n
      Ba l t i m o r e , M D 2 1 2 6 4 - 9 1 6 5                                                                      Is the creditor an insider or related party?
      Creditor's email address, if known                                                                              ✔      No .
                                                                                                                             Ye s .
        Da t e d e b t w a s i n c u r r e d                               05/16/2019                                 Is anyone else liable on this claim?
                                                                                                                             No .
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                 __ __ __ __
                                                                                                                      ✔      Ye s . Fi l l o u t Sc h e d u l e H. Co d e b t o r s ( Of f i c i a l Fo r m 2 0 6 H) .
      Do multiple creditors have an interest in the same property?
                                                                                                                      As of the petition filing date, the claim is:
       ✔       No .                                                                                                   Ch e c k a l l t h a t a p p l y
               Ye s . Ha v e y o u a l r e a d y s p e c i f i e d t h e r e l a t i v e p r i o r i t y ?                   Co n t i n g e n t
                      No . Sp e c i f y e a c h c r e d i t o r , i n c l u d i n g t h i s c r e d i t o r , a n d   ✔      Un l i q u i d a t e d
                      i t s r e l a t i v e p r i o r i t y.                                                                 Di s p u t e d
                      Ye s . Th e r e l a t i v e p r i o r i t y o f c r e d i t o r s i s s p e c i f i e d o n
                      lines

3.   To t a l o f t h e d o l l a r a m o u n t s f r o m Pa r t 1 , Co l u m n A, i n c l u d i n g t h e a m o u n t s f r o m t h e Ad d i t i o n a l Pa g e , i f a n y.                                            $31,019,347.89
Official Form 206D                                                                                           Schedule D: Creditors Who Have Claims Secured by Property                                                                                 Page 1 of 2
Debtor                                      CaseInc.
                          Diamond Comic Distributors, 25-10308                                            Doc 155                      Filed 02/18/25
                                                                                                                                                Case number Page
                                                                                                                                                            (if known)60 of 250
                                                                                                                                                                       25-10308
                          Name


 Part 2:                List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.


                                                                                                                                                                       On which line in Part 1 did you   Last 4 digits of account number
 Name and address
                                                                                                                                                                       enter the related creditor?       for this entity

 Tr o u t m a n Pe p p e r Lo c k e , L L P At t n : Jo n a t h a n Yo u n g , Da v i d Ru e d i g e r 1 1 1 Hu n t i n g t o n Av e , 9 t h Fl . , Bo s t o n , M A
 02199                                                                                                                                                                 Line 2.1                            __ __ __ __



Official Form 206D                                                            Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                                       Page 2 of 2
  Fill in this information to identify the case:
                                                                     Case 25-10308                                         Doc 155                         Filed 02/18/25                                     Page 61 of 250

  Debtor name: Diamond Comic Distributors, Inc.
  United States Bankruptcy Court for the Baltimore Division, District of Maryland                                                                                                                                                                     Check if this is an amended filing
  Case number (If known): 25-10308


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                                                                                                                                                                       12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims. List the other party
to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B)
and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or
Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:                     List All Creditors with PRIORITY Unsecured Claims
1 . Do a n y c r e d i t o r s h a v e p r i o r i t y u n s e c u r e d c l a i m s ? ( Se e 1 1 U. S. C. § 5 0 7 ) .
      No . Go t o Pa r t 2 .
 ✔ Ye s . Go t o l i n e 2 .

 2. Li s t i n a l p h a b e t i c a l o r d e r a l l c r e d i t o r s w h o h a v e u n s e c u r e d c l a i m s t h a t a r e e n t i t l e d t o p r i o r i t y i n w h o l e o r i n p a r t . If t h e d e b t o r h a s m o r e t h a n 3 c r e d i t o r s w i t h p r i o r i t y u n s e c u r e d c l a i m s ,
      f i l l o u t a n d a t t a c h t h e Ad d i t i o n a l Pa g e o f Pa r t 1

                                                                                                                                                                                                                                    Total Claim                                     Priority Amount
2.1 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                                          As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :                $1,581.88                                       $1,581.88
       Ad a m No v a k                                                                                                                    Ch e c k a l l t h a t a p p l y.
       5 2 2 2 Wy n d h o l m e Ci r                                                                                                       ✔ Co n t i n g e n t
       Ba l t i m o r e , M D 2 1 2 2 9                                                                                                          Un l i q u i d a t e d
       Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                                        Di s p u t e d
       Va r i o u s                                                                                                                       Ba s i s o f c l a i m :
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                           __ __ __ __                                          Ac c r u e d / Un u s e d P T O
                                                                                                                                          Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                                           ✔ No .
       Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                                 Ye s .
       4


2.2 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                                          As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :                $2,544.08                                       $1,609.52
       Ad a m T Fu k u m i t s u                                                                                                          Ch e c k a l l t h a t a p p l y.
       7 4 1 8 Gr e s h a m St                                                                                                             ✔ Co n t i n g e n t
       Sp r i n g f i e l d , VA 2 2 1 5 1                                                                                                       Un l i q u i d a t e d
       Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                                        Di s p u t e d
       Va r i o u s                                                                                                                       Ba s i s o f c l a i m :
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                           __ __ __ __                                          Ac c r u e d / Un u s e d P T O
                                                                                                                                          Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                                           ✔ No .
       Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                                 Ye s .
       4


2.3 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                                          As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :                $41.82                                          $41.82
       Ad r i a n Ag u i l a r                                                                                                            Ch e c k a l l t h a t a p p l y.
       1 0 0 0 0 N La m a r Bl v d                                                                                                         ✔ Co n t i n g e n t
       Au s t i n , T X 7 8 7 5 3                                                                                                                Un l i q u i d a t e d
       Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                                        Di s p u t e d
       Va r i o u s                                                                                                                       Ba s i s o f c l a i m :
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                           __ __ __ __                                          Ac c r u e d / Un u s e d P T O
                                                                                                                                          Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                                           ✔ No .
       Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                                 Ye s .
       4


2.4 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                                          As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :                $432.00                                         $432.00
       Ad r i a n Ro d r i g u e z                                                                                                        Ch e c k a l l t h a t a p p l y.
       7 7 7 2 Wa l n u t Gl e n Dr                                                                                                        ✔ Co n t i n g e n t
       So u t h a v e n , M S 3 8 6 7 2                                                                                                          Un l i q u i d a t e d
       Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                                        Di s p u t e d
       Va r i o u s                                                                                                                       Ba s i s o f c l a i m :
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                           __ __ __ __                                          Ac c r u e d / Un u s e d P T O
                                                                                                                                          Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                                           ✔ No .
       Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                                 Ye s .
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2.5 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                                  As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $640.00        $640.00
       Ai s h a F Sm i t h                                                                                                        Ch e c k a l l t h a t a p p l y.
       1 6 - G Ki n g s Cr o s s i n g Ct                                                                                          ✔ Co n t i n g e n t
       Co c k e y s v i l l e , M D 2 1 0 3 0                                                                                            Un l i q u i d a t e d
       Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                                Di s p u t e d
       Va r i o u s                                                                                                               Ba s i s o f c l a i m :
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                          __ __ __ __                                   Ac c r u e d / Un u s e d P T O
                                                                                                                                  Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                                   ✔ No .
       Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                         Ye s .
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2.6 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                                  As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,048.60      $979.30
       Al e x a n d e r Mu n g u i a                                                                                              Ch e c k a l l t h a t a p p l y.
       2 4 2 Ri v e r b e n d Ct                                                                                                   ✔ Co n t i n g e n t
       Vi s a l i a , C A 9 3 2 9 1                                                                                                      Un l i q u i d a t e d
       Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                                Di s p u t e d
       Va r i o u s                                                                                                               Ba s i s o f c l a i m :
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                          __ __ __ __                                   Ac c r u e d / Un u s e d P T O
                                                                                                                                  Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                                   ✔ No .
       Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                         Ye s .
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2.7 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                                  As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $801.50        $801.50
       Al e x a n d e r Xu                                                                                                        Ch e c k a l l t h a t a p p l y.
       1 4 4 1 7 Li l l e y Br o o k Co v e                                                                                        ✔ Co n t i n g e n t
       Au s t i n , T X 7 8 7 1 7                                                                                                        Un l i q u i d a t e d
       Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                                Di s p u t e d
       Va r i o u s                                                                                                               Ba s i s o f c l a i m :
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                          __ __ __ __                                   Ac c r u e d / Un u s e d P T O
                                                                                                                                  Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                                   ✔ No .
       Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                         Ye s .
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2.8 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                                  As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,038.60      $900.12
       Al e x a n d r a Mu r r a y                                                                                                Ch e c k a l l t h a t a p p l y.
       1 0 4 2 8 4 3 r d Av e                                                                                                      ✔ Co n t i n g e n t
       Be l t s v i l l e , M D 2 0 7 0 5                                                                                                Un l i q u i d a t e d
       Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                                Di s p u t e d
       Va r i o u s                                                                                                               Ba s i s o f c l a i m :
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                          __ __ __ __                                   Ac c r u e d / Un u s e d P T O
                                                                                                                                  Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                                   ✔ No .
       Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                         Ye s .
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2.9 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                                  As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $743.50        $583.27
       Al i c i a N Mo o r e                                                                                                      Ch e c k a l l t h a t a p p l y.
       2 4 2 Ly n e s s Av e , Ap t 1 9 8                                                                                          ✔ Co n t i n g e n t
       Ha r r i s o n , O H 4 5 0 3 0                                                                                                    Un l i q u i d a t e d
       Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                                Di s p u t e d
       Va r i o u s                                                                                                               Ba s i s o f c l a i m :
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                          __ __ __ __                                   Ac c r u e d / Un u s e d P T O
                                                                                                                                  Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                                   ✔ No .
       Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                         Ye s .
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2.10 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :       $1,472.00      $832.00
         Al l i s o n Ko n i a l i a n                                                                                        Ch e c k a l l t h a t a p p l y.
         5 4 4 5 Pa t t e r s o n Rd                                                                                           ✔ Co n t i n g e n t
         Ba l d w i n , M D 2 1 0 1 3                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
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2.11 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $492.29        $492.29
         Al l i s o n R Za e n g e r                                                                                          Ch e c k a l l t h a t a p p l y.
         1 0 3 3 No r t h w o o d Bl v d                                                                                       ✔ Co n t i n g e n t
         Ft Wa y n e , I N 4 6 8 0 5                                                                                                 Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.12 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,231.47      $1,688.00
         Al l y n R Gi b s o n                                                                                                Ch e c k a l l t h a t a p p l y.
         2 7 4 W Wa l n u t St                                                                                                 ✔ Co n t i n g e n t
         Yo e , PA 1 7 3 1 3                                                                                                         Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.13 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $255.84        $255.84
         Al y s s a Ei d s o n                                                                                                Ch e c k a l l t h a t a p p l y.
         3 3 6 0 Ki r b y Me a d o w s Dr                                                                                      ✔ Co n t i n g e n t
         Me m p h i s , T N 3 8 1 1 5                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.14 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $67.77         $67.77
         Am a r i o n M Da v i s                                                                                              Ch e c k a l l t h a t a p p l y.
         1 7 2 9 Ho b s o n Rd                                                                                                 ✔ Co n t i n g e n t
         Ft Wa y n e , I N 4 6 8 0 5                                                                                                 Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
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2.15 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,008.00      $959.00
         Am e l i a Ca n t u                                                                                                  Ch e c k a l l t h a t a p p l y.
         1 5 8 3 5 Fo o t h i l l Fa r m s Lo o p , Ap t 2 9 1 4                                                               ✔ Co n t i n g e n t
         Pf l u g e r v i l l e , T X 7 8 6 6 0                                                                                      Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.16 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,524.92      $1,696.16
         Am y Hu g h e s                                                                                                      Ch e c k a l l t h a t a p p l y.
         1 9 2 2 Sa i n t Lo u i s Av e                                                                                        ✔ Co n t i n g e n t
         Ft Wa y n e , I N 4 6 8 1 9                                                                                                 Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
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         An g e l Be r n a c e t t Co s m e                                                                                   Ch e c k a l l t h a t a p p l y.
         3 0 5 2 Li n d a Dr                                                                                                   ✔ Co n t i n g e n t
         Me m p h i s , T N 3 8 1 1 8                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.18 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $688.86        $688.86
         An g e l Ca s t i l l o                                                                                              Ch e c k a l l t h a t a p p l y.
         9 9 1 Sh o w Bo a t Cv                                                                                                ✔ Co n t i n g e n t
         Co r d o v a , T N 3 8 1 1 8                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
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2.19 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,691.30      $2,691.30
         An g e l a C Ph i l l i p s - Mi l l s                                                                               Ch e c k a l l t h a t a p p l y.
         9 We l l h a v e n Ci r , Ap t 1 0 1 6                                                                                ✔ Co n t i n g e n t
         Ow i n g s Mi l l s , M D 2 1 1 1 7                                                                                         Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.20 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $120.96        $120.96
         An g e l a Ri c k e r                                                                                                Ch e c k a l l t h a t a p p l y.
         9 1 2 Me a d o w Vi e w Ci r                                                                                          ✔ Co n t i n g e n t
         By h a l i a , M S 3 8 6 1 1                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.21 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $6,645.43      $3,730.77
         An g e l a Ve a c h                                                                                                  Ch e c k a l l t h a t a p p l y.
         7 5 1 8 Al b a t r o s s Dr                                                                                           ✔ Co n t i n g e n t
         Ol i v e Br a n c h , M S 3 8 6 5 4                                                                                         Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.22 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $190.08        $190.08
         An g e l o D Wr i g h t                                                                                              Ch e c k a l l t h a t a p p l y.
         7 7 2 0 Fl a n n a g a n Ct 6                                                                                         ✔ Co n t i n g e n t
         Ri c h m o n d , VA 2 3 2 2 8                                                                                               Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.23 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,193.14      $2,166.57
         An g e l o R He r n a n d e z                                                                                        Ch e c k a l l t h a t a p p l y.
         2 1 1 E Vi n e St                                                                                                     ✔ Co n t i n g e n t
         Vi s a l i a , C A 9 3 2 9 1                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.24 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,448.84      $2,544.23
         An i b a l O R Le b r o n                                                                                            Ch e c k a l l t h a t a p p l y.
         3 0 7 7 Ca r t l y n n Ci r                                                                                           ✔ Co n t i n g e n t
         Ho r n La k e , M S 3 8 6 3 7                                                                                               Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.25 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $619.16        $619.16
         An n e No y e s                                                                                                      Ch e c k a l l t h a t a p p l y.
         2 2 0 6 Sh e t l a n d Wa y                                                                                           ✔ Co n t i n g e n t
         Be l Ai r , M D 2 1 0 1 5                                                                                                   Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.26 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,008.00      $1,008.00
         An t h o n y Go n z a l e z                                                                                          Ch e c k a l l t h a t a p p l y.
         5 1 1 N Su m m e r s St                                                                                               ✔ Co n t i n g e n t
         Vi s a l i a , C A 9 3 2 9 1                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.27 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $757.34        $757.34
         An t h o n y Sa n t a n o                                                                                            Ch e c k a l l t h a t a p p l y.
         1 7 0 0 S Au s t i n Av e , Ap t 1 1 4                                                                                ✔ Co n t i n g e n t
         Ge o r g e t o w n , T X 7 8 6 2 6                                                                                          Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.28 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $441.67        $441.67
         An t o i n e Ca l l i g a n                                                                                          Ch e c k a l l t h a t a p p l y.
         1 1 2 1 Ri v e r m e t Av e                                                                                           ✔ Co n t i n g e n t
         Ft Wa y n e , I N 4 6 8 0 5                                                                                                 Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
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2.29 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $884.14        $884.14
         An t o i n e t t e Ja c k s o n                                                                                      Ch e c k a l l t h a t a p p l y.
         4 3 1 Au t u m n Ha r v e s t Ct                                                                                      ✔ Co n t i n g e n t
         Ab i n g d o n , M D 2 1 0 0 9                                                                                              Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.30 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $416.48        $416.48
         An t o n i o Pa n n e l l                                                                                            Ch e c k a l l t h a t a p p l y.
         4 2 7 7 Ki m b a l l Av e                                                                                             ✔ Co n t i n g e n t
         Me m p h i s , T N 3 8 1 1 1                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.31 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $82.54         $82.54
         An t o n i o T St e e l e                                                                                            Ch e c k a l l t h a t a p p l y.
         3 Me l i n d a Dr                                                                                                     ✔ Co n t i n g e n t
         Yo r k , PA 1 7 4 0 8                                                                                                       Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.32 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $143.14        $143.14
         An y e r b e t Ve r g a r a                                                                                          Ch e c k a l l t h a t a p p l y.
         3 1 3 2 Ar b o l Pl                                                                                                   ✔ Co n t i n g e n t
         Me m p h i s , T N 3 8 1 1 5                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.33 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $772.20        $772.20
         Ar a b e l l a B Ac o s t a                                                                                          Ch e c k a l l t h a t a p p l y.
         6 7 4 Ha l l St                                                                                                       ✔ Co n t i n g e n t
         Tu l a r e , C A 9 3 2 7 4                                                                                                  Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.34 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $466.97        $466.97
         Ar t u r o Mo r e n o                                                                                                Ch e c k a l l t h a t a p p l y.
         2 0 2 4 N 5 t h St                                                                                                    ✔ Co n t i n g e n t
         St Ch a r l e s , M O 6 3 3 0 1                                                                                             Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
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         As h l e y K Kr o n s b e r g                                                                                        Ch e c k a l l t h a t a p p l y.
         1 4 0 7 Si n g e r Rd                                                                                                 ✔ Co n t i n g e n t
         Jo p p a , M D 2 1 0 8 5 - 2 1 1 2                                                                                          Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.36 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $261.00        $261.00
         As h l e y S Gi e b e l                                                                                              Ch e c k a l l t h a t a p p l y.
         1 0 1 0 7 Gl e n n o n St                                                                                             ✔ Co n t i n g e n t
         Sa n Di e g o , C A 9 2 1 2 4                                                                                               Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.37 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,205.57      $2,076.92
         As h t o n Su m m e r Gr e e n w o o d                                                                               Ch e c k a l l t h a t a p p l y.
         8 5 2 0 Wo o d f a l l Rd                                                                                             ✔ Co n t i n g e n t
         No t t i n g h a m , M D 2 1 2 3 6                                                                                          Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.38 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,115.37      $1,923.07
         At s u k o N Wi l s o n                                                                                              Ch e c k a l l t h a t a p p l y.
         1 4 Va l l e y Cr o s s i n g Ci r                                                                                    ✔ Co n t i n g e n t
         Co c k e y s v i l l e , M D 2 1 0 3 0                                                                                      Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.39 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $432.00        $432.00
         Ba i l e y Ho u s t o n                                                                                              Ch e c k a l l t h a t a p p l y.
         3 7 1 7 Hw y 3 0 6                                                                                                    ✔ Co n t i n g e n t
         Co l d w a t e r , M S 3 8 6 1 8                                                                                            Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.40 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $416.16        $416.16
         Ba r b a r a Ha l l                                                                                                  Ch e c k a l l t h a t a p p l y.
         8 3 8 Ma r i a n n a St                                                                                               ✔ Co n t i n g e n t
         Me m p h i s , T N 3 8 1 1 4                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.41 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,800.32      $1,316.16
         Be n j a m i n Ta w n e y                                                                                            Ch e c k a l l t h a t a p p l y.
         5 5 0 Oa k Rd                                                                                                         ✔ Co n t i n g e n t
         Da l l a s t o w n , PA 1 7 3 1 3                                                                                           Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.42 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,323.91      $2,323.91
         Be t h E Tr a c e y                                                                                                  Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 2 1 6                                                                                                      ✔ Co n t i n g e n t
         Ne w Wi n d s o r , M D 2 1 7 7 6                                                                                           Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.43 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $41.82         $41.82
         Be t h a n y F Qu i n n                                                                                              Ch e c k a l l t h a t a p p l y.
         2 4 5 4 1 N Mi c h a e l St                                                                                           ✔ Co n t i n g e n t
         Tu l a r e , C A 9 3 2 9 2                                                                                                  Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.44 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $49.40         $49.40
         Bi a n c a R Ma t a l l a n a                                                                                        Ch e c k a l l t h a t a p p l y.
         4 0 2 5 Mc Gi n n i s Fe r r y Rd , Ap t 8 1 2 B                                                                      ✔ Co n t i n g e n t
         Su w a n e e , G A 3 0 0 2 4                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.45 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $595.65        $595.65
         Bi l l y D O' Ke l l e y                                                                                             Ch e c k a l l t h a t a p p l y.
         2 9 0 1 N Za c h a r y St                                                                                             ✔ Co n t i n g e n t
         Vi s a l i a , C A 9 3 2 9 1                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.46 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $467.34        $467.34
         Bo b b i e C Ti l g h m a n                                                                                          Ch e c k a l l t h a t a p p l y.
         3 0 0 3 Ha n l o n Av e                                                                                               ✔ Co n t i n g e n t
         Ba l t i m o r e , M D 2 1 2 1 6                                                                                            Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
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2.47 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $174.72        $174.72
         Bo o n t h a m Se e c h a n                                                                                          Ch e c k a l l t h a t a p p l y.
         2 6 4 6 N Sh a d y Ct                                                                                                 ✔ Co n t i n g e n t
         Vi s a l i a , C A 9 3 2 9 1                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.48 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $96.84         $96.84
         Bo u t s a d y In t h i r a t h                                                                                      Ch e c k a l l t h a t a p p l y.
         3 2 4 0 St Ja m e s Pl , Bl d g Ho m e                                                                                ✔ Co n t i n g e n t
         La w r e n c e v i l l e , G A 3 0 0 4 4                                                                                    Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.49 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $359.74        $359.74
         Br a n d o n Di l l s                                                                                                Ch e c k a l l t h a t a p p l y.
         8 3 2 Ri d g e w o o d Dr , Ap t 8                                                                                    ✔ Co n t i n g e n t
         Ft Wa y n e , I N 4 6 8 0 5                                                                                                 Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.50 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $660.52        $660.52
         Br e n d a Ha r r o u c h i                                                                                          Ch e c k a l l t h a t a p p l y.
         3 1 1 Bu r t o n Rd                                                                                                   ✔ Co n t i n g e n t
         Se n a t o b i a , M S 3 8 6 6 8                                                                                            Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.51 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $90.34         $90.34
         Br e n d a L Ya n c e y                                                                                              Ch e c k a l l t h a t a p p l y.
         6 8 3 Hi l y a r d Ln                                                                                                 ✔ Co n t i n g e n t
         Me m p h i s , T N 3 8 1 2 6                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.52 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,235.67      $856.96
         Br e n d a Ro d r i g u e z                                                                                          Ch e c k a l l t h a t a p p l y.
         1 5 0 1 Ch e r r y Rd , Ap t 0 2                                                                                      ✔ Co n t i n g e n t
         Me m p h i s , T N 3 8 1 1 7                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
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         Br e n d e n D Fi s c h e r                                                                                          Ch e c k a l l t h a t a p p l y.
         1 7 8 0 Gr a v e s Rd , Ap t 6 2 3                                                                                    ✔ Co n t i n g e n t
         No r c r o s s , G A 3 0 0 9 3                                                                                              Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.54 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,104.16      $1,519.20
         Br e n n a n We s t                                                                                                  Ch e c k a l l t h a t a p p l y.
         9 Ma u l Av e , Ap t D                                                                                                ✔ Co n t i n g e n t
         Fe l t o n , PA 1 7 3 2 2                                                                                                   Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.55 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,135.25      $1,367.40
         Br e t t Ca n b y                                                                                                    Ch e c k a l l t h a t a p p l y.
         5 1 2 9 Ki n g Av e                                                                                                   ✔ Co n t i n g e n t
         Ro s e d a l e , M D 2 1 2 3 7                                                                                              Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.56 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $289.11        $289.11
         Br e t t Il k                                                                                                        Ch e c k a l l t h a t a p p l y.
         3 7 2 2 S Pa r k Dr                                                                                                   ✔ Co n t i n g e n t
         Ft w a y n e , I N 4 6 8 0 6                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.57 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,111.63      $1,125.00
         Br i a n Ba u e r                                                                                                    Ch e c k a l l t h a t a p p l y.
         9 1 3 4 Av o n d a l e Rd                                                                                             ✔ Co n t i n g e n t
         Ba l t i m o r e , M D 2 1 2 3 4                                                                                            Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.58 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $267.51        $267.51
         Br i a n D Ba i l e y                                                                                                Ch e c k a l l t h a t a p p l y.
         3 3 4 3 S Ch r i s t i n e Ga r d e n s                                                                               ✔ Co n t i n g e n t
         Me m p h i s , T N 3 8 1 1 8                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


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2.59 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $673.97        $673.97
         Br i a n P Sp e n c e r                                                                                              Ch e c k a l l t h a t a p p l y.
         3 4 5 Wi n t e r b e r r y Dr                                                                                         ✔ Co n t i n g e n t
         Ed g e w o o d , M D 2 1 0 4 0                                                                                              Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.60 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,066.46      $987.43
         Br i a n Si r o i s                                                                                                  Ch e c k a l l t h a t a p p l y.
         1 0 2 7 Br a y m e r Tr l                                                                                             ✔ Co n t i n g e n t
         Ft Wa y n e , I N 4 6 8 4 5                                                                                                 Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.61 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $321.48        $321.48
         Br i a n n a Ac o s t a                                                                                              Ch e c k a l l t h a t a p p l y.
         5 0 0 0 Br i d g e w o o d Dr                                                                                         ✔ Co n t i n g e n t
         Ki l l e e n , T X 7 6 5 4 9                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.62 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,564.16      $1,564.16
         Br i t t a n y C Mc k i v e r                                                                                        Ch e c k a l l t h a t a p p l y.
         5 1 2 6 Pe a c h t r e e Bl v d , Ap t 6 2 5                                                                          ✔ Co n t i n g e n t
         Ch a m b l e e , G A 3 0 3 4 1                                                                                              Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.63 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $366.00        $366.00
         Br i t t a n y E Tu r n e r                                                                                          Ch e c k a l l t h a t a p p l y.
         1 3 0 8 N E 4 2 n d St                                                                                                ✔ Co n t i n g e n t
         Ok l a h o m a Ci t y, O K 7 3 1 1 1                                                                                        Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.64 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $233.79        $233.79
         Br i t t a n y N Ny c u m                                                                                            Ch e c k a l l t h a t a p p l y.
         4 7 1 5 Ch a r l t o n Av e                                                                                           ✔ Co n t i n g e n t
         Ba l t i m o r e , M D 2 1 2 1 4                                                                                            Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.65 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $620.24        $598.60
         Br u c e T Ha m i l t o n                                                                                            Ch e c k a l l t h a t a p p l y.
         3 0 4 Co l g a t e Dr                                                                                                 ✔ Co n t i n g e n t
         Fo r e s t Hi l l , M D 2 1 0 5 0                                                                                           Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.66 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $602.00        $581.00
         Br y a n J Wa t s o n                                                                                                Ch e c k a l l t h a t a p p l y.
         1 0 9 Ri v e r Cr o s s i n g Tr l                                                                                    ✔ Co n t i n g e n t
         Ro u n d Ro c k , T X 7 8 6 6 5                                                                                             Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.67 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,209.23      $982.50
         Br y c e B Wh i t a c r e                                                                                            Ch e c k a l l t h a t a p p l y.
         1 0 1 8 7 Gr e e n m o o r Dr                                                                                         ✔ Co n t i n g e n t
         Ne w Ha v e n , I N 4 6 7 7 4                                                                                               Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.68 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,089.02      $2,089.02
         Ca i t l i n Mc c a b e                                                                                              Ch e c k a l l t h a t a p p l y.
         9 Ch a u n c e y Wa l k e r St                                                                                        ✔ Co n t i n g e n t
         Be l c h e r t o w n , M A 0 1 0 0 7                                                                                        Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.69 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $601.00        $601.00
         Ca l e b Mi l l e r                                                                                                  Ch e c k a l l t h a t a p p l y.
         1 7 0 4 W Ma i n St                                                                                                   ✔ Co n t i n g e n t
         Ft Wa y n e , I N 4 6 8 0 8                                                                                                 Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.70 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $42,969.39     $42,969.39
         Ca l i f o r n i a Fr a n c h i s e Ta x Bo a r d                                                                    Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 9 4 2 8 6 7                                                                                                       Co n t i n g e n t
         Sa c r a m e n t o , C A 9 4 2 6 7 - 0 0 1 1                                                                                 Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                    ✔ Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  St a t e In c o m e Ta x - Je o p a r d y As s e s m e n t
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                      Ye s .
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         Ca m e r o n Fa u l k n e r - Wa l k e r                                                                             Ch e c k a l l t h a t a p p l y.
         7 1 6 5 Wi n f i e l d Rd                                                                                             ✔ Co n t i n g e n t
         Wi n f i e l d , W V 2 5 2 1 3                                                                                              Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.72 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,227.46      $1,047.93
         Ca m e r o n Mc i n n e s                                                                                            Ch e c k a l l t h a t a p p l y.
         7 N Sy c a m o r e Ln                                                                                                 ✔ Co n t i n g e n t
         St e w a r t s t o w n , PA 1 7 3 6 3                                                                                       Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.73 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $817.06        $817.06
         Ca n d a c e Ro g e r s                                                                                              Ch e c k a l l t h a t a p p l y.
         3 3 5 8 Pa r k e r Av e                                                                                               ✔ Co n t i n g e n t
         Me m p h i s , T N 3 8 1 1 1                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.74 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $39.36         $39.36
         Ca r l St e p h e n s                                                                                                Ch e c k a l l t h a t a p p l y.
         2 0 0 7 Fo x Po i n t Tr l , Ap t 8                                                                                   ✔ Co n t i n g e n t
         Ft Wa y n e , I N 4 6 8 1 6                                                                                                 Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.75 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $286.96        $286.96
         Ca r l o s Lo p e z                                                                                                  Ch e c k a l l t h a t a p p l y.
         3 9 2 1 Ch i p p e w a Rd , Ap t 1                                                                                    ✔ Co n t i n g e n t
         Me m p h i s , T N 3 8 1 1 8                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.76 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $886.73        $819.00
         Ca r l o s Ro d r i g u e z                                                                                          Ch e c k a l l t h a t a p p l y.
         2 2 8 3 4 Sa n Mi g u e l St                                                                                          ✔ Co n t i n g e n t
         Ha r l i n g e n , T X 7 8 5 5 2                                                                                            Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.77 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $592.56        $592.56
         Ca r l y M Ca m p b e l l                                                                                            Ch e c k a l l t h a t a p p l y.
         1 8 8 6 Ya k o n a Rd                                                                                                 ✔ Co n t i n g e n t
         Pa r k v i l l e , M D 2 1 2 3 4                                                                                            Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.78 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $405.43        $405.43
         Ca r m a l e n e C Da v i s                                                                                          Ch e c k a l l t h a t a p p l y.
         1 0 1 0 9 We s t m o r e l a n d Dr                                                                                   ✔ Co n t i n g e n t
         Mi c h i g a n Ci t y, I N 4 6 3 6 0                                                                                        Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.79 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,301.92      $856.96
         Ca s a n d r a Ri j o Be r r o a                                                                                     Ch e c k a l l t h a t a p p l y.
         5 0 5 0 Co l e w o o d Av e                                                                                           ✔ Co n t i n g e n t
         Me m p h i s , T N 3 8 1 1 8                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.80 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,610.63      $1,519.20
         Ca s e y Z Di m o f f                                                                                                Ch e c k a l l t h a t a p p l y.
         5 1 1 Cr e s t w o o d Dr                                                                                             ✔ Co n t i n g e n t
         Re d Li o n , PA 1 7 3 5 6                                                                                                  Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.81 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $241.07        $241.07
         Ca t h e r i n e Cl e n d e n e n                                                                                    Ch e c k a l l t h a t a p p l y.
         1 1 2 6 Fr a n k l i n Av e                                                                                           ✔ Co n t i n g e n t
         Ft Wa y n e , I N 4 6 8 0 8                                                                                                 Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.82 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $590.08        $590.08
         Ce c i l i a Es q u i v e l Lo p e z                                                                                 Ch e c k a l l t h a t a p p l y.
         6 8 9 6 Bi r c h La k e Dr                                                                                            ✔ Co n t i n g e n t
         Me m p h i s , T N 3 8 1 1 9                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
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2.83 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,740.45      $4,740.45
         Ch a d A Th o m p s o n                                                                                              Ch e c k a l l t h a t a p p l y.
         4 4 6 0 Pa r k Br o o k e Tr a c e                                                                                    ✔ Co n t i n g e n t
         Al p h a r e t t a , G A 3 0 0 2 2                                                                                          Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.84 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $0.00          $0.00
         Ch a n t e y A Ve s t e r                                                                                            Ch e c k a l l t h a t a p p l y.
         2 7 9 0 Mo j a v e Pl , Ap t 4                                                                                        ✔ Co n t i n g e n t
         Me m p h i s , T N 3 8 1 1 5                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.85 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $14,961.54     $7,692.31
         Ch a r l e s A Pa r k e r                                                                                            Ch e c k a l l t h a t a p p l y.
         1 2 Ov e r s h o t Ct                                                                                                 ✔ Co n t i n g e n t
         Ph o e n i x , M D 2 1 1 3 1                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.86 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $157.44        $157.44
         Ch a r l e s L Ec h o l s                                                                                            Ch e c k a l l t h a t a p p l y.
         4 7 0 8 La f a y e t t e St                                                                                           ✔ Co n t i n g e n t
         Ft Wa y n e , I N 4 6 8 0 6                                                                                                 Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
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2.87 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $387.19        $387.19
         Ch a r l e s Mo o r e                                                                                                Ch e c k a l l t h a t a p p l y.
         3 6 0 6 Bo w s e r Av e                                                                                               ✔ Co n t i n g e n t
         Ft Wa y n e , I N 4 6 8 0 6                                                                                                 Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
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2.88 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $600.12        $600.12
         Ch a r l i e Pa y n e                                                                                                Ch e c k a l l t h a t a p p l y.
         7 9 Gr o v e Bl v d                                                                                                   ✔ Co n t i n g e n t
         By h a l i a , M S 3 8 6 1 1                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
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2.89 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,038.18      $1,991.59
         Ch e y e n n e Bl u n d e l l                                                                                        Ch e c k a l l t h a t a p p l y.
         2 7 4 8 W Mo n t e Vi s t a Av e                                                                                      ✔ Co n t i n g e n t
         Vi s a l i a , C A 9 3 2 7 7                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.90 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,793.96      $2,232.69
         Ch r i s t i a n Lu n a                                                                                              Ch e c k a l l t h a t a p p l y.
         1 5 8 3 5 Fo o t h i l l Fa r m s Lo o p , Ap t 2 9 1 4                                                               ✔ Co n t i n g e n t
         Pf l u g e r v i l l e , T X 7 8 6 6 0                                                                                      Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.91 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,465.19      $3,703.84
         Ch r i s t i n a Tr y o n                                                                                            Ch e c k a l l t h a t a p p l y.
         7 9 3 2 Me r i d i a n Dr                                                                                             ✔ Co n t i n g e n t
         Pa s a d e n a , M D 2 1 1 2 2                                                                                              Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
         4


2.92 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $771.71        $771.71
         Ch r i s t i n e L Ga s s m a n n                                                                                    Ch e c k a l l t h a t a p p l y.
         4 0 4 Da n i e l Dr                                                                                                   ✔ Co n t i n g e n t
         We s t m i n s t e r , M D 2 1 1 5 8                                                                                        Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.93 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $69.17         $69.17
         Ch r i s t i n e L Ta y l o r                                                                                        Ch e c k a l l t h a t a p p l y.
         2 3 N Ch a r l e s St                                                                                                 ✔ Co n t i n g e n t
         Re d Li o n , PA 1 7 3 5 6                                                                                                  Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.94 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $165.60        $165.60
         Ch r i s t i n e St e p h e n s                                                                                      Ch e c k a l l t h a t a p p l y.
         7 4 0 1 A Mi l l Ru n Rd                                                                                              ✔ Co n t i n g e n t
         Ft Wa y n e , I N 4 6 8 1 9                                                                                                 Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.95 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :         $3,092.15      $1,903.84
         Ch r i s t o p h e r Ba k e r                                                                                        Ch e c k a l l t h a t a p p l y.
         2 0 1 4 Fl a g s t o n e Ct                                                                                           ✔ Co n t i n g e n t
         Ab i n g d o n , M D 2 1 0 0 9 - 3 0 4 6                                                                                    Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.96 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :         $310.34        $310.34
         Ch r i s t o p h e r Be n t e                                                                                        Ch e c k a l l t h a t a p p l y.
         1 5 0 1 N Si l v e r v a l e St                                                                                       ✔ Co n t i n g e n t
         Vi s a l i a , C A 9 3 2 9 1                                                                                                Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.97 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :         $2,504.56      $1,724.78
         Ch r i s t o p h e r Ge o r g e Ha r b o u r                                                                         Ch e c k a l l t h a t a p p l y.
         1 7 4 2 E Bu r t o n Av e                                                                                             ✔ Co n t i n g e n t
         Tu l a r e , C A 9 3 2 7 4                                                                                                  Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.98 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :         $11,900.00     $6,730.77
         Ch r i s t o p h e r J Po w e l l                                                                                    Ch e c k a l l t h a t a p p l y.
         1 4 4 6 We l l s p r i n g Dr                                                                                         ✔ Co n t i n g e n t
         Ab e r d e e n , M D 2 1 0 0 1                                                                                              Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
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2.99 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                             As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :         $440.40        $440.40
         Ch r i s t o p h e r M Ca r r o l l                                                                                  Ch e c k a l l t h a t a p p l y.
         1 5 4 0 7 Ba r r e n s Rd N                                                                                           ✔ Co n t i n g e n t
         St e w a r t s t o w n , PA 1 7 3 6 3                                                                                       Un l i q u i d a t e d
         Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                          Di s p u t e d
         Va r i o u s                                                                                                         Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                     __ __ __ __                                  Ac c r u e d / Un u s e d P T O
                                                                                                                              Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                               ✔ No .
         Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. § 5 0 7 ( a )
                                                                                                                                     Ye s .
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2.100 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                                  As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,280.96      $832.00
           Ch r i s t o p h e r Ma r t i n e z                                                                                      Ch e c k a l l t h a t a p p l y.
           7 7 2 7 Sh a r m i l Dr , Ap t 3                                                                                          ✔ Co n t i n g e n t
           So u t h a v e n , M S 3 8 6 7 1                                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                              Di s p u t e d
           Va r i o u s                                                                                                             Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                                    Ac c r u e d / Un u s e d P T O
                                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                                     ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                                           Ye s .
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2.101 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,031.50     $1,800.00
           Ch r i s t y Va e t h                                                                                      Ch e c k a l l t h a t a p p l y.
           9 Ch a p e l Wa y                                                                                           ✔ Co n t i n g e n t
           Re d Li o n , PA 1 7 3 5 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.102 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $140.40       $140.40
           Cl y d e No r r i s                                                                                        Ch e c k a l l t h a t a p p l y.
           6 8 0 9 Wo o d c r e s t Dr                                                                                 ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 1 5                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.103 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $176.00       $176.00
           Co l i n J Bl a k e                                                                                        Ch e c k a l l t h a t a p p l y.
           1 0 0 1 2 Ol d Pr o v i d e n c e Wa y, Ap t C                                                              ✔ Co n t i n g e n t
           Co c k e y s v i l l e , M D 2 1 0 3 0                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.104 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   Unknown       Unknown
           Co m p t r o l l e r o f Ma r y l a n d                                                                    Ch e c k a l l t h a t a p p l y.
           Re v e n u e Ad m i n i s t r a t i o n Di v i s i o n                                                             Co n t i n g e n t
           1 1 0 Ca r r o l l St                                                                                              Un l i q u i d a t e d
           An n a p o l i s , M D 2 1 4 1 1 - 0 0 0 1                                                                  ✔ Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                         Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      St a t e In c o m e Ta x
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                              Ye s .
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2.105 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   Unknown       Unknown
           Co n n e c t i c u t De p t o f Re v e n u e Se r v i c e s                                                Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 2 9 7 7                                                                                                 Co n t i n g e n t
           Ha r t f o r d , C T 0 6 1 0 4 - 2 9 7 7                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                          ✔ Di s p u t e d
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ba s i s o f c l a i m :
                                                                                                                      St a t e In c o m e Ta x
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                       ✔ No .
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                                                                                                                              Ye s .


2.106 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,892.31     $2,300.00
           Co r a Pa n e l l a                                                                                        Ch e c k a l l t h a t a p p l y.
           5 Ha m m a r Rd                                                                                             ✔ Co n t i n g e n t
           Na s h u a , N H 0 3 0 6 2                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.107 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $717.11       $717.11
           Co r e y B Pe r e z                                                                                        Ch e c k a l l t h a t a p p l y.
           3 1 2 N 1 7 t h St , Ap t 9                                                                                 ✔ Co n t i n g e n t
           De c a t u r , I N 4 6 7 3 3                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.108 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $185.68       $185.68
           Co u r t n e y R Po w e l l                                                                                Ch e c k a l l t h a t a p p l y.
           3 2 8 E De w a l d St                                                                                       ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 3                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.109 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $243.94       $243.94
           Cr y s t a l Co s b y                                                                                      Ch e c k a l l t h a t a p p l y.
           7 5 0 6 Ri d d l e Av e                                                                                     ✔ Co n t i n g e n t
           Ba l t i m o r e , M D 2 1 2 2 4                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.110 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,517.22     $1,121.05
           Cr y s t a l J Hu g h e s                                                                                  Ch e c k a l l t h a t a p p l y.
           6 0 5 Ge a r i n g Ct E                                                                                     ✔ Co n t i n g e n t
           Mi l l e r s v i l l e , M D 2 1 1 0 8                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.111 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $84.48        $84.48
           Cr y s t a l Za v a l a                                                                                    Ch e c k a l l t h a t a p p l y.
           4 6 5 0 Co t t o n Dr                                                                                       ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.112 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $72.18        $72.18
           Cy n t h i a Y Ha r r i s                                                                                  Ch e c k a l l t h a t a p p l y.
           6 3 2 5 La k e Wi n d s o r Pk w y                                                                          ✔ Co n t i n g e n t
           Bu f o r d , G A 3 0 5 1 8                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.113 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $417.15       $417.15
           Da l m o n t Mc g o r y                                                                                    Ch e c k a l l t h a t a p p l y.
           4 1 5 Jo n e s Be e n e Dr                                                                                  ✔ Co n t i n g e n t
           Ho l l y Sp r i n g s , M S 3 8 6 3 5                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.114 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,063.36     $832.00
           Da n i e l Ci f u e n t e s                                                                                Ch e c k a l l t h a t a p p l y.
           1 7 1 0 Co r n e l i a Ln                                                                                   ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 7                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.115 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,035.94     $2,500.00
           Da n i e l Mi c h a e l Hu g h e s                                                                         Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 5 4 2                                                                                            ✔ Co n t i n g e n t
           Ne w Ha v e n , I N 4 6 7 7 4                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.116 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,087.32     $884.00
           Da n i e l a Lo p e z                                                                                      Ch e c k a l l t h a t a p p l y.
           6 8 9 6 Bi r c h La k e Dr                                                                                  ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 9                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.117 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,747.11     $1,747.11
           Da n i e l l a J Bo y s o                                                                                  Ch e c k a l l t h a t a p p l y.
           5 0 6 5 Ti m b e r b r i d g e Ln                                                                           ✔ Co n t i n g e n t
           Al p h a r e t t a , G A 3 0 0 2 2                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.118 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $100.35       $100.35
           Da n i e l l e E As h f o r d                                                                              Ch e c k a l l t h a t a p p l y.
           6 4 5 S D St                                                                                                ✔ Co n t i n g e n t
           Tu l a r e , C A 9 3 2 7 4                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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           Da n i e l l e J Gi l l                                                                                    Ch e c k a l l t h a t a p p l y.
           3 6 0 6 Bo w s e r Av e                                                                                     ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 6                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.120 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $71.20        $71.20
           Da r e s t A Wi l l i a m s - Ro b b i n s                                                                 Ch e c k a l l t h a t a p p l y.
           1 9 2 2 Sa i n t Lo u i s Av e                                                                              ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 1 9                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.121 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $725.40       $725.40
           Da r i n Cr a i g                                                                                          Ch e c k a l l t h a t a p p l y.
           1 5 0 1 E Ru d i s i l l Bl v d                                                                             ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 6                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.122 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $821.03       $821.03
           Da r i n Or m i s t o n Ii                                                                                 Ch e c k a l l t h a t a p p l y.
           5 4 3 4 Br i g h t o n Dr                                                                                   ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 2 5                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.123 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $277.27       $277.27
           Da r i u s Ay e r s                                                                                        Ch e c k a l l t h a t a p p l y.
           3 2 8 E De w a l d St , Ap t 1                                                                              ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 3                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.124 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $8,883.18     $6,923.08
           Da v i d A Co o k e                                                                                        Ch e c k a l l t h a t a p p l y.
           5 0 6 7 Dr y We l l Ct                                                                                      ✔ Co n t i n g e n t
           Co l u m b i a , M D 2 1 0 4 5                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.125 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $532.00       $532.00
           Da v i d Co y                                                                                              Ch e c k a l l t h a t a p p l y.
           1 5 4 0 7 Ba r r e n s Rd N                                                                                 ✔ Co n t i n g e n t
           St e w a r t s t o w n , PA 1 7 3 6 3                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.126 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,798.73     $3,062.50
           Da v i d La b e l l e                                                                                      Ch e c k a l l t h a t a p p l y.
           1 9 2 5 Wo o d La n e Dr                                                                                    ✔ Co n t i n g e n t
           Ol i v e Br a n c h , M S 3 8 6 5 4                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.127 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,134.13     $2,134.13
           Da v i d M Wa r m a t h                                                                                    Ch e c k a l l t h a t a p p l y.
           3 3 8 0 Pl u m Po i n t Dr E                                                                                ✔ Co n t i n g e n t
           Ol i v e Br a n c h , M S 3 8 6 5 4                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.128 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $657.69       $657.69
           Da v i d S Ku l p                                                                                          Ch e c k a l l t h a t a p p l y.
           1 5 2 0 E Be r r y St , Ap t 1 0 7                                                                          ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 3                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.129 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $462.35       $462.35
           Da w s o n A Be n n e t t                                                                                  Ch e c k a l l t h a t a p p l y.
           1 0 2 3 N Le s l i e St                                                                                     ✔ Co n t i n g e n t
           Vi s a l i a , C A 9 3 2 9 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.130 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $109.74       $109.74
           Da w s o n L Gi l b e r t                                                                                  Ch e c k a l l t h a t a p p l y.
           3 1 2 E La n c a s t e r St                                                                                 ✔ Co n t i n g e n t
           Re d Li o n , PA 1 7 3 5 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.131 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,537.12     $1,460.96
           De b r a Sh i e                                                                                            Ch e c k a l l t h a t a p p l y.
           8 5 0 6 Fo x Ho m e Dr                                                                                      ✔ Co n t i n g e n t
           Ne w Ha v e n , I N 4 6 7 7 4                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.132 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   Unknown       Unknown
           De l a w a r e Di v i s i o n o f Re v e n u e                                                             Ch e c k a l l t h a t a p p l y.
           8 2 0 N Fr e n c h St                                                                                              Co n t i n g e n t
           Wi l m i n g t o n , D E 1 9 8 0 1                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                          ✔ Di s p u t e d
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ba s i s o f c l a i m :
                                                                                                                      St a t e In c o m e Ta x
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                       ✔ No .
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                                                                                                                              Ye s .


2.133 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $342.95       $342.95
           De l o i s An t h o n y                                                                                    Ch e c k a l l t h a t a p p l y.
           4 9 8 3 Kn i g h t Ar n o l d Rd                                                                            ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.134 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,355.17     $1,060.80
           De l v o r i s Br a d d o c k                                                                              Ch e c k a l l t h a t a p p l y.
           7 8 Le n z i Rd                                                                                             ✔ Co n t i n g e n t
           By h a l i a , M S 3 8 6 1 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.135 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $65.60        $65.60
           De m e t r i u s D Gi l m o r e                                                                            Ch e c k a l l t h a t a p p l y.
           3 6 3 E Ho o v e r Dr                                                                                       ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 1 6                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.136 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,333.39     $1,961.54
           De n i s e He n d e r s o n                                                                                Ch e c k a l l t h a t a p p l y.
           1 0 8 6 2 Ni c h o l s Bl v d , Ap t 8 - 1 0                                                                ✔ Co n t i n g e n t
           Ol i v e Br a n c h , M S 3 8 6 5 4                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.137 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $432.81       $432.81
           De n i s e Ya n c y                                                                                        Ch e c k a l l t h a t a p p l y.
           3 6 1 4 Wo o d f i e l d Dr , Ap t 3                                                                        ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 6                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.138 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $726.08       $726.08
           De n n i s Al b e r t o Go n z a l e z - Re y e s                                                          Ch e c k a l l t h a t a p p l y.
           2 9 8 2 Da n v i l l e Rd                                                                                   ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.139 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $81.36        $81.36
           De n n i s E Gr a n t                                                                                      Ch e c k a l l t h a t a p p l y.
           1 4 6 9 Au d r e y Ln                                                                                       ✔ Co n t i n g e n t
           Ho r n La k e , M S 3 8 6 3 7                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.140 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $182.35       $182.35
           De s t i n i Ja c k s o n                                                                                  Ch e c k a l l t h a t a p p l y.
           3 3 0 1 E 1 7 t h St                                                                                        ✔ Co n t i n g e n t
           Au s t i n , T X 7 8 7 2 1                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.141 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,525.19     $1,525.19
           De v i n J Fu n c h e s                                                                                    Ch e c k a l l t h a t a p p l y.
           3 2 2 4 A Hu m p h r e y St                                                                                 ✔ Co n t i n g e n t
           St Lo u i s , M O 6 3 1 1 8                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.142 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,760.00     $2,760.00
           De w a i n e Ga r t e n s l e b e n                                                                        Ch e c k a l l t h a t a p p l y.
           1 3 5 Wi m b l e t o n Wa y                                                                                 ✔ Co n t i n g e n t
           Re d Li o n , PA 1 7 3 5 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.143 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $129.36       $129.36
           Di a n a Ta y l o r                                                                                        Ch e c k a l l t h a t a p p l y.
           8 6 5 Sp r i n g v a l e Rd                                                                                 ✔ Co n t i n g e n t
           Re d Li o n , PA 1 7 3 5 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.144 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $360.32       $360.32
           Di n a A Va s q u e z Tu r c i o s                                                                         Ch e c k a l l t h a t a p p l y.
           8 5 9 Be r c l a i r Rd                                                                                     ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 2 2                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.145 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $700.40       $700.40
           Do n a l d Do w n s                                                                                        Ch e c k a l l t h a t a p p l y.
           3 9 8 Me a d o w Vi e w Ci r                                                                                ✔ Co n t i n g e n t
           By h a l i a , M S 3 8 6 1 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.146 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $571.88       $571.88
           Do n a l d Ki m e s                                                                                        Ch e c k a l l t h a t a p p l y.
           6 0 2 Pu t n a m St                                                                                         ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 8                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.147 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $217.17       $217.17
           Do n a l d S Lo n g                                                                                        Ch e c k a l l t h a t a p p l y.
           3 1 7 E Ho o v e r Dr                                                                                       ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 1 6                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.148 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,706.49     $2,706.49
           Do n n a Da r o j a Pr i e t                                                                               Ch e c k a l l t h a t a p p l y.
           2 0 1 7 Ne w h a v e n Dr                                                                                   ✔ Co n t i n g e n t
           Es s e x , M D 2 1 2 2 1                                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.149 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,324.38     $2,324.38
           Do n n a K Ne r i n i                                                                                      Ch e c k a l l t h a t a p p l y.
           3 3 4 3 S Ch r i s t i n e Ga r d e n s                                                                     ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.150 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $636.31       $636.31
           Do n n y Hi l l                                                                                            Ch e c k a l l t h a t a p p l y.
           3 1 8 N Ma d i s o n St                                                                                     ✔ Co n t i n g e n t
           Bo l i v a r , T N 3 8 0 0 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.151 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $495.90       $495.90
           Do r o t h y Ma e La n e                                                                                   Ch e c k a l l t h a t a p p l y.
           5 1 0 0 Gi n g e r Ci r                                                                                     ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.152 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $146.53       $146.53
           Do u a n g s a c k Xa y s e t t h a                                                                        Ch e c k a l l t h a t a p p l y.
           6 3 0 9 De l n o r t e Ct N W                                                                               ✔ Co n t i n g e n t
           No r c r o s s , G A 3 0 0 9 3                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.153 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $548.10       $548.10
           Do u g l a s J Yo u n g s                                                                                  Ch e c k a l l t h a t a p p l y.
           4 3 0 1 Ke e n e r s Rd                                                                                     ✔ Co n t i n g e n t
           Mi d d l e Ri v e r , M D 2 1 2 2 0                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.154 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $91.93        $91.93
           Ea r n e s t L Yo u n g                                                                                    Ch e c k a l l t h a t a p p l y.
           1 0 9 6 Ay e r s St                                                                                         ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 0 7                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.155 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $234.60       $234.60
           Ed i s s o n Ro j a s - Pa r r a                                                                           Ch e c k a l l t h a t a p p l y.
           9 7 6 4 Tu c k e r Cr e e k Ln                                                                              ✔ Co n t i n g e n t
           Co r d o v a , T N 3 8 0 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.156 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $799.71       $799.71
           Ed u a r d o A Pe r e z Va l d e s                                                                         Ch e c k a l l t h a t a p p l y.
           2 2 0 Ed g e k n o l l Ln                                                                                   ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 1 6                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.157 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $81.80        $81.80
           Ed u a r d o R Go m e z                                                                                    Ch e c k a l l t h a t a p p l y.
           1 4 0 2 Gr a v e s Rd                                                                                       ✔ Co n t i n g e n t
           No r c r o s s , G A 3 0 0 9 3                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.158 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $17,629.10    $6,269.24
           Ed w a r d J Br i g g s                                                                                    Ch e c k a l l t h a t a p p l y.
           4 5 Va l c o u r Hg t s Dr                                                                                  ✔ Co n t i n g e n t
           Pe r u , N Y 1 2 9 7 2                                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.159 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $552.61       $552.61
           Ed w a r d Sl o m a n                                                                                      Ch e c k a l l t h a t a p p l y.
           4 7 1 5 Ch a r l t o n Av e                                                                                 ✔ Co n t i n g e n t
           Ba l t i m o r e , M D 2 1 2 1 4                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
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                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.160 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $510.18       $510.18
           El a i n a Wa r r e n                                                                                      Ch e c k a l l t h a t a p p l y.
           1 2 6 Wh i t e Ci r                                                                                         ✔ Co n t i n g e n t
           Gr e e n v i l l e , S C 2 9 6 1 1                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.161 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,193.87     $2,043.92
           El e n a K By e r l y                                                                                      Ch e c k a l l t h a t a p p l y.
           6 Tr e e Ho l l o w Dr                                                                                      ✔ Co n t i n g e n t
           Sh r e w s b u r y, PA 1 7 3 6 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.162 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $75.89        $75.89
           El i s a b e t h An t u n e z                                                                              Ch e c k a l l t h a t a p p l y.
           6 6 2 1 Si l v e r Oa k Co v e                                                                              ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 4 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.163 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,252.48     $856.96
           Em i l y Bu g g                                                                                            Ch e c k a l l t h a t a p p l y.
           4 6 8 6 0 Hi l t o n Dr , Ap t 2 2 2 3                                                                      ✔ Co n t i n g e n t
           Le x i n g t o n Pa r k , M D 2 0 6 5 3                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.164 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $6,332.34     $3,427.52
           Em i l y M Ei c k h o f f                                                                                  Ch e c k a l l t h a t a p p l y.
           2 1 8 So l w a y Rd                                                                                         ✔ Co n t i n g e n t
           Ti m o n i u m , M D 2 1 0 9 3                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.165 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,648.44     $2,648.44
           Em i l y Ne i l Bo t i c a                                                                                 Ch e c k a l l t h a t a p p l y.
           6 4 8 9 Fo r e s t Be a c h Dr                                                                              ✔ Co n t i n g e n t
           Br i g h t o n , M I 4 8 1 1 6                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.166 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,455.60     $1,184.10
           Em m a Po r t e r                                                                                          Ch e c k a l l t h a t a p p l y.
           5 1 0 5 Ho m e s t e a d Rd                                                                                 ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 1 4                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.167 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $131.84       $131.84
           En c h a n t e e Fr i e r s o n                                                                            Ch e c k a l l t h a t a p p l y.
           8 1 4 8 Ca i t l i n Dr                                                                                     ✔ Co n t i n g e n t
           Ol i v e Br a n c h , M S 3 8 6 5 4                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.168 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $460.25       $460.25
           En r i q u e A Va r o n a                                                                                  Ch e c k a l l t h a t a p p l y.
           1480 US 46                                                                                                  ✔ Co n t i n g e n t
           Pa r s i p p a n y - Tr o y Hi l l s , N J 0 7 0 5 4                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.169 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $534.75       $534.75
           Er i c D Ro m a n                                                                                          Ch e c k a l l t h a t a p p l y.
           1 1 Cr e e k Rd                                                                                             ✔ Co n t i n g e n t
           Fr o n t Ro y a l , VA 2 2 6 3 0                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.170 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,351.75     $3,346.15
           Er i c T Mc c l a r r e n                                                                                  Ch e c k a l l t h a t a p p l y.
           9 2 6 Ci r c l e Dr                                                                                         ✔ Co n t i n g e n t
           Ar b u t u s , M D 2 1 2 2 7                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.171 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $6,550.23     $5,961.53
           Er i c W Be c k                                                                                            Ch e c k a l l t h a t a p p l y.
           9 1 2 He d g e r o w Ct                                                                                     ✔ Co n t i n g e n t
           Be l Ai r , M D 2 1 0 1 4                                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.172 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $272.29       $272.29
           Er i k a Me n d o z a                                                                                      Ch e c k a l l t h a t a p p l y.
           1 2 3 0 E 3 8 t h 1 / 2 St , Ap t 1 3 5                                                                     ✔ Co n t i n g e n t
           Au s t i n , T X 7 8 7 2 2                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.173 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,753.84     $3,269.23
           Er i q u e R Wa t s o n                                                                                    Ch e c k a l l t h a t a p p l y.
           2 3 3 6 Fr u i t v i l l e Pi k e                                                                           ✔ Co n t i n g e n t
           La n c a s t e r , PA 1 7 6 0 1                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.174 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,959.84     $936.00
           Eu g e n e D Ca m p b e l l                                                                                Ch e c k a l l t h a t a p p l y.
           1 0 3 6 E Ca b a n a Ci r , Ap t 7                                                                          ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 0 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.175 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $833.79       $833.79
           Eu l a Fa y e Ju d k i n s                                                                                 Ch e c k a l l t h a t a p p l y.
           2 2 1 5 Cu r d e s Av e                                                                                     ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 5                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.176 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $506.56       $506.56
           Ev a Sa l a z a r                                                                                          Ch e c k a l l t h a t a p p l y.
           5 4 9 0 Ja s m i n e Co v e                                                                                 ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 5                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.177 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $559.00       $539.50
           Ev a n M Sc h n e i d e r                                                                                  Ch e c k a l l t h a t a p p l y.
           1 4 8 1 0 Gr e y s t o n e Ct                                                                               ✔ Co n t i n g e n t
           Le o - Ce d a r v i l l e , I N 4 6 7 6 5                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.178 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,386.97     $3,386.97
           Fr a n c i n e L Ca l l a h a n                                                                            Ch e c k a l l t h a t a p p l y.
           1 0 1 3 Fa l l s c r o f t Wa y                                                                             ✔ Co n t i n g e n t
           Lu t h e r v i l l e , M D 2 1 0 9 3                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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         additional PRIORITY creditors exist, do not fill out or submit this page.
2.179 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,314.52     $1,314.52
           Ga b r i e l Jo s e p h Gi l l i g                                                                         Ch e c k a l l t h a t a p p l y.
           1 3 0 2 Oa k l a n d St                                                                                     ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 8                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.180 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $294.47       $294.47
           Ga r y L Bl a k e                                                                                          Ch e c k a l l t h a t a p p l y.
           1 0 0 1 2 Ol d Pr o v i d e n c e Wa y, Ap t C                                                              ✔ Co n t i n g e n t
           Co c k e y s v i l l e , M D 2 1 0 3 0                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.181 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   Unknown       Unknown
           Ge o r g i a De p t o f Re v e n u e                                                                       Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 7 4 0 3 9 9                                                                                             Co n t i n g e n t
           At l a n t a , G A 3 0 3 7 4 - 0 3 9 9                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                          ✔ Di s p u t e d
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ba s i s o f c l a i m :
                                                                                                                      St a t e In c o m e Ta x
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                       ✔ No .
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                                                                                                                              Ye s .


2.182 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $293.13       $293.13
           Ge r r y a n n Rh a y m                                                                                    Ch e c k a l l t h a t a p p l y.
           2 5 0 1 Lo u i s He n n a Bl v d , Ap t 4 1 2                                                               ✔ Co n t i n g e n t
           Ro u n d Ro c k , T X 7 8 6 6 4                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.183 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,413.15     $780.00
           Gi l b e r t L Ga r d n e r                                                                                Ch e c k a l l t h a t a p p l y.
           1 1 2 Su n n y k i n g Dr                                                                                   ✔ Co n t i n g e n t
           Re i s t e r s t o w n , M D 2 1 1 3 6                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.184 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $198.72       $198.72
           Gi l m e r Ag u i l a r                                                                                    Ch e c k a l l t h a t a p p l y.
           8 1 5 5 Pi n e b r o o k Dr                                                                                 ✔ Co n t i n g e n t
           So u t h a v e n , M S 3 8 6 7 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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         additional PRIORITY creditors exist, do not fill out or submit this page.
2.185 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,216.00     $832.00
           Gi o v a n n i Za p a t a Ca b r e r a                                                                     Ch e c k a l l t h a t a p p l y.
           4 9 3 7 Bi s c o e Av e                                                                                     ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 2 2                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.186 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $327.86       $327.86
           Gl a d y s B Ol i v a Ch a j o n                                                                           Ch e c k a l l t h a t a p p l y.
           1 4 3 0 Gr a n t Av e                                                                                       ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 3                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.187 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $731.28       $731.28
           Gl o r i a Pa s t u i z a c a                                                                              Ch e c k a l l t h a t a p p l y.
           2 3 2 2 Ga y St                                                                                             ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 3                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.188 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $67.32        $67.32
           Gu y C Go o d s                                                                                            Ch e c k a l l t h a t a p p l y.
           1 0 6 4 Fo r e s t We s t Ct                                                                                ✔ Co n t i n g e n t
           St o n e Mo u n t a i n , G A 3 0 0 8 8                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.189 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $396.64       $396.64
           Gu y Ve r d i n e l l i                                                                                    Ch e c k a l l t h a t a p p l y.
           1 2 0 W Br o a d w a y                                                                                      ✔ Co n t i n g e n t
           Re d Li o n , PA 1 7 3 5 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.190 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $0.16         $0.16
           Ha l l i M Su l l i v a n                                                                                  Ch e c k a l l t h a t a p p l y.
           3 6 2 0 Br i d g e s Ct                                                                                     ✔ Co n t i n g e n t
           Cu m m i n g , G A 3 0 0 4 0                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.191 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $254.30       $254.30
           He a t h e r Bo w e r                                                                                      Ch e c k a l l t h a t a p p l y.
           1 2 2 3 As b u r y Dr                                                                                       ✔ Co n t i n g e n t
           Ne w Ha v e n , I N 4 6 7 7 4                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.192 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $442.56       $442.56
           He a t h e r K Ca i n - Sh e p h a r d                                                                     Ch e c k a l l t h a t a p p l y.
           1 6 3 1 Co t t a g e Ln                                                                                     ✔ Co n t i n g e n t
           To w s o n , M D 2 1 2 8 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.193 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $72.18        $72.18
           He a t h e r P He p p e                                                                                    Ch e c k a l l t h a t a p p l y.
           6 8 7 Hu n t St a t i o n Dr                                                                                ✔ Co n t i n g e n t
           La w r e n c e v i l l e , G A 3 0 0 4 4                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.194 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $742.35       $742.35
           He c t o r Go n z a l e z                                                                                  Ch e c k a l l t h a t a p p l y.
           4 0 3 1 W Vi n e Av e                                                                                       ✔ Co n t i n g e n t
           Vi s a l i a , C A 9 3 2 9 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.195 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $380.80       $380.80
           Ie s s i k a Re y e s - Pa r r a                                                                           Ch e c k a l l t h a t a p p l y.
           1 3 1 2 Fa r w o o d s Dr                                                                                   ✔ Co n t i n g e n t
           Co r d o v a , T N 3 8 0 1 8 - 7 1 3 6                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.196 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $196.80       $196.80
           Ie u s k a r i Ro j a s                                                                                    Ch e c k a l l t h a t a p p l y.
           1 3 1 2 Fa r w o o d s Dr                                                                                   ✔ Co n t i n g e n t
           Co r d o v a , T N 3 8 0 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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         additional PRIORITY creditors exist, do not fill out or submit this page.
2.197 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   Unknown       Unknown
           Il l i n o i s De p t o f Re v e n u e                                                                     Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 1 9 0 2 7                                                                                               Co n t i n g e n t
           Sp r i n g f i e l d , I L 6 2 7 9 4 - 9 0 2 7                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                          ✔ Di s p u t e d
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ba s i s o f c l a i m :
                                                                                                                      St a t e In c o m e Ta x
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                       ✔ No .
           507(a) 8
                                                                                                                              Ye s .


2.198 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $896.00       $832.00
           In d i a J Jo h n s o n                                                                                    Ch e c k a l l t h a t a p p l y.
           8 6 2 4 Co b b l e f i e l d Dr , Ap t 2 G                                                                  ✔ Co n t i n g e n t
           Co l u m b i a , M D 2 1 0 4 5                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.199 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $701.10       $701.10
           In t h a v a Mi n g k h o u a n                                                                            Ch e c k a l l t h a t a p p l y.
           7 5 9 Be t h e s d a Sc h o o l Rd                                                                          ✔ Co n t i n g e n t
           La w r e n c e v i l l e , G A 3 0 0 4 4                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.200 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $509.89       $509.89
           Ir i s Di a z                                                                                              Ch e c k a l l t h a t a p p l y.
           4 9 0 0 Du r b i n Av e                                                                                     ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 2 2                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.201 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $64.00        $64.00
           Ir i s Pi n e d a                                                                                          Ch e c k a l l t h a t a p p l y.
           2 9 5 7 Cu r t i s St                                                                                       ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.202 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $916.47       $916.47
           Iv o n n e Lo p e z                                                                                        Ch e c k a l l t h a t a p p l y.
           6 0 7 2 Ga s c o n y Dr                                                                                     ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 5                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.203 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,516.36     $2,277.48
           Ja c k C La n g e n f e l d e r Jr                                                                         Ch e c k a l l t h a t a p p l y.
           1 0 2 Ho g a r t h Ci r                                                                                     ✔ Co n t i n g e n t
           Co c k e y s v i l l e , M D 2 1 0 3 0                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.204 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,285.34     $1,078.48
           Ja c q u e l i n e A Ki n t e r                                                                            Ch e c k a l l t h a t a p p l y.
           1 3 0 7 W 4 1 s t St                                                                                        ✔ Co n t i n g e n t
           Ba l t i m o r e , M D 2 1 2 1 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.205 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $156.60       $156.60
           Ja c q u e l y n Co r d e r o                                                                              Ch e c k a l l t h a t a p p l y.
           1 8 B Wa t e r St                                                                                           ✔ Co n t i n g e n t
           Wi n d s o r , PA 1 7 3 6 6                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.206 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $129.60       $129.60
           Ja m e s G Le i g h                                                                                        Ch e c k a l l t h a t a p p l y.
           8 6 3 Ce d a r Br a n c h Ln                                                                                ✔ Co n t i n g e n t
           La w r e n c e v i l l e , G A 3 0 0 4 3                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.207 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,632.22     $1,161.13
           Ja m e s G Sw e e n e y                                                                                    Ch e c k a l l t h a t a p p l y.
           2 1 0 7 Yo r k Ri d g e Pl                                                                                  ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 1 8                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.208 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,920.00     $1,934.50
           Ja m i e M Ha y s                                                                                          Ch e c k a l l t h a t a p p l y.
           3 2 0 8 S Pa r k w o o d Ct                                                                                 ✔ Co n t i n g e n t
           Vi s a l i a , C A 9 3 2 7 7                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.209 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,528.80     $993.72
           Ja n a j An d e r s o n                                                                                    Ch e c k a l l t h a t a p p l y.
           7 3 0 4 Ha r l o w Wa y, Un i t B                                                                           ✔ Co n t i n g e n t
           Ha n o v e r , M D 2 1 0 7 6                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.210 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $83.64        $83.64
           Ja q u e l i n No v a Sa n c h e z                                                                         Ch e c k a l l t h a t a p p l y.
           1 4 6 3 3 Av e 3 8 4                                                                                        ✔ Co n t i n g e n t
           Vi s a l i a , C A 9 3 2 9 2                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.211 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $584.63       $584.63
           Ja r e d We i s b l a t                                                                                    Ch e c k a l l t h a t a p p l y.
           5 1 Wa s h i n g t o n Rd , Ap t 4                                                                          ✔ Co n t i n g e n t
           Sa y r e v i l l e , N J 0 8 8 7 2                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.212 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $302.63       $302.63
           Ja s o n As h f o r d                                                                                      Ch e c k a l l t h a t a p p l y.
           3 0 9 N Pa r k St , Ap t 7                                                                                  ✔ Co n t i n g e n t
           Vi s a l i a , C A 9 3 2 9 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.213 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $355.82       $355.82
           Ja s o n F Ba r r a n d                                                                                    Ch e c k a l l t h a t a p p l y.
           3 2 8 E De w a l d St , Ap t 1                                                                              ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 7                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.214 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4.80         $4.80
           Ja s o n Ho w d y s h e l l                                                                                Ch e c k a l l t h a t a p p l y.
           1 5 4 0 7 Ba r r e n s Rd N                                                                                 ✔ Co n t i n g e n t
           St e w a r t s t o w n , PA 1 7 3 6 3                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.215 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,655.76     $1,370.28
           Ja s o n J Hi c k e y                                                                                      Ch e c k a l l t h a t a p p l y.
           4 5 3 5 Ke n i l w o r t h St                                                                               ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 6                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.216 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,752.65     $2,884.62
           Ja s o n Ke m p                                                                                            Ch e c k a l l t h a t a p p l y.
           1 2 4 3 Un i o n Av e                                                                                       ✔ Co n t i n g e n t
           Ba l t i m o r e , M D 2 1 2 1 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.217 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $527.36       $527.36
           Ja s o n Ma g l o t h i n                                                                                  Ch e c k a l l t h a t a p p l y.
           3 0 5 6 Be t t - Th y a t i r a Rd                                                                          ✔ Co n t i n g e n t
           Co l d w a t e r , M S 3 8 6 1 8                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.218 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $426.40       $426.40
           Ja s o n Re a c h a r d                                                                                    Ch e c k a l l t h a t a p p l y.
           6 1 3 W Ma p l e St , Ap t 1 7                                                                              ✔ Co n t i n g e n t
           Re d Li o n , PA 1 7 3 5 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.219 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $292.00       $292.00
           Ja z m i n e Ar c h a m b a u l t                                                                          Ch e c k a l l t h a t a p p l y.
           6 9 0 1 Hi l l s b o r o Ct                                                                                 ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 3 5                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.220 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,176.00     $728.00
           Je a n n e M Go r d o n                                                                                    Ch e c k a l l t h a t a p p l y.
           4 5 1 2 Ma d r o n e Dr                                                                                     ✔ Co n t i n g e n t
           Sc h e r t z , T X 7 8 1 5 4                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.221 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $438.72       $438.72
           Je f f Ne w m a n                                                                                          Ch e c k a l l t h a t a p p l y.
           2 7 4 5 Lo m a n Av e                                                                                       ✔ Co n t i n g e n t
           Yo r k , PA 1 7 4 0 8                                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.222 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $72.18        $72.18
           Je f f r e y D Ch e a t h a m                                                                              Ch e c k a l l t h a t a p p l y.
           2 2 5 0 Pe l i c a n Dr , Ap t 3 5 5                                                                        ✔ Co n t i n g e n t
           No r c r o s s , G A 3 0 0 7 1                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.223 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,599.92     $1,732.56
           Je f f r e y D Mc m a h o n                                                                                Ch e c k a l l t h a t a p p l y.
           1 0 3 3 No r t h w o o d Bl v d                                                                             ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 5                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.224 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $153.99       $153.99
           Je l a n i A Ta y l o r                                                                                    Ch e c k a l l t h a t a p p l y.
           1 8 B Wa t e r St                                                                                           ✔ Co n t i n g e n t
           Wi n d s o r , PA 1 7 3 6 6                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.225 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $374.08       $374.08
           Je n n i f e r Fl a n a g a n                                                                              Ch e c k a l l t h a t a p p l y.
           7 1 3 6 Ol d Hw y 3 0 1                                                                                     ✔ Co n t i n g e n t
           Ho r n l a k e , M S 3 8 6 3 7                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.226 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,514.18     $856.96
           Je n n i f e r Go n z a l e z                                                                              Ch e c k a l l t h a t a p p l y.
           1 4 9 6 Ma x i n e St                                                                                       ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.227 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $119.76       $119.76
           Je n n i f e r L Be n t l e y                                                                              Ch e c k a l l t h a t a p p l y.
           3 2 3 2 Sa n d h i l l Dr                                                                                   ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 9                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.228 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,659.39     $2,114.82
           Je n n i f e r V Le e                                                                                      Ch e c k a l l t h a t a p p l y.
           5 7 2 4 Ne w h o l m e Av e                                                                                 ✔ Co n t i n g e n t
           Ba l t i m o r e , M D 2 1 2 0 6                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.229 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,127.75     $1,127.75
           Je r e m y Ne i l Ma y o                                                                                   Ch e c k a l l t h a t a p p l y.
           1 8 2 9 S At w o o d St                                                                                     ✔ Co n t i n g e n t
           Vi s a l i a , C A 9 3 2 7 7                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.230 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $514.18       $514.18
           Je r m a i n e Ho l m e s                                                                                  Ch e c k a l l t h a t a p p l y.
           7 3 7 3 Hu n t e r s Ho r n Dr                                                                              ✔ Co n t i n g e n t
           Ol i v e Br a n c h , M S 3 8 6 5 4                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.231 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $229.50       $229.50
           Je r m e i A Jo h n s o n                                                                                  Ch e c k a l l t h a t a p p l y.
           2 4 0 1 W Pf l u g e r v i l l e Pk w y                                                                     ✔ Co n t i n g e n t
           Ro u n d Ro c k , T X 7 8 6 6 4                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.232 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,312.28     $1,712.80
           Je r o m e J Go n y e a u                                                                                  Ch e c k a l l t h a t a p p l y.
           3 2 Lo r r a i n e St , Ap t 2 0 1                                                                          ✔ Co n t i n g e n t
           Pl a t t s b u r g h , N Y 1 2 9 0 1                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.233 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $371.93       $371.93
           Je s s i c a B Bu t t s                                                                                    Ch e c k a l l t h a t a p p l y.
           6 1 3 W Ma p l e St                                                                                         ✔ Co n t i n g e n t
           Re d Li o n , PA 1 7 3 5 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.234 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $127.36       $127.36
           Je s s i c a Pr o w s                                                                                      Ch e c k a l l t h a t a p p l y.
           3 3 3 8 Ha n n a Dr                                                                                         ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 2 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.235 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $538.40       $538.40
           Je s s i e C Ru n b e r g                                                                                  Ch e c k a l l t h a t a p p l y.
           2 1 1 Gr o v e Pa r k Rd                                                                                    ✔ Co n t i n g e n t
           Br o o k l y n Pa r k , M D 2 1 2 2 5                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.236 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $76.19        $76.19
           Jo a n R Ro u l h a c                                                                                      Ch e c k a l l t h a t a p p l y.
           3 4 5 0 Br e c k i n r i d g e Bl v d , Ap t 1 7 1 6                                                        ✔ Co n t i n g e n t
           Du l u t h , G A 3 0 0 9 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.237 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $86.10        $86.10
           Jo a n n M Jo h n s o n                                                                                    Ch e c k a l l t h a t a p p l y.
           1 1 9 Ra i n Do v e Dr                                                                                      ✔ Co n t i n g e n t
           Re d Li o n , PA 1 7 3 5 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.238 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,443.63     $3,576.92
           Jo e D Lu n d a y                                                                                          Ch e c k a l l t h a t a p p l y.
           2 9 Sn o w b e r r y Ct                                                                                     ✔ Co n t i n g e n t
           Co c k e y s v i l l e , M D 2 1 0 3 0                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.239 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,771.64     $1,923.08
           Jo h n H Ja c k s o n                                                                                      Ch e c k a l l t h a t a p p l y.
           1 2 6 2 W Ki n g St                                                                                         ✔ Co n t i n g e n t
           Yo r k , PA 1 7 4 0 4                                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.240 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,182.20     $1,730.76
           Jo h n Ro s e                                                                                              Ch e c k a l l t h a t a p p l y.
           7 2 0 6 La s t i n g Li g h t Wa y                                                                          ✔ Co n t i n g e n t
           Co l u m b i a , M D 2 1 0 4 5                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.241 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $142.00       $142.00
           Jo h n n y Go s s                                                                                          Ch e c k a l l t h a t a p p l y.
           4 7 0 Co l e Dr                                                                                             ✔ Co n t i n g e n t
           Li b e r t y Hi l l , T X 7 8 6 4 2                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.242 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $959.00       $640.00
           Jo n a t h e n A Ra m i r e z                                                                              Ch e c k a l l t h a t a p p l y.
           3 6 6 Ki n g s p o r t Dr                                                                                   ✔ Co n t i n g e n t
           La w r e n c e v i l l e , G A 3 0 0 4 6                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.243 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $486.72       $486.72
           Jo r g e Ga r z a                                                                                          Ch e c k a l l t h a t a p p l y.
           4 3 4 1 Sp r i n g Oa k Co v e                                                                              ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 2 5                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.244 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $955.35       $856.96
           Jo s e Me r c a d o                                                                                        Ch e c k a l l t h a t a p p l y.
           4 9 Hi l l b r o o k Dr                                                                                     ✔ Co n t i n g e n t
           So u t h a v e n , M S 3 8 6 7 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.245 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,921.00     $1,402.50
           Jo s e p h E Kr a l l                                                                                      Ch e c k a l l t h a t a p p l y.
           2 9 0 5 Ca p e Ho r n Rd                                                                                    ✔ Co n t i n g e n t
           Re d Li o n , PA 1 7 3 5 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.246 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $943.02       $943.02
           Jo s e p h L Va z q u e z                                                                                  Ch e c k a l l t h a t a p p l y.
           1 7 5 6 Ma x e y Ln                                                                                         ✔ Co n t i n g e n t
           Wi n d e r , G A 3 0 6 8 0                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.247 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $468.00       $468.00
           Jo s h Lo v e l l                                                                                          Ch e c k a l l t h a t a p p l y.
           7 0 0 E Pr o s p e r i t y Av e , Ap t 7 4                                                                  ✔ Co n t i n g e n t
           Tu l a r e , C A 9 3 2 7 4                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.248 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $586.55       $586.55
           Jo s h S Ta l l e y                                                                                        Ch e c k a l l t h a t a p p l y.
           6 8 0 7 Ma s s a p o n a x Pl                                                                               ✔ Co n t i n g e n t
           Ce n t r e v i l l e , VA 2 0 1 2 1                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.249 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,536.84     $1,157.82
           Jo s h u a B Ho r n b a r g e r                                                                            Ch e c k a l l t h a t a p p l y.
           7 0 2 Pa s a d e n a Dr                                                                                     ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 7                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.250 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $94.61        $94.61
           Ju a n Va r g a s                                                                                          Ch e c k a l l t h a t a p p l y.
           3 8 4 0 Ch e r r y Ri d g e Wa l k                                                                          ✔ Co n t i n g e n t
           Su w a n e e , G A 3 0 0 2 4                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.251 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $271.36       $271.36
           Ju a n a Ar r e d o n d o                                                                                  Ch e c k a l l t h a t a p p l y.
           4 5 6 1 Su m m e r Cr e e k N                                                                               ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 4 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.252 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,260.34     $3,260.34
           Ju l i a n W Le s n i k                                                                                    Ch e c k a l l t h a t a p p l y.
           6 0 1 3 Wa l l i s Av e                                                                                     ✔ Co n t i n g e n t
           Ba l t i m o r e , M D 2 1 2 1 5                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.253 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,711.06     $1,313.03
           Ju s t i n Ke r n                                                                                          Ch e c k a l l t h a t a p p l y.
           5 8 2 6 Oa k Po i n t e Dr                                                                                  ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 4 5                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.254 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,067.00     $1,570.92
           Ju s t i n Ng u y e n                                                                                      Ch e c k a l l t h a t a p p l y.
           2 0 1 E Br o a d w a y                                                                                      ✔ Co n t i n g e n t
           Re d Li o n , PA 1 7 3 5 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.255 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $41.82        $41.82
           Ka i t e C Rh a y m                                                                                        Ch e c k a l l t h a t a p p l y.
           2 5 0 1 Lo u i s He n n a Bl v d                                                                            ✔ Co n t i n g e n t
           Ro u n d Ro c k , T X 7 8 6 6 4                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.256 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,076.74     $728.00
           Ka i t l y n B Bu r r o w                                                                                  Ch e c k a l l t h a t a p p l y.
           1 9 5 1 Te a l Dr                                                                                           ✔ Co n t i n g e n t
           Ka l i s p e l l , M T 5 9 9 0 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.257 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,700.82     $1,304.61
           Ka r e n Sc o f i e l d                                                                                    Ch e c k a l l t h a t a p p l y.
           2 0 0 3 Si l v e r Sp u r Dr                                                                                ✔ Co n t i n g e n t
           Ro u n d Ro c k , T X 7 8 6 8 1                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.258 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $547.81       $547.81
           Ka s o n L Re a c h a r d                                                                                  Ch e c k a l l t h a t a p p l y.
           6 1 3 W Ma p l e St                                                                                         ✔ Co n t i n g e n t
           Re d Li o n , PA 1 7 3 5 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.259 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $15,966.35    $8,653.85
           Ka t h e r i n e J Go v i e r                                                                              Ch e c k a l l t h a t a p p l y.
           1 1 3 Va l m e r e Pa t h                                                                                   ✔ Co n t i n g e n t
           Yo r k , PA 1 7 4 0 3                                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.260 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,601.92     $2,601.92
           Ka t h e r i n e Pa n s i n i                                                                              Ch e c k a l l t h a t a p p l y.
           1 4 1 2 Te n b u r y Rd                                                                                     ✔ Co n t i n g e n t
           Lu t h e r v i l l e - Ti m o n i u m , M D 2 1 0 9 3                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.261 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $526.19       $526.19
           Ka t h r y n N Ya r b r o u g h                                                                            Ch e c k a l l t h a t a p p l y.
           5 5 2 4 Do n c a s t e r Ct                                                                                 ✔ Co n t i n g e n t
           No r c r o s s , G A 3 0 0 7 1                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.262 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,090.36     $2,060.24
           Ka t i e A Sk i n n e r                                                                                    Ch e c k a l l t h a t a p p l y.
           1 0 2 8 Je a n e t t Wa y                                                                                   ✔ Co n t i n g e n t
           Be l Ai r , M D 2 1 0 1 4                                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.263 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $238.20       $238.20
           Ka y l a R El l i o t t                                                                                    Ch e c k a l l t h a t a p p l y.
           4 9 0 4 Sa i n t Ge o r g e s Av e                                                                          ✔ Co n t i n g e n t
           Ba l t i m o r e , M D 2 1 2 1 2                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.264 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $460.48       $460.48
           Ke i l i z Pa g a n                                                                                        Ch e c k a l l t h a t a p p l y.
           3 2 9 0 Hi c k o r y Hi l l Rd                                                                              ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 5                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.265 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $376.38       $376.38
           Ke v i n Al e x a n d e r                                                                                  Ch e c k a l l t h a t a p p l y.
           8 4 9 4 Ro b e r t s Rd                                                                                     ✔ Co n t i n g e n t
           El l i c o t t Ci t y, M D 2 1 0 4 3                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.266 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $596.19       $596.19
           Ke v i n J Lu e l l e n                                                                                    Ch e c k a l l t h a t a p p l y.
           2 1 1 3 Ha m i l t o n Av e                                                                                 ✔ Co n t i n g e n t
           Ba l t i m o r e , M D 2 1 2 1 4                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.267 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,250.17     $988.80
           Kh o e u n Kh e i v                                                                                        Ch e c k a l l t h a t a p p l y.
           3 7 0 8 La k e h u r s t Dr                                                                                 ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 2 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.268 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,269.81     $1,604.42
           Ki m Sc h r a d e r                                                                                        Ch e c k a l l t h a t a p p l y.
           1 2 7 0 Wh i t m o r e Av e N W                                                                             ✔ Co n t i n g e n t
           Gr a n d Ra p i d s , M I 4 9 5 0 4                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.269 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $338.18       $338.18
           Ki m b e r l y Ro b i n s o n                                                                              Ch e c k a l l t h a t a p p l y.
           8 0 5 Do l p h i n e Dr                                                                                     ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 1 6                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.270 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,834.20     $1,915.00
           Ki m b e r l y Vi t a l                                                                                    Ch e c k a l l t h a t a p p l y.
           2 2 0 5 S Ca l h o u n St , Ap t 4                                                                          ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 2                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.271 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $477.41       $477.41
           Ki m b r e w St e v e n s o n                                                                              Ch e c k a l l t h a t a p p l y.
           4 1 1 2 Au b u r n Rd , Ap t 2                                                                              ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 6                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.272 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $690.00       $690.00
           Ki t Al l e n An d e r s o n                                                                               Ch e c k a l l t h a t a p p l y.
           4 1 2 4 Da l e w o o d Dr                                                                                   ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 1 5                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.273 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,521.36     $1,228.68
           Ko r y La w                                                                                                Ch e c k a l l t h a t a p p l y.
           9 4 4 S Re g i n a St                                                                                       ✔ Co n t i n g e n t
           Vi s a l i a , C A 9 3 2 9 2                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.274 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $490.08       $490.08
           Ko r y n Fe n s k e                                                                                        Ch e c k a l l t h a t a p p l y.
           6 1 3 W Ma p l e St , Ap t 4                                                                                ✔ Co n t i n g e n t
           Re d Li o n , PA 1 7 3 5 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.275 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,919.00     $1,435.60
           Kr i s t o f e r Ne l s o n                                                                                Ch e c k a l l t h a t a p p l y.
           6 0 Re g e n t s Ci r                                                                                       ✔ Co n t i n g e n t
           Ro h n e r t Pa r k , C A 9 4 9 2 8                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.276 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $438.84       $438.84
           Kr y s t i n a E Sc h m i d t                                                                              Ch e c k a l l t h a t a p p l y.
           2 2 7 Ca r v e l Rd                                                                                         ✔ Co n t i n g e n t
           Pa s a d e n a , M D 2 1 1 2 2                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.277 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,338.76     $1,044.30
           Kr y s t l e Du l l a s                                                                                    Ch e c k a l l t h a t a p p l y.
           1 2 3 1 Ga s k i n s Rd , Ap t L                                                                            ✔ Co n t i n g e n t
           He n r i c o , VA 2 3 2 3 8                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.278 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,794.01     $2,480.76
           Ky l e J Kr e a m e r                                                                                      Ch e c k a l l t h a t a p p l y.
           1 2 6 Ja m e s t o w n Rd                                                                                   ✔ Co n t i n g e n t
           Oc e a n Ci t y, M D 2 1 8 4 2                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.279 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $848.70       $848.70
           Ky l e Va n g                                                                                              Ch e c k a l l t h a t a p p l y.
           3 6 3 0 E Vi s t a Dr                                                                                       ✔ Co n t i n g e n t
           Vi s a l i a , C A 9 3 2 9 2                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.280 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $711.19       $711.19
           La k e n d r e x Mc n e i l                                                                                Ch e c k a l l t h a t a p p l y.
           4 8 8 3 Ro c k y Kn o b                                                                                     ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 6                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.281 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,782.00     $2,782.00
           La k i s h a Du b o s e                                                                                    Ch e c k a l l t h a t a p p l y.
           1 3 0 4 Cl o v e r Va l l e y Wa y, Ap t G                                                                  ✔ Co n t i n g e n t
           Ed g e w o o d , M D 2 1 0 4 0                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.282 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,549.25     $1,112.40
           La m t h i a n e Ph a n n                                                                                  Ch e c k a l l t h a t a p p l y.
           1 5 0 4 N Go o d l e t t Gr o v e Co v e                                                                    ✔ Co n t i n g e n t
           Co r d o v a , T N 3 8 0 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.283 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,096.05     $2,077.90
           La n c e P Wo o d s                                                                                        Ch e c k a l l t h a t a p p l y.
           7 8 7 6 Ch e v e r l y Ln                                                                                   ✔ Co n t i n g e n t
           Gl e n Bu r n i e , M D 2 1 0 6 0                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.284 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $929.80       $856.96
           La r r y J Jo n e s                                                                                        Ch e c k a l l t h a t a p p l y.
           2 8 5 4 Mo o r e Rd                                                                                         ✔ Co n t i n g e n t
           Re d Ba n k s , M S 3 8 6 6 1                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.285 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,691.67     $1,236.00
           La r r y L Ho l t                                                                                          Ch e c k a l l t h a t a p p l y.
           6 0 6 3 Fo x Ri d g e Dr                                                                                    ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 5                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.286 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $20,413.46    $10,576.92
           La r r y R Sw a n s o n                                                                                    Ch e c k a l l t h a t a p p l y.
           4 3 1 7 S W 5 t h Pl                                                                                        ✔ Co n t i n g e n t
           Ca p e Co r a l , F L 3 3 9 1 4                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.287 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,577.63     $856.96
           La r r y S Wi l s o n                                                                                      Ch e c k a l l t h a t a p p l y.
           3 9 4 4 Hw y 3 0 9 N                                                                                        ✔ Co n t i n g e n t
           By h a l i a , M S 3 8 6 1 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.288 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $549.53       $549.53
           La t o n i a Le e                                                                                          Ch e c k a l l t h a t a p p l y.
           1 0 8 0 Vi n e w o o d Ln                                                                                   ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 0 9                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.289 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,138.02     $1,174.20
           La t r i s c h a M Bu t l e r                                                                              Ch e c k a l l t h a t a p p l y.
           2 0 4 4 Oa k v a l l e y Rd                                                                                 ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 6                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.290 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $795.80       $795.80
           La u r e l Mo r e l a n d                                                                                  Ch e c k a l l t h a t a p p l y.
           3 4 0 5 Ed e n s h i r e Ln                                                                                 ✔ Co n t i n g e n t
           Ho r n La k e , M S 3 8 6 3 7                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.291 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $198.72       $198.72
           La v i d Du g a z o n                                                                                      Ch e c k a l l t h a t a p p l y.
           4 2 7 7 Ki m b a l l Av e                                                                                   ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.292 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,333.83     $2,461.53
           Le e E Bu t m a n                                                                                          Ch e c k a l l t h a t a p p l y.
           7 2 Wi n d s o r Wa y                                                                                       ✔ Co n t i n g e n t
           Re d Li o n , PA 1 7 3 5 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.293 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $218.32       $218.32
           Le o n e l A Co l a z o                                                                                    Ch e c k a l l t h a t a p p l y.
           4 1 0 W Fa i r f a x Av e                                                                                   ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 7                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.294 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $852.48       $832.00
           Le o p o l d o Hi n o j o s a                                                                              Ch e c k a l l t h a t a p p l y.
           8 1 5 5 Pi n e b r o o k Dr                                                                                 ✔ Co n t i n g e n t
           So u t h a v e n , M S 3 8 6 7 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.295 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $188.28       $188.28
           Le s l i e A La n e                                                                                        Ch e c k a l l t h a t a p p l y.
           3 7 0 6 Ti m a h o e Ci r                                                                                   ✔ Co n t i n g e n t
           No t t i n g h a m , M D 2 1 2 3 6                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.296 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $342.16       $342.16
           Le t i c i a C Ca i n                                                                                      Ch e c k a l l t h a t a p p l y.
           1 5 8 3 S Co r n u c o p i a Rd                                                                             ✔ Co n t i n g e n t
           Ex e t e r , C A 9 3 2 2 1                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.297 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $852.98       $852.98
           Le t i c i a Ve l a s q u e z                                                                              Ch e c k a l l t h a t a p p l y.
           3 5 1 N We s t St , Ap t 4 1 2                                                                              ✔ Co n t i n g e n t
           Tu l a r e , C A 9 3 2 7 4                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.298 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $7,193.53     $2,432.30
           Li e s a M C Yo p p                                                                                        Ch e c k a l l t h a t a p p l y.
           5 2 6 Tr i t o n Dr , Ap t 4                                                                                ✔ Co n t i n g e n t
           So u t h a v e n , M S 3 8 6 7 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.299 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,044.38     $915.20
           Li l y A Di l l a r d                                                                                      Ch e c k a l l t h a t a p p l y.
           3 1 8 Ha r r i s o n Av e                                                                                   ✔ Co n t i n g e n t
           Gr e e n s b u r g , PA 1 5 6 0 1                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.300 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $176.40       $176.40
           Li p i n g So n g                                                                                          Ch e c k a l l t h a t a p p l y.
           9 2 0 4 Br e t t o n Re e f Rd                                                                              ✔ Co n t i n g e n t
           Pa r k v i l l e , M D 2 1 2 3 4                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.301 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,179.46     $884.00
           Li s a Co l e m a n                                                                                        Ch e c k a l l t h a t a p p l y.
           1 8 5 0 Ja s o n Wa y                                                                                       ✔ Co n t i n g e n t
           By h a l i a , M S 3 8 6 1 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.302 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,687.87     $3,327.68
           Li s a M Gi o r d a n o - Yo u n g                                                                         Ch e c k a l l t h a t a p p l y.
           3 8 1 6 Ha s t i n g s Rd                                                                                   ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 5                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.303 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $839.48       $839.48
           Lo r e n To s h i o He n m i                                                                               Ch e c k a l l t h a t a p p l y.
           3 5 6 Ci t r u s Av e                                                                                       ✔ Co n t i n g e n t
           Da l y Ci t y, C A 9 4 0 1 4                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.304 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $855.97       $855.97
           Lo r e n a Ma r t i n e z Fl o r e s                                                                       Ch e c k a l l t h a t a p p l y.
           3 9 6 6 Pi k e s Pe a k Av e                                                                                ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 0 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.305 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $9,228.84     $2,362.50
           Lu i s Ac e v e d o                                                                                        Ch e c k a l l t h a t a p p l y.
           5 1 7 7 Ca r o l i n e Dr                                                                                   ✔ Co n t i n g e n t
           Ho r n La k e , M S 3 8 6 3 7                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.306 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $279.14       $279.14
           Lu i s Fl o r e z Fo r e r o                                                                               Ch e c k a l l t h a t a p p l y.
           7 9 3 2 An n e ' s Ci r                                                                                     ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 0 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.307 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,298.46     $884.00
           Lu i s a n g e l a Fr o n t a d o                                                                          Ch e c k a l l t h a t a p p l y.
           7 1 0 0 Tu l a n e Rd , Ap t 5 0 4 E                                                                        ✔ Co n t i n g e n t
           Ho r n La k e , M S 3 8 6 3 7                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.308 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,859.36     $1,859.36
           M Ka t h l e e n We a v e r                                                                                Ch e c k a l l t h a t a p p l y.
           1 2 7 Pa r k St                                                                                             ✔ Co n t i n g e n t
           Se v e n Va l l e y s , PA 1 7 3 6 0                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.309 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,492.53     $1,290.00
           M Sa r a We a v e r                                                                                        Ch e c k a l l t h a t a p p l y.
           1 2 7 Pa r k St                                                                                             ✔ Co n t i n g e n t
           Se v e n Va l l e y s , PA 1 7 3 6 0                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.310 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,904.93     $858.00
           Ma d d a l e n a A Or l a n d o                                                                            Ch e c k a l l t h a t a p p l y.
           5 7 4 7 5 Lu p i n e Dr , Ap t 1 4                                                                          ✔ Co n t i n g e n t
           Yu c c a Va l l e y, C A 9 2 2 8 4                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.311 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $336.90       $336.90
           Ma e v e E Kr a i g e r                                                                                    Ch e c k a l l t h a t a p p l y.
           8 0 1 Po w e r s St                                                                                         ✔ Co n t i n g e n t
           Ba l t i m o r e , M D 2 1 2 1 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.312 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $427.69       $427.69
           Ma l i n a V Si m m o n s                                                                                  Ch e c k a l l t h a t a p p l y.
           6 Ba r n e l l Ct , Ap t 3 0 4                                                                              ✔ Co n t i n g e n t
           Pa r k v i l l e , M D 2 1 2 3 4                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.313 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $813.46       $813.46
           Ma r c La u d Aq u i n o                                                                                   Ch e c k a l l t h a t a p p l y.
           5 0 0 6 Ho l l i n g t o n Dr , Ap t 1 0 3                                                                  ✔ Co n t i n g e n t
           Ow i n g s Mi l l s , M D 2 1 1 1 7                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.314 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $147.35       $147.35
           Ma r g a r e t Em u c h                                                                                    Ch e c k a l l t h a t a p p l y.
           2 5 0 1 Lo u i s He n n a Bl v d , Ap t 6 1 2                                                               ✔ Co n t i n g e n t
           Ro u n d Ro c k , T X 7 8 6 6 4                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.315 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,053.28     $832.00
           Ma r i a Ar r o y o Be c e r r a                                                                           Ch e c k a l l t h a t a p p l y.
           3 2 2 7 Gi n a Dr                                                                                           ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.316 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $602.67       $602.67
           Ma r i a El e n a Br a v o De Gr a n a d i l l o                                                           Ch e c k a l l t h a t a p p l y.
           2 1 7 0 Ro c k y St r e a m Dr                                                                              ✔ Co n t i n g e n t
           Co r d o v a , T N 3 8 0 1 6 - 5 3 3 8                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.317 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $201.22       $201.22
           Ma r i a I Ma r t i n e z                                                                                  Ch e c k a l l t h a t a p p l y.
           8 1 2 0 Pi n e b r o o k Dr                                                                                 ✔ Co n t i n g e n t
           So u t h a v e n , M S 3 8 6 7 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.318 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $444.96       $444.96
           Ma r i a La n d e r o s                                                                                    Ch e c k a l l t h a t a p p l y.
           5 1 7 7 Ca r o l i n e Dr                                                                                   ✔ Co n t i n g e n t
           Ho r n La k e , M S 3 8 6 3 7                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.319 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $310.72       $310.72
           Ma r i a Ra m o s                                                                                          Ch e c k a l l t h a t a p p l y.
           3 0 0 1 Ch a r w e l l Ln                                                                                   ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 6                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.320 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $612.85       $612.85
           Ma r i a Ro d r i g u e z                                                                                  Ch e c k a l l t h a t a p p l y.
           1 4 7 7 Te e k w o o d Co v e                                                                               ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 3 4                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.321 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $332.80       $332.80
           Ma r i a Ro j a s                                                                                          Ch e c k a l l t h a t a p p l y.
           1 3 1 2 Fa r w o o d s Dr                                                                                   ✔ Co n t i n g e n t
           Co r d o v a , T N 3 8 0 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.322 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $527.36       $527.36
           Ma r i a V Pe n a Mo r a l e s                                                                             Ch e c k a l l t h a t a p p l y.
           3 0 3 2 Ca s t l e m a n St                                                                                 ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.323 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $592.04       $592.04
           Ma r i o L Ar m s t r o n g                                                                                Ch e c k a l l t h a t a p p l y.
           2 5 4 4 Pe r r y Rd                                                                                         ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 0 6                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.324 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $140.08       $140.08
           Ma r i s a Ar a i z a                                                                                      Ch e c k a l l t h a t a p p l y.
           7 1 7 5 Pl u m Or c h i d Co v e                                                                            ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 3 3                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.325 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $181.77       $181.77
           Ma r k Da n i e l Du n l a p                                                                               Ch e c k a l l t h a t a p p l y.
           8 6 1 6 Ki n a r d Co v e                                                                                   ✔ Co n t i n g e n t
           So u t h a v e n , M S 3 8 6 7 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.326 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,626.71     $1,626.71
           Ma r k Ea s t e r d a y                                                                                    Ch e c k a l l t h a t a p p l y.
           2 7 1 5 Lu c a s Wa y                                                                                       ✔ Co n t i n g e n t
           Co l u m b u s , I N 4 7 2 0 3                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.327 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,057.69     $1,057.69
           Ma r k R Be c k                                                                                            Ch e c k a l l t h a t a p p l y.
           9 0 9 E La w n Dr                                                                                           ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 1 9                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.328 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $11,533.64    $7,692.30
           Ma r k S Wi n s o r                                                                                        Ch e c k a l l t h a t a p p l y.
           8 Du l a n e y Ga t e Ct                                                                                    ✔ Co n t i n g e n t
           Co c k e y s v i l l e , M D 2 1 0 3 0                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.329 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $110.88       $110.88
           Ma r t e n e Br o w n                                                                                      Ch e c k a l l t h a t a p p l y.
           1 0 4 3 5 Ca t a l p a Co v e                                                                               ✔ Co n t i n g e n t
           Ol i v e Br a n c h , M S 3 8 6 5 4                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.330 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $462.35       $462.35
           Ma r t i n E Or t i z                                                                                      Ch e c k a l l t h a t a p p l y.
           1 3 4 4 2 El No g a l Av e                                                                                  ✔ Co n t i n g e n t
           Vi s a l i a , C A 9 3 2 9 2                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.331 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,519.66     $2,999.36
           Ma r t i n Er n e s t Gr o s s e r                                                                         Ch e c k a l l t h a t a p p l y.
           1 8 0 7 Be r r y w o o d Rd                                                                                 ✔ Co n t i n g e n t
           Pa r k v i l l e , M D 2 1 2 3 4                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.332 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $836.43       $836.43
           Ma r y a n n Ku j a l a                                                                                    Ch e c k a l l t h a t a p p l y.
           1 2 3 1 5 Hu m m i n g b i r d Co v e                                                                       ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 4 5                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.333 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   Unknown       Unknown
           Ma s s a c h u s e t t s De p t o f Re v e n u e                                                           Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 7 0 0 0                                                                                                 Co n t i n g e n t
           Bo s t o n , M A 2 2 0 4                                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                          ✔ Di s p u t e d
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ba s i s o f c l a i m :
                                                                                                                      St a t e In c o m e Ta x
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                       ✔ No .
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                                                                                                                              Ye s .


2.334 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $760.76       $760.76
           Ma t t h e w A Co o k                                                                                      Ch e c k a l l t h a t a p p l y.
           1 7 5 8 Ma x e y Ln                                                                                         ✔ Co n t i n g e n t
           Wi n d e r , G A 3 0 6 8 0                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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           Ma t t h e w B Bo l e s                                                                                    Ch e c k a l l t h a t a p p l y.
           2 1 1 Gr o v e Pa r k Rd                                                                                    ✔ Co n t i n g e n t
           Br o o k l y n , M D 2 1 2 2 5                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.336 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,373.83     $2,099.62
           Ma t t h e w Ba r h a m                                                                                    Ch e c k a l l t h a t a p p l y.
           8 9 1 0 Pa r l o Rd                                                                                         ✔ Co n t i n g e n t
           No t t i n g h a m , M D 2 1 2 3 6                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.337 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,592.31     $1,150.00
           Ma t t h e w Re i f e n b e r g                                                                            Ch e c k a l l t h a t a p p l y.
           2 5 2 1 Hu b e r t u s Av e                                                                                 ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 5                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.338 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,772.50     $2,000.00
           Ma t t h e w St e v e n De m o r y                                                                         Ch e c k a l l t h a t a p p l y.
           2 8 7 4 Br a d l e y Av e                                                                                   ✔ Co n t i n g e n t
           Da l l a s t o w n , PA 1 7 3 1 3                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.339 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $593.19       $593.19
           Ma t t h e w T Ch a m b e r s                                                                              Ch e c k a l l t h a t a p p l y.
           8 3 2 Da v i n c i St                                                                                       ✔ Co n t i n g e n t
           Ha n f o r d , C A 9 3 2 3 0                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.340 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $8,273.17     $5,346.15
           Ma t t h e w Yo u n g                                                                                      Ch e c k a l l t h a t a p p l y.
           3 8 1 6 Ha s t i n g s Rd                                                                                   ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 5                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.341 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,009.28     $1,561.82
           Me g a n E Gi l b e r t                                                                                    Ch e c k a l l t h a t a p p l y.
           2 4 5 Ne s s Rd                                                                                             ✔ Co n t i n g e n t
           Yo r k , PA 1 7 4 0 2                                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.342 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $65.92        $65.92
           Me l a n i o Ga r c i a                                                                                    Ch e c k a l l t h a t a p p l y.
           3 9 8 Me a d o w Vi e w Ci r                                                                                ✔ Co n t i n g e n t
           By h a l i a , M S 3 8 6 1 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.343 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,460.54     $1,101.60
           Me l i s s a R Ya n c e y                                                                                  Ch e c k a l l t h a t a p p l y.
           7 6 0 0 Sh e l b y Wo o d Co v e                                                                            ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 2 5                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.344 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,288.90     $1,112.40
           Me l v i n E Mi t c h e l l                                                                                Ch e c k a l l t h a t a p p l y.
           3 6 1 6 Ki n g s g a t e Dr , Ap t 4                                                                        ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 6                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.345 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,007.81     $3,750.00
           Me r i d a Fr a n c e s An d e r s o n                                                                     Ch e c k a l l t h a t a p p l y.
           1 4 8 1 Be t t y St                                                                                         ✔ Co n t i n g e n t
           Ex e t e r , C A 9 3 2 2 1                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.346 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,611.60     $1,060.80
           Mi c h a e l Ga n t                                                                                        Ch e c k a l l t h a t a p p l y.
           1 5 0 4 N Go o d l e t t Gr o v e Co v e                                                                    ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 0 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.347 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $10,868.51    $8,076.92
           Mi c h a e l N Sc h i m m e l                                                                              Ch e c k a l l t h a t a p p l y.
           1 2 4 Gr e e n m e a d o w Dr                                                                               ✔ Co n t i n g e n t
           Ti m o n i u m , M D 2 1 0 9 3                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.348 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,892.88     $1,892.88
           Mi c h a e l Ru n y o n                                                                                    Ch e c k a l l t h a t a p p l y.
           3678 N 100 E                                                                                                ✔ Co n t i n g e n t
           Bl u f f t o n , I N 4 6 7 1 4                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.349 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,661.82     $952.12
           Mi c h a e l Sz y m a n s k i                                                                              Ch e c k a l l t h a t a p p l y.
           2 1 8 Ti m b e r Tr l , Ap t F                                                                              ✔ Co n t i n g e n t
           Be l Ai r , M D 2 1 0 1 4                                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.350 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,545.66     $936.00
           Mi c h a e l y n L Lo v e t t                                                                              Ch e c k a l l t h a t a p p l y.
           2 7 6 6 Ri d e r s Ri d g e Wa y                                                                            ✔ Co n t i n g e n t
           Sn e l l v i l l e , G A 3 0 0 3 9                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.351 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,567.47     $1,557.68
           Mi c h e l l e Pu g l i e s e                                                                              Ch e c k a l l t h a t a p p l y.
           2 7 2 0 Hu n t i n g d o n Av e                                                                             ✔ Co n t i n g e n t
           Ba l t i m o r e , M D 2 1 2 1 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.352 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,849.74     $2,853.84
           Mi c h e l l e Sm i t h                                                                                    Ch e c k a l l t h a t a p p l y.
           1 9 2 6 Me r r i m a c Co v e                                                                               ✔ Co n t i n g e n t
           So u t h a v e n , M S 3 8 6 7 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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           Mi c k o Wo o d                                                                                            Ch e c k a l l t h a t a p p l y.
           7 8 0 Ki p p l e y St                                                                                       ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 2                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.354 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $196.02       $196.02
           Mi g u e l Al c a n t a r                                                                                  Ch e c k a l l t h a t a p p l y.
           1 4 1 8 Ed e n t o n Dr                                                                                     ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 4                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.355 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $306.36       $306.36
           Mi g u e l Ar r i a g a                                                                                    Ch e c k a l l t h a t a p p l y.
           4 0 4 E Wa s h i n g t o n Bl v d                                                                           ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 2                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.356 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $828.28       $828.28
           Mi l a g r o s Mo r a l e s Sa l c e d o                                                                   Ch e c k a l l t h a t a p p l y.
           5 9 2 5 Ja c k s o n Dr                                                                                     ✔ Co n t i n g e n t
           Ho r n La k e , M S 3 8 6 3 7                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.357 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,394.60     $1,596.40
           Mi t c h e l l Ro d o w s k i                                                                              Ch e c k a l l t h a t a p p l y.
           7 8 6 4 Ye l l o w Ch u r c h Rd                                                                            ✔ Co n t i n g e n t
           Se v e n Va l l e y s , PA 1 7 3 6 0                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.358 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $292.72       $292.72
           Mo n a L Ar n o l d                                                                                        Ch e c k a l l t h a t a p p l y.
           8 2 5 Ri d g e w o o d Dr , Ap t 5                                                                          ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 5                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.359 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,428.48     $1,869.23
           Mo r g a n D Ga r c i a                                                                                    Ch e c k a l l t h a t a p p l y.
           3 6 3 2 Hi k e Ln                                                                                           ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 3 5                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.360 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,158.45     $780.00
           Mo r g a n Jo h n s t o n e                                                                                Ch e c k a l l t h a t a p p l y.
           4 5 1 7 S Pe o r i a Av e , Ap t 8                                                                          ✔ Co n t i n g e n t
           Tu l s a , O K 7 4 1 0 5                                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.361 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,582.88     $1,200.94
           Na d i a Le e To r r e s                                                                                   Ch e c k a l l t h a t a p p l y.
           2 7 4 8 W Mo n t e Vi s t a Av e                                                                            ✔ Co n t i n g e n t
           Vi s a l i a , C A 9 3 2 7 7                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.362 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,528.31     $3,528.31
           Na n c y A Ro m e r                                                                                        Ch e c k a l l t h a t a p p l y.
           3 9 Br i d l e Ln , Ap t 5 9                                                                                ✔ Co n t i n g e n t
           No t t i n g h a m , M D 2 1 2 3 6                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.363 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $288.30       $288.30
           Na t a r s h a Mc k i n n e y                                                                              Ch e c k a l l t h a t a p p l y.
           7 3 6 Ty r o Rd                                                                                             ✔ Co n t i n g e n t
           Ho l l y Sp r i n g s , M S 3 8 6 3 5                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.364 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,850.58     $1,351.69
           Na t h a n i e l Di x                                                                                      Ch e c k a l l t h a t a p p l y.
           2 4 9 W Br o a d w a y                                                                                      ✔ Co n t i n g e n t
           Re d Li o n , PA 1 7 3 5 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.365 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $346.08       $346.08
           Ne l v i s Sp r a t t                                                                                      Ch e c k a l l t h a t a p p l y.
           4 0 3 8 Lo n g Cr e e k Rd                                                                                  ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 2 5                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.366 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   Unknown       Unknown
           Ne w Yo r k St a t e De p t o f Ta x a t i o n & Fi n a n c e                                              Ch e c k a l l t h a t a p p l y.
           St a t e Pr o c e s s i n g Ce n t e r                                                                             Co n t i n g e n t
           P. O. Bo x 1 5 5 5 5                                                                                               Un l i q u i d a t e d
           Al b a n y, N Y 1 2 2 1 2 - 5 5 5 5                                                                         ✔ Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                         Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      St a t e In c o m e Ta x
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                              Ye s .
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2.367 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $692.31       $692.31
           Ni c h o l a s J Ru d d                                                                                    Ch e c k a l l t h a t a p p l y.
           6 4 0 7 Ke n w o o d Av e                                                                                   ✔ Co n t i n g e n t
           Ro s e d a l e , M D 2 1 2 3 7                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.368 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $409.85       $409.85
           Ni c o l e Ga r c i a                                                                                      Ch e c k a l l t h a t a p p l y.
           2 0 7 S G St                                                                                                ✔ Co n t i n g e n t
           Tu l a r e , C A 9 3 2 7 4                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.369 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,383.53     $1,383.53
           Ni c o l e Sa n t o                                                                                        Ch e c k a l l t h a t a p p l y.
           9 9 0 Mi d d e l t o n Rd , Ap t 4 0 3                                                                      ✔ Co n t i n g e n t
           Ab e r d e e n , M D 2 1 0 0 1                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.370 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $70.04        $70.04
           No e Qu i n t a n i l l a                                                                                  Ch e c k a l l t h a t a p p l y.
           4 9 Hi l l b r o o k Dr                                                                                     ✔ Co n t i n g e n t
           So u t h a v e n , M S 3 8 6 7 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.371 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $805.46       $805.46
           No l b e r t o O Ju a r e z                                                                                Ch e c k a l l t h a t a p p l y.
           4 a Hi l l b r o o k Dr                                                                                     ✔ Co n t i n g e n t
           So u t h a v e n , M S 3 8 6 7 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.372 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   Unknown       Unknown
           No r t h Ca r o l i n a De p t o f Re v e n u e                                                            Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 2 5 0 0 0                                                                                               Co n t i n g e n t
           Ra l e i g h , N C 2 7 6 4 0 - 0 6 4 0                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                          ✔ Di s p u t e d
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ba s i s o f c l a i m :
                                                                                                                      St a t e In c o m e Ta x
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                       ✔ No .
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                                                                                                                              Ye s .


2.373 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   Unknown       Unknown
           Oh i o De p t o f Ta x a t i o n                                                                           Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 2 0 5 7                                                                                                 Co n t i n g e n t
           Co l u m b u s , O H 4 3 2 7 0 - 2 0 5 7                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                          ✔ Di s p u t e d
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ba s i s o f c l a i m :
                                                                                                                      St a t e In c o m e Ta x
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                       ✔ No .
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                                                                                                                              Ye s .


2.374 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,309.90     $1,309.90
           Pa u l a Si m m o n s                                                                                      Ch e c k a l l t h a t a p p l y.
           8 Ki s k a Ct                                                                                               ✔ Co n t i n g e n t
           Ra n d a l l s t o w n , M D 2 1 1 3 3                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.375 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,004.80     $1,004.80
           Pe d r o Sa n t a m a r i a                                                                                Ch e c k a l l t h a t a p p l y.
           1 4 5 6 Ca p e r Tr e e Dr                                                                                  ✔ Co n t i n g e n t
           Co r d o v a , T N 3 8 0 1 6                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.376 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   Unknown       Unknown
           Pe n n s y l v a n i a De p t o f Re v e n u e                                                             Ch e c k a l l t h a t a p p l y.
           PA De p t o f Re v e n u e                                                                                         Co n t i n g e n t
           1 Re v e n u e Pl                                                                                                  Un l i q u i d a t e d
           Ha r r i s b u r g , PA 1 7 1 2 9 - 0 0 0 1                                                                 ✔ Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                         Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      St a t e In c o m e Ta x
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                              Ye s .
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2.377 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,864.51     $1,236.00
           Ph a n Kh u n                                                                                              Ch e c k a l l t h a t a p p l y.
           5 1 4 4 Da r l i n g t o n Dr                                                                               ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.378 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $70.95        $70.95
           Ph i l e n a M Hi b b s                                                                                    Ch e c k a l l t h a t a p p l y.
           6 3 1 Te n n e s s e e Av e , Ap t 1 1 0                                                                    ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 5                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.379 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $876.00       $876.00
           Ph i l i p Th o m a s o n                                                                                  Ch e c k a l l t h a t a p p l y.
           1 0 2 Co t t o n w o o d Dr                                                                                 ✔ Co n t i n g e n t
           Hu t t o , T X 7 8 6 3 4                                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.380 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $858.29       $858.29
           Ph i l l i p Co v e r t                                                                                    Ch e c k a l l t h a t a p p l y.
           4 1 5 W 3 9 t h St , Ap t 3 1 8                                                                             ✔ Co n t i n g e n t
           Au s t i n , T X 7 8 7 5 1                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.381 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $542.19       $542.19
           Ph y l l i s M Ta y l o r                                                                                  Ch e c k a l l t h a t a p p l y.
           2 5 0 6 Jo h a n n a Dr                                                                                     ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 4                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.382 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $152.28       $152.28
           Pi s e t h Ph o e u n g                                                                                    Ch e c k a l l t h a t a p p l y.
           5 0 7 2 Ch u r c h i l l Co v e                                                                             ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.383 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,843.75     $4,807.69
           Pr a s a d K Na i r                                                                                        Ch e c k a l l t h a t a p p l y.
           7 8 1 0 Bu t t e r f i e l d Dr                                                                             ✔ Co n t i n g e n t
           El k r i d g e , M D 2 1 0 7 5                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.384 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,703.55     $1,938.47
           Pr e s t o n Sa w y e r                                                                                    Ch e c k a l l t h a t a p p l y.
           4 5 0 5 Ma i n St , Un i t 1 6 1                                                                            ✔ Co n t i n g e n t
           Vi r g i n i a Be a c h , VA 2 3 4 6 2                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.385 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $951.88       $951.88
           Ra b i a b Li m                                                                                            Ch e c k a l l t h a t a p p l y.
           5 1 1 0 N Fl u s s Co v e                                                                                   ✔ Co n t i n g e n t
           Ba r t l e t t , T N 3 8 1 3 5                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.386 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,287.09     $856.96
           Ra m o n a Be r r o a                                                                                      Ch e c k a l l t h a t a p p l y.
           5 0 5 0 Co l e w o o d Av e                                                                                 ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.387 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $168.43       $168.43
           Ra s q u e i l i n g Pi n a Ba r b o z a                                                                   Ch e c k a l l t h a t a p p l y.
           1 0 1 3 5 St e r l i n g Ri d g e Dr                                                                        ✔ Co n t i n g e n t
           Co r d o v a , T N 3 8 0 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.388 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,475.04     $954.72
           Re g i n a L Br o w n                                                                                      Ch e c k a l l t h a t a p p l y.
           7 3 7 Bo n w o o d Av e                                                                                     ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 0 9                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.389 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $307.40       $307.40
           Re g i n a Ow u s u                                                                                        Ch e c k a l l t h a t a p p l y.
           2 1 5 4 Ra c h e l Ln                                                                                       ✔ Co n t i n g e n t
           Ro u n d Ro c k , T X 7 8 6 6 4                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.390 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $597.12       $597.12
           Re n a e Ch e n o w i t h                                                                                  Ch e c k a l l t h a t a p p l y.
           1 5 1 0 Ch u r c h Ln                                                                                       ✔ Co n t i n g e n t
           Gl e n Bu r n i e , M D 2 1 0 6 1                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.391 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $8,233.55     $2,875.00
           Re z a Mi r g h y a s i                                                                                    Ch e c k a l l t h a t a p p l y.
           5 0 E Pa l a t i n e , Ap t 2 2 7                                                                           ✔ Co n t i n g e n t
           Ir v i n e , C A 9 2 6 1 2                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.392 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,453.82     $2,961.24
           Ri c h a r d R Jo h n s o n                                                                                Ch e c k a l l t h a t a p p l y.
           2 De Ca m p Dr                                                                                              ✔ Co n t i n g e n t
           Bo o n t o n , N J 0 7 0 0 5                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.393 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $199.24       $199.24
           Ri t a Hi c k s                                                                                            Ch e c k a l l t h a t a p p l y.
           3 0 9 N Pa r k s t , Ap t 4                                                                                 ✔ Co n t i n g e n t
           Vi s a l i a , C A 9 3 2 9 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.394 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $83.64        $83.64
           Ro b e r t D Pl u m m e r                                                                                  Ch e c k a l l t h a t a p p l y.
           1 1 3 N W 5 t h Av e                                                                                        ✔ Co n t i n g e n t
           Vi s a l i a , C A 9 3 2 9 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.395 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $35.47        $35.47
           Ro b e r t G Cr o w l e y                                                                                  Ch e c k a l l t h a t a p p l y.
           3 2 0 5 N W 8 3 St , Ap t 0 7 2 1 D                                                                         ✔ Co n t i n g e n t
           Ga i n e s v i l l e , F L 3 2 6 0 6                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.396 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $751.35       $751.35
           Ro b e r t G Ho l m e s                                                                                    Ch e c k a l l t h a t a p p l y.
           4 1 2 0 Si l v e r l e a f Rd                                                                               ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 5                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.397 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,075.33     $1,688.00
           Ro b e r t Ja c o b s                                                                                      Ch e c k a l l t h a t a p p l y.
           7 1 1 6 Pa r k Dr                                                                                           ✔ Co n t i n g e n t
           Ba l t i m o r e , M D 2 1 2 3 4                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.398 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,681.45     $3,028.84
           Ro b e r t R Ro c h e l l e                                                                                Ch e c k a l l t h a t a p p l y.
           6 3 3 3 Na i l Rd                                                                                           ✔ Co n t i n g e n t
           Wa l l s , M S 3 8 6 8 0                                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.399 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,483.38     $1,871.31
           Ro b e r t Sm i t h                                                                                        Ch e c k a l l t h a t a p p l y.
           5 0 2 Hu m p h r e y Rd                                                                                     ✔ Co n t i n g e n t
           Ho l l y Sp r i n g s , M S 3 8 6 3 5                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.400 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $806.72       $512.00
           Ro b e r t e Sp a d a s                                                                                    Ch e c k a l l t h a t a p p l y.
           7 9 2 7 Sh a r m i l Dr , Ap t 3                                                                            ✔ Co n t i n g e n t
           So u t h a v e n , M S 3 8 6 7 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.401 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,220.88     $2,082.94
           Ro d e r i c K Pr o c t e r                                                                                Ch e c k a l l t h a t a p p l y.
           1 8 5 0 Id l e w i l d Pa r k , Ap t D1                                                                     ✔ Co n t i n g e n t
           Re n o , N V 8 9 5 0 9                                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.402 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $942.34       $910.57
           Ru t h So b e r a n i s Nu n e z                                                                           Ch e c k a l l t h a t a p p l y.
           1 5 4 5 Hu f f m a n Bl v d                                                                                 ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 8                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.403 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,819.90     $3,875.00
           Ry a n A Sh e l k e t t                                                                                    Ch e c k a l l t h a t a p p l y.
           4 0 7 Gi t t i n g s Av e                                                                                   ✔ Co n t i n g e n t
           Ba l t i m o r e , M D 2 1 2 1 2                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.404 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $120.29       $120.29
           Ry a n Wi n s t o n                                                                                        Ch e c k a l l t h a t a p p l y.
           3 4 2 9 Cy p r e s s Pl a n t a t i o n Dr                                                                  ✔ Co n t i n g e n t
           Ol i v e Br a n c h , M S 3 8 6 5 4                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.405 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $354.90       $354.90
           Ry d e r W Rh e a                                                                                          Ch e c k a l l t h a t a p p l y.
           2 0 1 E Br o a d w a y                                                                                      ✔ Co n t i n g e n t
           Re d Li o n , PA 1 7 3 5 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.406 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,197.11     $1,153.84
           Sa d i e Ca m p o s                                                                                        Ch e c k a l l t h a t a p p l y.
           9 1 6 E 6 5 t h St , Ap t 7                                                                                 ✔ Co n t i n g e n t
           In g l e w o o d , C A 9 0 3 0 2                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.407 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,002.40     $1,002.40
           Sa m m i S Co h e n                                                                                        Ch e c k a l l t h a t a p p l y.
           2 0 9 Br o w w o o d Rd                                                                                     ✔ Co n t i n g e n t
           Re i s t e r s t o w n , M D 2 1 1 3 6                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.408 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,298.75     $1,298.75
           Sa m u e l J Fo o t e                                                                                      Ch e c k a l l t h a t a p p l y.
           2 1 8 6 Ca r l y l e Dr                                                                                     ✔ Co n t i n g e n t
           Ma r i e t t a , G A 3 0 0 6 2                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.409 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,204.32     $3,846.15
           Sa m u e l L St e v e n s                                                                                  Ch e c k a l l t h a t a p p l y.
           8 5 0 4 We l l i n g t o n Va l l e y Wa y                                                                  ✔ Co n t i n g e n t
           Lu t h e r v i l l e , M D 2 1 0 9 3                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.410 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $41.82        $41.82
           Sa n d y Ru i z                                                                                            Ch e c k a l l t h a t a p p l y.
           1 5 4 S Fi l b e r t Rd                                                                                     ✔ Co n t i n g e n t
           Ex e t e r , C A 9 3 2 2 1                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.411 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,007.27     $900.12
           Sa r a h Em i l y Wo o d s                                                                                 Ch e c k a l l t h a t a p p l y.
           2 4 2 Ly n e s s Av e , Ap t 1 9 8                                                                          ✔ Co n t i n g e n t
           Ha r r i s o n , O H 4 5 0 3 0                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.412 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $141.20       $141.20
           Sa r a h J Sm i t h e r s                                                                                  Ch e c k a l l t h a t a p p l y.
           2 5 1 3 Cr o s s Wi n d s Ln                                                                                ✔ Co n t i n g e n t
           Ch a t t a n o o g a , T N 3 7 4 2 1                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.413 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $514.08       $514.08
           Sc o t t F Te f o e                                                                                        Ch e c k a l l t h a t a p p l y.
           1 3 8 2 3 E Le h i g h Av e , Un i t B                                                                      ✔ Co n t i n g e n t
           Au r o r a , C O 8 0 0 1 4                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.414 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $162.79       $162.79
           Sc o t t W Ca l l a h a n                                                                                  Ch e c k a l l t h a t a p p l y.
           2 5 2 8 W Cl a r i d g e Wa y                                                                               ✔ Co n t i n g e n t
           Ha n f o r d , C A 9 3 2 3 0                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.415 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,060.80     $1,060.80
           Se a n Jo y                                                                                                Ch e c k a l l t h a t a p p l y.
           8 3 6 0 Cr o s s Po i n t Dr                                                                                ✔ Co n t i n g e n t
           Ol i v e Br a n c h , M S 3 8 6 5 4                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.416 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,348.54     $1,130.57
           Se a n M Da v i s                                                                                          Ch e c k a l l t h a t a p p l y.
           4 7 4 8 Ja s o n Dr                                                                                         ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 3 5                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.417 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $698.80       $691.82
           Se t h La r i m e r                                                                                        Ch e c k a l l t h a t a p p l y.
           6 5 0 9 Bi r c h d a l e Dr                                                                                 ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 1 5                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.418 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,328.12     $1,875.00
           Sh a h n a j Be g u m                                                                                      Ch e c k a l l t h a t a p p l y.
           2 2 Lo c h m o o r Ct                                                                                       ✔ Co n t i n g e n t
           Lu t h e r v i l l e , M D 2 1 0 9 3                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.419 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,631.52     $1,255.16
           Sh a n e i k a Ro b i n s o n                                                                              Ch e c k a l l t h a t a p p l y.
           4 4 0 Bi r c h t r e e Ln , Ap t D                                                                          ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 7                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.420 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $303.77       $303.77
           Sh a n n o n R By n u m                                                                                    Ch e c k a l l t h a t a p p l y.
           1 1 3 3 Hy d e Pa r k Dr                                                                                    ✔ Co n t i n g e n t
           Ro u n d Ro c k , T X 7 8 6 6 5                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.421 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $16,036.65    $8,653.84
           Sh a w n Ha m r i c k                                                                                      Ch e c k a l l t h a t a p p l y.
           7 7 3 8 Su n s e t Ri d g e                                                                                 ✔ Co n t i n g e n t
           Ol i v e Br a n c h , M S 3 8 6 5 4                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.422 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,436.16     $2,436.16
           Sh e r r y Re n e e Cl a r k                                                                               Ch e c k a l l t h a t a p p l y.
           3 2 1 9 Me a d o w Va l l e y Dr                                                                            ✔ Co n t i n g e n t
           Ab i n g d o n , M D 2 1 0 0 9                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.423 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $568.50       $568.50
           Si l v i a Y Ab u n d e z Ra m i r e z                                                                     Ch e c k a l l t h a t a p p l y.
           4 3 1 5 Wi n t e r St                                                                                       ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 6                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.424 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,936.69     $1,290.00
           Si v i s a i Ke o s a v a n g                                                                              Ch e c k a l l t h a t a p p l y.
           3 5 3 0 Le e Rd S W                                                                                         ✔ Co n t i n g e n t
           Sn e l l v i l l e , G A 3 0 0 3 9                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.425 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,623.06     $2,744.13
           So l o m o n W Le v i n                                                                                    Ch e c k a l l t h a t a p p l y.
           2 5 0 4 Bl a c k h a w k Ci r                                                                               ✔ Co n t i n g e n t
           Ba l t i m o r e , M D 2 1 2 0 9                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.426 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,700.40     $1,347.84
           So p h i a Ma l m q u i s t                                                                                Ch e c k a l l t h a t a p p l y.
           1 1 3 1 W Pa c k a r d Av e                                                                                 ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 7                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.427 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $84.00        $84.00
           St a c y Sa m o u n t y                                                                                    Ch e c k a l l t h a t a p p l y.
           6 3 0 9 De l n o r t e Ct N W                                                                               ✔ Co n t i n g e n t
           No r c r o s s , G A 3 0 0 9 3                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.428 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   Unknown       Unknown
           St a t e o f Ne w Je r s e y Di v i s i o n o f Ta x a t i o n                                             Ch e c k a l l t h a t a p p l y.
           Re v e n u e Pr o c e s s i n g Ce n t e r - Pa y m e n t s                                                        Co n t i n g e n t
           P. O. Bo x 1 1 1                                                                                                   Un l i q u i d a t e d
           Tr e n t o n , N J 0 8 6 4 5 - 0 1 1 1                                                                      ✔ Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                         Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      St a t e In c o m e Ta x
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                              Ye s .
           507(a) 8


2.429 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $245.34       $245.34
           St e p h e n R Fi e l d s                                                                                  Ch e c k a l l t h a t a p p l y.
           4 5 2 1 Sn a p f i n g e r Wo o d s Dr , Ap t 8 0 3                                                         ✔ Co n t i n g e n t
           De c a t u r , G A 3 0 0 3 5                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.430 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,413.75     $2,000.00
           St e v e n Al a n Le a f                                                                                   Ch e c k a l l t h a t a p p l y.
           1 0 Ha r r o d Ct                                                                                           ✔ Co n t i n g e n t
           Re i s t e r s t o w n , M D 2 1 1 3 6                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.431 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $244.21       $244.21
           St e v e n D Br u n o                                                                                      Ch e c k a l l t h a t a p p l y.
           5 9 2 0 Le n o x Pa r k Pl                                                                                  ✔ Co n t i n g e n t
           Su g a r Hi l l , G A 3 0 5 1 8                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.432 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,939.88     $1,532.44
           St e v e n Ed w a r d Ro t h                                                                               Ch e c k a l l t h a t a p p l y.
           3 9 3 0 St a n t o n Ha l l Pk w y                                                                          ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 1 5                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.433 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,250.50     $910.00
           St e v e n Lu c a s Ma r t i n                                                                             Ch e c k a l l t h a t a p p l y.
           4 0 5 Wi s e Av e                                                                                           ✔ Co n t i n g e n t
           Du n d a l k , M D 2 1 2 2 2                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.434 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $10,563.10    $7,269.23
           St e v e n Ti p t o n                                                                                      Ch e c k a l l t h a t a p p l y.
           4 0 0 9 Ch a r i t y Dr                                                                                     ✔ Co n t i n g e n t
           Re d Li o n , PA 1 7 3 5 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.435 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,538.89     $2,216.16
           St e v e n Wa r b l e                                                                                      Ch e c k a l l t h a t a p p l y.
           3 5 1 9 So l l e r s Po i n t Rd                                                                            ✔ Co n t i n g e n t
           Du n d a l k , M D 2 1 2 2 2                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.436 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,702.76     $3,414.65
           St u a r t A Ca r t e r                                                                                    Ch e c k a l l t h a t a p p l y.
           7 0 7 By r a m St                                                                                           ✔ Co n t i n g e n t
           Re a d i n g , PA 1 9 6 0 6                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.437 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,221.14     $1,924.99
           St u a r t Sc h r e c k                                                                                    Ch e c k a l l t h a t a p p l y.
           6 7 1 6 Cl y b o u r n Av e , Un i t 1 3 9                                                                  ✔ Co n t i n g e n t
           N Ho l l y w o o d , C A 9 1 6 0 6                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.438 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $307.00       $307.00
           Su n t i Ap a i                                                                                            Ch e c k a l l t h a t a p p l y.
           9 0 9 Ro c k Oa k Ln                                                                                        ✔ Co n t i n g e n t
           La w r e n c e v i l l e , G A 3 0 0 4 6                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.439 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $527.36       $527.36
           Ta b r i n a Mc k i n n e y                                                                                Ch e c k a l l t h a t a p p l y.
           1 3 7 So u t h e r n Ci r                                                                                   ✔ Co n t i n g e n t
           Ho l l y Sp r i n g s , M S 3 8 6 3 5                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.440 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $919.40       $685.46
           Ta d Lu e d e k e                                                                                          Ch e c k a l l t h a t a p p l y.
           1 2 1 0 Ri v e r m e t Av e                                                                                 ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 0 5                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.441 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,690.69     $1,980.76
           Ta v a r i s J Bo o t h e                                                                                  Ch e c k a l l t h a t a p p l y.
           2 0 9 5 Fa r r i n g t o n                                                                                  ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 0 9                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.442 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,563.46     $1,550.00
           Te d Bo n a f e d e                                                                                        Ch e c k a l l t h a t a p p l y.
           4 5 1 7 Je f f e r s o n St N E                                                                             ✔ Co n t i n g e n t
           Co l u m b i a He i g h t s , M N 5 5 4 2 1                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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           Te r r y L He l m a n                                                                                      Ch e c k a l l t h a t a p p l y.
           9 1 1 7 Th i s t l e d o w n Rd                                                                             ✔ Co n t i n g e n t
           Ow i n g s Mi l l s , M D 2 1 1 1 7                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.444 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,714.42     $4,615.38
           Th o m a s D Ga r e y                                                                                      Ch e c k a l l t h a t a p p l y.
           7 Ac o r n Ci r , Ap t 2 0 2                                                                                ✔ Co n t i n g e n t
           To w s o n , M D 2 1 2 8 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.445 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,963.47     $1,963.47
           Th o m a s J Sa d o w s k i                                                                                Ch e c k a l l t h a t a p p l y.
           3 9 Br i d l e Ln                                                                                           ✔ Co n t i n g e n t
           No t t i n g h a m , M D 2 1 2 3 6                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.446 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,813.53     $3,025.00
           Th o m a s W Ro b e y Jr                                                                                   Ch e c k a l l t h a t a p p l y.
           1 2 0 2 9 Pa l i s a d e s Dr                                                                               ✔ Co n t i n g e n t
           Du n k i r k , M D 2 0 7 5 4                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.447 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $268.80       $268.80
           Ti f f a n y A Gu e r r a                                                                                  Ch e c k a l l t h a t a p p l y.
           1 2 5 Mi c h a e l Ln                                                                                       ✔ Co n t i n g e n t
           Ta y l o r , T X 7 6 5 7 4                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.448 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $751.28       $751.28
           Ti m o t h y Ca s b y                                                                                      Ch e c k a l l t h a t a p p l y.
           3 5 0 1 W Co l o n i a l Av e , Ap t C                                                                      ✔ Co n t i n g e n t
           Vi s a l i a , C A 9 3 2 7 7                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.449 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $112.50       $112.50
           Ti m o t h y Gl a d f e l t e r                                                                            Ch e c k a l l t h a t a p p l y.
           2 0 Wa t e r St                                                                                             ✔ Co n t i n g e n t
           Wi n d s o r , PA 1 7 3 6 6                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.450 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,737.97     $5,737.97
           Ti m o t h y Gr e a v e s                                                                                  Ch e c k a l l t h a t a p p l y.
           6 2 5 Te w k e s b u r y Ln                                                                                 ✔ Co n t i n g e n t
           Se v e r n a Pa r k , M D 2 1 1 4 6                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.451 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $8,832.57     $8,269.23
           Ti m o t h y J Le n a g h a n                                                                              Ch e c k a l l t h a t a p p l y.
           9 0 2 Ja m e s St                                                                                           ✔ Co n t i n g e n t
           Be l Ai r , M D 2 1 0 1 4                                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.452 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,071.73     $2,409.20
           Ti m o t h y S Ka r t m a n                                                                                Ch e c k a l l t h a t a p p l y.
           1 8 6 2 8 W Tu r q u o i s e Av e                                                                           ✔ Co n t i n g e n t
           Wa d d e l l , A Z 8 5 3 5 5                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.453 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,946.70     $964.08
           To d d A La n e                                                                                            Ch e c k a l l t h a t a p p l y.
           4 4 1 3 Fa l l s Br i d g e Dr , Ap t L                                                                     ✔ Co n t i n g e n t
           Ba l t i m o r e , M D 2 1 2 1 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.454 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $439.28       $439.28
           To n y D Vi l l a t o r o                                                                                  Ch e c k a l l t h a t a p p l y.
           5 4 9 5 Do n c a s t e r Ct                                                                                 ✔ Co n t i n g e n t
           No r c r o s s , G A 3 0 0 7 1                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.455 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $9,377.20     $5,642.31
           To n y Wi l d e                                                                                            Ch e c k a l l t h a t a p p l y.
           9 6 0 0 Ch e r y La u r e l Co v e                                                                          ✔ Co n t i n g e n t
           Ge r m a n t o w n , T N 3 8 1 3 9                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.456 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,269.69     $3,261.54
           To n y a C Sh r o p s h i r e                                                                              Ch e c k a l l t h a t a p p l y.
           5 1 9 4 Ne w t o n Oa k Ci r S                                                                              ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 7                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.457 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $75.97        $75.97
           Tr a c i e E Ad a m s                                                                                      Ch e c k a l l t h a t a p p l y.
           1 4 7 5 4 St a t e Hw y 3 1 W                                                                               ✔ Co n t i n g e n t
           Ty l e r , T X 7 5 7 0 9                                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.458 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $36.90        $36.90
           Tr a v i s R Mc d a n i e l                                                                                Ch e c k a l l t h a t a p p l y.
           5 9 W Ho w a r d St                                                                                         ✔ Co n t i n g e n t
           Re d Li o n , PA 1 7 3 5 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.459 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,544.21     $1,923.07
           Tr a v i s Th e o d o r e Re i d                                                                           Ch e c k a l l t h a t a p p l y.
           1 1 3 7 E No r t h e r n Pk w y                                                                             ✔ Co n t i n g e n t
           Ba l t i m o r e , M D 2 1 2 3 9                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.460 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $259.68       $259.68
           Tr e v i c a Te r r y                                                                                      Ch e c k a l l t h a t a p p l y.
           1 6 0 5 E Al c y Rd                                                                                         ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 4                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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           Tr i s t a J Pe t e r s o n                                                                                Ch e c k a l l t h a t a p p l y.
           2 7 3 6 Ma l l a r d Dr                                                                                     ✔ Co n t i n g e n t
           Ro a n o k e , VA 2 4 0 1 8                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.462 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $372.19       $372.19
           Tr i s t o n Be a u d r y                                                                                  Ch e c k a l l t h a t a p p l y.
           3 1 7 E Ho o v e r Dr                                                                                       ✔ Co n t i n g e n t
           Ft Wa y n e , I N 4 6 8 1 6                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.463 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $9,387.01     $4,807.69
           Tr o y M Sa n d s                                                                                          Ch e c k a l l t h a t a p p l y.
           1 1 7 La u r e l Va l l e y Ct                                                                              ✔ Co n t i n g e n t
           Ab i n g d o n , M D 2 1 0 0 9                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.464 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $120.30       $120.30
           Ty l e r B Mo r g a n                                                                                      Ch e c k a l l t h a t a p p l y.
           2 5 0 1 St o n e k i r k Ct N W                                                                             ✔ Co n t i n g e n t
           Ac w o r t h , G A 3 0 1 0 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.465 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,011.42     $1,011.42
           Ty l e r Sp r u n g e r                                                                                    Ch e c k a l l t h a t a p p l y.
           8 0 6 Ho m e s t e a d Av e                                                                                 ✔ Co n t i n g e n t
           Os s i a n , I N 4 6 7 7 7                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.466 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $431.28       $431.28
           Va l e r i a Co r t e z Ba r r e t o                                                                       Ch e c k a l l t h a t a p p l y.
           9 5 4 Cr e s t o n Av e                                                                                     ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 2 7                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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2.467 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $228.56       $228.56
           Va n e s s a Ob r i e n                                                                                    Ch e c k a l l t h a t a p p l y.
           1 9 8 6 E Le v i n Av e                                                                                     ✔ Co n t i n g e n t
           Tu l a r e , C A 9 3 2 7 4                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.468 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $584.22       $584.22
           Vi c t o r Mo l i n a                                                                                      Ch e c k a l l t h a t a p p l y.
           4 2 1 0 At w o o d Av e                                                                                     ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.469 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $9,606.94     $2,653.85
           Vi n c e n t Li g i                                                                                        Ch e c k a l l t h a t a p p l y.
           5 6 5 3 Ca r l o s Av e , Ap t C                                                                            ✔ Co n t i n g e n t
           Ri c h m o n d , C A 9 4 8 0 4                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.470 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   Unknown       Unknown
           Vi r g i n i a De p t o f Ta x a t i o n                                                                   Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 7 6 0                                                                                                   Co n t i n g e n t
           Ri c h m o n d , VA 2 3 2 1 8 - 0 7 6 0                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                          ✔ Di s p u t e d
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ba s i s o f c l a i m :
                                                                                                                      St a t e In c o m e Ta x
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                       ✔ No .
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                                                                                                                              Ye s .


2.471 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,979.24     $2,240.25
           Wa l t e r Er i c Hi t c h c o c k                                                                         Ch e c k a l l t h a t a p p l y.
           1 5 0 6 Ka r l e y Dr                                                                                       ✔ Co n t i n g e n t
           Op e l i k a , A L 3 6 8 0 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.472 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,500.00     $2,500.00
           Wi l l i a m C Ro y s t o n                                                                                Ch e c k a l l t h a t a p p l y.
           5 2 2 Ki n s a l e Rd                                                                                       ✔ Co n t i n g e n t
           Lu t h e r v i l l e - Ti m o n i u m , M D 2 1 0 9 3                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.473 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $263.86       $263.86
           Wi l l i a m H Ro s e b e r r y                                                                            Ch e c k a l l t h a t a p p l y.
           4 1 2 E Ma i n St                                                                                           ✔ Co n t i n g e n t
           Da l l a s t o w n , PA 1 7 3 1 3                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.474 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $130.65       $130.65
           Wi l l i a m L Mu r r a y                                                                                  Ch e c k a l l t h a t a p p l y.
           4 0 0 Mi l l St , Ap t 3 1 6                                                                                ✔ Co n t i n g e n t
           Co l u m b i a , PA 1 7 5 1 2                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.475 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,010.84     $962.00
           Wi l l i a m Sm i t h                                                                                      Ch e c k a l l t h a t a p p l y.
           1 9 2 6 Me r r i m a c Co v e                                                                               ✔ Co n t i n g e n t
           So u t h a v e n , M S 3 8 6 7 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
           507(a) 4


2.476 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,789.30     $3,184.61
           Wi l l i a m Wa r d                                                                                        Ch e c k a l l t h a t a p p l y.
           3 0 3 3 Ne w m a r k e t Dr                                                                                 ✔ Co n t i n g e n t
           Ba r t l e t t , T N 3 8 1 3 4                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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2.477 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   Unknown       Unknown
           Wi s c o n s i n De p t o f Re v e n u e                                                                   Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 2 6 8                                                                                                   Co n t i n g e n t
           Ma d i s o n , W I 5 3 7 9 0 - 0 0 0 1                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                          ✔ Di s p u t e d
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ba s i s o f c l a i m :
                                                                                                                      St a t e In c o m e Ta x
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                       ✔ No .
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                                                                                                                              Ye s .


2.478 Pr i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                    As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $707.30       $707.30
           Ya r a Ma l d o n a d o                                                                                    Ch e c k a l l t h a t a p p l y.
           3 1 0 5 Wh i s p e r i n g Ln E, Ap t H 1 0 6                                                               ✔ Co n t i n g e n t
           Me m p h i s , T N 3 8 1 1 5                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
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           Za c h a r y E La v e r d i e r e                                                                          Ch e c k a l l t h a t a p p l y.
           1 1 1 Sp r u c e Wo o d s Ct                                                                                ✔ Co n t i n g e n t
           Ab i n g d o n , M D 2 1 0 0 9                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                                Di s p u t e d
           Va r i o u s                                                                                               Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      Ac c r u e d / Un u s e d P T O
                                                                                                                      Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                       ✔ No .
           Sp e c i f y Co d e s u b s e c t i o n o f P R I O R I T Y u n s e c u r e d c l a i m : 1 1 U. S. C. §
                                                                                                                             Ye s .
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                                                                                                                                                                                            25-10308
                               Name


 Part 2:                     List All Creditors with NONPRIORITY Unsecured Claims
3. Li s t i n a l p h a b e t i c a l o r d e r a l l o f t h e c r e d i t o r s w i t h n o n p r i o r i t y u n s e c u r e d c l a i m s . If t h e d e b t o r h a s m o r e t h a n 6 c r e d i t o r s w i t h n o n p r i o r i t y u n s e c u r e d c l a i m s , f i l l o u t a n d a t t a c h t h e Ad d i t i o n a l
   Pa g e o f Pa r t 2

3.1 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                                     As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :                 $8,016.86
       1 0 To n Pr e s s                                                                                                                   Ch e c k a l l t h a t a p p l y.
       3 7 6 7 Ag u a Du l c e Av e                                                                                                               Co n t i n g e n t
       Cl o v i s , C A 9 3 6 1 9                                                                                                                 Un l i q u i d a t e d
        Da t e o r d a t e s d e b t w a s i n c u r r e d                                         Va r i o u s                                   Di s p u t e d
                                                                                                                                           Ba s i s o f c l a i m :
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                            __ __ __ __                                          Tr a d e
                                                                                                                                           Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                                            ✔ No .
                                                                                                                                                  Ye s .

3.2 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                                     As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :                 $42,109.00
       1 0 0 Pe r c e n t So f t L L C                                                                                                     Ch e c k a l l t h a t a p p l y.
       1 2 4 S Ki n g s l e y Dr                                                                                                                  Co n t i n g e n t
       Lo s An g e l e s , C A 9 0 0 0 4                                                                                                          Un l i q u i d a t e d
        Da t e o r d a t e s d e b t w a s i n c u r r e d                                         Va r i o u s                                   Di s p u t e d
                                                                                                                                           Ba s i s o f c l a i m :
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                            __ __ __ __                                          Tr a d e
                                                                                                                                           Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                                            ✔ No .
                                                                                                                                                  Ye s .

3.3 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                                     As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :                 $131,100.00
       1 0 0 0 To y s , In c                                                                                                               Ch e c k a l l t h a t a p p l y.
       Vi a Ac h                                                                                                                                  Co n t i n g e n t
       3 9 0 Am a p o l a Av e , Un i t 2                                                                                                         Un l i q u i d a t e d
       To r r a n c e , C A 9 0 5 0 1                                                                                                             Di s p u t e d
        Da t e o r d a t e s d e b t w a s i n c u r r e d                                         Va r i o u s                            Ba s i s o f c l a i m :
                                                                                                                                           Tr a d e
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                            __ __ __ __                                          Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                                            ✔ No .
                                                                                                                                                  Ye s .

3.4 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                                     As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :                 $4,473.60
       1 Fi r s t Co m i c s In c                                                                                                          Ch e c k a l l t h a t a p p l y.
       8 6 1 Ce d a r Ln                                                                                                                          Co n t i n g e n t
       No r t h b r o o k , I L 6 0 0 6 2                                                                                                         Un l i q u i d a t e d
        Da t e o r d a t e s d e b t w a s i n c u r r e d                                         Va r i o u s                                   Di s p u t e d
                                                                                                                                           Ba s i s o f c l a i m :
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                            __ __ __ __                                          Tr a d e
                                                                                                                                           Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                                            ✔ No .
                                                                                                                                                  Ye s .

3.5 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                                     As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :                 $1,471.86
       8 0 1 Me d i a In c                                                                                                                 Ch e c k a l l t h a t a p p l y.
       1 4 8 7 W, 1 7 8 t h St , St e 3 1 0                                                                                                       Co n t i n g e n t
       Ga r d e n a , C A 9 0 2 4 8                                                                                                               Un l i q u i d a t e d
        Da t e o r d a t e s d e b t w a s i n c u r r e d                                         Va r i o u s                                   Di s p u t e d
                                                                                                                                           Ba s i s o f c l a i m :
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                            __ __ __ __                                          Tr a d e
                                                                                                                                           Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                                            ✔ No .
                                                                                                                                                  Ye s .

3.6 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                                     As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :                 $2,915.27
       A A A Co o p e r Tr a n s p o r t a t i o n                                                                                         Ch e c k a l l t h a t a p p l y.
       P. O. Bo x 9 3 5 0 0 3                                                                                                                     Co n t i n g e n t
       At l a n t a , G A 3 1 1 9 3 - 5 0 0 3                                                                                                     Un l i q u i d a t e d
        Da t e o r d a t e s d e b t w a s i n c u r r e d                                         Va r i o u s                                   Di s p u t e d
                                                                                                                                           Ba s i s o f c l a i m :
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                            __ __ __ __                                          Tr a d e
                                                                                                                                           Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                                            ✔ No .
                                                                                                                                                  Ye s .

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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                                                                                    Amount of claim
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3.7 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                 As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $196.10
       A B C La s e r U S A, In c                                                                                      Ch e c k a l l t h a t a p p l y.
       4 5 2 2 Tr e a d s t o n e Ct N W                                                                                      Co n t i n g e n t
       Su w a n e e , G A 3 0 0 2 4                                                                                           Un l i q u i d a t e d
        Da t e o r d a t e s d e b t w a s i n c u r r e d                                 Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                         __ __ __ __                         Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.8 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                 As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $19,447.86
       Ab l a z e , L L C                                                                                              Ch e c k a l l t h a t a p p l y.
       1 1 2 2 2 S E Ma i n St , St e 2 2 9 0 6                                                                               Co n t i n g e n t
       Po r t l a n d , O R 9 7 2 6 9                                                                                         Un l i q u i d a t e d
        Da t e o r d a t e s d e b t w a s i n c u r r e d                                 Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                         __ __ __ __                         Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.9 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                 As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $2,447.20
       Ab o u t Co m i c s                                                                                             Ch e c k a l l t h a t a p p l y.
       1 5 6 9 Ed g e m o n t Dr                                                                                              Co n t i n g e n t
       Ca m a r i l l o , C A 9 3 0 1 0                                                                                       Un l i q u i d a t e d
        Da t e o r d a t e s d e b t w a s i n c u r r e d                                 Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
        La s t 4 d i g i t s o f a c c o u n t n u m b e r                         __ __ __ __                         Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.10 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                 As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,000.00
         Ab o v e t h e Tr e e l i n e In c                                                                             Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 7 3 7 8                                                                                                    Co n t i n g e n t
         An n Ar b o r , M I 4 8 1 0 7                                                                                         Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                                Va r i o u s                       Di s p u t e d
                                                                                                                        Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                         __ __ __ __                        Tr a d e
                                                                                                                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                         ✔ No .
                                                                                                                               Ye s .

3.11 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                 As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $20,776.50
         Ab s t r a c t St u d i o s , In c                                                                             Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 2 7 1 4 8 7                                                                                                Co n t i n g e n t
         Ho u s t o n , T X 7 7 2 7 7                                                                                          Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                                Va r i o u s                       Di s p u t e d
                                                                                                                        Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                         __ __ __ __                        Tr a d e
                                                                                                                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                         ✔ No .
                                                                                                                               Ye s .

3.12 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                 As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $32,745.09
         Ab y s s e Am e r i c a In c                                                                                   Ch e c k a l l t h a t a p p l y.
         1 5 0 0 2 N W 1 0 7 t h Av e , Un i t 2                                                                               Co n t i n g e n t
         Hi a l e a h Ga r d e n s , F L 3 3 0 1 8                                                                             Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                                Va r i o u s                       Di s p u t e d
                                                                                                                        Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                         __ __ __ __                        Tr a d e
                                                                                                                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                         ✔ No .
                                                                                                                               Ye s .

3.13 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                 As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,065.37
         A C Co m i c s                                                                                                 Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 3 9 4                                                                                                      Co n t i n g e n t
         Pl y m o u t h , F L 3 2 7 6 8 - 0 3 9 4                                                                              Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                                Va r i o u s                       Di s p u t e d
                                                                                                                        Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                         __ __ __ __                        Tr a d e
                                                                                                                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                         ✔ No .
                                                                                                                               Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.14 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $18,874.80
         Ac c e n t u r e L L P                                                                                        Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 7 0 6 2 9                                                                                                 Co n t i n g e n t
         Ch i c a g o , I L 6 0 6 7 3 - 0 6 2 9                                                                               Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.15 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,955.10
         A C K Co m i c s                                                                                              Ch e c k a l l t h a t a p p l y.
         5 0 1 7 - 2 0 5 t h Fl , 1 Ae r o c i t y                                                                            Co n t i n g e n t
         Ni b r Pa r k , An d h e r i - Ku r l a Rd                                                                           Un l i q u i d a t e d
         Sa k i n a k a , Mu m b a i , 4 0 0 0 7 2                                                                            Di s p u t e d
         In d i a                                                                                                      Ba s i s o f c l a i m :
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                         ✔ No .
                                                                                                                              Ye s .

3.16 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $54,385.20
         Ac r y l i c o s Va l l e j o S L                                                                             Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 3 3 7 0 8 8 0 0                                                                                           Co n t i n g e n t
         Ba r c e l o n a , 8 0 0 1                                                                                           Un l i q u i d a t e d
         Sp a i n                                                                                                             Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.17 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,075.19
         Ac t i o n La b En t e r t a i n m e n t                                                                      Ch e c k a l l t h a t a p p l y.
         4 6 3 E Ma i n St                                                                                                    Co n t i n g e n t
         Un i o n t o w n , PA 1 5 4 0 1                                                                                      Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                 ✔ Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.18 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $6,952.55
         A D P, In c                                                                                                   Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 8 3 0 2 7 2                                                                                               Co n t i n g e n t
         Ph i l a d e l p h i a , PA 1 9 1 8 2 - 0 2 7 2                                                                      Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.19 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,700.00
         Ad v a n c e d Gr a p h i c s                                                                                 Ch e c k a l l t h a t a p p l y.
         4 6 6 N Ma r s h a l l Wa y                                                                                          Co n t i n g e n t
         La y t o n , U T 8 4 0 4 1                                                                                           Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.20 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $26,722.23
         Ag i l i t y Re c o v e r y So l u t i o n s                                                                  Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 7 3 3 7 8 8                                                                                               Co n t i n g e n t
         Da l l a s , T X 7 5 3 7 3 - 3 7 8 8                                                                                 Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.21 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,368.49
         A G O Tr a n s p o r t a t i o n In c                                                                         Ch e c k a l l t h a t a p p l y.
         5 0 0 Av Le p i n e                                                                                                  Co n t i n g e n t
         Do r v a l , Q C H9 P 2 V6                                                                                           Un l i q u i d a t e d
         Ca n a d a                                                                                                           Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.22 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $14,397.25
         A H O Y Co m i c s                                                                                            Ch e c k a l l t h a t a p p l y.
         At t n : Ha r t Se e l y                                                                                             Co n t i n g e n t
         4 9 9 S Wa r r e n St , St e 6 1 2                                                                                   Un l i q u i d a t e d
         Sy r a c u s e , N Y 1 3 2 0 2                                                                                       Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.23 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $36.45
         A I T/ Pl a n e t La r L L C                                                                                  Ch e c k a l l t h a t a p p l y.
         2 0 3 4 4 7 t h Av e                                                                                                 Co n t i n g e n t
         Sa n Fr a n c i s c o , C A 9 4 1 1 6                                                                                Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.24 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $10,170.00
         Al a x i s Pr e s s                                                                                           Ch e c k a l l t h a t a p p l y.
         2 1 5 0 4 W Do u g l a s Ln                                                                                          Co n t i n g e n t
         Pl a i n f i e l d , I L 6 0 5 4 4                                                                                   Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.25 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $22,741.70
         Al d e r a c En t e r t a i n m e n t Gr o u p In c                                                           Ch e c k a l l t h a t a p p l y.
         5 5 5 N El Ca m i n o Re a l                                                                                         Co n t i n g e n t
         Sa n Cl e m e n t e , C A 9 2 6 7 2                                                                                  Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.26 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $63,945.80
         Al i e n Bo o k s                                                                                             Ch e c k a l l t h a t a p p l y.
         4 1 N E 1 0 7 t h St                                                                                                 Co n t i n g e n t
         Mi a m i Sh o r e s , F L 3 3 1 6 1                                                                                  Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.27 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $6,415.52
         Al l i a n c e En t e r t a i n m e n t L L C                                                                 Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 7 4 8 4 3 1                                                                                               Co n t i n g e n t
         At l a n t a , G A 3 0 3 7 4 - 8 4 3 1                                                                               Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                 ✔ Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.28 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $385.29
         Am a z o n We b Se r v i c e s In c                                                                           Ch e c k a l l t h a t a p p l y.
         6 2 7 0 7 Co l l e c t i o n Ce n t e r Dr                                                                           Co n t i n g e n t
         Ch i c a g o , I L 6 0 6 9 3 - 0 6 2 7                                                                               Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.29 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,950.00
         Am e r i c a n Bo o k s e l l e r s As s o c i a t i o n                                                      Ch e c k a l l t h a t a p p l y.
         At t n Ac c o u n t s Re c e i v a b l e                                                                             Co n t i n g e n t
         3 3 3 We s t c h e s t e r Av e , St e S2 0 2                                                                        Un l i q u i d a t e d
         Wh i t e Pl a i n s , N Y 1 0 6 0 4                                                                                  Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.30 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $29,900.00
         Am e r i c a n Li b r a r y As s o c i a t i o n                                                              Ch e c k a l l t h a t a p p l y.
         6 4 9 9 Ne t w o r k Pl                                                                                              Co n t i n g e n t
         Ch i c a g o , I L 6 0 6 7 3 - 1 6 4 9                                                                               Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.31 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $43,354.17
         Am e r i c a n My t h o l o g y Pr o d u c t i o n s                                                          Ch e c k a l l t h a t a p p l y.
         1 4 1 1 Ch e r o k e e Ln                                                                                            Co n t i n g e n t
         Be l Ai r , M D 2 1 0 1 5                                                                                            Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                 ✔ Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.32 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,407.09
         Am e r i Ga s Pr o p a n e                                                                                    Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 3 7 1 4 7 3                                                                                               Co n t i n g e n t
         Pi t t s b u r g h , PA 1 5 2 5 0 - 7 4 7 3                                                                          Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.33 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $807.34
         An g o l a Wi r e Pr o d u c t s , In c                                                                       Ch e c k a l l t h a t a p p l y.
         8 0 3 Wo h l e r t St                                                                                                Co n t i n g e n t
         An g o l a , I N 4 6 7 0 3                                                                                           Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.34 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $150.00
         An i - Me d i a , L L C                                                                                       Ch e c k a l l t h a t a p p l y.
         1 5 4 1 0 7 t h Pl W                                                                                                 Co n t i n g e n t
         Ly n n w o o d , WA 9 8 0 8 7                                                                                        Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

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3.35 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $42,991.01
         An s o n Lo g i s t i c s                                                                                     Ch e c k a l l t h a t a p p l y.
         Rm 1 7 0 8 , 1 7 t h Fl , Bu s i n e s s Bl d g 3 A                                                                  Co n t i n g e n t
         Cr e a t i v e In d u s t r y Pa r k , Ga n g y i Rd                                                                 Un l i q u i d a t e d
         To r c h De v e l o p m e n t Zo n e                                                                                 Di s p u t e d
         Zh o n g s h a n Ci t y, Gu a n g d o n g Pr o v i n c e                                                      Ba s i s o f c l a i m :
         Ch i n a                                                                                                      Tr a d e
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __
                                                                                                                              Ye s .


3.36 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $12,362.79
         An t a r c t i c Pr e s s In c                                                                                Ch e c k a l l t h a t a p p l y.
         4 3 3 4 Pa r k w o o d Dr                                                                                            Co n t i n g e n t
         Sa n An t o n i o , T X 7 8 2 1 8                                                                                    Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.37 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $203.07
         Ap e En t e r t a i n m e n t                                                                                 Ch e c k a l l t h a t a p p l y.
         At t n : Br e n t Er w i n                                                                                           Co n t i n g e n t
         4 0 0 0 Fa i r f a x St                                                                                              Un l i q u i d a t e d
         Fo r t Wo r t h , T X 7 6 1 1 6                                                                                ✔ Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.38 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $655,817.27
         A R A, In c                                                                                                   Ch e c k a l l t h a t a p p l y.
         3 1 4 0 Ne i l Ar m s t r o n g Bl v d , St e 2 0 3                                                                  Co n t i n g e n t
         Ea g a n , M N 5 5 1 2 1                                                                                             Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.39 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $136,966.64
         Ar c a n e Ti n m e n                                                                                         Ch e c k a l l t h a t a p p l y.
         Bj o e r n h o l m s Al l e 4 - 6                                                                                    Co n t i n g e n t
         Vi b y J                                                                                                             Un l i q u i d a t e d
         De n m a r k                                                                                                         Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.40 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $6,828.60
         Ar c Be s t Co r p o r a t i o n                                                                              Ch e c k a l l t h a t a p p l y.
         2 0 8 0 Du n n Av e                                                                                                  Co n t i n g e n t
         Me m p h i s , T N 3 8 1 1 4 - 4 6 1 7                                                                               Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.41 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $12,137.20
         Ar c h i e Co m i c Pu b l i c a t i o n s , In c                                                             Ch e c k a l l t h a t a p p l y.
         6 2 9 5 t h Av e                                                                                                     Co n t i n g e n t
         Pe l h a m , N Y 1 0 8 0 3                                                                                           Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.42 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $53,144.59
         Ar c h o n S P Z O O                                                                                          Ch e c k a l l t h a t a p p l y.
         3 8 2 9 N 3 r d St                                                                                                   Co n t i n g e n t
         Ph o e n i x , A Z 8 5 0 1 2                                                                                         Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.43 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $10,698.85
         Ar e s Ga m e s                                                                                               Ch e c k a l l t h a t a p p l y.
         Pi a z z a Pe t r u c c i 8                                                                                          Co n t i n g e n t
         Ca m a i o r e , Tu s c a n y 5 5 0 4 0                                                                              Un l i q u i d a t e d
         It a l y                                                                                                             Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.44 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $14,840.00
         Ar e t e Ad v i s o r s L L C                                                                                 Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 9 1 9 8 6 0                                                                                               Co n t i n g e n t
         Or l a n d o , F L 3 2 8 9 1                                                                                         Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.45 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $800.00
         Ar g u s Tr a n s p o r t U S A, L L C                                                                        Ch e c k a l l t h a t a p p l y.
         9 7 0 Dr i v i n g Pa r k Av e                                                                                       Co n t i n g e n t
         Ro c h e s t e r , N Y 1 4 6 1 3                                                                                     Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.46 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,370.40
         Ar m o r Pa c k a g i n g                                                                                     Ch e c k a l l t h a t a p p l y.
         1 4 6 0 La k e s Pk w y                                                                                              Co n t i n g e n t
         La w r e n c e v i l l e , G A 3 0 0 4 3                                                                             Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.47 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $803.64
         Ar t i s t s Wr i t e r s & Ar t i s a n s In c                                                               Ch e c k a l l t h a t a p p l y.
         1 3 5 9 Br o a d w a y, St e 8 0 0                                                                                   Co n t i n g e n t
         Ne w Yo r k , N Y 1 0 0 1 8                                                                                          Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.48 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,340.80
         As m a d i Ga m e s                                                                                           Ch e c k a l l t h a t a p p l y.
         1 6 0 Ca m b r i d g e St                                                                                            Co n t i n g e n t
         Bu r l i n g t o n , M A 0 1 8 0 3                                                                                   Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

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3.49 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,890.50
         As p e n M LT, In c                                                                                           Ch e c k a l l t h a t a p p l y.
         5 7 0 1 Sl a u s o n Av e , St e 1 2 0                                                                               Co n t i n g e n t
         Cu l v e r Ci t y, C A 9 0 2 3 0                                                                                     Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.50 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,363.52
         At l a n t i s To y & Ho b b y                                                                                Ch e c k a l l t h a t a p p l y.
         4 3 5 Br o o k Av e , Un i t 1 6                                                                                     Co n t i n g e n t
         De e r Pa r k , N Y 1 1 7 2 9                                                                                        Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.51 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,559.93
         At l a s Co n t a i n e r Co r p o r a t i o n                                                                Ch e c k a l l t h a t a p p l y.
         8 3 0 9 Wi n d e r m e r e Dr                                                                                        Co n t i n g e n t
         Pa s a d e n a , M D 2 1 1 2 2                                                                                       Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.52 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,670.24
         At l a s Ga m e s                                                                                             Ch e c k a l l t h a t a p p l y.
         At t n : Ac c o u n t s Re c e i v a b l e s                                                                         Co n t i n g e n t
         2 0 2 3 r d Av e                                                                                                     Un l i q u i d a t e d
         Pr o c t o r , M N 5 5 8 1 0                                                                                         Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.53 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $42.00
         At l a s s i a n Co r p o r a t i o n                                                                         Ch e c k a l l t h a t a p p l y.
         Ma i l St a t i o n 1 7 7 0                                                                                          Co n t i n g e n t
         6 0 0 N Ro b e r t St                                                                                                Un l i q u i d a t e d
         St Pa u l , M N 5 5 1 4 5 - 1 7 7 0                                                                                  Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.54 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $23.00
         Au t h 0 In c                                                                                                 Ch e c k a l l t h a t a p p l y.
         5 9 5 5 De s o t o Av e , St e 1 0 0                                                                                 Co n t i n g e n t
         Wo o d l a n d Hi l l s , C A 9 1 3 6 7                                                                              Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.55 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $36,495.14
         Av a t a r Pr e s s In c                                                                                      Ch e c k a l l t h a t a p p l y.
         5 1 5 N Ce n t u r y Bl v d                                                                                          Co n t i n g e n t
         Ra n t o u l , I L 6 1 8 6 6                                                                                         Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

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3.56 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $401.40
         Ba d Eg g L L C                                                                                               Ch e c k a l l t h a t a p p l y.
         3 1 0 1 Oc e a n Pa r k Bl v d , St e 1 0 0                                                                          Co n t i n g e n t
         Pm b 2 4 7                                                                                                           Un l i q u i d a t e d
         Sa n t a Mo n i c a , C A 9 0 4 0 5                                                                                  Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.57 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,049.88
         Ba d Ki d s Pr e s s                                                                                          Ch e c k a l l t h a t a p p l y.
         At t n : Ro b e r t Ho w a r d                                                                                       Co n t i n g e n t
         4 0 7 Hi g h l a n d Av e                                                                                            Un l i q u i d a t e d
         So m e r v i l l e , M A 0 2 1 4 4                                                                                   Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.58 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $13.98
         Ba n d o f Ba r d s                                                                                           Ch e c k a l l t h a t a p p l y.
         2 2 6 El m w o o d Av e , St e 8 6 4                                                                                 Co n t i n g e n t
         Bu f f a l o , N Y 1 4 2 2 2                                                                                         Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                 ✔ Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.59 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,292,620.24
         Ba n d a i Co Lt d                                                                                            Ch e c k a l l t h a t a p p l y.
         1 - 4 - 8 Ko m a g a t a                                                                                             Co n t i n g e n t
         Ta i t o - Ku , To k y o 1 1 1 - 8 0 8 1                                                                             Un l i q u i d a t e d
         Ja p a n                                                                                                             Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.60 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $613,416.65
         Ba n d a i Na m c o To y s & Co l l e c t i b l e s Am e r i c a In c                                         Ch e c k a l l t h a t a p p l y.
         2 3 Od y s s e y                                                                                                     Co n t i n g e n t
         Ir v i n e , C A 9 2 6 1 8                                                                                           Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.61 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,152.90
         Ba t t l e Qu e s t Co m i c s                                                                                Ch e c k a l l t h a t a p p l y.
         1 7 4 8 N E Ti l l a m o o k                                                                                         Co n t i n g e n t
         Po r t l a n d , O R 9 7 2 1 2                                                                                       Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.62 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $38.70
         Ba t t l e f r o n t Mi n i a t u r e s In c                                                                  Ch e c k a l l t h a t a p p l y.
         5 0 0 Pr i n c i p i o Pk w y W                                                                                      Co n t i n g e n t
         No r t h Ea s t , M D 2 1 9 0 1                                                                                      Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

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3.63 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $245,427.14
         Be a s t Ki n g d o m No r t h Am e r i c a Co                                                                Ch e c k a l l t h a t a p p l y.
         1 0 0 4 Ha n s o n Ct                                                                                                Co n t i n g e n t
         Mi l i p i t a s , C A 9 5 0 3 5                                                                                     Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.64 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $862.65
         Be c k e t t Me d i a L P                                                                                     Ch e c k a l l t h a t a p p l y.
         4 6 3 5 Mc e w e n Rd                                                                                                Co n t i n g e n t
         Da l l a s , T X 7 5 2 4 4                                                                                           Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.65 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,200.00
         Be e l i n e Cr e a t i v e In c                                                                              Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 6 8 1 5 7 1                                                                                               Co n t i n g e n t
         Fr a n k l i n , T N 3 7 0 6 8                                                                                       Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.66 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $50,520.44
         Be h e m o t h En t e r t a i n m e n t L L C                                                                 Ch e c k a l l t h a t a p p l y.
         6 5 1 N Pl a n o Rd , St e 4 2 1                                                                                     Co n t i n g e n t
         Ri c h a r d s o n , T X 7 5 0 8 1                                                                                   Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                 ✔ Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.67 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,079.27
         Be n i t e z Pr o d u c t i o n s                                                                             Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 1 7 1 6 1                                                                                                 Co n t i n g e n t
         En c i n o , C A 9 1 4 1 6                                                                                           Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                 ✔ Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.68 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,000.15
         Bl a c k Ma s k St u d i o s                                                                                  Ch e c k a l l t h a t a p p l y.
         c / o Ep i t a p h                                                                                                   Co n t i n g e n t
         2 7 9 8 Su n s e t Bl v d                                                                                            Un l i q u i d a t e d
         Lo s An g e l e s , C A 9 0 0 2 6                                                                                    Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.69 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $12,049.45
         Bl a c k Pa n e l Pr e s s                                                                                    Ch e c k a l l t h a t a p p l y.
         2 2 Gi l b e r t St                                                                                                  Co n t i n g e n t
         St Jo h n ' s , N L A I C 1 X4                                                                                       Un l i q u i d a t e d
         Ca n a d a                                                                                                           Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

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3.70 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $13,446.92
         Bl a c k b o x Co m i c s                                                                                     Ch e c k a l l t h a t a p p l y.
         1 5 1 - 5 2 2 3 r d Av e                                                                                             Co n t i n g e n t
         Wh i t e s t o n e , N Y 1 1 3 5 7                                                                                   Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.71 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $539.80
         Bl a c k s t o n e Au d i o In c                                                                              Ch e c k a l l t h a t a p p l y.
         6 2 7 0 7 Co l l e c t i o n Ce n t e r Dr                                                                           Co n t i n g e n t
         Ch i c a g o , I L 6 0 6 9 3 - 0 6 2 7                                                                               Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.72 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $7,926.82
         Bl o o d Mo o n Co m i c s , L L C                                                                            Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 5 4 8                                                                                                     Co n t i n g e n t
         Bo i l i n g Sp r i n g s , PA 1 7 0 0 7 - 0 5 4 8                                                                   Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.73 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $9,858.86
         Bl u e Or a n g e U S A                                                                                       Ch e c k a l l t h a t a p p l y.
         1 9 3 7 Da v i s St , St e C                                                                                         Co n t i n g e n t
         Sa n Le a n d r o , C A 9 4 5 7 7                                                                                    Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.74 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,990.98
         Bl u e St a r                                                                                                 Ch e c k a l l t h a t a p p l y.
         2 8 4 8 7 Ne t w o r k Pl                                                                                            Co n t i n g e n t
         Ch i c a g o , I L 6 0 6 7 3 - 1 2 8 4                                                                               Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.75 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $96,303.87
         Bl u e Yo n d e r , In c                                                                                      Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 8 4 1 9 8 3                                                                                               Co n t i n g e n t
         Da l l a s , T X 7 5 2 8 4 - 1 9 8 3                                                                                 Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.76 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,326.40
         Bl u f f Ci t y Pa l l e t , L L C                                                                            Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 4 4 2                                                                                                     Co n t i n g e n t
         Oa k l a n d , T N 3 8 0 6 0                                                                                         Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

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3.77 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $6,483.11
         Bo o k i s h S R L                                                                                            Ch e c k a l l t h a t a p p l y.
         St r Ba i a De Ar i e s Nr 3                                                                                         Co n t i n g e n t
         Bu c h a r e s t , 6 0 8 0 1                                                                                         Un l i q u i d a t e d
         Ro m a n i a                                                                                                         Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.78 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $438.56
         Bo o k Ne t Ca n a d a                                                                                        Ch e c k a l l t h a t a p p l y.
         4 4 0 - 4 5 5 Da n f o r t h Av e                                                                                    Co n t i n g e n t
         To r o n t o , O N M4 K 1 P1                                                                                         Un l i q u i d a t e d
         Ca n a d a                                                                                                           Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.79 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $799,133.29
         Bo o m ! En t e r t a i n m e n t                                                                             Ch e c k a l l t h a t a p p l y.
         At t n : Ac c o u n t i n g De p t                                                                                   Co n t i n g e n t
         5 6 7 0 Wi l s h i r e Bl v d , St e 4 0 0                                                                           Un l i q u i d a t e d
         Lo s An g e l e s , C A 9 0 0 3 6                                                                              ✔ Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.80 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,186.00
         Bo s t o n Am e r i c a Co r p                                                                                Ch e c k a l l t h a t a p p l y.
         5 5 6 t h Rd , St e 8                                                                                                Co n t i n g e n t
         Wo b u r n , M A 0 1 8 0 1                                                                                           Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.81 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $234.00
         Br i l l i a n t En t e r p r i s e L L C                                                                     Ch e c k a l l t h a t a p p l y.
         At t n : Sc o t t Br a d e n                                                                                         Co n t i n g e n t
         1 9 6 Wi n n e r s Ci r c l e Dr                                                                                     Un l i q u i d a t e d
         Re d Li o n , PA 1 7 3 5 6                                                                                           Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.82 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,211.64
         Br o a d s w o r d Co m i c s                                                                                 Ch e c k a l l t h a t a p p l y.
         1 8 0 Id l e w o o d Dr                                                                                              Co n t i n g e n t
         Br o d h e a d s v i l l e , PA 1 8 3 2 2                                                                            Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.83 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $25,516.46
         Br o t h e r w i s e Ga m e s L L C                                                                           Ch e c k a l l t h a t a p p l y.
         2 1 1 0 Ar t e s i a Bl v d , St e B- 3 8 5                                                                          Co n t i n g e n t
         Re d o n d o Be a c h , C A 9 0 2 7 8                                                                                Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

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3.84 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $951.44
         Br o w n t r o u t Pu b l i s h e r s                                                                         Ch e c k a l l t h a t a p p l y.
         2 0 1 Co n t i n e n t a l Bl v d , St e 2 0 0                                                                       Co n t i n g e n t
         El Se g u n d o , C A 9 0 2 4 5                                                                                      Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.85 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $66.00
         Bu l l y Pu l p i t Ga m e s L L C                                                                            Ch e c k a l l t h a t a p p l y.
         6 1 0 Ma n o r Ri d g e Dr                                                                                           Co n t i n g e n t
         Ca r r b o r o , N C 2 7 5 1 0                                                                                       Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.86 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,904.00
         Bu m p a s Pr o d u c t s L L C                                                                               Ch e c k a l l t h a t a p p l y.
         At t n : Br e n n a n C Sw a i n                                                                                     Co n t i n g e n t
         1 9 0 0 Av e Of Th e St a r s                                                                                        Un l i q u i d a t e d
         Lo s An g e l e s , C A 9 0 0 6 7                                                                                    Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.87 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $6.78
         Bu n d o r a n Pr e s s Pu b l i s h i n g Ho u s e                                                           Ch e c k a l l t h a t a p p l y.
         1 5 1 Ba y St , Un i t 1 1 1 1                                                                                       Co n t i n g e n t
         Ot t a w a , O N K1 R 7 T2                                                                                           Un l i q u i d a t e d
         Ca n a d a                                                                                                           Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.88 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $864.98
         Bu r n i n g Wh e e l                                                                                         Ch e c k a l l t h a t a p p l y.
         2 6 - 4 7 3 0 t h St                                                                                                 Co n t i n g e n t
         As t o r i a , N Y 1 1 1 0 2                                                                                         Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.89 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $258.34
         Bu s i n e s s Eq u i p m e n t Ce n t e r                                                                    Ch e c k a l l t h a t a p p l y.
         2 9 9 1 Di r e c t o r s Ro w                                                                                        Co n t i n g e n t
         Me m p h i s , T N 3 8 1 3 1                                                                                         Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.90 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $706.25
         Ca l v e r t Pl u m b i n g a n d He a t i n g                                                                Ch e c k a l l t h a t a p p l y.
         8 8 0 1 My l a n d e r Ln                                                                                            Co n t i n g e n t
         To w s o n , M D 2 1 2 8 6                                                                                           Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

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3.91 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $12,995.00
         Ca n a d i a n Ma n d a Gr o u p                                                                              Ch e c k a l l t h a t a p p l y.
         At t n : Mr Ni c k Sm i t h                                                                                          Co n t i n g e n t
         6 6 4 An n e t t e St                                                                                                Un l i q u i d a t e d
         To r o n t o , O N M6 S 2 C8                                                                                         Di s p u t e d
         Ca n a d a                                                                                                    Ba s i s o f c l a i m :
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                         ✔ No .
                                                                                                                              Ye s .

3.92 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $270.00
         Ca n e d a Tr a n s p o r t Lt d                                                                              Ch e c k a l l t h a t a p p l y.
         4 3 3 0 4 6 t h Av e S E                                                                                             Co n t i n g e n t
         Ca l g a r y, A B T2 B 3 N7                                                                                          Un l i q u i d a t e d
         Ca n a d a                                                                                                           Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.93 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $23,334.00
         Ca n p a r Tr a n s p o r t Lt d                                                                              Ch e c k a l l t h a t a p p l y.
         2 0 1 W Cr e e k Bl v d , St e 1 0 2                                                                                 Co n t i n g e n t
         Br a m p t o n , O N L6 T 0 G8                                                                                       Un l i q u i d a t e d
         Ca n a d a                                                                                                           Di s p u t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.94 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $14,812.12
         Ca p s t o n e Ga m e s                                                                                       Ch e c k a l l t h a t a p p l y.
         2 Te c h v i e w Dr                                                                                                  Co n t i n g e n t
         Ci n c i n a t t i , O H 4 5 2 1 5                                                                                   Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.95 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,521.99
         Ca p s t o n e Pu b l i s h e r s                                                                             Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 7 7 6 8 6 6                                                                                               Co n t i n g e n t
         Ch i c a g o , I L 6 0 6 7 7 - 6 8 6 6                                                                               Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.96 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,058.16
         Ca r r e r a o f Am e r i c a                                                                                 Ch e c k a l l t h a t a p p l y.
         1 9 7 Rt e 1 8 S, St e 3 0 7 N                                                                                       Co n t i n g e n t
         E Br u n s w i c k , N J 0 8 8 1 6                                                                                   Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.97 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $6,678.80
         Ca s e m a t e                                                                                                Ch e c k a l l t h a t a p p l y.
         1 9 5 0 La w r e n c e Rd                                                                                            Co n t i n g e n t
         Ha v e r t o w n , PA 1 9 0 8 3                                                                                      Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

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3.98 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $16,269.00
         Ce a c o                                                                                                      Ch e c k a l l t h a t a p p l y.
         2 5 0 Ro y a l l St                                                                                                  Co n t i n g e n t
         Ca n t o n , M A 0 2 0 2 1                                                                                           Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.99 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $3,307.40
         C H Ro b i n s o n Wo r l d w i d e In c                                                                      Ch e c k a l l t h a t a p p l y.
         P. O. Bo x 9 1 2 1                                                                                                   Co n t i n g e n t
         Mi n n e a p o l i s , M N 5 5 4 8 0 - 9 1 2 1                                                                       Un l i q u i d a t e d
          Da t e o r d a t e s d e b t w a s i n c u r r e d                               Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
          La s t 4 d i g i t s o f a c c o u n t n u m b e r                        __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.100 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $7,562.96
           Ch a o s i u m In c                                                                                          Ch e c k a l l t h a t a p p l y.
           3 4 5 0 Wo o d d a l e Ct                                                                                           Co n t i n g e n t
           An n Ar b o r , M I 4 8 1 0 4                                                                                       Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                       Di s p u t e d
                                                                                                                        Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                         ✔ No .
                                                                                                                               Ye s .

3.101 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $53,456.99
           Ch e s s e x Ma n u f a c t u r i n g Co L L C                                                               Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 8 0 2 5 5                                                                                                Co n t i n g e n t
           Fo r t Wa y n e , I N 4 6 8 9 8 - 0 2 5 5                                                                           Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                       Di s p u t e d
                                                                                                                        Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                         ✔ No .
                                                                                                                               Ye s .

3.102 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $580.13
           Ch i c a g o Di s t r i b u t i o n Ce n t e r                                                               Ch e c k a l l t h a t a p p l y.
           1 1 0 3 0 S La n g l e y Av e                                                                                       Co n t i n g e n t
           Ch i c a g o , I L 6 0 6 2 8                                                                                        Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                       Di s p u t e d
                                                                                                                        Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                         ✔ No .
                                                                                                                               Ye s .

3.103 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $30,376.00
           Ci r c a n a , L L C                                                                                         Ch e c k a l l t h a t a p p l y.
           2 0 3 N La s a l l e St , St e 1 5 0 0                                                                              Co n t i n g e n t
           Ch i c a g o , I L 6 0 6 0 1                                                                                        Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                       Di s p u t e d
                                                                                                                        Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                         ✔ No .
                                                                                                                               Ye s .

3.104 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $75.00
           Ci t y o f Fo r t Wa y n e                                                                                   Ch e c k a l l t h a t a p p l y.
           Vi o l a t i o n s Bu r e a u                                                                                       Co n t i n g e n t
           Fo r t Wa y n e , I N 4 6 8 0 2                                                                                     Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                       Di s p u t e d
                                                                                                                        Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                         ✔ No .
                                                                                                                               Ye s .

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3.105 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $13,869.45
          Ci t y o f Ol i v e Br a n c h                                                                           Ch e c k a l l t h a t a p p l y.
          9 2 0 0 Pi g e o n Ro o s t Rd                                                                                  Co n t i n g e n t
          Ol i v e Br a n c h , M S 3 8 6 5 4                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.106 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,540.34
           Ci t y o f Vi s a l i a                                                                                  Ch e c k a l l t h a t a p p l y.
           Ut i l i t y Bi l l i n g                                                                                       Co n t i n g e n t
           Ci t y Of In d u s t r y, C A 9 1 7 1 6 - 8 2 6 8                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.107 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $95,355.50
          Cl a s s i c Im p o r t s , In c                                                                         Ch e c k a l l t h a t a p p l y.
          2 0 1 8 Gr e a t Tr a i l s Dr                                                                                  Co n t i n g e n t
          Wo o s t e r , O H 4 4 6 9 1                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.108 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $72,664.68
           C L E O Co m m u n i c a t i o n s U S                                                                  Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 7 3 5 6 9 0                                                                                         Co n t i n g e n t
           Ch i c a g o , I L 6 0 6 7 3                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.109 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $9,561.14
          Cl o v e r Pr e s s , L L C                                                                               Ch e c k a l l t h a t a p p l y.
          1 2 6 2 5 Hi g h Bl u f f Dr , St e 2 2 0                                                                        Co n t i n g e n t
          Sa n Di e g o , C A 9 2 1 3 0                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.110 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $199.00
          Co c k e y ' s En t e r p r i s e s In c                                                                  Ch e c k a l l t h a t a p p l y.
          3 3 0 0 Tr a n s w a y Rd                                                                                        Co n t i n g e n t
          Ba l t i m o r e , M D 2 1 2 2 7                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.111 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,483.57
          Co f f i n Co m i c s                                                                                     Ch e c k a l l t h a t a p p l y.
          4 0 W Br o w n Rd , St e 1 0 5                                                                                   Co n t i n g e n t
          Me s a , A Z 8 5 2 0 1                                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.112 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $15,000.00
          Co l l e c t i b l e Gr a d i n g Au t h o r i t y                                                       Ch e c k a l l t h a t a p p l y.
          aka CGA                                                                                                         Co n t i n g e n t
          1 9 6 5 Ev e r g r e e n Bl v d , Un i t 1 0 0                                                                  Un l i q u i d a t e d
          Du l u t h , G A 3 0 0 9 6                                                                                      Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.113 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,676.59
           Co l u m b i a Ga s                                                                                      Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 7 0 2 8 5                                                                                            Co n t i n g e n t
           Ph i l a d e l p h i a , PA 1 9 1 7 6 - 0 2 8 5                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.114 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $554.77
           Co m c a s t Co r p o r a t i o n                                                                        Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 7 0 2 1 9                                                                                            Co n t i n g e n t
           Ph i l a d e l p h i a , PA 1 9 1 7 6 - 0 2 1 9                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.115 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $10,401.03
          Co m i c s Ex p e r i e n c e                                                                            Ch e c k a l l t h a t a p p l y.
          d b a Ce x Pu b l i s h i n g                                                                                   Co n t i n g e n t
          7 1 2 Ho l l o w Tr a c e                                                                                       Un l i q u i d a t e d
          Sh e l b y v i l l e , K Y 4 0 0 6 5                                                                            Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.116 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,141.99
          Co m i c s b u r g h                                                                                      Ch e c k a l l t h a t a p p l y.
          At t n : Gr a n t La n k a r d                                                                                   Co n t i n g e n t
          1 0 4 0 Pe e r m o n t Av e                                                                                      Un l i q u i d a t e d
          Pi t t s b u r g h , PA 1 5 2 1 6                                                                                Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.117 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,077.84
          Co m i x Tr i b e                                                                                         Ch e c k a l l t h a t a p p l y.
          At t n : Ty l e r Ja m e s Vo g e l                                                                              Co n t i n g e n t
          3 6 Ol i v e St                                                                                                  Un l i q u i d a t e d
          Ne w b u r y p o r t , M A 0 1 9 5 0                                                                             Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.118 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,124.55
          Co m p a s s Ga m e s L L C                                                                               Ch e c k a l l t h a t a p p l y.
          3 4 6 6 Ma i n St                                                                                                Co n t i n g e n t
          Cr o m w e l l , C T 0 6 4 1 6                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.119 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $11,737.50
           Co m p o u n d Fu n In c                                                                                Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 8 8                                                                                                 Co n t i n g e n t
           Re d m o n d , WA 9 8 0 3 3                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.120 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,300.00
          Co m Se r v Wi r e l e s s                                                                                Ch e c k a l l t h a t a p p l y.
          1 2 4 6 Sy c a m o r e Vi e w Rd                                                                                 Co n t i n g e n t
          Me m p h i s , T N 3 8 1 3 4                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.121 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $78,522.00
           Co n t e n t i o n Ga m e s                                                                             Ch e c k a l l t h a t a p p l y.
           Pi a z z a Pe t r u c c i 8                                                                                    Co n t i n g e n t
           Ca m a i o r e , Tu s c a n y 5 5 0 4 1                                                                        Un l i q u i d a t e d
           It a l y                                                                                                       Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.122 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $17,941.40
           Co r v u s Be l l i S L L                                                                               Ch e c k a l l t h a t a p p l y.
           Po l o g o n o In d u s t r i a l Ca s t i n e i r a s , Na v e 1 9                                            Co n t i n g e n t
           Po n t e v e d r a , 3 6 9 3 9 B U E U                                                                         Un l i q u i d a t e d
           Sp a i n                                                                                                       Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.123 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,529.50
          Co s m i c Li o n Pr o d u c t i o n s                                                                    Ch e c k a l l t h a t a p p l y.
          At t n : El i Sc h w a b                                                                                         Co n t i n g e n t
          4 4 3 0 Du l c i n e a Ct                                                                                        Un l i q u i d a t e d
          Wo o d l a n d Hi l l s , C A 9 1 3 6 4                                                                          Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.124 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $12,878.62
          Cr e a t i v e Mi n d En e r g y L L C                                                                   Ch e c k a l l t h a t a p p l y.
          2 5 9 B W Fr o n t St                                                                                           Co n t i n g e n t
          Mi s s o u l a , M T 5 9 8 0 2                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.125 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $106.98
           Cr e e p y Cl a s s i c s                                                                                Ch e c k a l l t h a t a p p l y.
           At t n Ro n Ad a m s                                                                                            Co n t i n g e n t
           P. O. Bo x 2 3                                                                                                  Un l i q u i d a t e d
           Li g o n i e r , PA 1 5 6 5 8                                                                                   Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.126 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,520.21
          Cr i t i c a l En t e r t a i n m e n t L L C                                                             Ch e c k a l l t h a t a p p l y.
          3 3 0 Bu r c h e t t St , Un i t 1 0 4                                                                           Co n t i n g e n t
          Gl e n d a l e , C A 9 1 2 0 3                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.127 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $512.00
          Cr u s a d e Co m i c s                                                                                   Ch e c k a l l t h a t a p p l y.
          4 2 9 Mi d d l e Rd                                                                                              Co n t i n g e n t
          Ba y p o r t , N Y 1 1 7 0 5                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.128 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,549.91
          Cr y p t o z o i c En t e r t a i n m e n t , L L C                                                       Ch e c k a l l t h a t a p p l y.
          2 3 2 1 2 Mi l l Cr e e k Dr , St e 3 0 0                                                                        Co n t i n g e n t
          La g u n a Hi l l s , C A 9 2 6 5 3                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.129 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $34,839.72
          Cz e c h Ga m e s Ed i t i o n In c                                                                      Ch e c k a l l t h a t a p p l y.
          9 0 1 Wa t s o n Av e                                                                                           Co n t i n g e n t
          Ma d i s o n , W I 5 3 7 1 3                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.130 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,296.00
          Da i k a i j u En t e r p r i s e s                                                                       Ch e c k a l l t h a t a p p l y.
          5 3 0 Wi l l o w Cr e s c e n t                                                                                  Co n t i n g e n t
          St e i n b a c h , M B R5 G 0 K1                                                                                 Un l i q u i d a t e d
          Ca n a d a                                                                                                       Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.131 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,622.80
          Da n Ve r s s e n Ga m e s                                                                                Ch e c k a l l t h a t a p p l y.
          1 7 7 5 St a t e Hw y 2 6                                                                                        Co n t i n g e n t
          Gr a p e v i n e , T X 7 6 0 5 1                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.132 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $70,968.14
          Da r k Ho r s e Co m i c s , L L C                                                                       Ch e c k a l l t h a t a p p l y.
          1 0 9 5 6 S E Ma i n St                                                                                         Co n t i n g e n t
          Mi l w a u k i e , O R 9 7 2 2 2                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             ✔ Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

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                                                                                                                                                                                               Amount of claim
         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.133 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $416.00
          Da r r i n g t o n Pr e s s L L C                                                                         Ch e c k a l l t h a t a p p l y.
          2 0 2 5 N Li n c o l n St                                                                                        Co n t i n g e n t
          Bu r b a n k , C A 9 1 5 0 4                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.134 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $9,691.92
          Da v i d Ra y Ge r h a r d t                                                                              Ch e c k a l l t h a t a p p l y.
          1 7 2 Sm i t h St                                                                                                Co n t i n g e n t
          Br o o k l y n , N Y 1 1 2 0 1                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.135 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $8,574.80
           Da Vi n c i Ed i t r i c e S R L                                                                         Ch e c k a l l t h a t a p p l y.
           Vi a Sa n d r o Pe n n a 2 4                                                                                    Co n t i n g e n t
           Pe r u g i a                                                                                                    Un l i q u i d a t e d
           It a l y                                                                                                        Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.136 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $243.60
           Da y t o n Fr e i g h t Li n e s , In c                                                                  Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 3 4 0                                                                                                Co n t i n g e n t
           Va n d a l i a , O H 4 5 3 7 7                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.137 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $489.02
          De a d Sk y Pu b l i s h i n g , L L C                                                                    Ch e c k a l l t h a t a p p l y.
          At t n : St e v e Wa n d s                                                                                       Co n t i n g e n t
          6 4 1 1 Al l i s o n Rd                                                                                          Un l i q u i d a t e d
          Mi a m i , F L 3 3 1 4 1                                                                                         Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.138 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $45,745.00
          De m a t i c Co r p                                                                                      Ch e c k a l l t h a t a p p l y.
          6 8 4 1 2 5 Ne t w o r k Pl                                                                                     Co n t i n g e n t
          Ch i c a g o , I L 6 0 6 7 3 - 1 6 8 4                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.139 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $129,766.28
          De So t o Co u n t y Ta x Co l l e c t o r                                                               Ch e c k a l l t h a t a p p l y.
          At t n : Jo e y Tr e a d w a y                                                                                  Co n t i n g e n t
          3 6 5 Lo s h e r St , St e 1 1 0                                                                                Un l i q u i d a t e d
          He r n a n d o , M S 3 8 6 3 2                                                                                  Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.140 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $338.39
          De s p e r a d o Pu b l i s h i n g                                                                       Ch e c k a l l t h a t a p p l y.
          1 4 3 Ne c t a r Pl                                                                                              Co n t i n g e n t
          Da l l a s , G A 3 0 1 3 2                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.141 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $23,337.14
          De v i r Am e r i c a s                                                                                  Ch e c k a l l t h a t a p p l y.
          8 1 2 3 S Or a n g e Av e                                                                                       Co n t i n g e n t
          Or l a n d o , F L 3 2 8 0 9                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.142 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $10,892.40
          De x Pr o t e c t i o n L L C                                                                            Ch e c k a l l t h a t a p p l y.
          4 0 2 S Sa n Ga b r i e l Bl v d                                                                                Co n t i n g e n t
          Sa n Ga b r i e l , C A 9 1 7 7 6                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.143 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $2,080,237.46
          Di a m o n d Co m i c Di s t r i b u t o r s U K, Un l i m i t e d                                       Ch e c k a l l t h a t a p p l y.
          9 - 1 0 Ha y m a r k e t                                                                                        Co n t i n g e n t
          T C Gr o u p 6 t h Fl Ki n g s Ho u s e                                                                         Un l i q u i d a t e d
          Lo n d o n , S W1 Y 4 B P                                                                                       Di s p u t e d
          Un i t e d Ki n d o m                                                                                    Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                                      Lo a n
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __
                                                                                                                          No .
                                                                                                                    ✔ Ye s .

3.144 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $17,466.24
          Di a m o n d Co m i c Di s t r i b u t o r s , In c                                                      Ch e c k a l l t h a t a p p l y.
          1 0 1 5 0 Yo r k Rd , St e 3 0 0                                                                                Co n t i n g e n t
          Hu n t Va l l e y, M D 2 1 0 3 0                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             ✔ Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.145 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $3,929,327.71
          Di a m o n d Se l e c t To y s L L C                                                                     Ch e c k a l l t h a t a p p l y.
          1 0 1 5 0 Yo r k Rd , St e 2 5 0                                                                                Co n t i n g e n t
          Co c k e y s v i l l e , M D 2 1 0 3 0                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             ✔ Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                          No .
                                                                                                                    ✔ Ye s .

3.146 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $178.00
          Di e t z Fo u n d a t i o n Ga m e s                                                                      Ch e c k a l l t h a t a p p l y.
          3 1 1 N Su n r i s e St                                                                                          Co n t i n g e n t
          Si g e l , I L 6 2 4 6 2                                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.147 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,588.80
          Di f f e r e n c e En g i n e Pt e Lt d                                                                   Ch e c k a l l t h a t a p p l y.
          2 8 4 Ri v e r Va l l e y Rd , St e 0 1 - 0 1                                                                    Co n t i n g e n t
          Si n g a p o r e , 2 3 8 3 2 5                                                                                   Un l i q u i d a t e d
          Si n g a p o r e                                                                                                 Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.148 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,625.21
          Di g i t a l Ma n g a Pu b l i s h i n g , In c                                                           Ch e c k a l l t h a t a p p l y.
          1 4 4 7 W 1 7 8 t h St , St e 3 0 2                                                                              Co n t i n g e n t
          Ga r d e n a , C A 9 0 2 4 8                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.149 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $256,793.40
          Di r e Wo l f Di g i t a l L L C                                                                         Ch e c k a l l t h a t a p p l y.
          1 8 6 5 S Ma n o r Ln                                                                                           Co n t i n g e n t
          La k e w o o d , C O 8 0 2 3 2                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.150 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $9,276.24
           Di s b u r s t Lt d                                                                                      Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 1 4 1 4 5 3                                                                                          Co n t i n g e n t
           Co l u m b u s , O H 4 3 2 1 4 - 6 4 5 3                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.151 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $7,223.40
          Do c t o r Co l l e c t o r                                                                               Ch e c k a l l t h a t a p p l y.
          8 Te e s Cr e a t i v e Ag e n y S L                                                                             Co n t i n g e n t
          C/ Re i n a Do n a Ge r m a n a 2 4 ,                                                                            Un l i q u i d a t e d
          Va l e n c i a , 4 6 0 0 5                                                                                       Di s p u t e d
          Sp a i n                                                                                                  Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.152 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $507.96
          Dr a c o St u d i o s                                                                                     Ch e c k a l l t h a t a p p l y.
          8 4 8 Br i c k e l l Av e                                                                                        Co n t i n g e n t
          Mi a m i , F L 3 3 1 3 1                                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.153 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $9,103.32
          Dr a w n & Qu a r t e r l y Bo o k s In c                                                                 Ch e c k a l l t h a t a p p l y.
          7 0 3 0 Ru e St - De n i s                                                                                       Co n t i n g e n t
          Mo n t r e a l , Q C H2 S 2 S4                                                                                   Un l i q u i d a t e d
          Ca n a d a                                                                                                       Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.154 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,486.84
          Dr e n Pr o d u c t i o n s                                                                               Ch e c k a l l t h a t a p p l y.
          1 7 8 7 7 2 n d St                                                                                               Co n t i n g e n t
          Ta l l Ti m b e r s , M D 2 0 6 9 0                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.155 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $65,013.15
          D S T L R Y Me d i a                                                                                     Ch e c k a l l t h a t a p p l y.
          At t n : Ch i p Mo s h e r                                                                                      Co n t i n g e n t
          3 6 8 0 Wi l s h i r e Bl v d , St e P0 4 - 1 4 2 0                                                             Un l i q u i d a t e d
          Lo s An g e l e s , C A 9 0 0 1 0                                                                               Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.156 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $158,820.93
          Dy n a m i c Fo r c e s , In c                                                                           Ch e c k a l l t h a t a p p l y.
          1 1 3 Ga i t h e r Dr , St e 2 0 5                                                                              Co n t i n g e n t
          Mt La u r e l , N J 0 8 0 5 4                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             ✔ Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                          No .
                                                                                                                    ✔ Ye s .

3.157 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $24,549.00
          E Ge r b e r Pr o d u c t s , L L C                                                                      Ch e c k a l l t h a t a p p l y.
          1 7 2 0 Be l m o n t Av e , St e C                                                                              Co n t i n g e n t
          Ba l t i m o r e , M D 2 1 2 4 4                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.158 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,000.00
          El e c t r i c Mi l k Cr e a t i o n In c                                                                 Ch e c k a l l t h a t a p p l y.
          5 2 Ma g n o l i a Dr                                                                                            Co n t i n g e n t
          St r e a m w o o d , I L 6 0 1 0 7                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.159 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $20.51
          El e c t r o n i c Sy s t e m s In s t a l l e r s , In c                                                 Ch e c k a l l t h a t a p p l y.
          1 2 0 Ro s e Ct , St e A                                                                                         Co n t i n g e n t
          Yo r k , PA 1 7 4 0 6                                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.160 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $900.00
           El f Cr e e k Ga m e s                                                                                   Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 7 5 9 4                                                                                              Co n t i n g e n t
           Ch a m p a i g n , I L 6 1 8 2 6                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.161 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,800.00
          El i t e Pr o d u c t i o n H K Li m i t e d                                                              Ch e c k a l l t h a t a p p l y.
          Vi a Wi r e                                                                                                      Co n t i n g e n t
          Rm 1 9 0 5 , 1 9 / F, Ch e u n g Ta t Ce n t r e                                                                 Un l i q u i d a t e d
          1 8 Ch e u n g Le e St                                                                                           Di s p u t e d
          Ch a i Wa n                                                                                               Ba s i s o f c l a i m :
          Ho n g Ko n g                                                                                             Tr a d e
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __
                                                                                                                           Ye s .


3.162 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $284.40
          En t e r t a i n m e n t Ea r t h                                                                         Ch e c k a l l t h a t a p p l y.
          6 1 Mo r e l a n d Rd                                                                                            Co n t i n g e n t
          Si m i Va l l e y, C A 9 3 0 6 5                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.163 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $18,056.24
          e Po s t Gl o b a l L L C                                                                                Ch e c k a l l t h a t a p p l y.
          P. O. Bo x 9 9 6                                                                                                Co n t i n g e n t
          Be d f o r d Pa r k , I L 6 0 4 9 9 - 0 9 9 6                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.164 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $623.53
           Eq u i f a x In c                                                                                        Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 7 1 2 2 1                                                                                            Co n t i n g e n t
           Ch a r l o t t e , N C 2 8 2 7 2 - 1 2 2 1                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.165 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $9,102.88
          Er a s m u s Fo x                                                                                         Ch e c k a l l t h a t a p p l y.
          At t n : Pa n Un i v e r a l Ga l a c t i c Ww                                                                   Co n t i n g e n t
          3 2 8 8 Ad a m s Av e , St e 1 6 2 9 7                                                                           Un l i q u i d a t e d
          Sa n Di e g o , C A 9 2 1 1 6 - 9 9 9 8                                                                          Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.166 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,780.00
          E R B Bo o k s                                                                                            Ch e c k a l l t h a t a p p l y.
          1 6 2 6 Sk y v i e w Dr                                                                                          Co n t i n g e n t
          Ir v i n g , T X 7 5 0 6 0                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s              ✔ Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.167 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $256.79
           Es t e s Ex p r e s s Li n e s                                                                           Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 1 0 5 1 6 0                                                                                          Co n t i n g e n t
           At l a n t a , G A 3 0 3 4 8 - 5 1 6 0                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.168 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $751.21
          Eu r e k a Pr o d u c t i o n s                                                                           Ch e c k a l l t h a t a p p l y.
          At t n : To m Po m p l u n                                                                                       Co n t i n g e n t
          8 7 7 8 Oa k Gr o v e Rd                                                                                         Un l i q u i d a t e d
          Mo u n t Ho r e b , W I 5 3 5 7 2                                                                                Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.169 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $8,650.40
          Ev i l Ha t Pr o d u c t i o n s L L C                                                                    Ch e c k a l l t h a t a p p l y.
          c / o Fr e d Hi c k s                                                                                            Co n t i n g e n t
          1 0 1 2 5 Co l e s v i l l e Rd                                                                                  Un l i q u i d a t e d
          Si l v e r Sp r i n g , M D 2 0 9 0 1                                                                            Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.170 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,878.00
          Ex a l t e d Fu n e r a l Pr e s s                                                                        Ch e c k a l l t h a t a p p l y.
          6 0 2 4 N Se a c l i f f Av e                                                                                    Co n t i n g e n t
          Me r i d i a n , I D 8 3 6 4 6                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.171 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $283,884.15
          Ex p e d i t o r s In t e r n a t i o n a l                                                              Ch e c k a l l t h a t a p p l y.
          6 0 0 5 Fr e e p o r t Av e , St e 1 0 2                                                                        Co n t i n g e n t
          Me m p h i s , T N 3 8 1 4 1                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.172 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $60,438.00
          Ex p l o d i n g Ki t t e n s In c                                                                       Ch e c k a l l t h a t a p p l y.
          7 1 6 2 Be v e r l y Bl v d                                                                                     Co n t i n g e n t
          Lo s An g e l e s , C A 9 0 0 3 6                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.173 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $15,693.86
           Ex p r e s s Se r v i c e s In c                                                                        Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 5 3 5 4 3 4                                                                                         Co n t i n g e n t
           At l a n t a , G A 3 0 3 5 3 - 5 4 3 4                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.174 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $9,276.00
          Fa c t o r y En t e r t a i n m e n t                                                                     Ch e c k a l l t h a t a p p l y.
          2 3 5 5 Wh i t m a n Rd , St e A                                                                                 Co n t i n g e n t
          Cr o m w e l l , C A 9 4 5 1 8                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                                                                               Amount of claim
         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.175 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,538.28
          Fa i r Sq u a r e Gr a p h i c s L L C                                                                    Ch e c k a l l t h a t a p p l y.
          6 0 8 S Du n s m u i r Av e , Ap t 2 0 7                                                                         Co n t i n g e n t
          Lo s An g e l e s , C A 9 0 0 3 6                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.176 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,454.71
           Fa n a t t i k                                                                                           Ch e c k a l l t h a t a p p l y.
           Th e Si d i n g s , Un i t 2                                                                                    Co n t i n g e n t
           St a t i o n Rd , Go o s t r e y                                                                                Un l i q u i d a t e d
           Ch e s h i r e , C W4 8 P J                                                                                     Di s p u t e d
           Un i t e d Ki n d o m                                                                                    Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.177 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $42,170.77
          Fa n g o r i a Pu b l i s h i n g , L L C                                                                Ch e c k a l l t h a t a p p l y.
          2 5 6 6 Sh a l l o w f o r d Rd , St e 1 0 4 - 1 8 0                                                            Co n t i n g e n t
          At l a n t a , G A 3 0 3 4 5                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.178 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $21,305.60
          Fa n r o l l L L C                                                                                       Ch e c k a l l t h a t a p p l y.
          3 2 3 6 Il l i n o i s Rd                                                                                       Co n t i n g e n t
          Fo r t Wa y n e , I N 4 6 8 0 2                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.179 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $92,859.04
          Fa n t a g r a p h i c s Bo o k s , In c                                                                 Ch e c k a l l t h a t a p p l y.
          7 5 6 3 La k e Ci t y Wa y, N E                                                                                 Co n t i n g e n t
          Se a t t l e , WA 9 8 1 1 5                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             ✔ Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.180 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,227.50
           Fa n w r a p s In c                                                                                      Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 3 5                                                                                                Co n t i n g e n t
           Un i o n , M E 0 4 8 6 2                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.181 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $209,420.07
           Fe d Ex Co r p o r a t i o n                                                                            Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 3 7 1 4 6 1                                                                                         Co n t i n g e n t
           Pi t t s b u r g h , PA 1 5 2 5 0 - 7 4 6 1                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

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                                                                                                                                                                                               Amount of claim
         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.182 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $33,243.52
           Fe d e x Tr a d e Ne t w o r k                                                                          Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 9 1 6 2 0 0                                                                                         Co n t i n g e n t
           P. O. Bo x 4 0 9 0 , St n A                                                                                    Un l i q u i d a t e d
           To r o n t o , O N M5 W 0 E9                                                                             ✔ Di s p u t e d
           Ca n a d a                                                                                              Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     ✔ No .
                                                                                                                          Ye s .

3.183 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5.18
          Fi e r y St u d i o s In c                                                                                Ch e c k a l l t h a t a p p l y.
          2 0 9 W Du t t o n                                                                                               Co n t i n g e n t
          Ka l a m a z o o , M I 4 9 0 0 7                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.184 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $17,720.14
          F I G P I N Co l l e c t Aw e s o m e In c                                                               Ch e c k a l l t h a t a p p l y.
          1 4 Go o d y e a r St e 1 2 0                                                                                   Co n t i n g e n t
          Ir v i n e , C A 9 2 6 1 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.185 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,951.47
          Fi n e Co l l e c t i b l e s Co r p                                                                      Ch e c k a l l t h a t a p p l y.
          Ir o n St u d i o s                                                                                              Co n t i n g e n t
          1 2 2 1 S Ma i n St                                                                                              Un l i q u i d a t e d
          Lo s An g e l e s , C A 9 0 0 1 5 - 2 5 4 2                                                                      Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.186 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $49.00
           Fi n e l i n e Te c h n o l o g i e s In c                                                               Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 9 3 4 2 1 9                                                                                          Co n t i n g e n t
           At l a n t a , G A 3 1 1 9 3 - 4 2 1 9                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.187 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $375.86
          Fi r e l i n e Co r p o r a t i o n                                                                       Ch e c k a l l t h a t a p p l y.
          4 5 0 6 Ho l l i n s Fe r r y Rd                                                                                 Co n t i n g e n t
          Ba l t i m o r e , M D 2 1 2 2 7 - 4 6 7 1                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.188 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,433.30
          Fi r e l o c k Ga m e s                                                                                   Ch e c k a l l t h a t a p p l y.
          1 4 3 9 9 S W 1 4 3 Ct                                                                                           Co n t i n g e n t
          Mi a m i , F L 3 3 1 8 6                                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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                                                                                                                                                                                               Amount of claim
         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.189 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $118,470.83
          Fi r s t Fa c t o r y In c                                                                               Ch e c k a l l t h a t a p p l y.
          2 2 8 Pa r k Av e S, St e 8 8 6 4 3                                                                             Co n t i n g e n t
          Ne w Yo r k , N Y 1 0 0 0 3                                                                                     Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s             ✔ Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.190 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    Undetermined
          Fi r s t Fa c t o r y, In c .                                                                            Ch e c k a l l t h a t a p p l y.
          c / o Tw o m e y, La t h a m , Sh e a , Ke l l e y, Du b i n & Qu a r t a r a r o L L P                   ✔ Co n t i n g e n t
          3 3 W 2 n d St .                                                                                          ✔ Un l i q u i d a t e d
          P O Bo x 9 3 9 8                                                                                          ✔ Di s p u t e d
          Ri v e r h e a d , N Y 1 1 9 0 1                                                                         Ba s i s o f c l a i m :
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s            Pe n d i n g Li t i g a t i o n
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.191 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $528.54
           Fi s h e r - Pr i c e In c                                                                               Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 1 9 8 0 4 9                                                                                          Co n t i n g e n t
           At l a n t a , G A 3 0 3 8 4 - 8 0 4 9                                                                          Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.192 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $26,477.27
          Fl a t Ri v e r Gr o u p L L C                                                                           Ch e c k a l l t h a t a p p l y.
          3 0 6 Re e d St                                                                                                 Co n t i n g e n t
          Be l d i n g , M I 4 8 8 0 9                                                                                    Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.193 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $6,253.40
          Fl e s k Pu b l i c a t i o n s L L C                                                                     Ch e c k a l l t h a t a p p l y.
          At t n : Jo h n Fl e s k e s                                                                                     Co n t i n g e n t
          2 8 7 1 Mi s s i o n St                                                                                          Un l i q u i d a t e d
          Sa n t a Cr u z , C A 9 5 0 6 0                                                                                  Di s p u t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.194 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $125,647.71
           Fl e x - Pa c c In c                                                                                    Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 2 3 0 0 0                                                                                         Co n t i n g e n t
           In d i a n a p o l i s , I N 4 6 2 0 1                                                                         Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.195 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,704.19
          Fl o a t i n g Wo r l d Co m i c s                                                                        Ch e c k a l l t h a t a p p l y.
          1 2 2 3 Ll o y d Ct r                                                                                            Co n t i n g e n t
          Po r t l a n d , O R 9 7 2 3 2                                                                                   Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s              ✔ Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
                                                                                                                                                                                               Amount of claim
         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.196 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,676.95
          Fl y i n g Fr o g Pr o d u c t i o n s L L C                                                              Ch e c k a l l t h a t a p p l y.
          2 5 1 8 1 4 1 s t St S W                                                                                         Co n t i n g e n t
          Ly n n w o o d , WA 9 8 0 8 7                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.197 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,464.40
           Fo l d e d Sp a c e E O O D                                                                              Ch e c k a l l t h a t a p p l y.
           J K So f i a Pa r k Di s t r i c t                                                                              Co n t i n g e n t
           Ap 2 2 , 2 n d Fl , Bl o c k 5 4 St o l i c h n a                                                               Un l i q u i d a t e d
           So f i a , 1 7 6 6                                                                                              Di s p u t e d
           Bu l g a r i a                                                                                           Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.198 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $8,787.05
          Fo r k l i f t s Et c                                                                                     Ch e c k a l l t h a t a p p l y.
          3 6 8 4 Ch e r r y Rd                                                                                            Co n t i n g e n t
          Me m p h i s , T N 3 8 1 1 8                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.199 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $150.48
          Fr a n k Mi l l e r Pr e s e n t s L L C                                                                  Ch e c k a l l t h a t a p p l y.
          c/o NKSFB                                                                                                        Co n t i n g e n t
          4 0 0 Ga r d e n Ci t y Pl z , St e 5 1 0                                                                        Un l i q u i d a t e d
          Ga r d e n Ci t y, N Y 1 1 5 3 0                                                                                 Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.200 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $584.90
          Fr a s e r Di r e c t                                                                                     Ch e c k a l l t h a t a p p l y.
          8 3 0 0 La w s o n Rd                                                                                            Co n t i n g e n t
          Mi l t o n , O N L9 T 0 A4                                                                                       Un l i q u i d a t e d
          Ca n a d a                                                                                                       Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.201 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,113.57
          Fr e d Di s t r i b u t i o n                                                                             Ch e c k a l l t h a t a p p l y.
          1 6 7 6 1 W Br o o k h a v e n Ct                                                                                Co n t i n g e n t
          Su r p r i s e , A Z 8 5 3 8 7                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.202 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $148,747.00
          Fr i g h t - Ra g s , In c                                                                               Ch e c k a l l t h a t a p p l y.
          At t n : Be n Sc r i v e n s                                                                                    Co n t i n g e n t
          7 0 Ca s c a d e Dr                                                                                             Un l i q u i d a t e d
          Ro c h e s t e r , N Y 1 4 6 1 4                                                                                Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.203 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,484.25
           F T E Ho l d i n g Co m p a n y                                                                          Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 9 6                                                                                                  Co n t i n g e n t
           La f o x , I L 6 0 1 4 7                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.204 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $438,551.62
           Fu n k o L L C                                                                                          Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 7 7 8 7 6                                                                                         Co n t i n g e n t
           Da l l a s , T X 7 5 2 6 7 - 7 8 7 6                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.205 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,840.78
          Ga m e l y n Ga m e s                                                                                     Ch e c k a l l t h a t a p p l y.
          1 8 9 3 3 E Sa n Ta n Bl v d , St e 1 0 3                                                                        Co n t i n g e n t
          Qu e e n Cr e e k , A Z 8 5 1 4 2                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.206 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $16,206.47
          Ga m e s Wo r k s h o p Re t a i l In c                                                                  Ch e c k a l l t h a t a p p l y.
          6 2 1 1 E Ho l m e s Rd                                                                                         Co n t i n g e n t
          Me m p h i s , T N 3 8 1 4 1                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.207 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,224.01
          Ge m s t o n e Pu b l i s h i n g , In c                                                                  Ch e c k a l l t h a t a p p l y.
          1 0 7 2 0 Gi l r o y Rd , St e 3 0 0                                                                             Co n t i n g e n t
          Hu n t Va l l e y, M D 2 1 0 3 1                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.208 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,902.85
          Ge n Ma n g a En t e r t a i n m e n t , In c                                                             Ch e c k a l l t h a t a p p l y.
          2 5 0 Pa r k Av e , St e 7 0 0 2                                                                                 Co n t i n g e n t
          Ne w Yo r k , N Y 1 0 1 7 7                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.209 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $722.80
          Ge n i u s Ga m e s                                                                                       Ch e c k a l l t h a t a p p l y.
          2 0 7 9 Co n g r e s s i o n a l Dr                                                                              Co n t i n g e n t
          Sa i n t Lo u i s , M O 6 3 1 4 6                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.210 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $17,425.58
          G E O D I S U S A, In c                                                                                  Ch e c k a l l t h a t a p p l y.
          6 2 2 1 6 Co l l e c t i o n s Ce n t e r Dr                                                                    Co n t i n g e n t
          Ch i c a g o , I L 6 0 6 9 3                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.211 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,837.92
          Ge o r g i a Po w e r Co m p a n y                                                                        Ch e c k a l l t h a t a p p l y.
          1 4 5 3 Hw y 1 2 0                                                                                               Co n t i n g e n t
          La w r e n c e v i l l e , G A 3 0 0 4 3                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.212 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,513.40
          Gh o s t Ga l a x y In c                                                                                  Ch e c k a l l t h a t a p p l y.
          1 9 9 5 W Co u n t y Rd B2 , St e 2                                                                              Co n t i n g e n t
          Ro s e v i l l e , M N 5 5 1 1 3                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.213 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,199.80
          Gl a s s Ho u s e Gr a p h i c s                                                                          Ch e c k a l l t h a t a p p l y.
          1 0 6 0 Gl e n r a v e n Ln                                                                                      Co n t i n g e n t
          Cl e r m o n t , F L 3 4 7 1 1                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.214 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,294.08
          Gl o b a l Ga m e s Di s t r i b u t i o n                                                                Ch e c k a l l t h a t a p p l y.
          2 3 3 3 N E 4 7 t h Av e                                                                                         Co n t i n g e n t
          Po r t l a n d , O R 9 7 2 1 3 - 1 9 1 3                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.215 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,233.40
          Gl o b a l In d u s t r i a l                                                                             Ch e c k a l l t h a t a p p l y.
          2 9 8 3 3 Ne t w o r k Pl                                                                                        Co n t i n g e n t
          Ch i c a g o , I L 6 0 6 7 3 - 1 2 9 8                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.216 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $6,453.37
           G M T Ga m e s L L C                                                                                     Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 1 3 0 8                                                                                              Co n t i n g e n t
           Ha n f o r d , C A 9 3 2 3 0                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.217 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $69.39
          Go l d Ke y En t e r t a i n m e n t                                                                      Ch e c k a l l t h a t a p p l y.
          4 9 2 7 W La u r i e Ln                                                                                          Co n t i n g e n t
          Gl e n d a l e , A Z 8 5 3 0 2                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.218 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,665.88
           Go l i a t h Ga m e s                                                                                    Ch e c k a l l t h a t a p p l y.
           De p t 3 8 4 2                                                                                                  Co n t i n g e n t
           P. O. Bo x 1 2 3 8 4 2                                                                                          Un l i q u i d a t e d
           Da l l a s , T X 7 5 3 1 2 - 3 8 4 2                                                                            Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.219 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,987.07
           Go o d Sm i l e Co m p a n y                                                                             Ch e c k a l l t h a t a p p l y.
           Ak i b a Co Bl d g 7 F, 3 - 1 6 - 1 2                                                                           Co n t i n g e n t
           So t o k a n d a , Ch i y o d - Ku                                                                              Un l i q u i d a t e d
           To k y o , 1 0 1 - 0 0 2 1                                                                                      Di s p u t e d
           Ja p a n                                                                                                 Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.220 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $19.97
          Go o d Tr o u b l e Pr o d u c t i o n s L L C                                                            Ch e c k a l l t h a t a p p l y.
          4 8 - 1 1 3 9 t h Pl , St e 1                                                                                    Co n t i n g e n t
          Su n n y s i d e , N Y 1 1 1 0 4                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.221 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $131,762.90
          Go o d m a n Ga m e s L L C                                                                              Ch e c k a l l t h a t a p p l y.
          4 0 4 0 Ci v i c Ce n t e r Dr St e 2 0 0                                                                       Co n t i n g e n t
          Sa n Ra f a e l , C A 9 4 9 0 3                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.222 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $36.00
          Go o g l e L L C                                                                                          Ch e c k a l l t h a t a p p l y.
          2 4 3 5 Ol d Al a b a m a Rd                                                                                     Co n t i n g e n t
          Ro s w e l l , G A 3 0 0 7 6 - 2 4 1 5                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.223 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,429.25
          Gr a n d p a Jo e ' s                                                                                     Ch e c k a l l t h a t a p p l y.
          d b a Ch r i s Be e r s Ve n t u r e s , L L C                                                                   Co n t i n g e n t
          5 0 0 Gl a s s Rd                                                                                                Un l i q u i d a t e d
          Pi t t s b u r g h , PA 1 5 2 0 5                                                                                Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.224 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $15,523.86
          Gr a p h i c Mu n d i - P S U Pr e s s                                                                   Ch e c k a l l t h a t a p p l y.
          At t n : Ac c o u n t s Re c e i v a b l e                                                                      Co n t i n g e n t
          5 1 2 Pa t e r n o Li b r a r y                                                                                 Un l i q u i d a t e d
          Un i v e r s i t y Pa r k , PA 1 6 8 0 2                                                                        Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.225 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,821.33
          Gr a p h i t t i De s i g n s                                                                             Ch e c k a l l t h a t a p p l y.
          3 3 1 5 9 Ca m i n o Ca p i s t r a n o , St e G                                                                 Co n t i n g e n t
          Sa n Ju a n Ca p i s t , C A 9 2 6 7 5                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.226 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,624.80
          Gr e a t Ea s t e r n En t e r t a i n m e n t Co                                                         Ch e c k a l l t h a t a p p l y.
          6 1 0 W Ca r o b St                                                                                              Co n t i n g e n t
          Co m p t o n , C A 9 0 2 2 0                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.227 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $8,342.19
          Gr e e n Ro n i n Pu b l i s h i n g , L L C                                                              Ch e c k a l l t h a t a p p l y.
          6 7 3 1 2 9 t h Av e S                                                                                           Co n t i n g e n t
          Se a t t l e , WA 9 8 1 0 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.228 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $421.44
          Gr e e n l i g h t To y s                                                                                 Ch e c k a l l t h a t a p p l y.
          5 9 0 1 La k e s i d e Bl v d                                                                                    Co n t i n g e n t
          In d i a n a p o l i s , I N 4 6 2 7 8                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.229 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,429.75
          Gr i m o i r e Ga m e s                                                                                   Ch e c k a l l t h a t a p p l y.
          1 1 0 Un o Dr                                                                                                    Co n t i n g e n t
          To r o n t o , O N M8 Z 3 P3                                                                                     Un l i q u i d a t e d
          Ca n a d a                                                                                                       Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.230 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $129.24
          G T La b s                                                                                                Ch e c k a l l t h a t a p p l y.
          8 1 6 Hu t c h i n s Av e                                                                                        Co n t i n g e n t
          An n Ar b o r , M I 4 8 1 0 3                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.231 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,102.88
          Gu a n g d o n g Pi n q i Cu l t u r e                                                                    Ch e c k a l l t h a t a p p l y.
          2 8 Wi l d Ro s e Pl                                                                                             Co n t i n g e n t
          Al i s o Vi e j o , C A 9 2 6 5 6                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.232 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,961.35
          Gu n g n i r En t e r t a i n m e n t                                                                     Ch e c k a l l t h a t a p p l y.
          9 2 3 Eu c l i d St Ap t 3 0 1                                                                                   Co n t i n g e n t
          Sa n t a Mo n i c a , C A 9 0 4 0 3                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s              ✔ Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.233 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $735.75
          Ha b e r m a a s s Co r p In c                                                                            Ch e c k a l l t h a t a p p l y.
          Ha b a U S A                                                                                                     Co n t i n g e n t
          4 4 0 7 Jo r d a n Rd                                                                                            Un l i q u i d a t e d
          Sk a n e a t e l e s , N Y 1 3 1 5 2                                                                             Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.234 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $738.00
          Ha p p y Ca m p e r L L C                                                                                 Ch e c k a l l t h a t a p p l y.
          1 6 0 Al e w i f e Br o o k                                                                                      Co n t i n g e n t
          Ca m b r i d g e , M A 0 2 1 3 8                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.235 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $19,059.98
           Ha r p e r Co l l i n s Pu b l i s h e r s L L C                                                        Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 2 1 0 9 1                                                                                           Co n t i n g e n t
           Ne w Yo r k , N Y 1 0 0 8 7 - 1 0 9 1                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.236 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $1,164,365.40
           Ha s b r o To y Gr o u p                                                                                Ch e c k a l l t h a t a p p l y.
           VC 160119                                                                                                      Co n t i n g e n t
           P. O. Bo x 2 8 1 4 8 0                                                                                         Un l i q u i d a t e d
           At l a n t a , G A 3 0 3 8 4 - 1 4 8 0                                                                         Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.237 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,801.83
          Ha s s e t t Ex p r e s s , L L C                                                                         Ch e c k a l l t h a t a p p l y.
          1 7 W7 7 5 Bu t t e r f i e l d Rd , St e 1 0 9                                                                  Co n t i n g e n t
          Oa k b r o o k Te r r , I L 6 0 1 8 1                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.238 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $363.37
          He a v y Me t a l En t e r t a i n m e n t                                                                Ch e c k a l l t h a t a p p l y.
          8 5 A Br o o k Av e                                                                                              Co n t i n g e n t
          De e r Pa r k , N Y 1 1 7 2 9                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.239 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $23,306.00
          He a v y Pl a y L L C                                                                                    Ch e c k a l l t h a t a p p l y.
          3 0 6 0 At w a t e r Dr                                                                                         Co n t i n g e n t
          Bu r l i n g a m e , C A 9 4 0 1 0                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.240 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $29.67
          He r m e s Pr e s s                                                                                       Ch e c k a l l t h a t a p p l y.
          2 1 0 0 Wi l m i n g t o n Rd                                                                                    Co n t i n g e n t
          Ne w Ca s t l e , PA 1 6 1 0 5                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s              ✔ Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.241 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $6,260.80
          He t t e Bo a r d g a m e s U S A                                                                         Ch e c k a l l t h a t a p p l y.
          Ha c h e t t e Bo a r d g a m e s U S A                                                                          Co n t i n g e n t
          2 3 6 3 Ja m e s St , St e 5 3 7                                                                                 Un l i q u i d a t e d
          Sy r a c u s e , N Y 1 3 2 0 6 - 2 8 4 0                                                                         Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.242 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,825.08
          Hi t Po i n t Pr e s s                                                                                    Ch e c k a l l t h a t a p p l y.
          1 1 7 5 Br o o k f i e l d Rd E                                                                                  Co n t i n g e n t
          Ot t a w a , O N K1 V 0 C3                                                                                       Un l i q u i d a t e d
          Ca n a d a                                                                                                       Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.243 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $7,683.84
           Ho r n b y Am e r i c a In c                                                                             Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 9 9 6 7 0                                                                                            Co n t i n g e n t
           La k e w o o d , WA 9 8 4 9 6                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.244 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $15,645.42
           Ho r r o r Ho u n d Lt d                                                                                Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 7 1 0                                                                                               Co n t i n g e n t
           Mi l f o r d , O H 4 5 1 5 0                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

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3.245 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $7,909.48
          Hu m a n o i d s In c                                                                                     Ch e c k a l l t h a t a p p l y.
          6 4 6 4 Su n s e t Bl v d , St e 1 1 8 0                                                                         Co n t i n g e n t
          Lo s An g e l e s , C A 9 0 0 2 8                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.246 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $6,245.34
          Hu s h Hu s h Pr o j e c t s U S A                                                                        Ch e c k a l l t h a t a p p l y.
          1 6 Gu l p h Mi l l Rd                                                                                           Co n t i n g e n t
          So m e r s Po i n t , N J 0 8 2 4 4                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.247 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $25,666.87
          Im a g e Co m i c s , In c                                                                               Ch e c k a l l t h a t a p p l y.
          At t n : Ac c o u n t i n g                                                                                     Co n t i n g e n t
          2 7 0 1 N W Va u g h St , St e 7 8 0                                                                            Un l i q u i d a t e d
          Po r t l a n d , O R 9 7 2 1 0                                                                            ✔ Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.248 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $7,288.60
          In c r e d i b l e Dr e a m St u d i o s In c                                                             Ch e c k a l l t h a t a p p l y.
          2 2 6 1 Ma r k e t St , St e 4 4 7 5                                                                             Co n t i n g e n t
          Sa n Fr a n c i s c o , C A 9 4 1 1 4                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.249 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $799.84
           In d e p e n d e n t Pu b l i s h e r s Gr o u p                                                         Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 2 1 5 4 , Ac h                                                                                       Co n t i n g e n t
           Be d f o r d Pa r k , I L 6 0 4 9 9 - 2 1 5 4                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.250 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $676.00
          In f i n i t e Wo r l d s L L C                                                                           Ch e c k a l l t h a t a p p l y.
          1 5 6 5 Ca l i f o r n i a St Ap t 4 0 7                                                                         Co n t i n g e n t
          De n v e r , C O 8 0 2 0 2                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.251 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $137,294.89
           In g r a m                                                                                              Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 2 7 7 6 1 6                                                                                         Co n t i n g e n t
           At l a n t a , G A 3 0 3 8 4 - 7 6 1 6                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

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3.252 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $23,697.41
           In s i g h t Di r e c t U S A, In c                                                                     Ch e c k a l l t h a t a p p l y.
           P O Bo x 7 3 1 0 6 9                                                                                           Co n t i n g e n t
           Da l l a s , T X 7 5 3 7 3 - 1 0 6 9                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.253 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $81,944.35
          In t e g r a t e d Co n n e c t i o n L L C                                                              Ch e c k a l l t h a t a p p l y.
          3 0 6 6 t h Av e S E                                                                                            Co n t i n g e n t
          Ce d a r Ra p i d s , I A 5 2 4 0 1                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.254 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $44,246.00
           In t e r n a t i o n a l Pa p e r                                                                       Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 4 4 0 9 5                                                                                         Co n t i n g e n t
           Pi t t s b u r g h , PA 1 5 2 6 4 - 4 0 9 5                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.255 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,718.64
          In v a d e r Co m i c s                                                                                   Ch e c k a l l t h a t a p p l y.
          3 2 1 2 St o r e r Av e                                                                                          Co n t i n g e n t
          Oa k l a n d , C A 9 4 6 1 9                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.256 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $82,984.42
          Ja d a To y s In c                                                                                       Ch e c k a l l t h a t a p p l y.
          1 8 5 2 1 Ra i l r o a d St                                                                                     Co n t i n g e n t
          Ci t y Of In d u s t r y, C A 9 1 7 4 8                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.257 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $47,344.88
           J A K K S Pa c i f i c In c                                                                             Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 7 7 2 7 0 4                                                                                         Co n t i n g e n t
           De t r o i t , M I 4 8 2 7 7 - 2 7 0 4                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.258 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $10,102.62
          Ja n n e y Mo n t g o m e r y Sc o t t L L C                                                             Ch e c k a l l t h a t a p p l y.
          In v e s t m e n t Ba n k i n g                                                                                 Co n t i n g e n t
          1 7 1 7 Ar c h St , 1 9 t h Fl                                                                                  Un l i q u i d a t e d
          Ph i l a d e l p h i a , PA 1 9 1 0 3                                                                           Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

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3.259 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $14,449.57
          Ja s c o Ga m e s L L C                                                                                  Ch e c k a l l t h a t a p p l y.
          5 0 7 5 Ca m e r o n St                                                                                         Co n t i n g e n t
          La s Ve g a s , N V 8 9 1 1 8                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.260 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $340.26
           J J Ke l l e r & As s o c i a t e s , In c                                                               Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 6 0 9                                                                                              Co n t i n g e n t
           Ca r o l St r e a m , I L 6 0 1 9 7 - 6 6 0 9                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.261 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $8,603.98
          Jo e Bo o k s In c                                                                                        Ch e c k a l l t h a t a p p l y.
          At t n : Ac c o u n t i n g De p t                                                                               Co n t i n g e n t
          5 6 7 Qu e e n St W                                                                                              Un l i q u i d a t e d
          To r o n t o , O N M3 V 2 B6                                                                                     Di s p u t e d
          Ca n a d a                                                                                                Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      ✔ No .
                                                                                                                           Ye s .

3.262 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $254.70
          Jo k i n g Ha z a r d , L L C                                                                             Ch e c k a l l t h a t a p p l y.
          1 5 5 3 0 Sp r i n g Cr e e k Pl                                                                                 Co n t i n g e n t
          Da l l a s , T X 7 5 2 4 8                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.263 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $45,287.70
           J P Mo r g a n Ch a s e Ba n k , N A                                                                    Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 9 1 6 5                                                                                           Co n t i n g e n t
           Ba l t i m o r e , M D 2 1 2 6 4 - 9 1 6 5                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.264 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,986.76
           Ka e s e r Co m p r e s s o r s , In c                                                                   Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 9 4 6                                                                                                Co n t i n g e n t
           Fr e d e r i c k s b u r g , VA 2 2 4 0 4                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.265 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $317.90
          Ka y d e n Ph o e n i x                                                                                   Ch e c k a l l t h a t a p p l y.
          Ph o e n i x St u d i o s                                                                                        Co n t i n g e n t
          5 2 1 S So t o St                                                                                                Un l i q u i d a t e d
          Lo s An g e l e s , C A 9 0 0 3 3                                                                                Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.266 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $0.00
          Ka y l a N Gi b s o n                                                                                        Ch e c k a l l t h a t a p p l y.
          1 8 8 6 Ya k o n a Rd                                                                                         ✔ Co n t i n g e n t
          Pa r k v i l l e , M D 2 1 2 3 4                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e               Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Ac c r u e d / Un u s e d P T O
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.267 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $56,088.31
          Ke e n s p o t En t e r t a i n m e n t                                                                      Ch e c k a l l t h a t a p p l y.
          1 6 5 6 5 Ch o c o Rd                                                                                               Co n t i n g e n t
          Ap p l e Va l l e y, C A 9 2 3 0 7                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.268 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $8,391.55
          Ke n z e r & Co m p a n y                                                                                    Ch e c k a l l t h a t a p p l y.
          2 5 6 6 7 Hi l l v i e w Ct                                                                                         Co n t i n g e n t
          Hi g h w o o d , I L 6 0 0 6 0                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                 ✔ Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.269 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $20,604.70
          Ke y m a s t e r Ga m e s L L C                                                                              Ch e c k a l l t h a t a p p l y.
          At t n : Br e n n a n C Sw a i n                                                                                    Co n t i n g e n t
          1 9 0 0 Av e Of Th e St a r s                                                                                       Un l i q u i d a t e d
          Lo s An g e l e s , C A 9 0 0 6 7                                                                                   Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.270 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $17,916.70
          Ki e r e n Co n s u l t i n g                                                                                Ch e c k a l l t h a t a p p l y.
          4 1 5 0 No r m a Av e                                                                                               Co n t i n g e n t
          Sa i n t Pa u l , M N 5 5 1 1 2                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.271 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $7,303.76
          Ki n g s t o n e Me d i a Gr o u p In c                                                                      Ch e c k a l l t h a t a p p l y.
          1 3 3 0 Ci t i z e n s Bl v d , St e 7 0 1                                                                          Co n t i n g e n t
          Le e s b u r g , F L 3 4 7 4 8                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.272 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $6,594.60
          KMC USA LLC                                                                                                  Ch e c k a l l t h a t a p p l y.
          1 0 8 N Ma c a r t h u r Bl v d                                                                                     Co n t i n g e n t
          Ir v i n g , T X 7 5 0 6 1                                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.273 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $27,542.00
          Kn u c k l e Bo n z , In c                                                                               Ch e c k a l l t h a t a p p l y.
          6 1 6 Pe r s i m m o n Rd                                                                                       Co n t i n g e n t
          Wa l n u t Cr e e k , C A 9 4 5 9 8                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.274 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $21,306.80
           Ko b o l d Pr e s s                                                                                     Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 2 8 1 1                                                                                             Co n t i n g e n t
           Ki r k l a n d , WA 9 8 0 8 3                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.275 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $26,399.82
          Ko n a m i Di g i t a l En t e r t a i n m e n t In c                                                    Ch e c k a l l t h a t a p p l y.
          1 Ko n a m i Wa y                                                                                               Co n t i n g e n t
          Ha w t h o r n e , C A 9 0 2 5 0 - 1 1 4 4                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.276 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,382.37
          Ko t o b u k i y a Co , Lt d                                                                              Ch e c k a l l t h a t a p p l y.
          4 - 5 Mi d o r i - Ch o s h i                                                                                    Co n t i n g e n t
          Ta c h i k a w a - Sh i                                                                                          Un l i q u i d a t e d
          To k y o , 1 9 0 - 8 5 4 2                                                                                       Di s p u t e d
          Ja p a n                                                                                                  Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.277 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $682.85
          La g u n a St u d i o s , L L C                                                                           Ch e c k a l l t h a t a p p l y.
          9 1 7 8 Ri d g e Pa t h                                                                                          Co n t i n g e n t
          Sa n An t o n i o , T X 7 8 2 5 0                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.278 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,827.40
          La s t Ga s p                                                                                             Ch e c k a l l t h a t a p p l y.
          7 7 7 Fl o r i d a St                                                                                            Co n t i n g e n t
          Sa n Fr a n c i s c o , C A 9 4 1 1 0                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.279 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $611.94
          Le f t Ju s t i f i e d L L C                                                                             Ch e c k a l l t h a t a p p l y.
          1 1 6 0 Co u n t y Rd C2 W                                                                                       Co n t i n g e n t
          Ro s e v i l l e , M N 5 5 1 1 3                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.280 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $57.00
          Le s Ed i t i o n s Pi x ' n Lo v e                                                                       Ch e c k a l l t h a t a p p l y.
          At t n : Je a n - Ma r c De m o l y                                                                              Co n t i n g e n t
          8 Ru e Du Ta u r                                                                                                 Un l i q u i d a t e d
          To u l o u s e , 3 1 0 0 0                                                                                       Di s p u t e d
          Fr a n c e                                                                                                Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      ✔ No .
                                                                                                                           Ye s .

3.281 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $10,200.00
           Li b r a r y Jo u r n a l L L C                                                                         Ch e c k a l l t h a t a p p l y.
           At t n : Ac c o u n t i n g                                                                                    Co n t i n g e n t
           P. O. Bo x 8 3 9 1                                                                                             Un l i q u i d a t e d
           Ca r o l St r e a m , I L 6 0 1 9 7 - 8 3 9 1                                                                  Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.282 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5.99
          Li o n Fo r g e Co m i c s                                                                                Ch e c k a l l t h a t a p p l y.
          2 2 7 N Li n d b e r g h Bl v d                                                                                  Co n t i n g e n t
          St Lo u i s , M O 6 3 1 4 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.283 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $815,342.00
          Li t t l e Bu d d y L L C                                                                                Ch e c k a l l t h a t a p p l y.
          7 4 2 2 Or a n g e w o o d Av e                                                                                 Co n t i n g e n t
          Ga r d e n Gr o v e , C A 9 2 8 4 1                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.284 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,556.45
          Li t t l e Sh o p o f Ho r r o r s                                                                        Ch e c k a l l t h a t a p p l y.
          3 2 1 3 4 8 t h Pl                                                                                               Co n t i n g e n t
          De s Mo i n e s , I A 5 0 3 1 0 - 2 6 0 6                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.285 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,364.43
          Li t t l e Sh o p o f Pi n s , L L C                                                                      Ch e c k a l l t h a t a p p l y.
          4 2 2 0 N E Si m p s o n Ct                                                                                      Co n t i n g e n t
          Po r t l a n d , O R 9 7 2 1 8                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.286 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,432.38
          Li v i n g Th e Li n e                                                                                    Ch e c k a l l t h a t a p p l y.
          1 4 7 7 As h l a n d Av e                                                                                        Co n t i n g e n t
          St a i n t Pa u l , M N 5 5 1 0 4                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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                                                                                                                                                                                               Amount of claim
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3.287 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $8,449.54
          Ll e w e l l y n Wo r l d w i d e Lt d                                                                    Ch e c k a l l t h a t a p p l y.
          2 1 4 3 Wo o d d a l e Dr                                                                                        Co n t i n g e n t
          Wo o d b u r y, M N 5 5 1 2 5                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.288 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $625.00
          Lo c u s Pu b l i c a t i o n s , In c                                                                    Ch e c k a l l t h a t a p p l y.
          6 5 5 1 3 t h St , St e 1 0 0                                                                                    Co n t i n g e n t
          Oa k l a n d , C A 9 4 6 1 2                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.289 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $9,104.40
           Lo o n e y La b s                                                                                        Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 2 0                                                                                                  Co n t i n g e n t
           Wi l l i s t o n , V T 0 5 4 9 5                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.290 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $422,303.42
          Lo r e n Co l e m a n                                                                                    Ch e c k a l l t h a t a p p l y.
          5 0 0 3 Ma i n St , St e 1 1 0                                                                                  Co n t i n g e n t
          Ta c o m a , WA 9 8 4 0 2                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.291 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,064.87
          L S G Ho b b y In c                                                                                       Ch e c k a l l t h a t a p p l y.
          5 9 5 5 De s o t o Av e , St e 1 0 0                                                                             Co n t i n g e n t
          Wo o d l a n d Hi l l s , C A 9 1 3 6 7                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.292 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $44,077.57
           Lu c k y Du c k Ga m e s                                                                                Ch e c k a l l t h a t a p p l y.
           Pl a c No w y 3 / 4 4                                                                                          Co n t i n g e n t
           Kr a k o w, 3 1 - 0 5 7                                                                                        Un l i q u i d a t e d
           Po l a n d                                                                                                     Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.293 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $645.16
          Lu l u Is A Rh i n o c e r o s L L C                                                                      Ch e c k a l l t h a t a p p l y.
          1 7 5 5 Br o a d w a y, 8 t h Fl                                                                                 Co n t i n g e n t
          Ne w Yo r k , N Y 1 0 0 1 9                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.294 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,649.06
          Lu m i n a r e He a l t h Be n e f i t s                                                                  Ch e c k a l l t h a t a p p l y.
          6 2 7 0 7 Co l l e c t i o n Ce n t e r Dr                                                                       Co n t i n g e n t
          Ch i c a g o , I L 6 0 6 9 3 - 0 6 2 7                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.295 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $545,560.61
          Lu n a r Di s t r i b u t i o n                                                                          Ch e c k a l l t h a t a p p l y.
          1 0 7 0 1 Ro s e Av e                                                                                           Co n t i n g e n t
          Ne w Ha v e n , I N 4 6 7 7 4                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             ✔ Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.296 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $61,968.12
          Ma d Ca v e St u d i o s In c                                                                            Ch e c k a l l t h a t a p p l y.
          8 8 3 8 S W 1 2 9 t h St                                                                                        Co n t i n g e n t
          Mi a m i , F L 3 3 1 7 6                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.297 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $9,501.84
          Ma e r s k E- Co m m e r c e Lo g i s t i c s                                                             Ch e c k a l l t h a t a p p l y.
          5 1 6 0 Wi l e y Po s t Wa y                                                                                     Co n t i n g e n t
          Sa l t La k e Ci t y, U T 8 4 1 1 6                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.298 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $6,780.51
          Ma g m a Co m i x                                                                                         Ch e c k a l l t h a t a p p l y.
          3 1 3 0 Wh i t t i e r St                                                                                        Co n t i n g e n t
          Sa n Di e g o , C A 9 2 1 0 6                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s              ✔ Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.299 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $51,067.53
          Ma g n e t i c Pr e s s L L C                                                                            Ch e c k a l l t h a t a p p l y.
          2 2 7 N Li n d b e r g h Bl v d                                                                                 Co n t i n g e n t
          St Lo u i s , M O 6 3 1 4 1 - 7 8 0 9                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.300 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $52,835.48
          Ma n g a Cl a s s i c s , In c                                                                           Ch e c k a l l t h a t a p p l y.
          5 1 Ri d g e s t o n e Dr                                                                                       Co n t i n g e n t
          Ri c h m o n d Hi l l , O N L4 S 0 E3                                                                           Un l i q u i d a t e d
          Ca n a d a                                                                                                      Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

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                                                                                                                                                                                               Amount of claim
         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.301 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,449.19
          Ma n t i c En t e r t a i n m e n t Lt d                                                                  Ch e c k a l l t h a t a p p l y.
          Cu m b e r l a n d Ho u s e                                                                                      Co n t i n g e n t
          1 9 3 He m p s h i l l Ln                                                                                        Un l i q u i d a t e d
          No t t i n g h a m , N G1 6 E E                                                                                  Di s p u t e d
          Un i t e d Ki n d o m                                                                                     Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      ✔ No .
                                                                                                                           Ye s .

3.302 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $8,049.52
           Ma n u s c r i p t Pr e s s                                                                              Ch e c k a l l t h a t a p p l y.
           At t n : Ri c k No r w o o d                                                                                    Co n t i n g e n t
           P. O. Bo x 3 3 6                                                                                                Un l i q u i d a t e d
           Mo u n t a i n Ho m e , T N 3 7 6 8 4                                                                           Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.303 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $23,491.04
          Ma r q u i s Bo o k Pr i n t i n g In c                                                                  Ch e c k a l l t h a t a p p l y.
          3 5 0 De s En t r e p r e n e u r s St                                                                          Co n t i n g e n t
          Mo n t m a g n y, Q C G5 V 4 T1                                                                                 Un l i q u i d a t e d
          Ca n a d a                                                                                                      Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.304 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,785.60
          Ma r r s Me d i a , In c                                                                                  Ch e c k a l l t h a t a p p l y.
          1 7 Wi l l i n g d o n Bl v d                                                                                    Co n t i n g e n t
          Et o b i c o k e , O N M8 X 2 H1                                                                                 Un l i q u i d a t e d
          Ca n a d a                                                                                                       Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.305 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $40,700.69
          Ma s s i v e Pu b l i s h i n g L L C                                                                    Ch e c k a l l t h a t a p p l y.
          At t n : Mi c h a e l Ca l e r o                                                                                Co n t i n g e n t
          3 4 0 4 Le a t h a Wa y                                                                                         Un l i q u i d a t e d
          Sa c r a m e n t o , C A 9 5 8 2 1                                                                        ✔ Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.306 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,740.94
          Ma s t e r St a f f i n g                                                                                 Ch e c k a l l t h a t a p p l y.
          1 8 0 0 E Ma r k e t St                                                                                          Co n t i n g e n t
          Yo r k , PA 1 7 4 0 2                                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.307 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $16.00
          Ma s t e r p i e c e s In c                                                                               Ch e c k a l l t h a t a p p l y.
          3 9 3 1 3 Tr e a s u r e Ct r                                                                                    Co n t i n g e n t
          Ch i c a g o , I L 6 0 6 0 2                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.308 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $125,235.11
          Ma t t e l In c                                                                                          Ch e c k a l l t h a t a p p l y.
          Re f e r e n c e : 9 7 5 2 2 9 - 6 8 6 4                                                                        Co n t i n g e n t
          3 3 3 Co n t i n e n t a l Bl v d                                                                               Un l i q u i d a t e d
          At l a n t a , G A 9 0 2 4 5                                                                                    Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.309 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,577.26
          Ma y d a y Ga m e s In c                                                                                  Ch e c k a l l t h a t a p p l y.
          380 W 700 S                                                                                                      Co n t i n g e n t
          Sp r i n g v i l l e , U T 8 4 6 6 5                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.310 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $11,830.94
          M D H F2 Ba l Be l t w a y No r t h , L L C                                                              Ch e c k a l l t h a t a p p l y.
          3 7 1 5 No r t h s i d e Pk w y N W, St e 4 - 2 4 0                                                             Co n t i n g e n t
          At l a n t a , G A 3 0 3 2 7                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.311 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $163.20
          Me d i c o m To y Co r p o r a t i o n                                                                    Ch e c k a l l t h a t a p p l y.
          3-22-5                                                                                                           Co n t i n g e n t
          Ue h a r a Sh i b u y a - Ku                                                                                     Un l i q u i d a t e d
          To k y o , 1 5 1 - 0 0 6 4                                                                                       Di s p u t e d
          Ja p a n                                                                                                  Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.312 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $17,205.84
          Me g a Ho u s e Co r p o r a t i o n                                                                     Ch e c k a l l t h a t a p p l y.
          Ba n d a i 2 n d Bu i l d i n g                                                                                 Co n t i n g e n t
          2 - 5 - 4 Ko m a g a t a , Ta i t o - Ku                                                                        Un l i q u i d a t e d
          To k y o , 1 1 1 - 0 0 4 3                                                                                      Di s p u t e d
          Ja p a n                                                                                                 Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     ✔ No .
                                                                                                                          Ye s .

3.313 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $21,203.96
          Me r c u r y Co m i c s                                                                                  Ch e c k a l l t h a t a p p l y.
          3 3 5 N Oh i o Av e                                                                                             Co n t i n g e n t
          Fr e m o n t , O H 4 3 4 2 0                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.314 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,708.00
          Me t a l We a v e Ga m e s                                                                                Ch e c k a l l t h a t a p p l y.
          2 3 5 6 4 Oa k Va l l e y Rd                                                                                     Co n t i n g e n t
          Cu p e r t i n o , C A 9 5 0 1 4                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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                                                                                                                                                                                               Amount of claim
         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.315 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,906.24
           Me t r o p o l i t a n Ed i s o n Co m p a n y                                                           Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 3 6 8 7                                                                                              Co n t i n g e n t
           Ak r o n , O H 4 4 3 0 9 - 3 6 8 7                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.316 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $99.99
          Mi c r o s o f t Co r p o r a t i o n                                                                     Ch e c k a l l t h a t a p p l y.
          c/o BAO                                                                                                          Co n t i n g e n t
          Lo c k b o x 8 4 2 4 6 7                                                                                         Un l i q u i d a t e d
          1 9 5 0 N St e m m o n s Fw y, St e 5 0 1 0                                                                      Di s p u t e d
          Da l l a s , T X 7 5 2 0 7                                                                                Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.317 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $72,839.25
           Mi d So u t h Tr a n s p o r t , In c                                                                   Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 1 6 0 1 3                                                                                           Co n t i n g e n t
           Me m p h i s , T N 3 8 1 8 6 - 0 0 1 3                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.318 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,728.50
          Mi d s o u t h Fo r k l i f t a n d Ba t t e r y                                                          Ch e c k a l l t h a t a p p l y.
          1 2 2 8 Ma l o n e Rd                                                                                            Co n t i n g e n t
          Ne s b i t , M S 3 8 6 5 1                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.319 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,438.00
          Mi g h t y Ja x x In t e r n a t i o n a l                                                                Ch e c k a l l t h a t a p p l y.
          2 1 Ta i Se n g Dr , St e 0 6 - 0 0                                                                              Co n t i n g e n t
          Si n g a p o r e , 5 3 5 2 2 3                                                                                   Un l i q u i d a t e d
          Si n g a p o r e                                                                                                 Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.320 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $59,528.12
          Mi g h t y Ja x x In t e r n a t i o n a l Pt e Lt d                                                     Ch e c k a l l t h a t a p p l y.
          3 3 0 2 Ca n a l St , St e 6 2                                                                                  Co n t i n g e n t
          Ho u s t o n , T X 7 7 0 0 3                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.321 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $702.00
           Mi n d w a r e Wh o l e s a l e In c                                                                     Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 3 1 0 4 8 2                                                                                          Co n t i n g e n t
           De s Mo i n e s , I A 5 0 3 0 1                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.322 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $119.00
           Mo l l y Ma i d                                                                                          Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 5 5 3 7                                                                                              Co n t i n g e n t
           De r w o o d , M D 2 0 8 5 5                                                                                    Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.323 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $934.92
          M O N Ho l d i n g s L L C                                                                                Ch e c k a l l t h a t a p p l y.
          3 8 2 9 N 3 r d St                                                                                               Co n t i n g e n t
          Ph o e n i x , A Z 8 5 0 1 2                                                                                     Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.324 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $79,576.10
          Mo n d o Te e s L L C                                                                                    Ch e c k a l l t h a t a p p l y.
          2 8 0 2 We t m o r e Av e                                                                                       Co n t i n g e n t
          Ev e r e t t , WA 9 8 2 0 1 - 3 5 6 9                                                                           Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.325 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $112,545.34
          Mo n o g r a m In t e r n a t i o n a l In c                                                             Ch e c k a l l t h a t a p p l y.
          2 1 0 0 5 Co m m e r c e Po i n t e Dr                                                                          Co n t i n g e n t
          Wa l n u t , C A 9 1 7 8 9                                                                                      Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.326 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $19,134.00
          Mo n s t e r Fi g h t Cl u b                                                                             Ch e c k a l l t h a t a p p l y.
          3 9 5 - 1 9 0 Re a s Fo r d Rd                                                                                  Co n t i n g e n t
          Ea r l y s v i l l e , VA 2 2 9 3 6                                                                             Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.327 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $174.05
          Mo o n s t o n e Bo o k s                                                                                 Ch e c k a l l t h a t a p p l y.
          1 1 3 E 9 t h St                                                                                                 Co n t i n g e n t
          Lo c k p o r t , I L 6 0 4 4 1                                                                                   Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.328 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $7,407.06
           M P S Lt d                                                                                               Ch e c k a l l t h a t a p p l y.
           At t n : 1 0 3 0 6 0 0 0                                                                                        Co n t i n g e n t
           De p t Ch 1 7 5 7 1                                                                                             Un l i q u i d a t e d
           Pa l a t i n e , I L 6 0 0 5 5 - 7 5 7 1                                                                        Di s p u t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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                                                                                                                                                                                                    Amount of claim
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3.329 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                 As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $955.00
          M V B U S In c                                                                                                 Ch e c k a l l t h a t a p p l y.
          3 0 1 Vi r g i n i a Av e                                                                                             Co n t i n g e n t
          Fa i r m o n t , W V 2 6 5 5 4                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                   Va r i o u s                    Di s p u t e d
                                                                                                                         Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                            __ __ __ __                     Tr a d e
                                                                                                                         Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                          ✔ No .
                                                                                                                                Ye s .

3.330 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                 As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,038.64
          My Mo v i e Mo n s t e r s . c o m                                                                             Ch e c k a l l t h a t a p p l y.
          2 7 7 We s t v i l l e Rd                                                                                             Co n t i n g e n t
          Va n Bu r e n , A R 7 2 9 5 6 - 7 8 0 0                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                   Va r i o u s                    Di s p u t e d
                                                                                                                         Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                            __ __ __ __                     Tr a d e
                                                                                                                         Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                          ✔ No .
                                                                                                                                Ye s .

3.331 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $10,441.78
          My r i c k Ma r k e t i n g & Me d i a , L L C                                                                Ch e c k a l l t h a t a p p l y.
          6 6 7 0 Ne w Na s h v i l l e Hw y, St e 1 0 5                                                                       Co n t i n g e n t
          Sm y r n a , T N 3 7 1 6 7                                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                   Va r i o u s                   Di s p u t e d
                                                                                                                        Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                            __ __ __ __                    Tr a d e
                                                                                                                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                         ✔ No .
                                                                                                                               Ye s .

3.332 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                 As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $325.00
           Na t a s h a St a g m e r                                                                                     Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 7 3 0 3 7 5                                                                                               Co n t i n g e n t
           Da l l a s , T X 7 5 3 7 3 - 0 3 7 5                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                   Va r i o u s                    Di s p u t e d
                                                                                                                         Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                            __ __ __ __                     Tr a d e
                                                                                                                         Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                          ✔ No .
                                                                                                                                Ye s .

3.333 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $3,872,858.16
          Na t i o n a l En t e r t a i n m e n t Co l l e c t i b l e s As s o c i a t i o n                           Ch e c k a l l t h a t a p p l y.
          Na t En t e r t a i n m e n t Co l l , In c                                                                          Co n t i n g e n t
          6 0 3 Sw e e t l a n d Av e                                                                                          Un l i q u i d a t e d
          Hi l l s i d e , N J 0 7 2 0 5                                                                                       Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                   Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                        Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                            __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                         ✔ No .
                                                                                                                               Ye s .

3.334 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                 As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $695.73
          Na u v o o Ga m e s L L C                                                                                      Ch e c k a l l t h a t a p p l y.
          2 0 2 0 La w r e n c e St                                                                                             Co n t i n g e n t
          De n v e r , C O 8 0 2 0 5                                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                   Va r i o u s                    Di s p u t e d
                                                                                                                         Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                            __ __ __ __                     Tr a d e
                                                                                                                         Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                          ✔ No .
                                                                                                                                Ye s .

3.335 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                                 As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,587.36
          N B M Pu b l i s h i n g , In c                                                                                Ch e c k a l l t h a t a p p l y.
          1 6 0 Br o a d w a y, E Wi n g , St e 7 0 0                                                                           Co n t i n g e n t
          Ne w Yo r k , N Y 1 0 0 3 8                                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                                   Va r i o u s                    Di s p u t e d
                                                                                                                         Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                            __ __ __ __                     Tr a d e
                                                                                                                         Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                          ✔ No .
                                                                                                                                Ye s .

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                                                                                                                                                                                               Amount of claim
         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.336 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $21,360.40
          Ne m e s i s No w In c                                                                                   Ch e c k a l l t h a t a p p l y.
          1 0 8 - 1 1 4 Ci t y Rd                                                                                         Co n t i n g e n t
          St o k e - On - Tr e n t , S T4 2 P H                                                                           Un l i q u i d a t e d
          Un i t e d Ki n d o m                                                                                           Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.337 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $16,057.34
          Ne t c o m i c s , In c                                                                                  Ch e c k a l l t h a t a p p l y.
          1 0 0 Lo s t Tr e e Ln                                                                                          Co n t i n g e n t
          Ca r y, N C 2 7 5 1 3                                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.338 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,391.31
          Ne x t Er a En e r g y In c                                                                               Ch e c k a l l t h a t a p p l y.
          6 2 7 0 7 Co l l e c t i o n Ce n t e r Dr                                                                       Co n t i n g e n t
          Ch i c a g o , I L 6 0 6 9 3 - 0 6 2 7                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.339 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $12,850.49
          N K O K, In c                                                                                            Ch e c k a l l t h a t a p p l y.
          5 3 5 4 Ir w i n d a l e Av e , Un i t A                                                                        Co n t i n g e n t
          Ir w i n d a l e , C A 9 1 7 0 6                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.340 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $34,637.00
          N M R Di s t r i b u t i o n Am e r i c a                                                                Ch e c k a l l t h a t a p p l y.
          2 8 9 1 2 Av e Pa i n e                                                                                         Co n t i n g e n t
          Va l e n c i a , C A 9 1 3 5 5                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.341 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $853.60
           No n - Sp o r t Up d a t e                                                                               Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 8 0 9 4 8 8                                                                                          Co n t i n g e n t
           Ch i c a g o , I L 6 0 6 8 0 - 9 4 8 8                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.342 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $42.38
           No r m a Ed i t o r i a l S A                                                                            Ch e c k a l l t h a t a p p l y.
           Pa s s e i g De Sa n t Jo a n , 7                                                                               Co n t i n g e n t
           Ba r c e l o n a , 0 8 0 1 0                                                                                    Un l i q u i d a t e d
           Sp a i n                                                                                                        Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.343 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,808.16
          No r t h St a r Ga m e s                                                                                  Ch e c k a l l t h a t a p p l y.
          1 0 6 0 5 Co n c o r d St                                                                                        Co n t i n g e n t
          Ke n s i n g t o n , M D 2 0 8 9 5                                                                               Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.344 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $20,954.27
           No r t h c e n t r a l El e c t r i c Co o p e r a t i v e                                              Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 4 0 5                                                                                               Co n t i n g e n t
           By h a l i a , M S 3 8 6 1 1 - 0 4 0 5                                                                         Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.345 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $479.76
          No r t h w e s t Pr e s s                                                                                 Ch e c k a l l t h a t a p p l y.
          1 6 3 1 1 6 t h Av e , St e 2 1 9                                                                                Co n t i n g e n t
          Se a t t l e , WA 9 8 1 2 2                                                                                      Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.346 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,534.04
           Of f i c e Ba s i c s , In c                                                                             Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 2 2 3 0                                                                                              Co n t i n g e n t
           Bo o t h w y n , PA 1 9 0 6 1                                                                                   Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.347 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $637.27
           Ol d Do m i n i o n Fr e i g h t Li n e , In c                                                           Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 4 1 5 2 0 2                                                                                          Co n t i n g e n t
           Bo s t o n , M A 0 2 2 4 1 - 5 2 0 2                                                                            Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.348 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $179,942.40
          On i - L F Pu b l i s h i n g Gr o u p , L L C                                                           Ch e c k a l l t h a t a p p l y.
          2 2 7 N Li n d b e r g h Bl v d                                                                                 Co n t i n g e n t
          St Lo u i s , M O 6 3 1 4 1                                                                                     Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.349 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $24,500.00
           On l i n e Fr e i g h t Se r v i c e s                                                                  Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 8 6 0 7 8 9                                                                                         Co n t i n g e n t
           Mi n n e a p o l i s , M N 5 5 4 8 6 - 0 7 8 9                                                                 Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

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                                                                                                                                                                                               Amount of claim
         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.350 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,517.25
          Op e n Ro a d Br a n d s L L C                                                                            Ch e c k a l l t h a t a p p l y.
          3 7 1 8 N Ro c k Rd                                                                                              Co n t i n g e n t
          Wi c h i t a , K S 6 7 2 2 6                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.351 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $426.16
          Op u s Co m i c s Lt d                                                                                    Ch e c k a l l t h a t a p p l y.
          6 6 Mi l l Ln                                                                                                    Co n t i n g e n t
          Lo n d o n , N W6 1 N J                                                                                          Un l i q u i d a t e d
          Un i t e d Ki n d o m                                                                                            Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.352 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,072.00
          Ou c h f a c t o r y Yu m c l u b                                                                         Ch e c k a l l t h a t a p p l y.
          6 6 1 Ke r n St                                                                                                  Co n t i n g e n t
          Ri c h m o n d , C A 9 4 8 0 5                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.353 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $24.00
          Ox Ey e Me d i a In c                                                                                     Ch e c k a l l t h a t a p p l y.
          1 0 0 S Je f f e r s o n Av e                                                                                    Co n t i n g e n t
          Sa g i n a w, M I 4 8 6 0 7                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.354 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,079.40
          Oz o n e Pr o d u c t i o n s , Lt d                                                                      Ch e c k a l l t h a t a p p l y.
          5 3 1 2 De r r y Av e , St e J                                                                                   Co n t i n g e n t
          Ag o u r a Hi l l s , C A 9 1 3 0 1                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.355 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $25,000.00
          Oz We s t In c                                                                                           Ch e c k a l l t h a t a p p l y.
          5 9 5 5 De s o t o Av e , St e 1 0 0                                                                            Co n t i n g e n t
          Wo o d l a n d Hi l l s , C A 9 1 3 6 7                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.356 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $211,331.50
          PA I Te c h n o l o g y In c                                                                             Ch e c k a l l t h a t a p p l y.
          1 7 7 E Co l o r a d o Bl v d , St e 2 0 0                                                                      Co n t i n g e n t
          Pa s a d e n a , C A 9 1 1 0 5                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

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                                                                                                                                                                                               Amount of claim
         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.357 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $183,431.54
           Pa i z o In c                                                                                           Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 8 4 3 1 1                                                                                           Co n t i n g e n t
           Se a t t l e , WA 9 8 1 2 4 - 5 6 1 1                                                                          Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.358 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $8,055.00
           Pa l a d o n e Pr o d u c t s                                                                            Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 1 8 3 8 0                                                                                            Co n t i n g e n t
           Pa l a t i n e , I L 6 0 0 5 5 - 8 3 8 0                                                                        Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.359 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,956.65
          Pa l l a d i u m Bo o k s                                                                                 Ch e c k a l l t h a t a p p l y.
          3 9 0 7 4 We b b Ct                                                                                              Co n t i n g e n t
          We s t l a n d , M I 4 8 1 8 5                                                                                   Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.360 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $81,289.32
          Pa n i n i Am e r i c a In c                                                                             Ch e c k a l l t h a t a p p l y.
          5 3 2 5 Fa a Bl v d , St e 1 0 0                                                                                Co n t i n g e n t
          Ir v i n g , T X 7 5 0 6 1                                                                                      Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.361 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,993.05
          Pa n i n i U K Lt d                                                                                       Ch e c k a l l t h a t a p p l y.
          Br o c k b o u r n e Ho u s e Le v e l 2                                                                         Co n t i n g e n t
          7 7 Mt Ep h r a i m                                                                                              Un l i q u i d a t e d
          Tu n b r i d g e We l l s , T N4 8 B S                                                                           Di s p u t e d
          Un i t e d Ki n d o m                                                                                     Ba s i s o f c l a i m :
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s             Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                      ✔ No .
                                                                                                                           Ye s .

3.362 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $10,351.69
          Pa p e r c u t z In c                                                                                    Ch e c k a l l t h a t a p p l y.
          8 8 3 8 1 2 9 t h St                                                                                            Co n t i n g e n t
          Mi a m i , F L 3 3 1 7 6                                                                                        Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.363 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $27,035.18
          Pa s s a g e Tr a d i n g Co                                                                             Ch e c k a l l t h a t a p p l y.
          3 - 1 - 4 - 9 0 4 Ts u k i j i                                                                                  Co n t i n g e n t
          Ch u o - Ku                                                                                                     Un l i q u i d a t e d
          To k y o , 1 0 4 - 0 0 4 5                                                                                      Di s p u t e d
          Ja p a n                                                                                                 Ba s i s o f c l a i m :
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s            Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

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                                                                                                                                                                                               Amount of claim
         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.364 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,548.54
          Pe g a m o o s e Pr e s s                                                                                 Ch e c k a l l t h a t a p p l y.
          Tr o y Li t t l e                                                                                                Co n t i n g e n t
          7 4 We s t c o m b Cr e s c e n t                                                                                Un l i q u i d a t e d
          Ch a r l o t t e t o w n , P E C1 C 1 B8                                                                         Di s p u t e d
          Ca n a d a                                                                                                Ba s i s o f c l a i m :
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s             Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                      ✔ No .
                                                                                                                           Ye s .

3.365 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,545.08
          Pe g a s u s Sp i e l e No r t h Am e r i c a Co r p o r a t i o n                                        Ch e c k a l l t h a t a p p l y.
          2 9 5 5 Lo n e Oa k Dr                                                                                           Co n t i n g e n t
          Ea g a n , M N 5 5 1 2 1                                                                                         Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.366 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $48,307.54
          Pe n g u i n Gr o u p U K                                                                                Ch e c k a l l t h a t a p p l y.
          8 0 St r a n d                                                                                                  Co n t i n g e n t
          Lo n d o n , W C2 R 0 R L                                                                                       Un l i q u i d a t e d
          Un i t e d Ki n d o m                                                                                     ✔ Di s p u t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.367 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $9,164,935.02
           Pe n g u i n Ra n d o m Ho u s e L L C                                                                  Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 2 2 3 3 8 4                                                                                         Co n t i n g e n t
           Pi t t s b u r g h , PA 1 5 2 5 1 - 2 3 8 4                                                                    Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s             ✔ Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                          No .
                                                                                                                    ✔ Ye s .

3.368 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $860.00
           Pe n n Wa s t e In c                                                                                     Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 9 0 3 5                                                                                            Co n t i n g e n t
           Ba l t i m o r e , M D 2 1 2 6 4 - 9 0 3 5                                                                      Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.369 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,160.96
           P E Z Ca n d y, In c                                                                                     Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 3 0 0 8 7                                                                                            Co n t i n g e n t
           Ne w Yo r k , N Y 1 0 0 8 7 - 0 0 8 7                                                                           Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.370 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $719.20
           Pi c t u r e s q u e Pu b l i s h i n g In c                                                             Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 3 2 0 1 4                                                                                            Co n t i n g e n t
           Ar t h u r Po Po                                                                                                Un l i q u i d a t e d
           Th u n d e r Ba y, O N P7 K 0 E7                                                                                Di s p u t e d
           Ca n a d a                                                                                               Ba s i s o f c l a i m :
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s             Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.371 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $14,742.47
           Pi e d m o n t Na t i o n a l Co r p o r a t i o n                                                      Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 8 9 0 9 3 8                                                                                         Co n t i n g e n t
           Ch a r l o t t e , N C 2 8 2 8 9 - 0 9 3 8                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.372 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $672.00
          Pi n t r i l l , L L C                                                                                    Ch e c k a l l t h a t a p p l y.
          3 7 Gr e e n p o i n t Av e , St e 3 2 0                                                                         Co n t i n g e n t
          Br o o k l y n , N Y 1 1 2 2 2                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.373 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $67,311.00
          Pl a y m a t e s To y s In c                                                                             Ch e c k a l l t h a t a p p l y.
          9 0 9 N Pa c i f i c Co a s t Hw y, St e 8 0 0                                                                  Co n t i n g e n t
          El Se g u n d o , C A 9 0 2 4 5                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.374 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $19,092.97
           Pl a z m i d a L L C                                                                                    Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 8 8 5 1                                                                                             Co n t i n g e n t
           Ho n o l u l u , H I 9 6 8 3 0                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.375 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,932.12
          Po c k e t Ja c k s Co m i c s                                                                            Ch e c k a l l t h a t a p p l y.
          1 2 4 7 1 Wo o d Ma n o r Ci r                                                                                   Co n t i n g e n t
          Da l l a s , T X 7 5 2 3 4                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s              ✔ Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.376 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $54,644.02
           Po l y m e r s h a p e s L L C                                                                          Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 5 0 5 5 0 3                                                                                         Co n t i n g e n t
           St Lo u i s , M O 6 3 1 5 0 - 5 5 0 3                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.377 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $59.98
          Pr e m i u m D N A En t e r p r i s e s , L L C                                                           Ch e c k a l l t h a t a p p l y.
          1 3 8 9 4 S Ba n g e r t e r Pk w y, St e 2 0 0                                                                  Co n t i n g e n t
          Dr a p e r , U T 8 4 0 2 0                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.378 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $748.70
           Pr e s t o - X                                                                                           Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 1 3 8 4 8                                                                                            Co n t i n g e n t
           Re a d i n g , PA 1 9 6 1 2 - 3 8 4 8                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.379 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,173.60
          Pr i m a l Ho r i z o n                                                                                   Ch e c k a l l t h a t a p p l y.
          c / o Gl a n f i e l d Ma r k e t i n g                                                                          Co n t i n g e n t
          2 1 4 Ki n g St                                                                                                  Un l i q u i d a t e d
          We l l a n d , O N L3 B 3 J7                                                                                     Di s p u t e d
          Ca n a d a                                                                                                Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.380 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $914.71
          Pr i m e Bo o k s L L C                                                                                   Ch e c k a l l t h a t a p p l y.
          At t n Se a n Wa l l a c e                                                                                       Co n t i n g e n t
          1 3 8 6 2 Cr o s s t i e Dr                                                                                      Un l i q u i d a t e d
          Ge r m a n t o w n , M D 2 0 8 7 4                                                                               Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.381 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $14,385.60
          Pr i m e Mo t i o n In c                                                                                 Ch e c k a l l t h a t a p p l y.
          5 9 5 5 De s o t o Av e , St e 1 0 0                                                                            Co n t i n g e n t
          Wo o d l a n d Hi l l s , C A 9 1 3 6 7                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.382 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,200.00
          Pr i s t i n e Ja n i t o r i a l Se r v i c e s L L C                                                    Ch e c k a l l t h a t a p p l y.
          1 2 8 W Ru d i s i l l Bl v d                                                                                    Co n t i n g e n t
          Fo r t Wa y n e , I N 4 6 8 0 7                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.383 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,800.00
          Pu b l i c Li b r a r y As s o c i a t i o n                                                              Ch e c k a l l t h a t a p p l y.
          3 4 4 7 Ea g l e Wa y                                                                                            Co n t i n g e n t
          Ch i c a g o , I L 6 0 6 7 8 - 3 4 4 7                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.384 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $154,469.78
          Pu b l i s h e r Se r v i c e s In c                                                                     Ch e c k a l l t h a t a p p l y.
          2 8 0 0 Vi s t a Ri d g e Dr                                                                                    Co n t i n g e n t
          Su w a n e e , G A 3 0 0 2 4                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

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3.385 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $567.18
          Py e Ba r k e r Fi r e & Sa f e t y                                                                       Ch e c k a l l t h a t a p p l y.
          d b a Al a r m t e c Sy s t e m s                                                                                Co n t i n g e n t
          P. O. Bo x 7 3 5 3 5 8                                                                                           Un l i q u i d a t e d
          Da l l a s , T X 7 5 3 7 3 - 5 3 5 8                                                                             Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.386 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $15,546.00
          Py r a m i d Am e r i c a Lt d                                                                           Ch e c k a l l t h a t a p p l y.
          1 Ha v e n Av e                                                                                                 Co n t i n g e n t
          Mt Ve r n o n , N Y 1 0 5 5 3                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.387 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $12,507.66
          Q S In f o r m a t i o n Se r v i c e s In c                                                             Ch e c k a l l t h a t a p p l y.
          4 4 Me r r i m a c St                                                                                           Co n t i n g e n t
          Ne w b u r y p o r t , M A 0 1 9 5 0                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.388 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $8,660.12
          Qu a r t e r m a s t e r Di r e c t                                                                       Ch e c k a l l t h a t a p p l y.
          8 5 5 0 S U S Hw y 1 7 / 9 2                                                                                     Co n t i n g e n t
          Ma i t l a n d , F L 3 2 7 5 1                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.389 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $331.72
          Qu e s t Ki d s L L C                                                                                     Ch e c k a l l t h a t a p p l y.
          6 0 5 E 2 1 s t St                                                                                               Co n t i n g e n t
          Ho u s t o n , T X 7 7 0 0 8 - 4 4 3 0                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.390 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $8,710.56
           R & R Ga m e s                                                                                           Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 1 3 0 1 9 5                                                                                          Co n t i n g e n t
           Ta m p a , F L 3 3 6 8 1                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.391 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $239.40
          R 5 Co m i c s L L C                                                                                      Ch e c k a l l t h a t a p p l y.
          2 7 1 0 3 Ke l s e y Wo o d s Ct                                                                                 Co n t i n g e n t
          Cy p r e s s , T X 7 7 4 3 3                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.392 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $39,586.00
          R Ta l s o r i a n Ga m e s In c                                                                         Ch e c k a l l t h a t a p p l y.
          1 3 8 4 7 7 0 t h Av e                                                                                          Co n t i n g e n t
          Ki r k l a n d , WA 9 8 0 3 4                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.393 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $42.80
          Ra b b i t Ho l e St u d i o s                                                                            Ch e c k a l l t h a t a p p l y.
          4 7 8 7 Gr e e n f i e l d Rd                                                                                    Co n t i n g e n t
          Mo n t a g u e , P E C0 A 1 R0                                                                                   Un l i q u i d a t e d
          Ca n a d a                                                                                                       Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.394 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $311.31
          Ra b b i t Pu b l i s h e r s                                                                             Ch e c k a l l t h a t a p p l y.
          1 6 2 4 W No r t h w e s t Hw y                                                                                  Co n t i n g e n t
          Ar l i n g t o n Hg h t s , I L 6 0 0 0 4                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.395 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $11.20
           Ra d i c a l Pu b l i s h i n g                                                                          Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 3 4 1 8 4 7                                                                                          Co n t i n g e n t
           Lo s An g e l e s , C A 9 0 0 3 4                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.396 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $12,724.84
           Ra n d s t a d                                                                                          Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 7 2 4 7 - 6 6 5 5                                                                                   Co n t i n g e n t
           Ph i l a d e l p h i a , PA 1 9 1 7 0 - 6 6 5 5                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.397 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,948.96
           Ra v e n s b u r g e r No r t h Am e r i c a In c                                                        Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 8 4 5 2 3 3                                                                                          Co n t i n g e n t
           Bo s t o n , M A 0 2 2 8 4 - 5 2 3 3                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.398 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,581.77
           Re a p e r Mi n i a t u r e s                                                                            Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 2 1 0 7                                                                                              Co n t i n g e n t
           La k e Da l l a s , T X 7 5 0 6 5 - 2 1 0 7                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.399 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $34.62
          Re c e i v e r o f Ta x e s a n d As s e s s m e n t s                                                    Ch e c k a l l t h a t a p p l y.
          1 5 1 Ba n k e r Rd                                                                                              Co n t i n g e n t
          Pl a t t s b u r g h , N Y 1 2 9 0 1                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.400 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $64.41
          Re d Gi a n t En t e r t a i n m e n t                                                                    Ch e c k a l l t h a t a p p l y.
          At t n : Be n n y Po w e l l                                                                                     Co n t i n g e n t
          6 1 4 E Hw y 5 0 , St e 2 3 5                                                                                    Un l i q u i d a t e d
          Cl e r m o n t , F L 3 4 7 1 1                                                                                   Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.401 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $216.11
           Re d Li o n Mu n i c i p a l Au t h o r i t y                                                            Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 1 9 0                                                                                                Co n t i n g e n t
           Re d Li o n , PA 1 7 3 5 6 - 0 1 9 0                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.402 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $46,420.39
          Re n e g a d e Ga m e St u d i o s                                                                       Ch e c k a l l t h a t a p p l y.
          1 5 3 Su g a r Be l l e Dr , St e B 1 6 6                                                                       Co n t i n g e n t
          Wi n t e r Ga r d e n , F L 3 4 7 8 7                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.403 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,236.53
           Re p u b l i c Se r v i c e s                                                                            Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 7 7 1 5 6                                                                                          Co n t i n g e n t
           Da l l a s , T X 7 5 2 6 7 - 7 1 5 6                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.404 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $13,920.78
          Re t a i l Ma n a g e m e n t He r o In c                                                                Ch e c k a l l t h a t a p p l y.
          4 5 4 W Na p a St , Un i t B                                                                                    Co n t i n g e n t
          So n o m a , C A 9 5 4 7 6                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.405 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,126.40
          Re t r o - A- Go - Go ! L L C                                                                             Ch e c k a l l t h a t a p p l y.
          2 1 4 S Mi c h i g a n Av e                                                                                      Co n t i n g e n t
          Ho w e l l , M I 4 8 8 4 3                                                                                       Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.406 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $50,745.86
          Ri o Gr a n d e Ga m e s                                                                                 Ch e c k a l l t h a t a p p l y.
          1 8 Sa n t a An a Lo o p                                                                                        Co n t i n g e n t
          Pl a c i t a s , N M 8 7 0 4 3                                                                                  Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.407 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $517.72
          Ri o t Ne w Me d i a Gr o u p , In c                                                                      Ch e c k a l l t h a t a p p l y.
          4 2 4 3 S E Be l m o n t St , St e 1 0 0                                                                         Co n t i n g e n t
          Po r t l a n d , O R 9 7 2 1 5                                                                                   Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.408 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $687.12
          Ri s i n g Em p i r e St u d i o s                                                                        Ch e c k a l l t h a t a p p l y.
          8 5 4 5 W Wa r m Sp r i n g s Rd , St e A4 4 2 6                                                                 Co n t i n g e n t
          La s Ve g a s , N V 8 9 1 1 3                                                                                    Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.409 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,005.65
           Ro a d r u n n e r Tr a n s p o r t a t i o n                                                            Ch e c k a l l t h a t a p p l y.
           At t n : Co l l e c t i o n s                                                                                   Co n t i n g e n t
           P. O. Bo x 7 4 8 5 7                                                                                            Un l i q u i d a t e d
           Ch i c a g o , I L 6 0 6 9 4                                                                                    Di s p u t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.410 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $39.98
          Ro c k Am e r i c a                                                                                       Ch e c k a l l t h a t a p p l y.
          At t n : Mi c h a e l Ci s n e r o s                                                                             Co n t i n g e n t
          6 4 0 0 Oa k Ca n y o n , St e 1 0 0                                                                             Un l i q u i d a t e d
          Ir v i n e , C A 9 2 6 1 8                                                                                       Di s p u t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.411 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,238.58
          Ro l e 4 In i t i a t i v e L L C                                                                         Ch e c k a l l t h a t a p p l y.
          9 7 4 0 Sh a v e r Rd                                                                                            Co n t i n g e n t
          Po r t a g e , M I 4 9 0 2 4                                                                                     Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.412 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $11,324.29
          Ro u n d 2 L L C                                                                                         Ch e c k a l l t h a t a p p l y.
          4 0 7 3 Me g h a n Be e l e r Ct                                                                                Co n t i n g e n t
          S Be n d , I N 4 6 6 2 8                                                                                        Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

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3.413 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,020.03
          Ro y Mi l l e r Fr e i g h t Li n e s L L C                                                               Ch e c k a l l t h a t a p p l y.
          3 1 6 5 E Co r o n a d o St                                                                                      Co n t i n g e n t
          An a h e i m , C A 9 2 8 0 6                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.414 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,651.85
           Sa f a r i Lt d                                                                                          Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 9 6 5 2 9                                                                                            Co n t i n g e n t
           Ch a r l o t t e , N C 2 8 2 9 6 - 0 5 2 9                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.415 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,070.06
           S A I A Mo t o r Fr e i g h t Li n e L L C                                                               Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 7 3 0 5 3 2                                                                                          Co n t i n g e n t
           Da l l a s , T X 7 5 3 7 3 - 0 5 3 2                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.416 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $269.00
           Sa m St e v e n s                                                                                        Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 6 9 8 2 5                                                                                          Co n t i n g e n t
           Da l l a s , T X 7 5 2 6 6 - 0 7 8 2                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.417 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $37.00
          Sa n t o k i L L C                                                                                        Ch e c k a l l t h a t a p p l y.
          1 1 0 0 N Op d y k e Rd , St e 2 0 0                                                                             Co n t i n g e n t
          Au b u r n Hi l l s , M I 4 8 3 2 6                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.418 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $160,047.44
           Sc a n Gl o b a l Lo g i s t i c s                                                                      Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 7 4 1 0 6 8 4                                                                                       Co n t i n g e n t
           Ch i c a g o , I L 6 0 6 7 4 - 0 6 8 4                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.419 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $7,294.94
          S C B Di s t r i b u t o r s                                                                              Ch e c k a l l t h a t a p p l y.
          1 5 6 0 8 S Ne w Ce n t u r y Dr                                                                                 Co n t i n g e n t
          Ga r d e n a , C A 9 0 2 4 8                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.420 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,027.50
          Sc h i f f e r Pu b l i s h i n g , Lt d                                                                  Ch e c k a l l t h a t a p p l y.
          4 8 8 0 Lo w e r Va l l e y Rd                                                                                   Co n t i n g e n t
          At g l e n , PA 1 9 3 1 0                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.421 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $51,548.50
           Sc h o l a s t i c In c                                                                                 Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 3 9 8 5 1                                                                                         Co n t i n g e n t
           Ci n c i n n a t i , O H 4 5 2 6 3 - 9 8 5 1                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.422 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $28.77
           Sc h w a r z Pa p e r Co m p a n y                                                                       Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 4 4 0 9 5                                                                                          Co n t i n g e n t
           Pi t t s b u r g h , PA 1 5 2 6 4 - 4 0 9 5                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.423 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $518.40
          Sc h y l l i n g , In c                                                                                   Ch e c k a l l t h a t a p p l y.
          c / o Be r k s h i r e Ba n k                                                                                    Co n t i n g e n t
          P. O. Bo x 9 4 1                                                                                                 Un l i q u i d a t e d
          Wo r c e s t e r , M A 0 1 6 1 3 - 0 9 4 1                                                                       Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.424 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,274.97
          Sc o u t Co m i c s                                                                                       Ch e c k a l l t h a t a p p l y.
          1 2 5 4 1 Me t r o Pk w y St e 2 0                                                                               Co n t i n g e n t
          Fo r t My e r s , F L 3 3 9 6 6                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.425 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,294.92
          Sc r e e m Ma g a z i n e                                                                                 Ch e c k a l l t h a t a p p l y.
          c / o Da r r y l Ma y e s k i                                                                                    Co n t i n g e n t
          4 1 Ma y e r St                                                                                                  Un l i q u i d a t e d
          Wi l k e s Ba r r e , PA 1 8 7 0 2 - 3 7 6 5                                                                     Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.426 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,052.00
          S C S Di r e c t In c                                                                                     Ch e c k a l l t h a t a p p l y.
          9 Tr e f o i l Dr                                                                                                Co n t i n g e n t
          Tr u m b u l l , C T 0 6 6 1 1 - 1 3 3 0                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.427 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $30.74
           Se n t r y                                                                                               Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 4 3 0 0                                                                                              Co n t i n g e n t
           Ca r o l St r e a m , I L 6 0 1 9 7 - 4 3 0 0                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.428 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $62,733.10
          S F V Yo r k Ro a d , L L C                                                                              Ch e c k a l l t h a t a p p l y.
          2 3 2 8 W Jo p p a Rd , St e 2 0 0                                                                              Co n t i n g e n t
          Lu t h e r v i l l e , M D 2 1 0 9 3                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.429 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,578.46
           Sh a w Ma t e r i a l Ha n d l i n g Sy s t e m s                                                        Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 8 7 2 7 0 0                                                                                          Co n t i n g e n t
           Ka n s a s Ci t y, M O 6 4 1 8 7 - 2 7 0 0                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.430 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,952.08
          Sh a w n Ha i n s w o r t h                                                                               Ch e c k a l l t h a t a p p l y.
          5 9 Ki n g St                                                                                                    Co n t i n g e n t
          Ha t f i e l d , M A 0 1 0 3 8                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.431 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $174.99
           Sh i p St a t i o n                                                                                      Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 9 3 5 0 0 3                                                                                          Co n t i n g e n t
           At l a n t a , G A 3 1 1 9 3 - 5 0 0 3                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.432 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,077.32
          Si g m a Co m i c s , L L C                                                                               Ch e c k a l l t h a t a p p l y.
          4 0 5 E 1 6 t h St , Ap t 6 E                                                                                    Co n t i n g e n t
          Br o o k l y n , N Y 1 1 2 2 6                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.433 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,639.08
          Si l v e r Bu f f a l o L L C                                                                             Ch e c k a l l t h a t a p p l y.
          At t n : Br e n n a n C Sw a i n                                                                                 Co n t i n g e n t
          1 9 0 0 Av e Of Th e St a r s                                                                                    Un l i q u i d a t e d
          Lo s An g e l e s , C A 9 0 0 6 7                                                                                Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.434 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,751.52
          Si l v e r Sp r o c k e t L L C                                                                           Ch e c k a l l t h a t a p p l y.
          1 0 5 7 Va l e n c i a St                                                                                        Co n t i n g e n t
          Sa n Fr a n c i s c o , C A 9 4 1 1 0                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.435 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $449.38
          Si l v e r l i n e Co m i c s                                                                             Ch e c k a l l t h a t a p p l y.
          1 6 4 1 5 S W 1 4 t h Ct                                                                                         Co n t i n g e n t
          Oc a l a , F L 3 4 4 7 3                                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.436 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $688,610.94
           Si m o n & Sc h u s t e r , L L C                                                                       Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 7 0 6 6 0                                                                                           Co n t i n g e n t
           Ch i c a g o , I L 6 0 6 7 3 - 0 6 6 0                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.437 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $50,781.38
          Si r i u s Di c e                                                                                        Ch e c k a l l t h a t a p p l y.
          1 Ci t y Po i n t                                                                                               Co n t i n g e n t
          Br o o k l y n , N Y 1 1 2 0 1                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.438 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,560.00
          Sk e l t o n Cr e w St u d i o                                                                            Ch e c k a l l t h a t a p p l y.
          2 9 5 Bu k e r Rd                                                                                                Co n t i n g e n t
          Li t c h f i e l d , M E 0 4 3 5 0                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.439 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,430.01
          Sk y s c r a p e r St u d i o s In c                                                                      Ch e c k a l l t h a t a p p l y.
          1 6 Co n t i n e n t a l Rd                                                                                      Co n t i n g e n t
          Sc a r s d a l e , N Y 1 0 5 8 3                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.440 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,949.18
          Sl a v e La b o r Gr a p h i c s                                                                          Ch e c k a l l t h a t a p p l y.
          4 4 Ra c e St                                                                                                    Co n t i n g e n t
          Sa n Jo s e , C A 9 5 1 2 6                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.441 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $11,910.60
          Sm a r t Zo n e Ga m e s                                                                                 Ch e c k a l l t h a t a p p l y.
          1 2 1 - 0 3 Du Po n t St                                                                                        Co n t i n g e n t
          Pl a i n v i e w, N Y 1 1 8 0 3                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.442 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $199.00
           Sm i l e . i o                                                                                           Ch e c k a l l t h a t a p p l y.
           Ak i b a Co Bl d g 7 F, 3 - 1 6 - 1 2                                                                           Co n t i n g e n t
           So t o k a n d a , Ch i y o d - Ku                                                                              Un l i q u i d a t e d
           To k y o , 1 0 1 - 0 0 2 1                                                                                      Di s p u t e d
           Ja p a n                                                                                                 Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                      ✔ No .
                                                                                                                           Ye s .

3.443 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $829.50
           Sn o w d a l e De s i g n                                                                                Ch e c k a l l t h a t a p p l y.
           Yr j ö n k a t u 5 D 5 9                                                                                        Co n t i n g e n t
           Bj o r n e b o r g , 2 8 1 0 0                                                                                  Un l i q u i d a t e d
           Fi n l a n d                                                                                                    Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.444 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $168.93
          So a r i n g Pe n g u i n Pr e s s                                                                        Ch e c k a l l t h a t a p p l y.
          1 0 6 - 1 6 7 5 Au g u s t a Av e                                                                                Co n t i n g e n t
          Bu r n a b y, B C V5 A 4 S8                                                                                      Un l i q u i d a t e d
          Ca n a d a                                                                                                 ✔ Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.445 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $74.61
          So u r c e Po i n t Pr e s s                                                                              Ch e c k a l l t h a t a p p l y.
          3 6 0 3 Or c h a r d Dr                                                                                          Co n t i n g e n t
          Mi d l a n d , M I 4 8 6 4 0                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s              ✔ Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.446 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $250.80
           So u t h e a s t e r n Fr e i g h t Li n e s In c                                                        Ch e c k a l l t h a t a p p l y.
           P O Bo x 1 0 5 0 2 4                                                                                            Co n t i n g e n t
           At l a n t a , G A 3 0 3 4 8 - 5 0 2 4                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.447 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,067.65
           So u t h e r n Ca l i f o r n i a Ed i s o n                                                             Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 3 0 0                                                                                                Co n t i n g e n t
           Ro s e m e a d , C A 9 1 7 7 2 - 0 0 0 2                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.448 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $644.28
           So u t h e r n Ca l i f o r n i a Ga s Co m p a n y                                                      Ch e c k a l l t h a t a p p l y.
           P. O. Bo x C                                                                                                    Co n t i n g e n t
           Mo n t e r e y Pa r k , C A 9 1 7 5 6 - 5 1 1 1                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.449 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,359.09
           So v e r e i g n Me d i a Co m p a n y                                                                   Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 3 6 6                                                                                                Co n t i n g e n t
           Wi l l i a m s p o r t , PA 1 7 7 0 3 - 0 3 6 6                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.450 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $442.21
          Sp e r o To y En t e r p r i s e s                                                                        Ch e c k a l l t h a t a p p l y.
          1 1 2 2 Te r r a c e Hw y                                                                                        Co n t i n g e n t
          Br o u s s a r d , L A 7 0 5 1 8                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.451 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $93,687.61
          Sp i n Ma s t e r , In c                                                                                 Ch e c k a l l t h a t a p p l y.
          3 0 0 In t e r n a t i o n a l Dr , St e 1 0 0                                                                  Co n t i n g e n t
          Wi l l i a m s v i l l e 8 , N Y 1 4 2 2 1                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.452 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,839.82
          S Q Ma g Pt y Lt d                                                                                        Ch e c k a l l t h a t a p p l y.
          5 4 Th e Pi n n a c l e                                                                                          Co n t i n g e n t
          1 2 Co o l u m Rd                                                                                                Un l i q u i d a t e d
          Po i n t Co o k , V C T 3 0 3 0                                                                                  Di s p u t e d
          Au s t r a l i a                                                                                          Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.453 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,447.16
           S Q Pr o d u c t i o n s In c                                                                            Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 2 4 8                                                                                                Co n t i n g e n t
           Co l u m b u s , N J 0 8 0 2 2                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.454 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $314,336.01
           Sq u a r e En i x L L C                                                                                 Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 0 0 7 9                                                                                           Co n t i n g e n t
           Lo s An g e l e s , C A 9 0 0 6 0 - 0 0 7 9                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

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3.455 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $15,000.00
          St a n t o n Pu b l i c Re l a t i o n s & Ma r k e t i n g                                              Ch e c k a l l t h a t a p p l y.
          9 0 9 3 r d Av e , 1 4 t h Fl                                                                                   Co n t i n g e n t
          Ne w Yo r k , N Y 1 0 0 2 2                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.456 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $47,536.88
          St a r Ac e To y s Li m i t e d                                                                          Ch e c k a l l t h a t a p p l y.
          2 0 E, Bl o c k 4 , Be l a i r Mo n t e                                                                         Co n t i n g e n t
          3 Ma Si k Rd                                                                                                    Un l i q u i d a t e d
          Fa n l i n g                                                                                                    Di s p u t e d
          Ho n g Ko n g                                                                                            Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     ✔ No .
                                                                                                                          Ye s .

3.457 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,753.64
           St e a m f o r g e d Ga m e s Lt d                                                                       Ch e c k a l l t h a t a p p l y.
           Ha n o v e r Ho u s e , Gr e g St                                                                               Co n t i n g e n t
           St o c k p o r t , Ch e s h i r e S K5 7 N R                                                                    Un l i q u i d a t e d
           Un i t e d Ki n d o m                                                                                           Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.458 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $950.32
          St o r m Ki n g Pr o d u c t i o n s , In c                                                               Ch e c k a l l t h a t a p p l y.
          c / o F Al t m a n & Co                                                                                          Co n t i n g e n t
          9 2 5 5 W Su n s e t Bl v d , St e 3 0 0                                                                         Un l i q u i d a t e d
          Lo s An g e l e s , C A 9 0 0 6 9                                                                          ✔ Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.459 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,150.69
          St r a n g e r Co m i c s L L C                                                                           Ch e c k a l l t h a t a p p l y.
          1 1 5 7 5 Bl i x St                                                                                              Co n t i n g e n t
          N Ho l l y w o o d , C A 9 1 6 0 2                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.460 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $23,205.44
          St u d i o 2 Pu b l i s h i n g In c                                                                     Ch e c k a l l t h a t a p p l y.
          2 6 6 3 By i n g t o n So l w a y Rd                                                                            Co n t i n g e n t
          Kn o x v i l l e , T N 3 7 9 3 1                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.461 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $16,197.25
          Su m e r i a n Co m i c s                                                                                Ch e c k a l l t h a t a p p l y.
          4 3 4 Ho u s t o n St , St e 2 3 0                                                                              Co n t i n g e n t
          Na s h v i l l e , T N 3 7 2 0 3                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

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 Part 2:                    Additional Page                     Case 25-10308                             Doc 155                Filed 02/18/25                                     Page 208 of 250
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3.462 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $11.70
          Su p e r Im p u l s e                                                                                     Ch e c k a l l t h a t a p p l y.
          1 0 Ca n a l St , St e 3 3 0                                                                                     Co n t i n g e n t
          Br i s t o l , PA 1 9 0 0 7                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.463 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $170,413.00
           Su p e r 7                                                                                              Ch e c k a l l t h a t a p p l y.
           Ma i l s t o p 1 0 9                                                                                           Co n t i n g e n t
           P. O. Bo x 9 8 9 7 4 6                                                                                         Un l i q u i d a t e d
           W Sa c r a m e n t o , C A 9 5 7 9 8                                                                           Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.464 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $79.67
           Sy n c h r o n y Ba n k                                                                                  Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 6 9 8 2 5                                                                                          Co n t i n g e n t
           Da l l a s , T X 7 5 2 6 6 - 0 7 8 2                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.465 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $774.19
          T Pu b Co m i c s                                                                                         Ch e c k a l l t h a t a p p l y.
          1 0 8 Vi c t o r i a Rd                                                                                          Co n t i n g e n t
          Lo n d o n , N W6 6 Q B                                                                                          Un l i q u i d a t e d
          Un i t e d Ki n d o m                                                                                            Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.466 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $519.84
           T& T Ca r g o Se r v i c e s                                                                             Ch e c k a l l t h a t a p p l y.
           Ai r p o r t St a t i o n                                                                                       Co n t i n g e n t
           P. O. Bo x 3 7 1 4 2                                                                                            Un l i q u i d a t e d
           Sa n Ju a n , P R 0 0 9 3 7 - 0 1 4 2                                                                           Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.467 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $122.00
          Te a m Pe s t U S A                                                                                       Ch e c k a l l t h a t a p p l y.
          Ha c h e t t e Bo a r d g a m e s U S A                                                                          Co n t i n g e n t
          2 3 6 3 Ja m e s St , St e 5 3 7                                                                                 Un l i q u i d a t e d
          Sy r a c u s e , N Y 1 3 2 0 6 - 2 8 4 0                                                                         Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.468 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $16,658.06
          Te e m s & De m o v i l l e                                                                              Ch e c k a l l t h a t a p p l y.
          7 3 1 4 Pl e a s a n t Ri d g e Rd                                                                              Co n t i n g e n t
          Ar l i n g t o n , T N 3 8 0 0 2                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

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                                                                                                                                                                                               Amount of claim
         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.469 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $73,172.84
          Te e Tu r t l e , L L C                                                                                  Ch e c k a l l t h a t a p p l y.
          6 2 0 0 Pe r s h a l l Rd                                                                                       Co n t i n g e n t
          Ha z e l w o o d , M O 6 3 0 4 2                                                                                Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.470 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,758.85
          T F I Tr a n s p o r t 1 1 In c                                                                           Ch e c k a l l t h a t a p p l y.
          9 9 Rt e 2 7 1 Su d                                                                                              Co n t i n g e n t
          St - Ep h r e m , Q C G0 M 1 R0                                                                                  Un l i q u i d a t e d
          Ca n a d a                                                                                                       Di s p u t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.471 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $41.86
          Th 3 r d Wo r l d St u d i o s                                                                            Ch e c k a l l t h a t a p p l y.
          c / o Ke n n y We l k e r                                                                                        Co n t i n g e n t
          1 3 1 2 2 Pe l f r e y Ln                                                                                        Un l i q u i d a t e d
          Fa i r f a x , VA 2 2 0 3 3                                                                                      Di s p u t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.472 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $24,262.82
          Th a m e s & Ko s m o s                                                                                  Ch e c k a l l t h a t a p p l y.
          8 9 Sh i p St                                                                                                   Co n t i n g e n t
          Pr o v i d e n c e , R I 0 2 9 0 3                                                                              Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.473 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $212,047.77
           Th e Ar m y Pa i n t e r Ap S                                                                           Ch e c k a l l t h a t a p p l y.
           Ch r i s t i a n s m i n d e v e j 1 2                                                                         Co n t i n g e n t
           Sk a n d e r b o r g , D K- 8 6 6 0                                                                            Un l i q u i d a t e d
           De n m a r k                                                                                                   Di s p u t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.474 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $44,436.33
          Th e Ca n a d i a n Gr o u p                                                                             Ch e c k a l l t h a t a p p l y.
          4 3 0 Si g n e t Dr , St e A                                                                                    Co n t i n g e n t
          To r o n t o , O N M9 L 2 T6                                                                                    Un l i q u i d a t e d
          Ca n a d a                                                                                                      Di s p u t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.475 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,975.00
           Th e Ce n t e r f o r Ca r t o o n St u d i e s                                                          Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 1 2 5                                                                                                Co n t i n g e n t
           Wh i t e Ri v e r Jc t , V T 0 5 0 0 1                                                                          Un l i q u i d a t e d
            Da t e o r d a t e s d e b t w a s i n c u r r e d                             Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
            La s t 4 d i g i t s o f a c c o u n t n u m b e r                      __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.476 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $60.00
          Th e Li t t l e Pl a s t i c Tr a i n Co m p a n y                                                        Ch e c k a l l t h a t a p p l y.
          1 0 0 4 Pr a i r i e St                                                                                          Co n t i n g e n t
          Ho u s t o n , T X 7 7 0 0 2                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.477 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $8,570.20
          Th e Lo y a l Su b j e c t s                                                                              Ch e c k a l l t h a t a p p l y.
          1 5 5 W Wa s h i n g t o n Bl v d , St e 2 0 7                                                                   Co n t i n g e n t
          Lo s An g e l e s , C A 9 0 0 1 5                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.478 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $755,202.00
          Th e Po k é m o n Co m p a n y In t e r n a t i o n a l                                                  Ch e c k a l l t h a t a p p l y.
          1 0 4 0 0 N E 4 t h St , St e 2 8 0 0                                                                           Co n t i n g e n t
          Be l l e v u e , WA 9 8 0 0 4                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.479 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $8,320.00
          Th e Ta i l o r e d St a f f , L L C                                                                      Ch e c k a l l t h a t a p p l y.
          3 6 3 9 Ne w Ge t w e l l Rd , St e 2                                                                            Co n t i n g e n t
          Me m p h i s , T N 3 8 1 1 8                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.480 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $180.00
          Th e Up p e r De c k Co m p a n y In c                                                                    Ch e c k a l l t h a t a p p l y.
          At t n : Cr e d i t & Co l l e c t i o n s                                                                       Co n t i n g e n t
          5 8 3 0 El Ca m i n o Re a l                                                                                     Un l i q u i d a t e d
          Ca r l s b a d , C A 9 2 0 0 8                                                                                   Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.481 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $7,475.10
          Th r e e Ze r o                                                                                           Ch e c k a l l t h a t a p p l y.
          Fl a t A 3 / F Jo n e Mu l t In d Bl d g                                                                         Co n t i n g e n t
          1 6 9 Wa i Yi p St                                                                                               Un l i q u i d a t e d
          Kw u n To n g , K L N                                                                                            Di s p u t e d
          Ho n g Ko n g                                                                                             Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.482 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,305.08
          Th u n d e r w o r k s Ga m e s L L C                                                                     Ch e c k a l l t h a t a p p l y.
          7 1 8 2 U S Hw y 1 4                                                                                             Co n t i n g e n t
          Mi d d l e t o n , W I 5 3 5 6 2                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.483 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $410,711.21
          Ti t a n Pu b l i s h i n g Gr o u p Lt d                                                                Ch e c k a l l t h a t a p p l y.
          1 4 4 So u t h w a r k St                                                                                       Co n t i n g e n t
          Lo n d o n , S E1 0 U P                                                                                         Un l i q u i d a t e d
          Un i t e d Ki n d o m                                                                                           Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.484 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,627.06
          T K O St u d i o s L L C                                                                                  Ch e c k a l l t h a t a p p l y.
          1 3 2 5 Fr a n k l i n Av e , St e 5 4 5                                                                         Co n t i n g e n t
          Ga r d e n Ci t y, N Y 1 1 5 3 0                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.485 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $1,729,610.55
          T M P In t e r n a t i o n a l , In c                                                                    Ch e c k a l l t h a t a p p l y.
          At t n Al Be d i n g e r                                                                                        Co n t i n g e n t
          1 7 1 1 W Gr e e n t r e e Dr , St e 2 1 2                                                                      Un l i q u i d a t e d
          Te m p e , A Z 8 5 2 8 4                                                                                        Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.486 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $10,289.05
          To k y o p o p , In c                                                                                    Ch e c k a l l t h a t a p p l y.
          c / o Gu g l i e l m o Ac c o u n t i n g In c                                                                  Co n t i n g e n t
          P. O. Bo x 2 8 1 5                                                                                              Un l i q u i d a t e d
          Ca m a r i l l o , C A 9 3 0 1 1                                                                                Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Ba s i s o f c l a i m :
                                                                                                                   Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.487 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $540.82
          To n y Ki t t r e l l                                                                                     Ch e c k a l l t h a t a p p l y.
          d b a Ad v e n t Co m i c s                                                                                      Co n t i n g e n t
          1 3 1 4 9 La r c h d a l e Rd , St e 2                                                                           Un l i q u i d a t e d
          La u r e l , M D 2 0 7 0 8                                                                                       Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s             Ba s i s o f c l a i m :
                                                                                                                    Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.488 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,590.17
          To o n h o u n d St u d i o s L L C                                                                       Ch e c k a l l t h a t a p p l y.
          2 0 5 3 2 2 n d Dr S E                                                                                           Co n t i n g e n t
          Bo t h e l l , WA 9 8 0 1 2                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.489 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $100.00
          To p No t c h Tr a n s i t In c                                                                           Ch e c k a l l t h a t a p p l y.
          2 1 9 0 Id l e w o o d Co v e                                                                                    Co n t i n g e n t
          Ge r m a n t o w n , T N 3 8 1 3 9                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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3.490 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $61.20
           To p Tr u m p s U S A In c                                                                               Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 0 0                                                                                                Co n t i n g e n t
           Gr a n t s v i l l e , M D 2 1 5 3 6                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.491 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $702.00
           To p Tr u m p s U S A, In c                                                                              Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 0 0                                                                                                Co n t i n g e n t
           Gr a n t s v i l l e , M D 2 1 5 3 6                                                                            Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.492 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,080.00
          To y c o l l e c t r Ma g a z i n e                                                                       Ch e c k a l l t h a t a p p l y.
          9 1 1 5 Fm 7 2 3 Rd , St e 5 5 0 - 1 1 1                                                                         Co n t i n g e n t
          Ri c h m o n d , T X 7 7 4 0 6                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.493 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,051.44
          To y n a m i In c                                                                                         Ch e c k a l l t h a t a p p l y.
          1 9 3 6 Ke l l o g g Av e                                                                                        Co n t i n g e n t
          Ca r l s b a d , C A 9 2 0 0 8                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.494 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $11,271.36
           To y n k To y s L L C                                                                                   Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 7 7 8 7 7 3                                                                                         Co n t i n g e n t
           Ch i c a g o , I L 6 0 6 7 7 - 8 7 7 3                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.495 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $315,036.34
          Tr a n s c o n t i n e n t a l Pr i n t i n g In c                                                       Ch e c k a l l t h a t a p p l y.
          In t e r w e b Di v i s i o n                                                                                   Co n t i n g e n t
          1 6 0 3 Mo n t a r v i l l e Bl v d                                                                             Un l i q u i d a t e d
          Bo u c h e r v i l l e , Q C J4 B 5 Y2                                                                          Di s p u t e d
          Ca n a d a                                                                                               Ba s i s o f c l a i m :
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s            Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.496 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $60,842.82
           Tr a v i s Co u n t y Ta x Of f i c e                                                                   Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 1 4 9 3 2 8                                                                                         Co n t i n g e n t
           Au s t i n , T X 7 8 7 1 4 - 9 3 2 8                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.497 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $15,450.80
          Tr i - St a r Po w e r                                                                                       Ch e c k a l l t h a t a p p l y.
          1 5 5 3 Ba r t l e t t Rd                                                                                           Co n t i n g e n t
          Me m p h i s , T N 3 8 1 3 4                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e               Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.498 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $22,717.87
          Tr i c k o r Tr e a t St u d i o s                                                                           Ch e c k a l l t h a t a p p l y.
          1 0 0 5 1 7 t h Av e                                                                                                Co n t i n g e n t
          Sa n t a Cr u z , C A 9 5 0 6 2                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e               Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.499 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $62,752.81
          Tw o Mo r r o w s Pu b l i s h i n g                                                                         Ch e c k a l l t h a t a p p l y.
          1 0 4 0 7 Be d f o r d t o w n Dr                                                                                   Co n t i n g e n t
          Ra l e i g h , N C 2 7 6 1 4                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e               Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.500 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $285,622.92
          U D O N En t e r t a i n m e n t In c                                                                        Ch e c k a l l t h a t a p p l y.
          5 1 Ri d g e s t o n e Dr                                                                                           Co n t i n g e n t
          Ri c h m o n d Hi l l , O N L4 S 0 E3                                                                               Un l i q u i d a t e d
          Ca n a d a                                                                                                          Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e        Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.501 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,068.37
           Ul i n e                                                                                                    Ch e c k a l l t h a t a p p l y.
           At t n : Ac c o u n t s Re c e i v a b l e s                                                                       Co n t i n g e n t
           P. O. Bo x 8 8 7 4 1                                                                                               Un l i q u i d a t e d
           Ch i c a g o , I L 6 0 6 8 0 - 1 7 4 1                                                                             Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e        Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.502 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $39,133.90
           Ul t r a Pr o In t e r n a t i o n a l , L L C                                                              Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 8 2 0 1                                                                                                 Co n t i n g e n t
           Pa s a d e n a , C A 9 1 1 0 9 - 8 2 0 1                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e               Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.503 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $38,160.00
          Un c a n n y Br a n d s , L L C                                                                              Ch e c k a l l t h a t a p p l y.
          3 5 0 Se n t r y Pk w y                                                                                             Co n t i n g e n t
          Bu i l d i n g 6 7 0 , St e 1 2 0                                                                                   Un l i q u i d a t e d
          Bl u e Be l l , PA 1 9 4 2 2                                                                                        Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e        Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page. If no
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3.504 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,760.00
          Un c i v i l i z e d Bo o k s                                                                                Ch e c k a l l t h a t a p p l y.
          3 3 3 6 3 0 t h Av e S                                                                                              Co n t i n g e n t
          Mi n n e a p o l i s , M N 5 5 4 0 6                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e               Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.505 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $771,643.64
           Un i t e d Pa r c e l Se r v i c e , In c                                                                   Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 5 0 1 1 6                                                                                             Co n t i n g e n t
           Da l l a s , T X 7 5 2 6 5 - 0 1 1 6                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e               Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.506 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,920.40
          Un i v e r s i t y Ga m e s                                                                                  Ch e c k a l l t h a t a p p l y.
          2 0 3 0 Ha r r i s o n St                                                                                           Co n t i n g e n t
          Sa n Fr a n c i s c o , C A 9 4 1 1 0                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e               Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.507 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $12,052.92
          Un i v e r s i t y Ga m e s Co r p                                                                           Ch e c k a l l t h a t a p p l y.
          2 0 3 0 Ha r r i s o n St                                                                                           Co n t i n g e n t
          Sa n Fr a n c i s c o , C A 9 4 1 1 0                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e               Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.508 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $24,636.56
          U S Cu s t o m s & Bo r d e r Pr o t e c t i o n                                                             Ch e c k a l l t h a t a p p l y.
          Ca s h i e r / Re v e n u e Co l l e c i o n Se c t                                                                 Co n t i n g e n t
          6 6 5 0 Te l e c o m Dr , St e 1 0 0                                                                                Un l i q u i d a t e d
          In d i a n a p o l i s , I N 4 6 2 7 8                                                                              Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e        Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.509 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $29,920.93
           U S Ao p o l y In c                                                                                         Ch e c k a l l t h a t a p p l y.
           Th e Op Lo c k Bo x                                                                                                Co n t i n g e n t
           P. O. Bo x 8 4 8 5 9 3                                                                                             Un l i q u i d a t e d
           Lo s An g e l e s , C A 9 0 0 8 4 - 8 5 9 3                                                                        Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e        Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.510 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $240.48
          Va l a v e r s e L L C                                                                                       Ch e c k a l l t h a t a p p l y.
          2 4 3 5 Ol d Al a b a m a Rd                                                                                        Co n t i n g e n t
          Ro s w e l l , G A 3 0 0 7 6 - 2 4 1 5                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e               Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

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                                                                                                                                                                                                  Amount of claim
         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.511 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,283.13
          Va l i a n t En t e r t a i n m e n t                                                                        Ch e c k a l l t h a t a p p l y.
          3 5 0 7 t h Av e , St e 3 0 0                                                                                       Co n t i n g e n t
          Ne w Yo r k , N Y 1 0 0 0 1                                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e               Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.512 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $19,946.40
          Va n Ry d e r Ga m e s L L C                                                                                 Ch e c k a l l t h a t a p p l y.
          3 0 1 1 Ha r r a h Dr                                                                                               Co n t i n g e n t
          Sp r i n g Hi l l , T N 3 7 1 7 4                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e               Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.513 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,822.08
          Va n g u a r d Pr o d u c t i o n s                                                                          Ch e c k a l l t h a t a p p l y.
          At t n : J D Sp u r l o c k                                                                                         Co n t i n g e n t
          7 0 5 Ra n c h o Dr                                                                                                 Un l i q u i d a t e d
          Me s q u i t e , T X 7 5 1 4 9                                                                                      Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e        Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.514 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $213,050.01
          Ve n t u r e s Tr a d i n g Sh a n g h a i Co                                                                Ch e c k a l l t h a t a p p l y.
          3 0 N Ju a n g s u Rd , Rm 4 0 5                                                                                    Co n t i n g e n t
          Ch a n g n i n g , S H                                                                                              Un l i q u i d a t e d
          Ch i n a                                                                                                            Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e        Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.515 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,642.20
           Ve r o t i k In c                                                                                           Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 4 2 6 9 2                                                                                             Co n t i n g e n t
           Lo s An g e l e s , C A 9 0 0 6 4                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e               Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.516 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,028.95
           Ve s t i s                                                                                                  Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 5 0 9 7 7                                                                                             Co n t i n g e n t
           Da l l a s , T X 7 5 2 6 5 - 0 9 7 7                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e               Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.517 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $268,308.30
          V I Z Me d i a , L L C                                                                                       Ch e c k a l l t h a t a p p l y.
          1 3 5 5 Ma r k e t St , St e 2 0 0                                                                                  Co n t i n g e n t
          Sa n Fr a n c i s c o , C A 9 4 1 0 3                                                                               Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e               Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.518 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,920.00
          W W No r t o n & Co m p a n y In c                                                                           Ch e c k a l l t h a t a p p l y.
          c / o Na t i o n a l Bo o k Co                                                                                      Co n t i n g e n t
          P. O. Bo x 7 8 6 6 5 2                                                                                              Un l i q u i d a t e d
          Ph i l a d e l p h i a , PA 1 9 1 7 8 - 6 6 5 2                                                                     Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e        Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.519 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $7,918.79
          Wa k e En t e r t a i n m e n t                                                                              Ch e c k a l l t h a t a p p l y.
          At t n : Br e n t Er w i n                                                                                          Co n t i n g e n t
          4 0 0 0 Fa i r f a x St                                                                                             Un l i q u i d a t e d
          Fo r t Wo r t h , T X 7 6 1 1 6                                                                                     Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e        Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.520 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,461.44
          Wa r g a m e s At l a n t i c L L C                                                                          Ch e c k a l l t h a t a p p l y.
          2 7 0 Be l l e v u e w Av e                                                                                         Co n t i n g e n t
          Ne w p o r t , R I 0 2 4 8 0                                                                                        Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e               Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.521 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $8,253.86
           Wa r l o r d Ga m e s                                                                                       Ch e c k a l l t h a t a p p l y.
           T0 4 / T1 0 Te c h n o l o g y Wi n g                                                                              Co n t i n g e n t
           No t t i n g h a m , N G7 2 B D                                                                                    Un l i q u i d a t e d
           Un i t e d Ki n d o m                                                                                              Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e        Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.522 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $19,627.92
           Wa r r a n t Pu b l i s h i n g Co m p a n y                                                                Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 6 6                                                                                                     Co n t i n g e n t
           Yu c c a Va l l e y, C A 9 2 2 8 6                                                                                 Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              In v a l i d d a t e               Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.523 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $53,309.47
           Wa s t e Co n n e c t i o n s o f T N In c                                                                  Ch e c k a l l t h a t a p p l y.
           Di s t r i c t 6 0 1 0 - 1 1 3 1 5 2 4 - 0 0 3                                                                     Co n t i n g e n t
           P. O. Bo x 5 3 5 2 3 3                                                                                             Un l i q u i d a t e d
           Pi t t s b u r g , PA 1 5 2 5 3 - 5 2 3 3                                                                          Di s p u t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                Ba s i s o f c l a i m :
                                                                                                                       Tr a d e
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

3.524 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                               As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,060.00
          We h r l e g i g Ga m e s                                                                                    Ch e c k a l l t h a t a p p l y.
          1 0 0 7 S Li n c o l n St                                                                                           Co n t i n g e n t
          Bl o o m i n g t o n , I N 4 7 4 0 1                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                       Di s p u t e d
                                                                                                                       Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                        Tr a d e
                                                                                                                       Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                        ✔ No .
                                                                                                                              Ye s .

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                                                                                                                                                                                               Amount of claim
         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.525 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,226.31
          Wi e s e U S A                                                                                            Ch e c k a l l t h a t a p p l y.
          1 4 3 5 Wo o d s o n Rd                                                                                          Co n t i n g e n t
          St Lo u i s , M O 6 3 1 3 2                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.526 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,481.65
          Wi l d s i d e Pr e s s , L L C                                                                           Ch e c k a l l t h a t a p p l y.
          7 9 4 5 Ma c a r t h u r Bl v d , St e 2 1                                                                       Co n t i n g e n t
          Ca b i n Jo h n , M D 2 0 8 1 8                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.527 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $1,721.05
          Wi l l i a m M Ga i n e s , Ag e n t                                                                      Ch e c k a l l t h a t a p p l y.
          5 4 1 9 Ho l l y w o o d Bl v d , St e C2 1 1                                                                    Co n t i n g e n t
          Lo s An g e l e s , C A 9 0 0 2 7                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.528 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $2,605.50
          Wi n n i n g Mo v e s In c                                                                                Ch e c k a l l t h a t a p p l y.
          7 5 Sy l v a n St , St e C- 1 0 4                                                                                Co n t i n g e n t
          Da n v e r s , M A 0 1 9 2 3                                                                                     Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.529 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $18,246.24
          Wi s e Wi z a r d Ga m e s L L C                                                                         Ch e c k a l l t h a t a p p l y.
          7 1 9 Wa t e r St                                                                                               Co n t i n g e n t
          Fr a m i n g h a m , M A 0 1 7 0 1                                                                              Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.530 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $637,117.17
           Wi z a r d s o f t h e Co a s t In c                                                                    Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 4 0 3 0 5 0                                                                                         Co n t i n g e n t
           At l a n t a , G A 3 0 3 8 4 - 3 0 5 0                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.531 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $9,810.41
           Wo r l d w i d e Ex p r e s s                                                                            Ch e c k a l l t h a t a p p l y.
           P. O. Bo x 2 1 2 7 2                                                                                            Co n t i n g e n t
           Ne w Yo r k , N Y 1 1 2 0 2 - 1 2 7 2                                                                           Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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                                                                                                                                                                                               Amount of claim
         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.532 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $395.20
          Wo r l d w i s e Im p o r t s L L C                                                                       Ch e c k a l l t h a t a p p l y.
          4 3 9 0 E Al e x a n d e r Rd                                                                                    Co n t i n g e n t
          La s Ve g a s , N V 8 9 1 1 5                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.533 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $11,557.60
          Wy r d Mi n i a t u r e s L L C                                                                          Ch e c k a l l t h a t a p p l y.
          2 1 9 7 Ca n t o n Rd                                                                                           Co n t i n g e n t
          Ma r i e t t a , G A 3 0 0 6 6                                                                                  Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.534 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $1,142,681.65
          Xc e e d i n g Pa r t n e r s h i p So l u t i o n s                                                     Ch e c k a l l t h a t a p p l y.
          8 5 4 7 Du l w i c h Rd                                                                                         Co n t i n g e n t
          Co r d o v a , T N 3 8 0 1 6                                                                                    Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.535 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $66,258.89
          X P O Lo g i s t i c s Fr e i g h t In c                                                                 Ch e c k a l l t h a t a p p l y.
          2 9 5 5 9 Ne t w o r k Pl                                                                                       Co n t i n g e n t
          Ch i c a g o , I L 6 0 6 7 3 - 1 5 5 9                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.536 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $6,705.20
          Ye n Pr e s s L L C                                                                                       Ch e c k a l l t h a t a p p l y.
          1 5 0 W 3 0 t h St , 1 9 t h Fl                                                                                  Co n t i n g e n t
          Ne w Yo r k , N Y 1 0 0 0 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s              ✔ Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.537 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $35,250.00
          Yo u t o o z                                                                                             Ch e c k a l l t h a t a p p l y.
          4 2 2 3 Gl e n c o e Av e , St e C2 0 3                                                                         Co n t i n g e n t
          Ma r i n a De l Ra y, C A 9 0 2 9 2                                                                             Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.538 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $74.18
          Yu m c h a St u d i o s                                                                                   Ch e c k a l l t h a t a p p l y.
          3 1 - 5 0 1 4 0 t h St , Ap t 5 G                                                                                Co n t i n g e n t
          Fl u s h i n g , N Y 1 1 3 5 4                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

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         additional NONPRIORITY creditors exist, do not fill out or submit this page.
3.539 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $7,618.10
          Z2 Co m i c s                                                                                             Ch e c k a l l t h a t a p p l y.
          2 0 1 E 6 9 t h St , Ap t 1 5 B                                                                                  Co n t i n g e n t
          Ne w Yo r k , N Y 1 0 0 2 1                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s              ✔ Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.540 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $31.68
          Za o b i t z In c                                                                                         Ch e c k a l l t h a t a p p l y.
          5 9 4 8 Li n d e n h u r s t Av e                                                                                Co n t i n g e n t
          Lo s An g e l e s , C A 9 0 0 3 6                                                                                Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.541 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $3,105.00
          Zd a r s c o In c                                                                                         Ch e c k a l l t h a t a p p l y.
          5 9 5 5 De s o t o Av e , St e 1 0 0                                                                             Co n t i n g e n t
          Wo o d l a n d Hi l l s , C A 9 1 3 6 7                                                                          Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.542 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $5,517.70
          Ze n Mo n k e y St u d i o s L L C                                                                        Ch e c k a l l t h a t a p p l y.
          3 0 3 E 3 3 r d St , Un i t 1 1 E                                                                                Co n t i n g e n t
          Ne w Yo r k , N Y 1 0 0 1 6                                                                                      Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

3.543 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                           As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :    $68,766.71
          Ze n e s c o p e En t e r t a i n m e n t In c                                                           Ch e c k a l l t h a t a p p l y.
          2 3 8 1 Ph i l m o n t Av e , Un i t 1 1 9                                                                      Co n t i n g e n t
          Hu n t i n g d o n Vl l y, PA 1 9 0 0 6                                                                         Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                   Di s p u t e d
                                                                                                                   Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                    Tr a d e
                                                                                                                   Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                    ✔ No .
                                                                                                                          Ye s .

3.544 No n p r i o r i t y c r e d i t o r ' s n a m e a n d m a i l i n g a d d r e s s                            As o f t h e p e t i t i o n f i l i n g d a t e , t h e c l a i m i s :   $4,890.20
          Zu r z o l o & Qu i n n , L L C                                                                           Ch e c k a l l t h a t a p p l y.
          4 Br o w n i n g Dr                                                                                              Co n t i n g e n t
          Os s i n i n g , N Y 1 0 5 6 2                                                                                   Un l i q u i d a t e d
           Da t e o r d a t e s d e b t w a s i n c u r r e d                              Va r i o u s                    Di s p u t e d
                                                                                                                    Ba s i s o f c l a i m :
           La s t 4 d i g i t s o f a c c o u n t n u m b e r                       __ __ __ __                     Tr a d e
                                                                                                                    Is t h e t h e c l a i m s u b j e c t t o o f f s e t ?
                                                                                                                     ✔ No .
                                                                                                                           Ye s .

Official Form 206E/F                                                                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 159 of 161
 Part 3:                                          Case
                             List Others to Be Notified About25-10308
                                                              Unsecured Claims Doc 155                                                                  Filed 02/18/25                                    Page 220 of 250
4. Li s t i n a l p h a b e t i c a l o r d e r a n y o t h e r s w h o m u s t b e n o t i f i e d f o r c l a i m s l i s t e d i n Pa r t s 1 a n d 2 . Ex a m p l e s o f e n t i t i e s t h a t m a y b e l i s t e d a r e c o l l e c t i o n a g e n c i e s , a s s i g n e e s o f c l a i m s l i s t e d
    above, and attorneys for unsecured creditors.
    If n o o t h e r s n e e d t o b e n o t i f i e d f o r t h e d e b t s l i s t e d i n Pa r t s 1 a n d 2 , d o n o t f i l l o u t o r s u b m i t t h i s p a g e . If a d d i t i o n a l p a g e s a r e n e e d e d , c o p y t h e n e x t p a g e .

                                                                                                                                                                   On which line in Part 1 or Part 2 is the related                                                Last 4 digits of account number,
         Name and mailing address
                                                                                                                                                                   creditor (if any) listed?                                                                       if any




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 Part 4:        Total Amounts of the Priority and Nonpriority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                               Total of claim amounts
5.a Total claims from Part 1.                                                                                       5a                             $851,191.70
5.b Total claims from Part 2.                                                                                       5b   +                      $45,913,108.16
5.c Total of Parts 1 and 2
                                                                                                                    5c   +                      $46,764,299.86
    Lines 5a + 5b = 5c




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                                           Case 25-10308
  Fill in this information to identify the case:
                                                                                Doc 155                     Filed 02/18/25                       Page 222 of 250

 Debtor name: Diamond Comic Distributors, Inc.
 United States Bankruptcy Court for the Baltimore Division, District of Maryland                                                                                                Check if this is an amended filing
 Case number (If known): 25-10308


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
    ✔    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).
  2. List all contracts and unexpired leases                                                                                                        State the name and mailing address for all other parties with
                                                                                                                                                    whom the debtor has an executory contract or unexpired lease


          State what the contract or lease is for and the   Le a s e b y a n d Be t w e e n 1 0 7 Gi l r o y Ro a d , L L C a n d Di a m o n d      1 0 7 2 0 Gi l r o y Ro a d , L L C
   2.1                                                                                                                                              At t n : To m Br o o k s & An t o n i o Ki t t l e s
          nature of the debtor's interest                   Co m i c Di s t r i b u t o r s , In c o r p o r a t e d
                                                                                                                                                    3 2 We s t Rd , St e 2 3 0
          State the term remaining                                                                                                                  To w s o n , M D 2 1 2 0 4
          List the contract number of any government
          contract
          State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                             1 2 Ga u g e Co m i c s
   2.2                                                                                                                                              At t n : Ke v e n Ga r d n e r
          nature of the debtor's interest
                                                                                                                                                    3 2 0 1 Jo h n s o n St
          State the term remaining                                                                                                                  Pe l h a m , A L 3 5 2 1 4
          List the contract number of any government
          contract
          State what the contract or lease is for and the   Ag r e e m e n t o f Le a s e ( a s a m e n d e d )                                     2 0 7 Re d c o L L C
   2.3                                                                                                                                              At t n : Gl e n Re x r o t h
          nature of the debtor's interest
                                                                                                                                                    4 6 5 E Lo c u s t St
          State the term remaining                          07/31/2028                                                                              P. O. Bo x 9 8
          List the contract number of any government                                                                                                Da l l a s t o w n , PA 1 7 3 1 3
          contract
          State what the contract or lease is for and the   Su p p l i e r Ag r e e m e n t                                                         2 4 2 8 3 9 2 , In c Fy e
   2.4
          nature of the debtor's interest
          State the term remaining
          List the contract number of any government
          contract
          State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                 A Wa v e Bl u e Wo r l d
   2.5                                                                                                                                              At t n : Ty l e r Ch i n - Ta n n e r
          nature of the debtor's interest
                                                                                                                                                    3 9 9 We s t St
          State the term remaining                                                                                                                  Ne w Yo r k , N Y 1 0 0 1 4
          List the contract number of any government
          contract
          State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                 Ab l a z e , L L C
   2.6                                                                                                                                              At t n : Ri c h Yo u n g
          nature of the debtor's interest
                                                                                                                                                    1 1 2 2 2 S E Ma i n St , St e 2 2 9 0 6
          State the term remaining                                                                                                                  Pr t l a n d , O R 9 7 2 6 9
          List the contract number of any government
          contract
          State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                             Ab s t r a c t St u d i o , In c
   2.7                                                                                                                                              At t n : Te r r y Mo o r e
          nature of the debtor's interest
                                                                                                                                                    5 3 1 1 Ki r b y Dr , St e 1 0 2
          State the term remaining                                                                                                                  Ho u s t o n , T X 7 7 0 0 5
          List the contract number of any government
          contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                                             whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                                       Ac t i o n La b En t e r t a i n m e n t
  2.8                                                                                                                                                        At t n : Ch a d Ci c c o n i
         nature of the debtor's interest
                                                                                                                                                             3 0 6 Br i d d l e w o o d Ct
         State the term remaining                                                                                                                            Ca n o n s b u r g PA 1 5 3 1 7
         List the contract number of any government
         contract
         State what the contract or lease is for and the   E M S Co n t r a c t                                                                              Ad v a n c e Bu s i n e s s Sy s t e m s & Su p p l y Co
  2.9                                                                                                                                                        1 0 7 5 5 Yo r k Rd
         nature of the debtor's interest
                                                                                                                                                             Co c k e y s v i l l e , M D 2 1 0 3 0
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   E M S Co n t r a c t                                                                              Ad v a n c e Bu s i n e s s Sy s t e m s & Su p p l y Co
  2.10                                                                                                                                                       1 0 7 5 5 Yo r k Rd
         nature of the debtor's interest
                                                                                                                                                             Co c k e y s v i l l e , M D 2 1 0 3 0
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                           Af t e r s h o c k Co m i c s
  2.11                                                                                                                                                       At t n : Jo n Kr a m e r
         nature of the debtor's interest
                                                                                                                                                             1 5 3 0 0 Ve n t u r a Bl v d , St e 5 0 7
         State the term remaining                                                                                                                            Sh e r m a n Oa k s , C A 9 1 4 0 3
         List the contract number of any government
         contract
         State what the contract or lease is for and the   In t e r r u p t i o n Re c o v e r y                                                             Ag i l i t y Re c o v e r y
  2.12
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   In t e r r u p t i o n Re c o v e r y                                                             Ag i l i t y Re c o v e r y
  2.13
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                           Ah o y Co m i c s
  2.14                                                                                                                                                       At t n : Ha r t Se e l y
         nature of the debtor's interest
                                                                                                                                                             1 0 1 En d e r b e r r y Ci r
         State the term remaining                                                                                                                            Sy r a c u s e , N Y 1 3 2 2 4
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Fi r e Al a r m In s p e t i o n & Te s t i n g Ag r e e m e n t f o r Fi r e Al a r m Pa n e l   Al a r m Te c Sy s t e m s o f Me m p h i s , L L C
  2.15                                                                                                                                                       2 0 3 5 Fl e t c h e r Cr e e k Dr , St e 1 0 2
         nature of the debtor's interest
                                                                                                                                                             Me m p h i s , T N 3 8 1 3 3
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                           Al b a t r o s s - Fu n n y b o o k s
  2.16                                                                                                                                                       2 7 0 1 A Me a d o w Ro s e Dr
         nature of the debtor's interest
                                                                                                                                                             Na s h v i l l e , T N 3 7 2 0 6
         State the term remaining
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                           State the name and mailing address for all other parties with
                                                                                                                                   whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                 Al i e n Bo o k s
  2.17                                                                                                                             1 N 4 t h Pl , St e 2 4 J
         nature of the debtor's interest
                                                                                                                                   Br o o k l y n , N Y 1 1 2 4 9
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                 Am a r Ch i t r a Ka t h a Pr i v a t e Li m i t e d
  2.18                                                                                                                             At t n : N K Kr i s h n a n a n d
         nature of the debtor's interest
                                                                                                                                   5 0 1 7 - 2 0 5 t h Fl , 1 Ae r o c i t y N I B R Co r p o r a t e Pa r k
         State the term remaining                                                                                                  An d h e r i - Ku r l a Rd , Sa f e d Po o l , Sh i v a j i Na g a r
         List the contract number of any government                                                                                Sa k i Na k a , Mu m b a i 4 0 0 0 7 2
                                                                                                                                   In d i a
         contract
         State what the contract or lease is for and the   2 0 2 3 Pu r c h a s e Te r m s Sh e e t                                Am a z o n
  2.19
         nature of the debtor's interest
         State the term remaining                          09/30/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Te r m s a n d Co n d i t i o n s                            Am a z o n
  2.20
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ve n d o r Te r m s a n d Co n d i t i o n s                            Am a z o n Fu l f i l l m e n t Se r v i c e s In c
  2.21
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   M D F/ C O O P Ag r e e m e n t # 8 3 1 1 5 6 4 5                       Am a z o n . c o m Se r v i c e s L L C
  2.22
         nature of the debtor's interest
         State the term remaining                          12/31/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   M D F/ C O O P Ag r e e m e n t # 7 3 9 2 5 1 1 0                       Am a z o n . c o m Se r v i c e s L L C
  2.23
         nature of the debtor's interest
         State the term remaining                          03/31/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   M D F/ C O O P Ag r e e m e n t # 7 3 9 2 5 1 0 5                       Am a z o n . c o m Se r v i c e s L L C
  2.24
         nature of the debtor's interest
         State the term remaining                          03/31/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   M D F/ C O O P Ag r e e m e n t # 7 3 7 7 6 5 2 0                       Am a z o n . c o m Se r v i c e s L L C
  2.25
         nature of the debtor's interest
         State the term remaining                          03/31/2025

         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                              State the name and mailing address for all other parties with
                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   M D F/ C O O P Ag r e e m e n t # 7 3 7 5 5 7 7 5                          Am a z o n . c o m Se r v i c e s L L C
  2.26
         nature of the debtor's interest
         State the term remaining                          03/31/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                    Am e r i c a n My t h o l o g y Pr o d u c t i o n s L L C
  2.27                                                                                                                                At t n : Ja m e s Ku h o r i c
         nature of the debtor's interest
                                                                                                                                      1 4 1 1 Ch e r o k e e Ln
         State the term remaining                                                                                                     Be l Ai r , M D 2 1 0 1 5
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                    An d r e w Ka f o u r y
  2.28                                                                                                                                D B A Ba t t l e Qu e s t Co m i c s
         nature of the debtor's interest
                                                                                                                                      1 7 4 8 N E Ti l l a m o o k
         State the term remaining                                                                                                     Po r t l a n d , O R 9 7 2 1 2
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e Ag r e e m e n t ( a s a m e n d e d )                            An s o n Lo g i s t i c s As s e t s L L C
  2.29                                                                                                                                c / o Ma p l e t r e e U S Ma n a g e m e n t , L L
         nature of the debtor's interest
                                                                                                                                      At t n : Ke r r i Sh e r r e r La u h a l a , Sr Pr o p e r t y Ma n a g e r
         State the term remaining                          8 7 m o n t h s a f t e r Co m m e n c e m e n t Da t e ( n o t s e t )    5 Br y a n t Pa r k , St e 2 8 0 0
                                                                                                                                      Ne w Yo r k , N Y 1 0 0 1 8
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                    Ap e x Bo o k Co
  2.30                                                                                                                                At t n : Ja s o n Si z e m o r e
         nature of the debtor's interest
                                                                                                                                      4 6 2 9 Ri v e r m a n Wa y
         State the term remaining                                                                                                     Le x i n g t o n , K Y 4 0 5 1 5
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t o r Ag r e e m e n t                                      Ar c a n e Ti n m e n Ap s
  2.31                                                                                                                                Bj o e r n h o l m s Al l e 4 - 6
         nature of the debtor's interest
                                                                                                                                      Vi b y J, 8 2 6 0
         State the term remaining                                                                                                     De n m a r k
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                Ar c h a i a En t e r t a i n m e n t L L C
  2.32                                                                                                                                At t n : Jo h n J Cu m m i n s
         nature of the debtor's interest
                                                                                                                                      4 1 5 N La Sa l l e St , St e 6 0 0
         State the term remaining                                                                                                     Ch i c a g o , I L 6 0 6 5 4
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                    Ar c h i e Co m i c Pu b l i c a t i o n s , In c
  2.33                                                                                                                                At t n : Jo n a t h a n Go l d w a t e r
         nature of the debtor's interest
                                                                                                                                      6 2 9 5 t h Av e
         State the term remaining                                                                                                     Pe l h a m , N Y1 0 8 0 3
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr e m i u m Se r v i c e s Ag r e e m e n t                               Ar e s Ga m e s , Sr l
  2.34                                                                                                                                At t n : Ch r i s t o p h i Ci a n c i
         nature of the debtor's interest
                                                                                                                                      Pi a z z a Pe t r u c c i 8
         State the term remaining                                                                                                     Ca m a i o r e , 5 5 0 3 1
                                                                                                                                      It a l y
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                            State the name and mailing address for all other parties with
                                                                                                                                    whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                  Ar t i s t s Wr i t e r s & Ar t i s a n s , In c
  2.35                                                                                                                              1 7 8 Co l u m b u s Av e , St e 2 3 7 1 9 4
         nature of the debtor's interest
                                                                                                                                    Ne w Yo r k , N Y 1 0 0 2 3
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                              As p e n Ml t , In c
  2.36                                                                                                                              At t n : Fr a n k Ma s t r o m a u r o & Mi c h a e l Tu r n e r
         nature of the debtor's interest
                                                                                                                                    1 2 2 3 Gl e n c o e Av e , St e A2 0 0
         State the term remaining                                                                                                   Ma r i n a De l Re y, C A 9 0 2 9 2
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                  Av a t a r Pr e s s , In c
  2.37                                                                                                                              At t n : Wi l l i a m Ch r i s t e n s e n
         nature of the debtor's interest
                                                                                                                                    5 1 5 N Ce n t u r y Bl v d
         State the term remaining                                                                                                   Ra n t o u l , I L 6 1 8 6 6
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                  Ba d Eg g , L L C
  2.38                                                                                                                              At t n : Ro b e r t Me y e r s
         nature of the debtor's interest
                                                                                                                                    3 1 0 1 Oc e a n Pa r k Bl v d , St e 1 0 0 P M B
         State the term remaining                                                                                                   Sa n t a Mo n i c a , C A9 0 4 0 5
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                  Ba n d a i Am e r i c a In c
  2.39                                                                                                                              At t n : Ni c k Co n t r e r a s & Cy n t h i a Ni s h i m o t o
         nature of the debtor's interest
                                                                                                                                    5 5 5 1 Ka t e l l a Av e
         State the term remaining                                                                                                   Cy p r u s , C A 9 0 6 3 0
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                  Be d s i d e Pr e s s
  2.40                                                                                                                              4 7 8 7 He n d e r s o n Hw y
         nature of the debtor's interest
                                                                                                                                    Na r o l , M B R1 C 0 B2
         State the term remaining                                                                                                   Ca n a d a
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                  Be h e m o t h St u d i o En t e r t a i n m e n t L L C
  2.41                                                                                                                              1 0 0 7 Mi l l Ru n Dr
         nature of the debtor's interest
                                                                                                                                    Al l e n T X 7 5 0 0 2
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                  Be n i t e z Pr o d u c t i o n s In c
  2.42                                                                                                                              1 4 3 6 S Do w n e y Rd , St e 1 / 2
         nature of the debtor's interest
                                                                                                                                    Lo s An g e l e s , C A 9 0 0 2 3
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Co m m e r c i a l Le a s e o f 2 2 5 1 Pi c a d i l l y Dr i v e        Bi g Bo x Pr o p e r t y Ow n e r E, L L C
  2.43                                                                                                                              At t n : Ny e s h i a Ro s s
         nature of the debtor's interest
                                                                                                                                    1 0 1 W El m St , St e 6 0 0
         State the term remaining                                                                                                   Co n s h o c h h o c k e n , PA 1 9 4 2 8
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                               State the name and mailing address for all other parties with
                                                                                                                                       whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                     Bl a c k Ma s k Co m i c s
  2.44                                                                                                                                 At t n : Ma t t Pi z z o l o
         nature of the debtor's interest
                                                                                                                                       2 7 9 8 Su n s e t Bl v d
         State the term remaining                                                                                                      Lo s An g e l e s , C A 9 0 0 2 6
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                     Bl a c k Pa n e l Pr e s s
  2.45                                                                                                                                 1 7 0 1 - 2 5 Ca p r e o l Ct
         nature of the debtor's interest
                                                                                                                                       To r o n t o , O N, M5 V 3 Z7
         State the term remaining                                                                                                      Ca n a d a
         List the contract number of any government
         contract
         State what the contract or lease is for and the   St a n d a r d Fo r m In d u s t r i a l Le a s e ( a s a m e n d e d )     Bn c St r a t e g i c Ca p i t a l Ve n t u r e s , L L C
  2.46                                                                                                                                 c / o Jo y Ne u n s c h w a n d e r , C P M
         nature of the debtor's interest
                                                                                                                                       Za c h e r Co m p a n y L L C
         State the term remaining                          04/30/2026                                                                  4 4 4 E Ma i n St
                                                                                                                                       Ft Wa y n e , I N 4 6 8 0 2
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                     Bo o m En t e r t a i n m e n t , In c
  2.47                                                                                                                                 At t n : Je n n i f e r Ha r n e d
         nature of the debtor's interest
                                                                                                                                       6 9 2 0 Me l r o s e Av e
         State the term remaining                                                                                                      Lo s An g e l e s , C A 9 0 0 3 8
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                     Br u l y m a n
  2.48
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                 Bu n d o r a n Pr e s s Pu b l i s h i n g Ho u s e
  2.49                                                                                                                                 At t n : Ha y d e n Tr e n h o l m
         nature of the debtor's interest
                                                                                                                                       1 5 1 Ba y St , Un i t 1 1 1 1
         State the term remaining                                                                                                      Ot t a w a , O N K1 R 7 T2
                                                                                                                                       Ca n a d a
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Sa l e s a n d Di s t r i b u t i o n Ag r e e m e n t                      Ca r d De p a r t m e n t , A De p t o f Ba n d a i Co , Lt d
  2.50                                                                                                                                 4 - 8 Ko m a g a t a 1 - Ch o m e
         nature of the debtor's interest
                                                                                                                                       Ta i t o - Ku , To k y o , 1 1 1 - 8 0 8 1
         State the term remaining                                                                                                      Ja p a n
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                 Ca r t o o n Bo o k s , In c
  2.51                                                                                                                                 At t n : Vi j a y a Iy e r
         nature of the debtor's interest
                                                                                                                                       P. O. Bo x 1 6 9 7 3
         State the term remaining                                                                                                      Co l u m b u s , O H 4 3 2 1 6
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                     Ch a p t e r Ho u s e Pu b l i s h i n g In c
  2.52                                                                                                                                 1 4 Co w a n Av e
         nature of the debtor's interest
                                                                                                                                       To r o n t o , O N M6 K 2 N2
         State the term remaining                                                                                                      Ca n a d a
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                             State the name and mailing address for all other parties with
                                                                                                                                     whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Se n i o r Em p l o y m e n t Ag r e e m e n t                            Ch a r l e s R Ty s o n I I I
  2.53                                                                                                                               1 0 1 5 0 Yo r k Rd , St e 3 0 0
         nature of the debtor's interest
                                                                                                                                     Hu n t Va l l e y, M D 2 1 0 3 0
         State the term remaining                          12/04/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                               Ch i z i n e Pu b l i c a t i o n s
  2.54                                                                                                                               At t n : Br e t t Sa v o r y
         nature of the debtor's interest
                                                                                                                                     6 7 Al a m e d a Av e
         State the term remaining                                                                                                    To r o n t o , O N M6 C 3 W4
                                                                                                                                     Ca n a d a
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Or d e r Fo r m ( St a t e m e n t o f Wo r k )                           Ci r c a n a
  2.55                                                                                                                               9 0 0 W Sh o r e Rd
         nature of the debtor's interest
                                                                                                                                     Po r t Wa s h i n g t o n , N Y 1 1 0 5 0
         State the term remaining                          10/30/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Qu o t e Nu m b e r 0 0 0 0 8 9 5 1                                       Cl e o Co m m u n i c a t i o n s U S, L L C
  2.56                                                                                                                               4 9 4 9 Ha r r i s o n Av e
         nature of the debtor's interest
                                                                                                                                     Ro c k f o r d , I L 6 1 1 0 8
         State the term remaining                          11/23/2027

         List the contract number of any government
         contract
         State what the contract or lease is for and the   In v o i c e                                                              Cl e o Co m m u n i c a t i o n s U S, L L C
  2.57                                                                                                                               4 9 4 9 Ha r r i s o n Av e
         nature of the debtor's interest
                                                                                                                                     Ro c k f o r d , I L 6 1 1 0 8
         State the term remaining                          11/22/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                   Cl o v e r Pr e s s , L L C
  2.58                                                                                                                               1 2 6 2 5 Hi g h Bl u f f Dr , St e 2 2 0
         nature of the debtor's interest
                                                                                                                                     Sa n Di e g o , C A 9 2 1 3 0
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   2 0 2 5 S D C C Bo o t h Co n t r a c t                                   Co m i c - Co n 2 0 2 5
  2.59
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le t t e r o f In t e n t                                                 Co m i k a z e En t e r t a i n m e n t L L C
  2.60
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                   Cr e a t i v e Mi n d En e r g y
  2.61                                                                                                                               At t n : Da m i a n Wa s s e l
         nature of the debtor's interest
                                                                                                                                     7 3 9 9 Ca n n o n b a l l Ga t e Rd
         State the term remaining                                                                                                    Wa r r e n t o n , VA 2 0 1 8 6
         List the contract number of any government
         contract
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                                                                                                                                           whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                         Cr y p t o z o i c En t e r t a i n m e n t
  2.62                                                                                                                                     At t n : Jo h n Se p e n u k
         nature of the debtor's interest
                                                                                                                                           2 5 3 5 1 Co m e r c e c e n t e r Dr , St e 2 5 0
         State the term remaining                                                                                                          La k e Fo r e s t , C A 9 2 6 3 0
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Fu l f i l l m e n t Se r v i c e s Ag r e e m e n t                            Da Vi n c i Ed i t r i c e S R L
  2.63                                                                                                                                     d b a Dv Gi o c h i Or Dv Ga m e s
         nature of the debtor's interest
                                                                                                                                           At t n : C E O
         State the term remaining                                                                                                          Vi a Sa n d r o Pe n n a , 2 4
                                                                                                                                           Pe r u g i a 0 6 1 3 2
         List the contract number of any government
                                                                                                                                           It a l y
         contract
         State what the contract or lease is for and the   Se n i o r Em p l o y m e n t Ag r e e m e n t                                  Da n i e l W Hi r s c h
  2.64                                                                                                                                     1 0 1 5 0 Yo r k Rd ,
         nature of the debtor's interest
                                                                                                                                           Co c k e y s v i l l e , M D 2 1 0 3 0
         State the term remaining                          12/04/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ag r e e m e n t                                                                Da r k Ho r s e Co m i c s , In c
  2.65                                                                                                                                     At t n : Mi k e Ri c h a r d s o n , Pr e s i d e n t
         nature of the debtor's interest
                                                                                                                                           1 0 9 5 6 S E Ma i n St
         State the term remaining                                                                                                          Mi l w a u k i e , O R 9 7 2 2 2 - 7 6 4 4
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                         D C En t e r t a i n m e n t
  2.66                                                                                                                                     At t n : V P & Le g a l Af f a i r s
         nature of the debtor's interest
                                                                                                                                           1 7 0 0 Br o a d w a y
         State the term remaining                                                                                                          Ne w Yo r k , N Y 1 0 0 1 9
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                     De s i g n St u d i o Pr e s s
  2.67                                                                                                                                     At t n : Ti n t i De y
         nature of the debtor's interest
                                                                                                                                           8 5 7 7 Hi g u e r a St
         State the term remaining                                                                                                          Cu l v e r Ci t y, C A 9 0 2 3 2
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pa y m e n t Co n f i r m a t i o n                                             De v i c e Ma g i c In c
  2.68
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                         Di f f e r e n c e En g i n e Pt e Lt d
  2.69                                                                                                                                     2 8 4 Ri v e r Va l l e y Rd
         nature of the debtor's interest
                                                                                                                                           Si n g a p o r e 2 3 8 3 2 5
         State the term remaining                                                                                                          Si n g a p o r e
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                         Di g i t a l Ma n g a , In c
  2.70                                                                                                                                     At t n : Hi k a r u Sa s a h r a
         nature of the debtor's interest
                                                                                                                                           1 4 8 7 W 1 7 8 t h St , St e 3 0 0
         State the term remaining                                                                                                          Ga r d e n a , C A 9 0 2 4 8
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                 State the name and mailing address for all other parties with
                                                                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   PREMIUM SERVICES AGREEMENT                                                   Di r e Wo l f Di g i t a l , L L C Ga m e s , In c
  2.71                                                                                                                                  a k a Di r e Wo l f Di g i t a l , L L C
         nature of the debtor's interest
                                                                                                                                        At t n : Sc o t t Ma r t i n s
         State the term remaining                                                                                                       1 1 2 0 Li n c o l n St , St e 1 4 0 0
                                                                                                                                        De n v e r , C O 8 0 2 0 3
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                      Ds t l r y Me d i a , In c
  2.72                                                                                                                                  2 2 5 E Br o a d w a y, St e 1 1 3
         nature of the debtor's interest
                                                                                                                                        Gl e n d a l e , C A 9 1 2 0 5
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                      Dy n a m i c Fo r c e s , In c
  2.73                                                                                                                                  At t n : Ni c k Ba r r u c c i
         nature of the debtor's interest
                                                                                                                                        1 1 3 Ga i t h e r Dr , St e 2 0 5
         State the term remaining                                                                                                       Mt La u r e l , N J 0 8 0 5 4
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                      E C Pu b l i c a t i o n s , In c d b a D C
  2.74                                                                                                                                  At t n : V P & Le g a l Af f a i r s
         nature of the debtor's interest
                                                                                                                                        1 7 0 0 Br o a d w a y
         State the term remaining                                                                                                       Ne w Yo r k , N Y 1 0 0 1 9
         List the contract number of any government
         contract
         State what the contract or lease is for and the   St a f f i n g Se r v i c e s Ag r e e m e n t                               El e c t i v e St a f f i n g Mi d s o u t h
  2.75
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Se c u r t i y Sy s t e m Ag r e e m e n t                                   El e c t r o n i c Sy s t e m s In s t a l l e r s
  2.76                                                                                                                                  5 6 N Qu e e n St
         nature of the debtor's interest
                                                                                                                                        Yo r k , PA 1 7 4 0 3
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ne w Ve n d o r Se t - u p                                                   El e c t r o n i c s Bo u t i q u e Ca n a d a , In c
  2.77                                                                                                                                  8 9 9 5 Ai r p o r t Rd
         nature of the debtor's interest
                                                                                                                                        Br a m p t o n , O N L6 T 5 T2
         State the term remaining                                                                                                       Ca n a d a
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Eq u i p m e n t Le a s e a n d Pr o p o a n e Su p p l y Ag r e e m e n t   En c o r e Pr o p a n e , L L C
  2.78                                                                                                                                  2 5 0 0 Da l l a s Pk w y, St e 3 0 0
         nature of the debtor's interest
                                                                                                                                        Pl a n o , T X 7 5 0 9 3
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ge n e r a l St a f f i n g Ag r e e m e n t                                 E T S In c
  2.79                                                                                                                                  1 8 6 U S Ov a l
         nature of the debtor's interest
                                                                                                                                        Pl a t t s b u r g h , N Y 1 2 9 0 3
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                              State the name and mailing address for all other parties with
                                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                                Eu r e k a Pr o d u c t i o n s
  2.80                                                                                                                                                At t n : To m Po m p l u n
         nature of the debtor's interest
                                                                                                                                                      8 7 7 8 Oa k Gr o v e Rd
         State the term remaining                                                                                                                     Mt Ho r e b , W I 5 3 5 7 2
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                                Ev i l Ha t Pr o d u c t i o n s , L L C
  2.81                                                                                                                                                At t n : Fr e d Hi c k s
         nature of the debtor's interest
                                                                                                                                                      1 9 0 5 Bl a c k b r i a r St
         State the term remaining                                                                                                                     Si l v e r Sp r i n g , M D 2 0 9 0 3
         List the contract number of any government
         contract
         State what the contract or lease is for and the   St a f f i n g Ag r e e m e n t                                                            Ex p r e s s Em p l o y m e n t Pr o f e s s i o n a l s
  2.82                                                                                                                                                1 1 3 3 S Cl i n t o n St
         nature of the debtor's interest
                                                                                                                                                      Ft Wa y n e , I N 4 6 8 0 4
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                    Fa i r s q u a r e Co m i c s
  2.83                                                                                                                                                At t n : Fa b r i c e Sa p o l s k y
         nature of the debtor's interest
                                                                                                                                                      6 0 8 S Du n s m u i r Av e , St e 2 0 7
         State the term remaining                                                                                                                     Lo s An g e l e s , C A 9 0 0 3 6
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                                Fa n t a g r p a h i c s Bo o k s , In c
  2.84                                                                                                                                                At t n : Ga r y Gr o t h
         nature of the debtor's interest
                                                                                                                                                      7 5 6 3 La k e Ci t y Wa y N W
         State the term remaining                                                                                                                     Se a t t l e , WA 9 8 1 1 5
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ag r e e m e n t Te r m s                                                                  Fe e d o n o m i c s Ho l d i n g s , L L C
  2.85                                                                                                                                                d b a Fe e d o n o m i c s
         nature of the debtor's interest
                                                                                                                                                      1 1 3 0 5 Fo u r Po i n t s Dr , Bl d g I I, St e 1 0 0
         State the term remaining                                                                                                                     Au s t i n T X 7 8 7 2 6
         List the contract number of any government
         contract
         State what the contract or lease is for and the   H VA C/ R Pr e v e n t a t i v e Ma i n t e n a n c e Ag r e e m e n t                     Fe l g e r Ha r t , In c
  2.86                                                                                                                                                5 0 4 9 N St a t e Rd 1
         nature of the debtor's interest
                                                                                                                                                      Os s i a n , I N 4 6 7 7 7
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Fi s h e r - Pr i c e & Ma t t e l Sa l e s Be n e f i t Pr o g r a m - Sp e c i a l t y   Fi s h e r - Pr i c e & Ma t t e l
  2.87
         nature of the debtor's interest                   Di s t r i b u t o r

         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Eq u i p m e n t Re n t a l a n d Wa t e r / Co f f e e Se r v i c e Ag r e e m e n t      Fo n t i s Mo u n t a i n Sp r i n g Wa t e r
  2.88                                                                                                                                                3 9 2 9 Ca n t o n Rd
         nature of the debtor's interest
                                                                                                                                                      Ma r i e t t a , G A 3 0 0 6 6
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                               State the name and mailing address for all other parties with
                                                                                                                                       whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                     Fr a n k Mi l l e r Pr e s e n t s
  2.89                                                                                                                                 At t n : Da n Di d i o
         nature of the debtor's interest
                                                                                                                                       8 0 1 7 t h Av e , St e 1 7 0 1
         State the term remaining                                                                                                      Ne w Yo r k , N Y 1 0 0 1 9
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su b l i c e n s e Ag r e e m e n t                                         Fu n i m a t i o n Pr o d u c t i o n s , Lt d
  2.90                                                                                                                                 1 2 0 0 La k e s i d e Pk w y, Bl d g 1
         nature of the debtor's interest
                                                                                                                                       Fl o w e r Mo u n d , T X 7 5 0 2 8
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                     Fu n k o , L L C
  2.91                                                                                                                                 2 8 0 2 We t m o r e Av e
         nature of the debtor's interest
                                                                                                                                       Ev e r e t t , WA 9 8 2 0 1
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                 Ge n Ma n g a En t e r t a i n m e n t , In c
  2.92                                                                                                                                 At t n : Ro b e r t Mc Gu i r e
         nature of the debtor's interest
                                                                                                                                       2 5 0 Pa r k Av e , St e 7 0 0 2
         State the term remaining                                                                                                      Ne w Yo r k , N Y 1 0 1 7 7
         List the contract number of any government
         contract
         State what the contract or lease is for and the   In d e p e n d e n t Sa l e Re p r e s e n t a t i v e Ag r e e m e n t     Gi o v a n n i Te r m a n i n i
  2.93                                                                                                                                 Ru a Pi o p p a 1 1 2
         nature of the debtor's interest
                                                                                                                                       Mo d e n a , 4 1 1 2 1
         State the term remaining                          04/26/2024                                                                  It a l y
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                     Go l d Ke y En t e r t a i n m e n t , L L C
  2.94                                                                                                                                 4 9 2 7 W La u r i t e Ln
         nature of the debtor's interest
                                                                                                                                       Gl e n d a l e , A Z 8 5 3 0 2
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                     Go o d Sm i l e Co In c
  2.95                                                                                                                                 Ak i b a - Co Bl d g 8 F, 3 - 1 6 - 1 2 , So t o - Ka n d s
         nature of the debtor's interest
                                                                                                                                       Ch i y o d a - k u , To k y o 1 0 1 - 0 0 2 1
         State the term remaining                                                                                                      Ja p a n
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                     Go o d m a n Ga m e s L L C
  2.96                                                                                                                                 5 1 Pi p e r Ln
         nature of the debtor's interest
                                                                                                                                       Fa i r f a x , C A 9 4 9 3 0
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Re c e i p t                                                                Go r g i a s In c
  2.97                                                                                                                                 1 8 0 Sa n s o m e St , St e 1 8 0 0
         nature of the debtor's interest
                                                                                                                                       Sa n Fr a n s i c o , C A 9 4 1 0 4
         State the term remaining
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                      State the name and mailing address for all other parties with
                                                                                                                                                              whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                                        Gr a p h i t t i De s i g n s , In c
  2.98                                                                                                                                                        At t n : Bo b Ch a p m a n
         nature of the debtor's interest
                                                                                                                                                              8 0 4 5 E Cr y s t a l Dr
         State the term remaining                                                                                                                             An a h e i m , C A 9 2 8 0 7
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Fu l f i l l m e n t Se r v i c e Pr o p o s a l                                                   Gr e e n Ro n i n Pu b l i s h i n g
  2.99
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                            Gr e e n Ro n i n Pu b l i s h i n g
 2.100                                                                                                                                                        At t n : Ch r i s Pr a m a s
         nature of the debtor's interest
                                                                                                                                                              6 7 3 1 2 9 t h Av e S
         State the term remaining                                                                                                                             Se a t t l e WA 9 8 1 0 8
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                                        G T La b s
 2.101                                                                                                                                                        At t n : Ji m Ot t a v i a n i
         nature of the debtor's interest
                                                                                                                                                              8 1 6 Hu t c h i n s Av e
         State the term remaining                                                                                                                             An n Ar b o r , M I 4 8 1 0 3 - 4 8 0 4
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                            Gu n g n i r En t e r t a i n m e n t
 2.102                                                                                                                                                        1 4 0 6 0 Pa n a y Wa y, Un i t 4 2 2
         nature of the debtor's interest
                                                                                                                                                              Ma r i n a De l Re y, C A 9 0 2 9 2
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr e m i u m Se r v i c e s Ag r e e m e n t                                                       Gu t Bu s t i n ' Ga m e s , L L C
 2.103                                                                                                                                                        P. O. Bo x 9 1 1
         nature of the debtor's interest
                                                                                                                                                              Ba t t l e Gr o u n d , WA 9 8 6 0 4
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                            Ha c h e t t e Pa r t w o r k s Lt d
 2.104                                                                                                                                                        4 7 Br u n s w i c k Pl
         nature of the debtor's interest
                                                                                                                                                              Ho x t o n , Lo n d o n , N1 6 E B
         State the term remaining                                                                                                                             Un i t e d Ki n g d o m
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ha s b r o In t e r n a t i o n a l Tr a d i n g B V, Di r e c t Im p o r t Pr o g r a m 2 0 1 4   Ha s b r o In t e r n a t i o n a l Tr a d i n g Bv
 2.105                                                                                                                                                        1 5 0 1 - 9 Wh a r f T& T Ce n t r e
         nature of the debtor's interest                   Sa l e s Ag r e e m e n t - Di s t r i b u t o r
                                                                                                                                                              Ha r b o u r Ci t y, Ts i m s h a t s u i
         State the term remaining                                                                                                                             Ho n g Ko n g
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                            He a v y Me t a l Ma g a z i n e
 2.106                                                                                                                                                        1 1 6 Pl e a s a n t St , St e 0 1 8
         nature of the debtor's interest
                                                                                                                                                              Ea s t h a m p t o n , M A 0 1 0 2 7
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                       State the name and mailing address for all other parties with
                                                                                                                                               whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                         He r m e s Pr e s s
 2.107                                                                                                                                         At t n : Da n i e l He r m a n
         nature of the debtor's interest
                                                                                                                                               2 1 0 0 Wi l m i n g t o n Rd
         State the term remaining                                                                                                              Ne w Ca s t l e , PA 1 6 1 0 5 - 1 0 3 1
         List the contract number of any government
         contract
         State what the contract or lease is for and the   In v o i c e                                                                        Ho o t s u i t e In c
 2.108                                                                                                                                         1 1 1 E 5 t h Av e
         nature of the debtor's interest
                                                                                                                                               Va n c o u v e r , B C V5 T 4 L1
         State the term remaining                                                                                                              Ca n a d a
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Te r m s a n d Co n d i t i o n s f o r U. S. A In d e p e n d e n t De a l e r s   Ho r n b y Am e r i c a , In c
 2.109                                                                                                                                         99670
         nature of the debtor's interest
                                                                                                                                               La k e w o o d , WA 9 8 4 9 6 - 0 6 7 0
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                         Hu m a n o i d s , In c
 2.110                                                                                                                                         8 0 3 3 Su n s e t Bl v d , St e 6 2 8
         nature of the debtor's interest
                                                                                                                                               Lo s An g e l e s , C A 9 0 0 4 6
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le t t e r o f Un d e r s t a n d i n g                                             Ic o n He r o e s , L L C
 2.111                                                                                                                                         4 2 5 5 Ca m p u s A1 0 0 , St e 4 9 2 6
         nature of the debtor's interest
                                                                                                                                               Ir v i n e , C A 9 2 6 1 6 - 4 9 2 6
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                         Id e a An d De s i g n Wo r k s , L L C
 2.112                                                                                                                                         d b a I D W Pu b l i s h i n g
         nature of the debtor's interest
                                                                                                                                               At t n : Te d Ad a m s
         State the term remaining                                                                                                              5 0 8 0 Sa n t a Fe St
                                                                                                                                               Sa n Di e g o , C A 9 2 1 0 9
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                             Im a g e Co m i c s , In c
 2.113                                                                                                                                         At t n : Er i c St e p h e n s o n
         nature of the debtor's interest
                                                                                                                                               2 1 5 S E 9 t h Av e , St e 1 0 8
         State the term remaining                                                                                                              Po r t l a n d , O R 9 7 2 1 4
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                             Im p a c t Th e o r y, L L C
 2.114                                                                                                                                         1 3 8 7 0 Mu l h o l l a n d Dr
         nature of the debtor's interest
                                                                                                                                               Be v e r l y Hi l l s , C A 9 0 2 1 0
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e Ag r e e m e n t ( a s a m e n d e d )                                     I P T Me m p h i s Dc L L C
 2.115                                                                                                                                         c / o Pr o l o g i s Ma n a g e m e n t L L C
         nature of the debtor's interest
                                                                                                                                               At t n : Pa m Fa u l k
         State the term remaining                          09/30/2028                                                                          5 1 0 1 Wh e e l i s Dr , St e 3 0 0
                                                                                                                                               Me m p h i s , T N 3 8 8 1 7
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                 State the name and mailing address for all other parties with
                                                                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Bu r g l a r Al a r m Mo n i t o r i n g Ag r e e m e n t                     I T Of f i c e L L C
 2.116                                                                                                                                   1 9 8 2 1 Sc e n i c Dr
         nature of the debtor's interest
                                                                                                                                         Sp i c e w o o d , T X 7 8 6 6 9
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t o r s h i p Ag r e e m e n t                                 Ja s c o Ga m e s L L C
 2.117                                                                                                                                   d b a U V S Ga m e s
         nature of the debtor's interest
                                                                                                                                         5 0 7 5 Ca m e r o n St , St e C
         State the term remaining                                                                                                        La s Ve g a s N V 8 9 1 1 8
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                       Jo e Bo o k s , In c
 2.118                                                                                                                                   At t n : Ad a m Fo r t i e r
         nature of the debtor's interest
                                                                                                                                         5 6 7 Qu e e n St W
         State the term remaining                                                                                                        To r o n t o , O N M5 V 2 B6
                                                                                                                                         Ca n a d a
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ch i e f Ma r k e t i n g Of f i c e r Em p l o y m e n t Ag r e e m e n t    Ka t h y Gl o v e r
 2.119                                                                                                                                   1 0 1 5 0 Yo r k Rd ,
         nature of the debtor's interest
                                                                                                                                         Co c k e y s v i l l e , M D 2 1 0 3 0
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Mo n i t o r i n g Ag r e e m e n t                                           Kn i n e Al l Sy s t e m s , In c
 2.120                                                                                                                                   P. O. Bo x 1 6 7
         nature of the debtor's interest
                                                                                                                                         Da l l a s , G A 3 0 1 3 2
         State the term remaining                          12/06/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t o r s h i p Ag r e e m e n t                                 Ko n a m i Di g i t a l En t e r t a i n m e n t , In c
 2.121                                                                                                                                   1 4 5 0 0 Av i a t i o n Bl v d
         nature of the debtor's interest
                                                                                                                                         Ha w t h o r n e , C A 9 0 2 5 0
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ma s t e r Di s t r i b u t i o n Ag r e e e m n t                            Ko t o b u k i y a Co , Lt d
 2.122                                                                                                                                   d b a Ta k a y u k i Su n a n o
         nature of the debtor's interest
                                                                                                                                         Ko t o b u k i y a Bl d g , 4 - 5 Mi d o r i - c h o
         State the term remaining                                                                                                        Ta c h i k a w a , To k y o 1 9 0 - 8 5 4 2
                                                                                                                                         Ja p a n
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                       La g u n a St u d i o s
 2.123                                                                                                                                   9 1 7 8 Ri d g e Pa t h
         nature of the debtor's interest
                                                                                                                                         Sa n An t o n i o , T X 7 8 2 5 0
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                       Le s Ed i t i o n s Pi x ' N Lo v e
 2.124                                                                                                                                   6 Al l e c Ar t h u r Ri m b a u d
         nature of the debtor's interest
                                                                                                                                         Tr i e l Su r Se i n e
         State the term remaining                                                                                                        Fr a n c e
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                             State the name and mailing address for all other parties with
                                                                                                                                     whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                   Li o n w i n g Pu b l i s h i n g Lt d
 2.125                                                                                                                               7 3 3 0 Ma l l a r d Dr
         nature of the debtor's interest
                                                                                                                                     W Ch e s t e r , O H 4 5 0 6 9
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                   Li v i n g Th e Li n e
 2.126                                                                                                                               6 9 5 1 Am h e r s t St
         nature of the debtor's interest
                                                                                                                                     Sa n Di e g o , C A 9 2 1 1 5
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                   Lu l u Is A Rh i n o c e r o s L L C
 2.127                                                                                                                               c / o Le v i n e & Se l z e r
         nature of the debtor's interest
                                                                                                                                     At t n : El l i o t Le v i n e
         State the term remaining                                                                                                    5 0 0 5 t h Av e , 3 7 t h Fl
                                                                                                                                     Ne w Yo r k , N Y 1 0 1 1 0
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pu r c h a s e Ag r e e m e n t                                           Lu n a r Di s t r i b u t i o n
 2.128                                                                                                                               1 0 7 0 1 Ro s e Av e
         nature of the debtor's interest
                                                                                                                                     Ne w Ha v e n , I N 4 6 7 7 4
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                   Ma d Ca v e St u d i o s
 2.129                                                                                                                               8 8 3 8 S W 1 2 9 St
         nature of the debtor's interest
                                                                                                                                     Mi a m i , F L 3 3 1 7 6
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                   Ma g n e t i c Pr e s s , In c
 2.130                                                                                                                               4 9 1 0 N Wi n t h r o p Av e , St e 3 S
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Mu t u a l No n - Di s c l o s u r e Ag r e e m e n t                     Ma n s o n We s t e r n , L L C
 2.131                                                                                                                               d b a We s t e r n Ps y c h o l o g i c a l Se r v i c e s , W P S
         nature of the debtor's interest
                                                                                                                                     6 2 5 Al a s k a Av e
         State the term remaining                                                                                                    To r r a n c e , C A 9 0 5 0 3
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                               Ma r g a r e t We i s Pr o d u c t i o n s , Lt d
 2.132                                                                                                                               At t n : Ma r g a r e t We i s
         nature of the debtor's interest
                                                                                                                                     P. O. Bo x 1 1 3 1
         State the term remaining                                                                                                    Wi l l i a m s Ba y, W I 5 3 1 9 1
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ag e n c y Ag r e e m e n t                                               Ma r v e l Wo r l d w i d e , In c
 2.133
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                   State the name and mailing address for all other parties with
                                                                                                                                                           whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                         Ma s s i v e Pu b l i s h i n g , L L C
 2.134                                                                                                                                                     1 9 3 3 S E Al d e r St
         nature of the debtor's interest
                                                                                                                                                           Po r t l a n d , O R 9 7 2 1 4
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   In f o r m a t i o n a n d Ra t e Pr o p o s a l                                                Ma s t e r St a f f i n g L L C
 2.135                                                                                                                                                     1 8 0 0 E Ma r k e t St
         nature of the debtor's interest
                                                                                                                                                           Yo r k , PA 1 7 4 0 2
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   2 0 1 3 Ma t t e l Sa l e s Be n e f i t Pr o g r a m - Sp e c i a l t y Di s t r i b u t o r   Ma t t e l Sa l e s Co r p
 2.136                                                                                                                                                     5774-6584
         nature of the debtor's interest
                                                                                                                                                           P. O. Bo x 1 0 0 1 2 5
         State the term remaining                                                                                                                          At l a n t a , G A 3 0 3 8 4 - 0 1 2 5
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t f o r Ex c l u s i v e Pr o d u c t                     Me z c o To y s
 2.137                                                                                                                                                     3 7 - 3 8 1 3 t h St
         nature of the debtor's interest
                                                                                                                                                           Lo n g Is l a n d Ci t y, N Y 1 1 1 0 1
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Mi c r o s o f t Vo l u m e Li c e n s i n g                                                    Mi c r o s o f t Co r p
 2.138                                                                                                                                                     At t n : Tr a c e y Ro c k
         nature of the debtor's interest
                                                                                                                                                           1 Mi c r o s o f t Wa y
         State the term remaining                          06/22/2026                                                                                      Re d m o n d , WA 9 8 0 5 2
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Bu s i n e s s De v e l o p m e n t Ma n a g e r a n d Co m m i s s i o n Ag r e e m e n t      Mi k e Sc h i m m e l
 2.139
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Sa l e o f Go o d s Ag r e e m e n t                                                            Mi n i s o De p o t Ca In c
 2.140                                                                                                                                                     1 0 5 0 La k e s Dr , St e 2 6 0
         nature of the debtor's interest
                                                                                                                                                           W Co v i n a , C A 9 1 7 9 0
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Mu t u a l Co n f i d e n t i a l i t y Ag r e e m e n t                                        Mi n i s o De p o t Ca In c
 2.141                                                                                                                                                     1 0 5 0 La k e s Dr , St e 2 6 0
         nature of the debtor's interest
                                                                                                                                                           W Co v i n a , C A 9 1 7 9 0
         State the term remaining                          05/17/2028

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                                     Mi s c h Ma s c h
 2.142                                                                                                                                                     d b a Pr i m e Bo o k s L L C
         nature of the debtor's interest
                                                                                                                                                           At t n : Se a n Wa l l a c e
         State the term remaining                                                                                                                          P. O. Bo x 8 3 4 6 4
                                                                                                                                                           Ga i t h e r s b u r g , M D 2 0 8 8 3
         List the contract number of any government
         contract
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                                                                                                                                       whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                     Mo l t e n Co r e Me d i a L L C
 2.143                                                                                                                                 d b a Ma g m a Co m i x
         nature of the debtor's interest
                                                                                                                                       At t n : De n t o n Ti p t o n
         State the term remaining                                                                                                      3 1 3 0 Wh i t t i e r St
                                                                                                                                       Sa n Di e g o , C A 9 2 1 0 6
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr e m i u m Se r v i c e s Ag r e e m e n t                                Mo n s t e r Fi g h t Cl u b
 2.144                                                                                                                                 At t n : Jo h n Ko v a l e s k i
         nature of the debtor's interest
                                                                                                                                       3 9 5 - 1 9 0 Re a s f o r d Rd
         State the term remaining                                                                                                      Ea r l y s v i l l e , VA 2 2 9 3 6
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ag r e e m e n t f o r D C D t o d i s t r i b u t e p r o d u c t s        Mo u l i n s a r t
 2.145                                                                                                                                 1 6 2 Av e Lo u i s e
         nature of the debtor's interest
                                                                                                                                       Br u s s e l s , 1 0 5 0
         State the term remaining                                                                                                      Be l g i u m
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                 N B M Pu b l i s h i n g
 2.146                                                                                                                                 At t n : Te r r y Na n t i e r
         nature of the debtor's interest
                                                                                                                                       4 0 Ex c h a n g e Pl , St e 1 3 0 8
         State the term remaining                                                                                                      Ne w Yo r k , N Y 1 0 0 0 5
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                 Ne t c o m i c s
 2.147                                                                                                                                 At t n : He e w o o n Ch u n g
         nature of the debtor's interest
                                                                                                                                       7 3 0 W Do r a n St , St e 2 0 7
         State the term remaining                                                                                                      Gl e n d a l e , C A 9 1 2 3 0
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ag r e e m e n t                                                            Ni e l s e n Bo o k Se r v i c e s Lt d
 2.148                                                                                                                                 Mi d a s Ho u s e
         nature of the debtor's interest
                                                                                                                                       6 2 Go l d s w o r t h Rd , 3 r d Fl
         State the term remaining                                                                                                      Wo k i n g , Su r r e y G U2 1 6 L Q
                                                                                                                                       Un i t e d Ki n g d o m
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                 No r m a l Ed i t o r i a l S A
 2.149                                                                                                                                 At t n : Ra f a e l Ma r t i n e z
         nature of the debtor's interest
                                                                                                                                       Pa s s e i g d e Sa n t Jo a n , 7
         State the term remaining                                                                                                      Ba r c e l o n a , 0 8 0 1 0
                                                                                                                                       Sp a i n
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                 On i Pr e s s , In c
 2.150                                                                                                                                 At t n : Jo e No z e m a c k
         nature of the debtor's interest
                                                                                                                                       1 3 0 5 S E M L K Jr Bl v d , St e A
         State the term remaining                                                                                                      Po r t l a n d , O R 9 7 2 1 4
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                     Op u s - In c e n d i u m
 2.151                                                                                                                                 6 Mi l l Ln
         nature of the debtor's interest
                                                                                                                                       Lo n d o n N W6 1 N J
         State the term remaining                                                                                                      Un i t e d Ki n g d o m
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                  State the name and mailing address for all other parties with
                                                                                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Ta x In v o i c e                                                                              Pa d d l e . c o m In c
 2.152                                                                                                                                                    3 8 8 1 Di t m a r s Bl v d , St e 1 0 7 1
         nature of the debtor's interest
                                                                                                                                                          As t o r i a , N Y 1 1 1 0 5
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                        Pa i z o In c
 2.153                                                                                                                                                    7 1 2 0 1 8 5 t h Av e N E, St e 1 2 0
         nature of the debtor's interest
                                                                                                                                                          Re d m o n d , WA 9 8 0 5 2
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   In v o i c e                                                                                   Pb w Co m m u n i c a t i o n s
 2.154                                                                                                                                                    P. O. Bo x 3 2 8 6 3
         nature of the debtor's interest
                                                                                                                                                          Ba l t i m o r e M D 2 1 2 8 2
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                        Pe d i g r e e Bo o k s Lt d
 2.155                                                                                                                                                    At t n : Ma t t h e w Re y n o l d s
         nature of the debtor's interest
                                                                                                                                                          Be e c h Hi l l Ho u s e
         State the term remaining                                                                                                                         Wa l n u t Ga r d e n s , Ex e t e r
                                                                                                                                                          De v o n , En g l a n d E X4 4 D H
         List the contract number of any government
                                                                                                                                                          Un i t e d Ki n g d o m
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                        Pe n g u i n Bo o k s Lt d
 2.156                                                                                                                                                    At t n : Mi k e Sy m o n s
         nature of the debtor's interest
                                                                                                                                                          8 0 St r a n d
         State the term remaining                                                                                                                         Lo n d o n , En g l a n d W C2 R 0 R L
                                                                                                                                                          Un i t e d Ki n g d o m
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                        Pe n n St a t e Un i v e r s i t y Pr e s s
 2.157                                                                                                                                                    d b a Gr a p h i c Mu n d i
         nature of the debtor's interest
                                                                                                                                                          8 2 0 N Un i v e r s i t y Dr
         State the term remaining                                                                                                                         Un i v e r s i t y Su p p o r t Bl d g 1 , St e C
         List the contract number of any government                                                                                                       Un i v e r s i t y Pa r k , PA 1 6 8 0 2
         contract
         State what the contract or lease is for and the   Se r v i c e Ag r e e m e n t                                                                  Pe n n Wa s t e , In c
 2.158                                                                                                                                                    P. O. Bo x 3 0 6 6
         nature of the debtor's interest
                                                                                                                                                          Yo r k , PA 1 7 4 0 2
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Co m m e r i c a l Le a s e o f 2 7 0 1 S. Co l i s e u m Bl v d , Su i t e 1 2 0 1 , Fo r t   Ph o e n i x Fo r t Wa y n e , L L C
 2.159                                                                                                                                                    At t n : Ma r s h a Mc Ne i l
         nature of the debtor's interest                   Wa y n e , I N 4 6 8 0 3
                                                                                                                                                          4 0 1 E Ki l b o u r n Av e , St e 2 0 1
         State the term remaining                          10/31/2024                                                                                     Mi l w a u k e e , W I 5 3 2 0 2
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                        Po r t m a n t e u x Pu b l i s h i n g
 2.160                                                                                                                                                    At t n : Ad a m Fo r t i e r
         nature of the debtor's interest
                                                                                                                                                          4 8 8 5 Ol d Br o c k Rd
         State the term remaining                                                                                                                         Cl a r e m o n t , O N L1 Y 1 A6
                                                                                                                                                          Ca n a d a
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                     State the name and mailing address for all other parties with
                                                                                                                                             whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Pr o p o s a l / Ag r e e m e n t f o r Pe s t Ma n a g e m e n t Se r v i c e   Pr e s t o - X L L C
 2.161                                                                                                                                      6 1 8 0 E Sh e l b y Dr
         nature of the debtor's interest
                                                                                                                                            Me p h i s , T N 3 8 1 4 1
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Fr e e Co m i c Bo o k Da y Lo g o Li c e n s i n g Ag r e e m e n t             Pr o m o Co m i x
 2.162
         nature of the debtor's interest
         State the term remaining                          05/31/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                          Pu b l i s h e r Se r v i c e s , In c
 2.163                                                                                                                                      2 8 0 0 Vi s t a Ri d g e Dr
         nature of the debtor's interest
                                                                                                                                            Su w a n e e , G A 3 0 0 2 4
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   El o q u e n c e o n De m a n d Ag r e e m e n t                                 Qs i n f o r m a t i o n Se r v i c e s , In c
 2.164                                                                                                                                      d b a Fi r e b r a n d Te c h n o l i g i e s
         nature of the debtor's interest
                                                                                                                                            4 4 Me r r i m a c St
         State the term remaining                                                                                                           Ne w b u r y p o r t , M A 0 1 9 5 0
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                          Ra b b i t Pu b l i s h e r s
 2.165                                                                                                                                      1 6 2 4 W No r t h w e s t Hw y
         nature of the debtor's interest
                                                                                                                                            Ar l i n g t o n He i g h t s , I L 6 0 0 0 4
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                          Ra i d St u d i o
 2.166
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ra n s t a d Se r v i c e Te r m s                                               Ra n d s t a d Ge n e r a l Pa r t n e r U S L L C
 2.167                                                                                                                                      1 Ov e r t o n Pa r k
         nature of the debtor's interest
                                                                                                                                            3 6 2 5 Cu m b e r l a n d Bl v d , St e 6 0 0
         State the term remaining                                                                                                           At l a n t a , G A 3 0 3 3 9
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Te m p o r a r y St a f f i n g Se r v i c e s Ag r e e m e n t                  Ra n d s t a d Ge n e r a l Pa r t n e r U S L L C
 2.168                                                                                                                                      1 Ov e r t o n Pa r k
         nature of the debtor's interest
                                                                                                                                            3 6 2 5 Cu m b e r l a n d Bl v d , St e 6 0 0
         State the term remaining                                                                                                           At l a n t a , G A 3 0 3 3 9
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Lo r c a n a Di s t r i b u t o r Ag r e e m e n t                               Ra v e n s b u r g e r No r t h Am e r i c a In c
 2.169                                                                                                                                      9 1 5 E Pi n e St , St e 4 0 0
         nature of the debtor's interest
                                                                                                                                            Se a t t l e , WA 9 8 1 2 2
         State the term remaining
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                                                           State the name and mailing address for all other parties with
                                                                                                                                                                   whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                                             Re d Gi a n t En t e r t a i n m e n t
 2.170                                                                                                                                                             6 1 4 E Hw y 5 0 , St e 2 3 5
         nature of the debtor's interest
                                                                                                                                                                   Cl e r m o n t , F L 3 4 7 1 1
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   He a t i n g & Ai r Co n d i t i o n i n g Ma i n t e n a n c e Co n t r a c t                          Re l i a n c e Me c h a n i c a l , In c
 2.171                                                                                                                                                             2 3 3 Sw a n s o n Dr , St e A
         nature of the debtor's interest
                                                                                                                                                                   La w r e n c e v i l l e , G A 3 0 0 4 3
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Fu l f i l l m e n t Se r v i c e s Ag r e e m e n t                                                    Re n e g a d e Ga m e s , In c
 2.172                                                                                                                                                             3 0 6 - N W El No r t e Pk w y, St e 3 2 5
         nature of the debtor's interest
                                                                                                                                                                   Es c o n d i d o , C A 9 2 0 2 6
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Se r v i c e Ag r e e m e n t                                                            Re p u b l i c Se r v i c e s , In c
 2.173                                                                                                                                                             6 2 3 1 Ma c b e t h Rd
         nature of the debtor's interest
                                                                                                                                                                   Ft Wa y n e , I N 4 6 8 0 9
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Se r v i c e Ag r e e m e n t                                                            Re p u b l i c Se r v i c e s , In c
 2.174                                                                                                                                                             6 2 3 1 Ma c b e t h Rd
         nature of the debtor's interest
                                                                                                                                                                   Ft Wa y n e , I N 4 6 8 0 9
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Te m p o r a r y Se r v i c e Ag r e e m e n t                                                          Re p u b l i c Se r v i c e s , In c
 2.175                                                                                                                                                             P. O. Bo x 6 7 7 1 5 6
         nature of the debtor's interest
                                                                                                                                                                   Da l l a s , T X 7 5 2 6 7 - 7 1 5 6
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Co n f i d e n t i a l Fu l f i l l m e n t Ag r e e m e n t , Co v e n a n t No t t o So l i c i t ,   Re v e n d L L C
 2.176                                                                                                                                                             At t n : Ev a n s Ri c h a r d s , Ma n a g e r
         nature of the debtor's interest                   a n d Ag r e e m e n t o f No n - Di s c l o s u r e
                                                                                                                                                                   3 0 1 N Sc a l e s St
         State the term remaining                                                                                                                                  Re d i s v i l l e , N C 2 7 3 2 0
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Da t a Se r v i c e s                                                                                   Re w i n d So f t w a r e In c
 2.177                                                                                                                                                             3 3 3 Pr e s t o n St , St e 2 0 0
         nature of the debtor's interest
                                                                                                                                                                   Ot t o w a , O N K1 S 5 N4
         State the term remaining                                                                                                                                  Ca n a d a
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                                             Ro v i o En t e r t a i n m e n t Lt d
 2.178                                                                                                                                                             At t n : Mi k a e l He d
         nature of the debtor's interest
                                                                                                                                                                   1 7 C Fi n
         State the term remaining                                                                                                                                  Es p o o , 0 2 1 5 0
         List the contract number of any government                                                                                                                Fi n l a n d
         contract
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                                                                                                                                      whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                    Sc o u t Co m i c s & En t e r t a i n m e n t Ho l d i n g s , In c
 2.179                                                                                                                                1 0 2 3 1 Me t r o Pk w y, St e 1 0 0
         nature of the debtor's interest
                                                                                                                                      Ft My e r s , F L 3 3 9 6 6
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                    Se v e n Se a s En t e r t a i n m e n t , L L C
 2.180                                                                                                                                3 4 6 3 St a t e St , St e 5 4 5
         nature of the debtor's interest
                                                                                                                                      Sa n t a Ba r b a r a , C A 9 3 1 0 5
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Le a s e Ag r e e m e n t ( a s a m e n d e d )                            Sf v Yo r k Ro a d , L L C
 2.181                                                                                                                                At t n : Ju l i o Pu r c e l l
         nature of the debtor's interest
                                                                                                                                      c / o Ma c Ke n z i e Ma n a g e m e n t Co L L C
         State the term remaining                          01/31/2029                                                                 2 3 2 8 W Jo p p a Rd , St e 2 0 0
                                                                                                                                      Lu t h e r v i l l e , M D 2 1 0 9 3
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                    Sh i n o b i 7
 2.182                                                                                                                                3 4 6 3 St a t e St , St e 5 4 5
         nature of the debtor's interest
                                                                                                                                      Sa n t a Ba r b a r a , C A 9 3 1 0 5
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                    Sk y l a n d Ar t s
 2.183
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                    Sk y s c r a p e r St u d i o s , In c
 2.184                                                                                                                                d b a Ro l l Fo r Co m b a t
         nature of the debtor's interest
                                                                                                                                      At t n : St e p h e n Gl i c k e r
         State the term remaining                                                                                                     1 6 Co n t i n e n t a l Rd
                                                                                                                                      Sc a r s d a l e , N Y 1 0 5 8 3
         List the contract number of any government
         contract
         State what the contract or lease is for and the   So f t w a r e Se r v i c e s                                              Sm i l e In c
 2.185                                                                                                                                Ir a Ne e d l e s
         nature of the debtor's interest
                                                                                                                                      P. O. Bo x 3 3 0 4 2
         State the term remaining                                                                                                     Wa t e r l o o , O N N2 T 2 M9
                                                                                                                                      Ca n a d a
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                    So u r c e Po i n t Pr e s s
 2.186                                                                                                                                At t n : Ja c o b Wa y
         nature of the debtor's interest
                                                                                                                                      3 0 1 Ca s s St
         State the term remaining                                                                                                     Sa g i n a w, M I 4 8 6 0 2
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                    Sp i n Ma s t e r Lt d
 2.187                                                                                                                                At t n : Je r e m y La n g e r
         nature of the debtor's interest
                                                                                                                                      2 2 5 Ki n g St W, St e 2 0 0
         State the term remaining
         List the contract number of any government
         contract
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                                                                                                                                               whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Le t t e r o f Ag r e e m e n t f o r Pu b l i c Re l a t i o n s Se r v i c e s   St a n t o n Pu b l i c Re l a t i o n s & Ma r k e t i n g , L L C
 2.188                                                                                                                                        9 0 9 3 r d Av e , 1 4 t h Fl
         nature of the debtor's interest
                                                                                                                                              Ne w Yo r k , N Y 1 0 0 2 2
         State the term remaining                          02/22/2025

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                            St a r b u r n s In d u s t r i e s Pr e s s
 2.189                                                                                                                                        1 7 0 0 W Bu r b a n k Bl v d
         nature of the debtor's interest
                                                                                                                                              Bu r b a n k C A 9 1 5 0 6
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the                                                                                      St e r l i n g In t e g r a t i o n Se r v i c e s
 2.190
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                            St o r m Ki n d Pr o d u c t i o n s In c
 2.191                                                                                                                                        At t n : Fr e d Al t m a n & As s o c
         nature of the debtor's interest
                                                                                                                                              9 2 5 5 Su n s e n t Bl v d , St e 9 0 1
         State the term remaining                                                                                                             W Ho l l y w o o d , C A 9 0 0 6 9
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                            T Pu b Lt d
 2.192                                                                                                                                        1 9 A Au b r e y Ho u s e
         nature of the debtor's interest
                                                                                                                                              7 Ma i d a Av e
         State the term remaining                                                                                                             Lo n d o n W2 1 T Q
         List the contract number of any government                                                                                           Un i t e d Ki n g d o m

         contract
         State what the contract or lease is for and the   Le t t e r o f En g a g e m e n t                                                  Ta d Fr a n k s
 2.193
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                            Te e Tu r t l e L L C
 2.194                                                                                                                                        1 0 3 4 S Br e n t w o o d Bl v d
         nature of the debtor's interest
                                                                                                                                              Ri c h m o n d He i g h t s , M O 6 3 1 1 7
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Se r v i c e Ag r e e m e n t                                                      Te e m s & De Mo v i l l e Me c h a n i c a l Co n t r a c t o r s L L C
 2.195                                                                                                                                        7 3 1 4 Pl e s a n t Ri d g e Rd
         nature of the debtor's interest
                                                                                                                                              Ar l i n g t o n , T N 3 8 0 0 2
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Sa l e s Ag r e e m e n t                                                          Te z u k a Pr o d u c t i o n s Co Lt d
 2.196                                                                                                                                        3 2 - 1 1 , 4 - c h o m e , Ta k a d a n o b a b a
         nature of the debtor's interest
                                                                                                                                              Sh i n j u k u - k u , To k y o , 1 6 9
         State the term remaining                                                                                                             Ja p a n
         List the contract number of any government
         contract
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         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

 List all contracts and unexpired leases                                                                                                                 State the name and mailing address for all other parties with
                                                                                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Fu l f i l l m e n t Ag r e e m e n t p r o p o s a l                                         Th e Ar m y Pa i n t e r
 2.197                                                                                                                                                   At t n : Bo Pe n s t o f t
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                       Th e Li o n Fo r g e , L L C
 2.198                                                                                                                                                   At t n : Ge o f f Ge r b e r
         nature of the debtor's interest
                                                                                                                                                         6 6 0 0 Ma n c h e s t e r Av e
         State the term remaining                                                                                                                        St Lo u i s , M O 6 3 1 3 9
         List the contract number of any government
         contract
         State what the contract or lease is for and the   St a n d a r d In d u s t r i a l / Co m m e r c i a l Mu l t i - Te n a n t Le a s e ( a s   Th e Ph i l i p & Ja n a Oa t e s Fa m i l y Tr u s t & O K& B
 2.199                                                                                                                                                   c / o Bu z z Oa t e s Ma n a g e m e n t Se r v i c e s , In c
         nature of the debtor's interest                   amended)
                                                                                                                                                         At t n : Ma i r a Ib a r r a
         State the term remaining                          01/31/2025                                                                                    8 6 1 5 El d e r Cr e e k Rd
         List the contract number of any government                                                                                                      Sa c r a m e n t o , C A 9 5 8 1 4

         contract
         State what the contract or lease is for and the   POKEMON TCG TERMS OF SALE - CIP                                                               Th e Po k é m o n Co In t e r n a t i o n a l , In c
 2.200                                                                                                                                                   At t n : Ge n e r a l Co u n s e l
         nature of the debtor's interest
                                                                                                                                                         1 0 4 0 0 N E 4 t h St , St e 2 8 0 0
         State the term remaining                                                                                                                        Be l l e v u e , WA 9 8 0 0 4
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Ag r e e m e n t Fo r m                                                                       Th e Ta i l o r e d St a f f L L C
 2.201                                                                                                                                                   At t n : Mi g u e l Me d i n a , Ow n e r
         nature of the debtor's interest
                                                                                                                                                         3 6 3 9 Ne w Ge t w e l l Rd , St e 2
         State the term remaining                                                                                                                        Me m p h i s , T N 3 8 1 1 8
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t o r Ag r e e m e n t                                                         Th e Up p e r De c k Co
 2.202                                                                                                                                                   At t n : Br i t t a n y Hy s n i , V P o f Le g a l & Bu s i n e s s Af f a i r s
         nature of the debtor's interest
                                                                                                                                                         5 8 3 0 El Ca m i n o Re a l
         State the term remaining                                                                                                                        Ca r l s b a d , C A 9 2 0 0 8
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                       Ti t a n Co m i c s
 2.203                                                                                                                                                   At t n : Ni c k La n d a u , Ch r i s Te a t h e r
         nature of the debtor's interest
                                                                                                                                                         1 4 4 So u t h w a r k St
         State the term remaining                                                                                                                        Lo n d o n , En g l a n d S E1 0 U P
                                                                                                                                                         Un i t e d Ki n g d o m
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                       To k y o p o p In c
 2.204                                                                                                                                                   At t n : St u Le v y
         nature of the debtor's interest
                                                                                                                                                         5 2 0 0 W Ce n t u r y Bl v d , St e 7 0 5
         State the term remaining                                                                                                                        Lo s An g e l e s , C A 9 0 0 4 5
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                       To o n Bo o k s
 2.205                                                                                                                                                   At t n : Fr a n c o i s e Mo u l y
         nature of the debtor's interest
                                                                                                                                                         2 7 Gr e e n e St
         State the term remaining                                                                                                                        Ne w Yo r k , N Y 1 0 0 1 3
         List the contract number of any government
         contract
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         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

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 List all contracts and unexpired leases                                                                                                State the name and mailing address for all other parties with
                                                                                                                                        whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                     To o n h o u n d St u d i o u s , L L C
 2.206                                                                                                                                 At t n : Co r e y Ca s o n i
         nature of the debtor's interest
                                                                                                                                       1 8 6 0 2 6 9 t h Ln N E, St e 1 0 4
         State the term remaining                                                                                                      Ke n m o r e , WA 9 9 0 2 8
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                 To p Sh e l f Pr o d u c t i o n s , In c
 2.207                                                                                                                                 At t n : Ch r i s St a r o s
         nature of the debtor's interest
                                                                                                                                       1 1 0 9 Gr a n d Oa k s Gl e n
         State the term remaining                                                                                                      Ma r i e t t a , G A 3 0 0 6 4
         List the contract number of any government
         contract
         State what the contract or lease is for and the   In v o i c e / St a t e m e n t                                             To y Fa i r 2 0 2 5
 2.208                                                                                                                                 Ne w Yo r k , N Y 1 0 0 1 8
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Eb o o k Di s t r i b u t i o n Ag r e e m e n t                            Tr a j e c t o r y, In c
 2.209                                                                                                                                 5 0 Do a k s Ln
         nature of the debtor's interest
                                                                                                                                       Ma r b l e h e a d , M A 0 1 9 4 5
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr i n t i n g Ag r e e m e n t                                             Tr a n s c o n t i n e n t a l Pr i n t i n g In c
 2.210                                                                                                                                 1 5 0 1 8 1 s t St
         nature of the debtor's interest
                                                                                                                                       Be a u c e v i l l e , Q C G5 X 3 9 3
         State the term remaining                                                                                                      Ca n a d a
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Th i r d Am e n d m e n t t o Pr i n t i n g Ag r e e m e n t               Tr a n s c o n t i n e n t a l Pr i n t i n g In c
 2.211                                                                                                                                 1 5 0 1 8 1 s t St
         nature of the debtor's interest
                                                                                                                                       Be a u c e v i l l e , Q C G5 X 3 9 3
         State the term remaining                                                                                                      Ca n a d a
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Pr i n t i n g Ag r e e m e n t                                             Tr a n s c o n t i n e n t a l Pr i n t i n g In c ,
 2.212                                                                                                                                 At t n : Na t h a l i e Gr é g o i r e
         nature of the debtor's interest
                                                                                                                                       1 5 0 1 8 1 s t St
         State the term remaining                                                                                                      Be a u c e v i l l e , Q C G5 X 3 9 3
         List the contract number of any government                                                                                    Ca n a d a

         contract
         State what the contract or lease is for and the   Wh o l e s a l e Ap p l i c a t i o n Fo r m                                Tr i c k Or Tr e a t St u d i o s
 2.213                                                                                                                                 1 0 0 5 1 7 t h Av e
         nature of the debtor's interest
                                                                                                                                       Sa n t a Cr u z , C A 9 5 0 6 2
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                     Tr o y An d Br e n d a Li t t l e
 2.214                                                                                                                                 d b a Pe g a m o o s e Pr e s s
         nature of the debtor's interest
                                                                                                                                       7 4 We s t c o m b Cr e s c e n t
         State the term remaining                                                                                                      Ch a r l o t t e t o w n , P E C1 C 1 B8
         List the contract number of any government                                                                                    Ca n a d a

         contract
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 List all contracts and unexpired leases                                                                                                                       State the name and mailing address for all other parties with
                                                                                                                                                               whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                                         Tw o m o r r o w s Pu b l i s h i n g
 2.215                                                                                                                                                         At t n : Jo h n Mo r r o w
         nature of the debtor's interest
                                                                                                                                                               1 8 1 2 Pa r k Dr
         State the term remaining                                                                                                                              Ra l e i g h , N C 2 7 6 0 5
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Co m m e r c i a l Sa l e s Ag r e e m e n t                                                        Ty c o In t e g r a t e d Se c u r i t y L L C
 2.216                                                                                                                                                         At t n : Gl e n Ro e h m
         nature of the debtor's interest
                                                                                                                                                               3 6 0 0 W Mc Gi l l St
         State the term remaining                                                                                                                              S Be n d , I N 4 6 6 2 8 - 4 3 7 1
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                                         Ub i s o f t In c
 2.217                                                                                                                                                         At t n : Ub i w o r k s h o p Di r e c t o r
         nature of the debtor's interest
                                                                                                                                                               6 2 5 3 r d St
         State the term remaining                                                                                                                              Sa n Fr a n c i s c o , C A 9 4 1 0 7
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                                                         Ud o n En t e r t a i n m e n t
 2.218                                                                                                                                                         At t n : Er i k Ko
         nature of the debtor's interest
                                                                                                                                                               3 8 Su n Va l l e y Dr
         State the term remaining                                                                                                                              Ri c h m o n d Hi l l , O N L4 S 2 E4
         List the contract number of any government                                                                                                            Ca n a d a

         contract
         State what the contract or lease is for and the   2 0 1 7 Ul t r a Pr o In t e r n a t i o n a l L L C Ho b b y Di s t r i b u t i o n Pr o g r a m   Ul t r a Pr o In t e r n a t i o n a l L L C
 2.219                                                                                                                                                         6 0 4 9 Sl a u s o n Av e
         nature of the debtor's interest                   f o r No r t h Am e r i c a n Ma r k e t s
                                                                                                                                                               Ci t y o f Co m m e r c e , C A 9 0 0 4 0
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   U P S In c e n t i v e Pr o g r a m Ag r e e m e n t ( a s a m e n d e d )                          Un i t e d Pa r c e l Se r v i c e , In c
 2.220                                                                                                                                                         5 5 Gl e n l a k e Pk w y
         nature of the debtor's interest
                                                                                                                                                               At l a n t a , G A 3 0 3 2 8
         State the term remaining                          07/27/2026

         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t o r Sa l e s Ag r e e m e n t                                                      Us a o p o l y, In c
 2.221                                                                                                                                                         5 6 0 7 Pa l m e r Wa y
         nature of the debtor's interest
                                                                                                                                                               Ca r l s b a d , C A 9 2 0 1 0
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                             Va l i a n t En t e r t a i n m e n t , L L C
 2.222                                                                                                                                                         At t n : Ga v i n Cu n e o
         nature of the debtor's interest
                                                                                                                                                               4 2 4 W 3 3 r d St , St e 4 2 0
         State the term remaining                                                                                                                              Ne w Yo r k , N Y 1 0 0 0 1
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                                             Va l i a n t En t e r t a i n m e n t , L L C
 2.223                                                                                                                                                         At t n : Ga v i n Cu n e o
         nature of the debtor's interest
                                                                                                                                                               4 2 4 W 3 3 r d St , St e 4 2 0
         State the term remaining                                                                                                                              Ne w Yo r k , N Y 1 0 0 0 1
         List the contract number of any government
         contract
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 List all contracts and unexpired leases                                                                                             State the name and mailing address for all other parties with
                                                                                                                                     whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                   Vi z Me d i a L L C
 2.224                                                                                                                               1 3 5 5 Ma r k e t St
         nature of the debtor's interest
                                                                                                                                     Sa n Fr a n c i s o , C A 9 4 1 0 3
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Cu s t o m e r Se r v i c e Ag r e e m e n t                              Wa s t e Co n n e c t i o n s o f Te n n e s s e e , In c
 2.225                                                                                                                               At t n : St a c y Mi c h a e l
         nature of the debtor's interest
                                                                                                                                     6 2 1 Br o o k s Rd E
         State the term remaining                                                                                                    Me m p h i s , T N 3 8 1 1 6
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                   Wi c k e d Co w St u d i o s , L L C
 2.226                                                                                                                               At t n : Mi c h a e l He r m a n
         nature of the debtor's interest
                                                                                                                                     4 5 W 2 1 s t St , 2 n d Fl
         State the term remaining                                                                                                    Ne w Yo r k , N Y 1 0 0 1 0
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Se t t l e m e n t Ag r e e m e n t                                       Wi l l i a m M Ga i n e s , Ag e n t , In c
 2.227                                                                                                                               At t n : Ca t h y Ga i n e s Mi f s u d
         nature of the debtor's interest
                                                                                                                                     3 9 7 5 Li t t l e Jo h n Dr
         State the term remaining                                                                                                    Yo r k , PA 1 7 4 0 8
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t o r s h i p Ag r e e m e n t                             Wi z a r d s o f t h e Co a s t L L C
 2.228                                                                                                                               1 6 0 0 Li n d Av e S W, St e 4 0 0
         nature of the debtor's interest
                                                                                                                                     Re n t o n , WA 9 8 0 5 7
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   St a f f i n g Se r v i c e s Ag r e e m e n t                            Xc e e d i n g Pa r t n e r s h i p So l u t i o n s
 2.229                                                                                                                               At t n : Sh a r o n Za r a g o z a , Ow n e r
         nature of the debtor's interest
         State the term remaining
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                                   Ye n Pr e s s , L L C
 2.230                                                                                                                               At t n : Ta k a y u k i Ko b a y s h i
         nature of the debtor's interest
                                                                                                                                     1 2 9 0 Av e n u e o f t h e Am e r i c a s
         State the term remaining                                                                                                    Ne w Yo r k N Y 1 0 1 0 4
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                               Yu m c h a St u d i o s , L L C
 2.231                                                                                                                               At t n : Ye n Ye n Wo o
         nature of the debtor's interest
                                                                                                                                     3 6 2 5 Ma i n St , St e 2 B
         State the term remaining                                                                                                    Fl u s h i n g N Y 1 1 3 5 4
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                               Z2 Co m i c s In c
 2.232                                                                                                                               At t n : Jo s h Fr a n k e l
         nature of the debtor's interest
                                                                                                                                     2 3 7 Gr i f f e n Av e
         State the term remaining                                                                                                    Sc a r s d a l e , N Y 1 0 5 8 3
         List the contract number of any government
         contract
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                                                                                                                              whom the debtor has an executory contract or unexpired lease


         State what the contract or lease is for and the   Su p p l y Ag r e e m e n t                                        Ze n e s c o p e En t e r t a i n m e n t , In c
 2.233                                                                                                                        At t n : Jo e Br u s h a
         nature of the debtor's interest
                                                                                                                              4 3 3 Ca r e d e a n Dr , St e C
         State the term remaining                                                                                             Ho r s h a m , PA 1 9 0 4 4
         List the contract number of any government
         contract
         State what the contract or lease is for and the   Di s t r i b u t i o n Ag r e e m e n t                            Zl o s s St u d i o s
 2.234                                                                                                                        2 1 0 3 1 Ve n t u r a Bl v d , St e 1 0 0 0
         nature of the debtor's interest
                                                                                                                              Wo o d l a n d Hi l l s , C A 9 1 3 6 4
         State the term remaining
         List the contract number of any government
         contract
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   Fill in this information to identify the case:
                                                                  Case 25-10308                                       Doc 155                         Filed 02/18/25                                   Page 249 of 250

  Debtor name: Diamond Comic Distributors, Inc.
  United States Bankruptcy Court for the Baltimore Division, District of Maryland                                                                                                                                                               Check if this is an amended filing
  Case number (If known): 25-10308


Official Form 206H
Schedule H: Codebtors                                                                                                                                                                                                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this page.
1 . Do e s t h e d e b t o r h a v e a n y e x e c u t o r y c o n t r a c t s o r u n e x p i r e d l e a s e s ?
                   No . Ch e c k t h i s b o x a n d f i l e t h i s f o r m w i t h t h e c o u r t w i t h t h e d e b t o r ' s o t h e r s c h e d u l e s . Th e r e i s n o t h i n g e l s e t o r e p o r t o n t h i s f o r m .
         ✔         Ye s .

2.         In Co l u m n 1 , l i s t a s c o d e b t o r s a l l o f t h e p e o p l e o r e n t i t i e s w h o a r e a l s o l i a b l e f o r a n y d e b t s l i s t e d b y t h e d e b t o r i n t h e s c h e d u l e s o f c r e d i t o r s , Sc h e d u l e s D- G In c l u d e a l l g u a r a n t o r s a n d
           c o - o b l i g o r s . In Co l u m n 2 , i d e n t i f y t h e c r e d i t o r t o w h o m t h e d e b t i s o w e d a n d e a c h s c h e d u l e o n w h i c h t h e c r e d i t o r i s l i s t e d . If t h e c o d e b t o r i s l i a b l e o n a d e b t t o m o r e t h a n o n e
           c r e d i t o r , l i s t e a c h c r e d i t o r s e p a r a t e l y i n Co l u m n 2 .

            Column 1: Codebtor                                                                                                                                                                     Column 2: Creditor
            Name                                                          Mailing Address                                                                                                          Name                                                         Check all schedules that apply:
2.1       Ro s e b u d En t e r t a i n m e n t , L L C                 c / o D L A Pi p e r                                                                                                     J P Mo r g a n Ch a s e Ba n k , N. A.
                                                                                                                                                                                                                                                                ✔        D
                                                                        At t n : Ke v i n Ko b b e
                                                                        6 5 0 S Ex e t e r St , St e 1 1 0 0                                                                                                                                                             E/ F
                                                                        Ba l t i m o r e , M D 2 1 2 0 2 - 4 5 7 6
                                                                                                                                                                                                                                                                         G

2.2       Ga m e Co n s o l i d a t o r s , L L C                       1 0 1 5 0 Yo r k Rd ,                                                                                                    J P Mo r g a n Ch a s e Ba n k , N. A.
                                                                                                                                                                                                                                                                ✔        D
                                                                        Co c k e y s v i l l e , M D 2 1 0 3 0
                                                                                                                                                                                                                                                                         E/ F

                                                                                                                                                                                                                                                                         G

2.3       Re n e g a d e Ga m e s , L L C                               c / o D L A Pi p e r                                                                                                     J P Mo r g a n Ch a s e Ba n k , N. A.
                                                                                                                                                                                                                                                                ✔        D
                                                                        At t n : Ke v i n Ko b b e
                                                                        6 5 0 S Ex e t e r St , St e 1 1 0 0                                                                                                                                                             E/ F
                                                                        Ba l t i m o r e , M D 2 1 2 0 2 - 4 5 7 6
                                                                                                                                                                                                                                                                         G

2.4       St e p h e n Ge p p i                                         c / o D L A Pi p e r                                                                                                     J P Mo r g a n Ch a s e Ba n k , N. A.
                                                                                                                                                                                                                                                                ✔        D
                                                                        At t n : Ke v i n Ko b b e
                                                                        6 5 0 S Ex e t e r St , St e 1 1 0 0                                                                                                                                                             E/ F
                                                                        Ba l t i m o r e , M D 2 1 2 0 2 - 4 5 7 6
                                                                                                                                                                                                                                                                         G

2.5       Co m i c Ex p o r t e r s , In c .                            1 0 1 5 0 Yo r k Rd , St e 3 0 0                                                                                         J P Mo r g a n Ch a s e Ba n k , N. A.
                                                                                                                                                                                                                                                                ✔        D
                                                                        Co c k e y s v i l l e , M D 2 1 0 3 0
                                                                                                                                                                                                                                                                         E/ F

                                                                                                                                                                                                                                                                         G

2.6       Co m i c Ho l d i n g s , In c .                              1 0 1 5 0 Yo r k Rd , St e 3 0 0                                                                                         J P Mo r g a n Ch a s e Ba n k , N. A.
                                                                                                                                                                                                                                                                ✔        D
                                                                        Co c k e y s v i l l e , M D 2 1 0 3 0
                                                                                                                                                                                                                                                                         E/ F

                                                                                                                                                                                                                                                                         G

2.7     Diamond Select Toys & Collectibles , LLC 1 0 1 5 0 Yo r k Rd , St e 3 0 0                                                                                                                J P Mo r g a n Ch a s e Ba n k , N. A.
                                                                                                                                                                                                                                                                ✔        D
                                                 Co c k e y s v i l l e , M D 2 1 0 3 0
                                                                                                                                                                                                                                                                         E/ F
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2.8       Di a m o n d Co m i c Di s t r i b u t o r s U K              Ca n a l s i d e Wa r r i n g t o n Ro a d                                                                               J P Mo r g a n Ch a s e Ba n k , N. A.
                                                                                                                                                                                                                                                                ✔        D
                                                                        Ma n o r Pa r k
                                                                        Ru n c o r n , Ch e s h i r e WA7 1 S N                                                                                                                                                          E/ F
                                                                        Un i t e d Ki n g d o m
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Official Form 206H                                                                                                                       Schedule H: Codebtors                                                                                                               Page 1 of 1
                                          Case 25-10308
  Debtor name: Diamond Comic Distributors, Inc.
                                                                         Doc 155            Filed 02/18/25             Page 250 of 250
  United States Bankruptcy Court for the Baltimore Division, District of Maryland
  Case number (If known): 25-10308


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                                                   12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of assets and
liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must state the individual's position
or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.
WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can
result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. 152, 1341, 1519, and 3571.

                    Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
      representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:



        ✓ Schedule A/B: Assets-Real and Personal Property                                                        (Official Form 206 A/B)
        ✓ Schedule D: Creditors Who Have Claims Secured by Property                                              (Official Form 206 D)
        ✓ Schedule E/F: Creditors Who Have Claims Unsecured Claims                                               (Official Form 206 E/F)
        ✓ Schedule G: Executory Contracts and Unexpired Leases                                                   (Official Form 206 G)
        ✓ Schedule H: Codebtors                                                                                  (Official Form 206 H)
        ✓ Summary of Assets and Liabilities for Non-Individuals                                                  (Official Form 206Sum)
               Amended Schedule

               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

           I declare under penalty of perjury that the foregoing is true and correct.



Executed on:          Tuesday, February 18th, 2025                           Signature        /s/ Robert Gorin
                      MM / DD / YYYY
                                                                             Printed Name     Robert Gorin
                                                                             Title            Chief Restructuring Officer
